                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION

LA UNIÓN DEL PUEBLO ENTERO, et al.,
Plaintiffs,
         v.                                         5:21-cv-844-XR

GREGORY W. ABBOTT, et al.,
Defendants.
OCA-GREATER HOUSTON, et al.,
Plaintiffs,
         v.                                         1:21-CV-0780-XR

JANE NELSON, et al.,
Defendants.

OCA PLAINTIFFS’ APPENDIX IN SUPPORT OF THEIR REPLY IN SUPPORT OF
         THEIR MOTION FOR PARTIAL SUMMARY JUDGMENT

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                                   3
Exhibit 1




 OCA-REPLY-APPX-004
                      In The Matter Of

             La Union Del Pueblo Entero, et al.,

                            Plaintiffs

                                v

                    State Of Texas, et al.,

                          Defendants


                             CASE

                          5:21-cv-844

                              Date

                           4-28-2022

                           Witness

                   Brian Keith Ingram, J.D.




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                       Transcript


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  1             IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF TEXAS
  2                  SAN ANTONIO DIVISION
  3    LA UNION DEL PUEBLO         §
       ENTERO, ET AL.,         §
  4         Plaintiffs,   § Civil Action No.
                        § 5:21-cv-844 (XR)
  5    VS.                § (Consolidated Cases)
                        §
  6    STATE OF TEXAS, ET AL.     §
            Defendants.      §
  7    **************************************************
  8                  ORAL DEPOSITION OF
                    BRIAN KEITH INGRAM, J.D.
  9              CORPORATE REPRESENTATIVE FOR THE
                 TEXAS SECRETARY OF STATE OFFICE
 10                   APRIL 28, 2022
 11    **************************************************
 12           ORAL DEPOSITION OF BRIAN KEITH INGRAM, J.D.,
 13    CORPORATE REPRESENTATIVE FOR THE TEXAS SECRETARY OF
 14    STATE OFFICE produced as a witness at the instance of
 15    the Plaintiffs and Plaintiff-Intervenors, and duly
 16    sworn, was taken in the above-styled and numbered cause
 17    on the 28th day of April 2022, from 9:03 a.m. to
 18    3:18 p.m., before Caroline Chapman, CSR in and for the
 19    State of Texas, reported by Computerized Stenotype
 20    Machine, Computer-Assisted Transcription, held at the
 21    rice Daniel Sr State Office Building, 209 West 14th
 22    Street, Austin, Texas, and via web-based conference
 23    pursuant to the Federal Rules of Civil Procedure.
 24

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  1       A.   I don't know what the numbers would be on that.
  2       Q.   Would it surprise you?
  3       A.   I don't know what the numbers would be on that.
  4    I don't know if that's a surprise or not. I have no
  5    idea.
  6       Q.   Would it be is problem for the architecture of
  7    TEAM and the implementation of SB 1 if one in seven
  8    voters in Texas had at some point, one in seven
  9    registered voters in Texas had at some point been issued
 10    more than one DPS ID number?
 11               MS. HUNKER: Objection, form. Vague,
 12    assumes facts not in evidence.
 13       A.   No.
 14       Q.   Why not?
 15       A.   Because they have got the opportunity to
 16    provide the last four of their social, and because over
 17    time this is going to -- the information is going to get
 18    fixed, corrected.
 19       Q.   How is the information going to get fixed or
 20    corrected?
 21       A.   By the voter.
 22       Q.   If a voter only has their Texas driver's
 23    license number on TEAM and the voter provides both their
 24    social security number and their Texas driver's license
 25    number, but just as with the last example, the Texas

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  1    driver's license number does not match TEAM and the
  2    social security number is not in TEAM is the incorrect
  3    number, the incorrect Texas driver's license number
  4    evidence of fraud or impersonation?
  5       A.   It is not.
  6               MS. HUNKER: Objection, form.
  7       Q.   Why not?
  8       A.   Because it is just the wrong number.
  9       Q.   In that case where the social security number
 10    is not in TEAM, would that voter's absentee ballot by
 11    mail application be rejected?
 12       A.   Yes.
 13               MS. HUNKER: Objection, form.
 14       Q.   What is the value for election administration
 15    in Texas of rejecting that ABBM?
 16               MS. HUNKER: Objection, form. Vague.
 17       A.   Well, the voter hasn't identified themselves as
 18    the voter.
 19       Q.   Has the voter provided their name and address
 20    under penalty of perjury?
 21               MS. HUNKER: Objection, form.
 22       A.   They have filled out a form with their name and
 23    address, yes.
 24       Q.   And prior to SB 1, would you have said that
 25    that same voter did identify themselves as the voter?

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  1               MS. HUNKER: Objection, form.
  2       A.   If they signed their application, sure.
  3       Q.   Let's take another voter who has only their
  4    social security number on TEAM. If that voter provides
  5    only her Texas driver's license number on an absentee
  6    ballot by mail application, is that number that is not
  7    in TEAM evidence of fraud or impersonation?
  8       A.   It is not.
  9               MS. HUNKER: Objection, form.
 10       Q.   Would that ABBM be rejected?
 11       A.   It would.
 12       Q.   What is the value for election administration
 13    in Texas for rejecting that absentee ballot by mail
 14    application?
 15               MS. HUNKER: Objection, form, vague.
 16       A.   It hasn't identified the voter that -- by the
 17    way the law requires.
 18       Q.   And you agree that the Texas Election Code
 19    requires voters to certify under penalty of perjury that
 20    they are the registered voter requesting or submitting
 21    an absentee ballot?
 22       A.   I don't know. I would have to look at an ABBM
 23    and see it that statement is on there.
 24       Q.   Mark this as Exhibit 4.
 25               (Exhibit No. 4 marked.)

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  1     CHANGES AND SIGNATURE
  2    PAGE          LINE         CHANGE                    REASON
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  5

  6               I, BRIAN KEITH INGRAM, J.D., have read the
  7    foregoing deposition and hereby affix my signature that
  8    same is true and correct, except as noted above.
  9

 10                   BRIAN KEITH INGRAM, J.D.
 11    STATE OF TEXAS        )
 12    COUNTY OF TRAVIS )
 13               Before me,                                             , on this
 14    the day personally appeared BRIAN KEITH INGRAM, J.D.,
 15    known to me to be the person whose name is subscribed to
 16    the foregoing instrument and acknowledge to me that they
 17    executed the same for the purposes and consideration
 18    therein expressed.
 19               Given under my hand and seal of office
 20    this      day of                                        , 2022.
 21

 22

 23
                      NOTARY PUBLIC IN AND FOR
 24                   THE STATE OF
 25

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  1             IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TEXAS
  2                 SAN ANTONIO DIVISION
  3    LA UNION DEL PUEBLO         §
       ENTERO, ET AL.,         §
  4         Plaintiffs,   § Civil Action No.
                        § 5:21-cv-844 (XR)
  5    VS.                § (Consolidated Cases)
                        §
  6    STATE OF TEXAS, ET AL.     §
            Defendants.      §
  7    **************************************************
  8                 REPORTER'S CERTIFICATION
  9                    ORAL DEPOSITION OF
 10                  BRIAN KEITH INGRAM, J.D.
 11                     APRIL 28, 2022
 12    ****************************************************
 13               I, CAROLINE CHAPMAN, Certified Shorthand
 14    Reporter in and for the State of Texas, hereby certify
 15    to the following:
 16               That the witness, BRIAN KEITH INGRAM, J.D.
 17    was duly sworn by the officer and that the transcript of
 18    the oral deposition is a true record of the testimony
 19    given by the witness
 20               That the deposition transcript was
 21    submitted on May 2, 2022, to the witness or to the
 22    attorney for the witness for examination, signature, and
 23    return to me within 20 days
 24               That the amount of time used by each party
 25    at the deposition is as follows:

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  1               Mr. Freeman - Two hours and fifty-five
  2    minutes.
  3               Mr. Kanterman - One hour and twenty-two
  4    minutes.
  5               That pursuant to information given to the
  6    deposition officer at the time said testimony was taken,
  7    the appearance page includes all parties of record.
  8               I further certify that I am neither
  9    counsel for, related to, nor employed by any of the
 10    parties or attorneys in the action in which this
 11    proceeding was taken, and further that I am not
 12    financially or otherwise interested in the outcome of
 13    the action.
 14               Certified to by me on May 2, 2022.
 15

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      Case Number:

      Case Name:

      Deponent:

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      Date:    ______________________________

      Signature of the Deponent:


      ____________________________________________________

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                                  OCA-REPLY-APPX-019
Exhibit 2




 OCA-REPLY-APPX-020
     Keith Ingram                                      March 28, 2023
                                                                    ·


·1· · · · · · · ·IN THE UNITED STATES DISTRICT COURT
· · · · · · · · ·FOR THE WESTERN DISTRICT OF TEXAS
·2· · · · · · · · · · SAN ANTONIO DIVISION
· · ·LA UNION DEL PUEBLO ENTERO,· · )
·3· ·et al.,· · · · · · · · · · · · )
· · · · · · · · · · · Plaintiffs,· ·)
·4· · · · vs.· · · · · · · · · · · ·)Civil Action No.
· · ·STATE OF TEXAS, et al.,· · · · )5:21-cv-844(XR)
·5· · · · · · · · · · Defendants.· ·)(Consolidated Cases)

·6
· · · · · · · · · · · ------------------------
·7· · · · · · · · · · · · ·ORAL DEPOSITION OF
· · · · · · · · · · · · · ·KEITH INGRAM
·8· · · · · · · · · · · · ·March 28, 2023
· · · · · · · · · · · · · · · ·Volume l
·9· · · · · · · · · · -------------------------

10

11· · · · ORAL 30(b)(1) DEPOSITION OF KEITH INGRAM, Volume

12· ·1, produced as a witness at the instance of the

13· ·Plaintiffs, and duly sworn, was taken in the

14· ·above-styled and numbered cause on March 28, 2023, from

15· ·9:15 a.m. to 4:18 p.m., before Dana Shapiro, CSR, in

16· ·and for the State of Illinois, reported by machine

17· ·shorthand, at 209 W. 14th Street, Austin, Texas 78701,

18· ·pursuant to the Federal Rules of Civil Procedure and

19· ·any provisions stated on the record or attached

20· ·hereto.

21

22

23

24

25




                     OCA-REPLY-APPX-021
     Keith Ingram                                   March 28, 2023
                                                            Page 2


·1· · · · · · · · · · A P P E A R A N C E S

·2

·3· ·FOR PLAINTIFFS OCA/REVUP TEXAS (via ZOOM):

·4· ·MS. LUCIA ROMANO
· · ·DISABILITY RIGHTS TEXAS
·5· ·1500 McGowen, Suite 100
· · ·Houston, Texas 77004
·6· ·713-974-7691
· · ·lromano@disabilityrightstx.org
·7· · · · -and-
· · ·MS. COURTNEY LUTHER
·8· ·DISABILITY RIGHTS TEXAS
· · ·2222 West Braker Lane
·9· ·Austin, Texas 78758
· · ·512-454-4816
10· ·cluther@disabilityrightstx.org

11· ·FOR INTERVENOR-DEFENDANTS HARRIS COUNTY REPUBLICAN
· · ·PARTY, DALLAS COUNTY REPUBLICAN PARTY, REPUBLICAN
12· ·NATIONAL COMMITTEE, NATIONAL REPUBLICAN SENATORIAL
· · ·COMMITTEE AND NATIONAL REPUBLICAN CONGRESSIONAL
13· ·COMMITTEE (appeared via ZOOM):

14· ·MR. STEPHEN J. KENNY
· · ·JONES DAY
15· ·51 Lousiana Avenue, NW
· · ·Washington, D.C. 20001
16· ·202-879-3939
· · ·skenny@jonesday.com
17
· · ·FOR PLAINTIFFS HOUSTON AREA URBAN LEAGUE; DELTA SIGMA
18· ·THETA SORORITY, INC.; THE ARC OF TEXAS; AND JEFFREY
· · ·LAMAR CLEMMONS (appeared via ZOOM):
19
· · ·MS. KATHRYN SADASIVAN
20· ·MR. VICTOR GENECIN
· · ·MS. URUJ SHEIKH
21· ·NAACP LEGAL DEFENSE AND EDUCATIONAL FUND, INC.
· · ·40 Rector Street, Fifth Floor
22· ·New York, New York 10006
· · ·212-965-2200
23· ·ksadasivan@naacpldf.org
· · ·vgenecin@naacpldf.org
24· ·usheikh@naaacpldf.org

25




                     OCA-REPLY-APPX-022
   Keith Ingram                                     March 28, 2023
                                                            Page 3


·1· · · · A P P E A R A N C E S (continued):

·2· ·FOR PLAINTIFFS LA UNION DEL PUEBLO ENTERO SOUTHWEST
· · ·VOTER REGISTRATION EDUCATION PROJECT:
·3
· · ·MS. NINA PERALES
·4· ·MS. JULIA R. LONGORIA(via ZOOM)
· · ·MS. FATIMA L. MENENDEZ(via ZOOM)
·5· ·MEXICAN AMERICAN LEGAL DEFENSE AND EDUCATION FUND
· · ·110 Broadway, Suite 300
·6· ·San Antonio, Texas 78205
· · ·210-224-5476
·7· ·nperales@maldef.org
· · ·jlongoria@maldef.org
·8· ·fmenendez@maldef.org
· · · · · -and-
·9· ·MR. JASON KANTERMAN (via ZOOM)
· · ·MR. KEVIN ZHEN (via ZOOM)
10· ·FRIED, FRANK, HARRIS, SHRIVER & JACOBSON LLP
· · ·One New York Plaza
11· ·New York, New York 10004
· · ·212-859-8519
12· ·Jason.Kanterman@friedfrank.com
· · ·Kevin.Zhen@friedfrank.com
13
· · ·FOR PLAINTIFFS LULAC, TEXAS, VOTO LATINO, TEXAS
14· ·ALLIANCE FOR RETIRED AMERICANS, TEXAS AFT (via ZOOM):

15· ·MS. MARISA O'GARA
· · ·ELIAS LAW GROUP LLP
16· ·250 Massachusetts Avenue, NW, Suite 400
· · ·Washington, D.C. 20001
17· ·202-968-4490
· · ·mogara@elias.law
18

19· ·FOR THE UNITED STATES:

20· ·MR. JUSTIN BENNETT(via ZOOM)
· · ·MR. RICHARD A. DELLHEIM
21· ·MR. MICHAEL E. STEWART
· · ·U.S. DEPARTMENT OF JUSTICE
22· ·CIVIL RIGHTS DIVISION
· · ·950 Pennsylvania Avenue, NW
23· ·Washington, D.C. 20530
· · ·800-253-3931
24· ·Justin.Bennett@usdoj.gov
· · ·Richard.Dellheim@usdoj.gov
25· ·Michael.Stewart3@usdoj.gov




                     OCA-REPLY-APPX-023
     Keith Ingram                                     March 28, 2023
                                                              Page 4


·1· · · · · · · ·A P P E A R A N C E S (continued):

·2· · · · · · · ·-and-
· · ·MR. DANIEL J. FREEMAN
·3· ·U.S. DEPARTMENT OF JUSTICE
· · ·CIVIL RIGHTS DIVISION
·4· ·4 Constitution Square (4CON)
· · ·150 M Street, N.E./8.143
·5· ·Washington, D.C. 20530
· · ·202-305-4355
·6· ·Daniel.Freeman@usdoj.gov

·7· ·FOR DEFENDANTS THE STATE OF TEXAS, GREG ABBOTT, IN HIS
· · ·OFFICIAL CAPACITY AS GOVERNOR OF TEXAS, JANE NELSON, IN
·8· ·HER OFFICIAL CAPACITY OF THE TEXAS SECRETARY OF STATE,
· · ·WARREN K. PAXTON, IN HIS OFFICIAL CAPACITY AS THE TEXAS
·9· ·ATTORNEY GENERAL:

10· ·MS. KATHLEEN HUNKER
· · ·MR. ETHAN SZUMANSKI
11· ·OFFICE OF THE ATTORNEY GENERAL
· · ·P.O. Box 12548
12· ·Austin, Texas 78711-2548
· · ·512-463-2100
13· ·kathleen.hunker@oag.texas.gov
· · ·ethan.szumanski@oag.texas.gov
14
· · ·FOR OFFICE OF THE TEXAS SECRETARY OF STATE:
15
· · ·MR. ADAM BITTER
16· ·OFFICE OF THE SECRETARY OF STATE
· · ·Capitol Building, Rm 1E.8
17· ·P.O Box 12697
· · ·Austin, Texas 78711-2697
18· ·512-475-2813
· · ·abitter@sos.texas.gov
19
· · ·FOR DEFENDANT LISA WISE, IN HER OFFICIAL CAPACITY AS
20· ·THE EL PASO COUNTY ELECTIONS ADMINISTRATOR (via ZOOM):

21· ·MR. GERMAINE HABELL
· · ·COOLEY LLP
22· ·Wells Fargo Center, South Tower
· · ·355 South Grand Avenue, Suite 900
23· ·Los Angeles, California 90071-1560
· · ·213-561-3227
24· ·ghabell@cooley.com

25




                     OCA-REPLY-APPX-024
   Keith Ingram                                       March 28, 2023
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·1· · · · · · · ·A P P E A R A N C E S (continued):

·2· ·FOR DEFENDANTS BEXAR COUNTY ELECTIONS ADMINISTRATOR,
· · ·JACQUELYN CALLANEN AND BEXAR COUNTY DISTRICT ATTORNEY
·3· ·JOE D. GONZALES (via ZOOM):

·4· ·MS. LISA V. CUBRIEL
· · ·ASSISTANT DISTRICT ATTORNEY-CIVIL SECTION
·5· ·BEXAR COUNTY DISTRICT ATTORNEY'S OFFICE
· · ·7th Floor Paul Elizondo Tower
·6· ·101 West Nueva
· · ·San Antonio, Texas 78205-3030
·7· ·210-335-2142
· · ·Lisa.Cubriel@bexar.org
·8
· · ·FOR PLAINTIFF MI FAMILIA VOTA (via ZOOM):
·9
· · ·MS. COURTNEY HOSTETLER
10· ·FREE SPEECH FOR PEOPLE
· · ·1320 Centre Street, #405
11· ·Newton, Massachusetts 02459
· · ·617-249-3015
12· ·chostetler@freespeechforpeople.org

13· ·FOR DEFENDANTS CLIFFORD TATUM, IN HIS OFFICIAL CAPACITY
· · ·AS HARRIS COUNTY ELECTIONS ADMINISTRATOR (via ZOOM):
14
· · ·MR. SAMEER S. BIRRING
15· ·SENIOR ASSISTANT COUNTY ATTORNEY
· · ·OFFICE OF THE HARRIS COUNTY ATTORNEY
16· ·1019 Congress Plaza, 15th Floor
· · ·Houston, Texas 77002
17· ·713-274-5101
· · ·Sameer.Birring@harriscountytx.gov
18
· · ·FOR DEFENDANT HIDALGO COUNTY ELECTIONS ADMINISTRATOR
19· ·DELIA GARZA (via ZOOM):

20· ·MS. LEIGH ANN TOGNETTI
· · ·ASSISTANT DISTRICT ATTORNEY
21· ·100 East Cano, First Floor
· · ·Hidalgo County Courthouse Annex III
22· ·Edinburg, Texas 78539
· · ·956-292-7609
23· ·leigh.tognetti@da.co.hidalgo.tx.us

24
· · ·ALSO PRESENT (via ZOOM):
25· ·MS. MORGAN HUMPHREY
· · ·MS. SAMANTHA KOBOR




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     Keith Ingram                                   March 28, 2023
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                     OCA-REPLY-APPX-026
                                                                 YVer1f
   Keith Ingram                                      March 28, 2023
                                                             Page 7


·1· · · · · · · · · · · ·(WHEREUPON, the witness was duly
·2· · · · · · · · · · · ·sworn.)
·3· · · · · · · · · · · · ·KEITH INGRAM,
·4· ·called as a witness herein, having been first duly
·5· ·sworn, was examined and testified as follows:
·6· · · · · · · · · · · · ·EXAMINATION
·7· ·BY MR. FREEMAN:
·8· · · · ·Q.· · ·My name is Dan Freeman.· This is the
·9· ·general election deposition of Mr. Keith Ingram in the
10· ·matter of La Union Del Pueblo Entero v. Abbott, U.S.
11· ·District Court for the Western District of Texas,
12· ·docket No. 5:21-cv-844.
13· · · · · · · · Again, as you know, my name is Dan Freeman.
14· ·I represent the United States in this matter.· With me
15· ·here today are Mr. Richard Dellheim and Mr. Mike
16· ·Stewart.· And I will let everyone else introduce
17· ·themselves.
18· · · · ·MS. PERALES:· Nina Perales for Plaintiffs LUPE,
19· ·L-U-P-E, et al.
20· · · · ·MS. HUNKER:· Kathleen Hunker and Ethan Szumanski
21· ·representing the State Defendants along with individual
22· ·legislators for the purposes of legislative privilege
23· ·to the extent it's raised today.· With me is Adam
24· ·Bitter, General Counsel for The Office of the Texas
25· ·Secretary of State.




                       OCA-REPLY-APPX-027
                                                                  YVer1f
   Keith Ingram                                     March 28, 2023
                                                           Page 69


·1· ·you talk to the voter registrar to confirm the voter
·2· ·registration and status.
·3· · · · ·Q.· · ·But am I correct that the numbers provided
·4· ·here, driver's license, Social Security number, they
·5· ·are not used to look up the voter, they are used to
·6· ·confirm the voter; is that correct?
·7· · · · ·A.· · ·They are used to make sure the voter has
·8· ·properly identified themself on the application, yes.
·9· · · · ·Q.· · ·Those numbers are not used to find the
10· ·voter in TEAM as part of the ABBM processing, correct?
11· · · · ·A.· · ·No, sir.· I mean not usually.· I guess they
12· ·could look it up by DL number if they wanted to.
13· · · · ·Q.· · ·Do you have any understanding as to
14· ·whether -- strike that.
15· · · · · · · · Do you instruct local officials to do that?
16· · · · ·MS. HUNKER:· Objection, form.
17· ·BY THE WITNESS:
18· · · · ·A.· · ·We don't tell them how they use TEAM.· All
19· ·of the fields are available to look up anything they
20· ·want to look up.
21· ·BY MR. FREEMAN:
22· · · · ·Q.· · ·Are you aware of any local officials using
23· ·the Texas driver's license number or Social Security
24· ·number to look up a voter as part of the initial
25· ·determination of their registration status?




                        OCA-REPLY-APPX-028
                                                                 YVer1f
   Keith Ingram                                        March 28, 2023
                                                              Page 70


·1· · · · ·A.· · ·If that's the way they do it's the way we
·2· ·do.· We don't know about it.
·3· · · · ·Q.· · ·You don't know about it personally?
·4· · · · ·A.· · ·That's right.· Or as an office that's not
·5· ·something we get into.
·6· · · · ·Q.· · ·Okay.
·7· · · · ·A.· · ·We tell them how to do a voter search.
·8· · · · ·Q.· · ·Turn to page 40.· You look at pages 40, 41
·9· ·and 42.· What are the matters set out on these pages in
10· ·the presentation?
11· · · · ·A.· · ·They are talking about the new law, the
12· ·requirement for a number on the carrier envelope.
13· · · · ·Q.· · ·Is there any information here about how the
14· ·numbers are to be used in the mail voting process other
15· ·than as a basis for rejection of a mail ballot?
16· · · · ·A.· · ·That's not what this says.· I don't know
17· ·why would you say -- what are you asking?
18· · · · ·Q.· · ·I'm asking if there is any information here
19· ·about how the numbers are to be used in the mail voting
20· ·process other than as a basis to confirm voter identity
21· ·or reject the ballot?
22· · · · ·MS. HUNKER:· Objection, form.
23· ·BY THE WITNESS:
24· · · · ·A.· · ·They are supposed to look up the number
25· ·provided by the voter to see if it's in the voter




                         OCA-REPLY-APPX-029
                                                                    YVer1f
   Keith Ingram                                    March 28, 2023
                                                         Page 219


·1· · · · · · · · · · · · ·CHANGES AND SIGNATURE
·2· ·KEITH INGRAM
·3· ·March 28, 2023
·4· ·PAGE/LINE· · · · CHANGE· · · · · · · · · · · ·REASON
·5· ·_______________________________________________________
·6· ·_______________________________________________________
·7· ·_______________________________________________________
·8· ·_______________________________________________________
·9· ·_______________________________________________________
10· ·_______________________________________________________
11· ·_______________________________________________________
12· ·_______________________________________________________
13· ·_______________________________________________________
14· ·_______________________________________________________
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17· ·_______________________________________________________
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19· ·_______________________________________________________
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21· ·_______________________________________________________
22· ·_______________________________________________________
23· ·_______________________________________________________
24· ·_______________________________________________________
25· ·_______________________________________________________




                      OCA-REPLY-APPX-030
     Keith Ingram                                     March 28, 2023
                                                            Page 220


·1· · · · · · · ·I, KEITH INGRAM, have read the foregoing
·2· ·deposition and hereby affix my signature that the same
·3· ·is true and correct, except as noted on the previous
·4· ·page.
·5
·6· · · · · · · · · · ________________________________
·7· · · · · · · · · · · · · · ·KEITH INGRAM
·8· ·THE STATE OF __________)
·9· ·COUNTY OF _____________)
10· · · · Before me, _________________, on this day
11· ·personally appeared KEITH INGRAM, known to me (or
12· ·proved to me under oath or through ______________)
13· ·(description of identity card or other document) to be
14· ·the person whose name is subscribed to the foregoing
15· ·instrument and acknowledged to me that he executed the
16· ·same for the purposes and consideration therein
17· ·expressed.
18· · · · Given under my hand and seal of office this _____
19· ·day of _____________, 20____.
20
21· · · · · · · ·________________________________
22· · · · · · · · · · NOTARY PUBLIC IN AND FOR
23· · · · · · · · · · THE STATE OF ___________________
24· · · · · · · · · · COMMISSION EXPIRES: ____________
25




                     OCA-REPLY-APPX-031
     Keith Ingram                                      March 28, 2023
                                                             Page 221


·1· · · · · · · ·IN THE UNITED STATES DISTRICT COURT
· · · · · · · · ·FOR THE WESTERN DISTRICT OF TEXAS
·2· · · · · · · · · · SAN ANTONIO DIVISION
· · ·LA UNION DEL PUEBLO ENTERO,· · )
·3· ·et al.,· · · · · · · · · · · · )
· · · · · · · · · · · Plaintiffs,· ·)
·4· · · · vs.· · · · · · · · · · · ·)Civil Action No.
· · ·STATE OF TEXAS, et al.,· · · · )5:21-cv-844(XR)
·5· · · · · · · · · · Defendants.· ·)(Consolidated Cases)

·6

·7· · · · · · · · · ·REPORTER'S CERTIFICATION
· · · · · · · · · · · · ORAL DEPOSITION OF
·8· · · · · · · · · · · · ·KEITH INGRAM
· · · · · · · · · · · · · March 28, 2023
·9

10· · · · I, Dana Shapiro, a Certified Shorthand Reporter,

11· ·hereby certify to the following:

12· · · · That the witness, KEITH INGRAM, was duly sworn by

13· ·the officer and that the transcript of the oral

14· ·deposition is a true record of the testimony given by

15· ·the witness;

16· · · · I further certify that pursuant to FRCP Rule

17· ·30(e)(1) that the signature of the deponent:

18· ·was requested by the deponent or a party before the

19· ·completion of the deposition and that the signature is

20· ·to be before any notary public and returned within 30

21· ·days from date of receipt of the transcript.· If

22· ·returned, the attached Changes and Signature Pages

23· ·contain any changes and reasons therefore;

24· · · · I further certify that I am neither counsel for,

25· ·related to, nor employed by any of the parties or




                     OCA-REPLY-APPX-032
     Keith Ingram                                      March 28, 2023
                                                             Page 222


·1· ·attorneys in the action in which this proceeding was

·2· ·taken, and further that I am not financially or

·3· ·otherwise interested in the outcome of the action.

·4· · · · Certified to by me this April 10, 2023.

·5

·6· · · · · · · ·_____________________________
· · · · · · · · ·Dana Shapiro
·7· · · · · · · ·Illinois CSR 84-3597
· · · · · · · · ·Expiration: 5/31/23
·8· · · · · · · ·Magna Legal Services
· · · · · · · · ·Firm Registration No. 633
·9· · · · · · · ·1635 Market Street
· · · · · · · · ·8th Floor
10· · · · · · · ·Philadelphia, PA 19103

11

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                     OCA-REPLY-APPX-033
     Keith Ingram                                   March 28, 2023
                                                          Page 223


·1· ·COUNTY OF TRAVIS )

·2· ·STATE OF TEXAS· ·)

·3· · · · I hereby certify that the witness was notified on

·4· ·_______________________, that the witness has 30 days

·5· ·after being notified by the officer that the transcript

·6· ·is available for review by the witness and if there are

·7· ·changes in the form or substance to be made, then the

·8· ·witness shall sign a statement reciting such changes

·9· ·and the reasons given by the witness for making them;

10· · · · That the witness' signature was/was not returned

11· ·as of ________________________.

12· · · · Subscribed and sworn to on this _____ day of

13· ·___________, 20___.

14

15· · · · · · · ·_____________________________
· · · · · · · · ·Dana Shapiro
16· · · · · · · ·Illinois CSR 84-3597
· · · · · · · · ·Expiration: 5/31/23
17· · · · · · · ·Magna Legal Services
· · · · · · · · ·Firm Registration No. 633
18· · · · · · · ·1635 Market Street
· · · · · · · · ·8th Floor
19· · · · · · · ·Philadelphia, PA 19103

20

21

22

23

24

25




                     OCA-REPLY-APPX-034
Exhibit 3




 OCA-REPLY-APPX-035
   Frank Phillips                                        March 31, 2023
                                                                      ·


·1· · · · · · · IN THE UNITED STATES DISTRICT COURT
· · · · · · · · ·FOR THE WESTERN DISTRICT OF TEXAS
·2· · · · · · · · · · ·SAN ANTONIO DIVISION

·3· · LA UNIÓN DEL PUEBLO §
· · · ENTERO, ET AL.,· · · §
·4· · · · · · · · · · · · ·§
· · · · · · PLAINTIFFS,· · §
·5· · · · · · · · · · · · ·§
· · · · · · V.· · · · · · ·§· CIVIL ACTION NO.5:21-CV-844 (XR)
·6· · · · · · · · · · · · ·§· (CONSOLIDATED CASES)
· · · STATE OF TEXAS, ET· ·§
·7· · AL.,· · · · · · · · ·§
· · · · · · · · · · · · · ·§
·8· · · · · DEFENDANTS.· · §

·9
· · ·********************************************************
10
· · · · · · · · · · · · ORAL DEPOSITION OF
11
· · · · · · · · · · · · · FRANK PHILLIPS
12
· · · · · · · · · · · · · MARCH 31, 2023
13
· · ·*******************************************************
14

15· · · · · ORAL DEPOSITION OF FRANK PHILLIPS, PRODUCED AS A

16· ·WITNESS AT THE INSTANCE OF THE PLAINTIFF, AND DULY

17· ·SWORN, WAS TAKEN IN THE ABOVE-STYLED AND -NUMBERED CAUSE

18· ·ON THE 31ST DAY OF MARCH, 2023, FROM 9:14 A.M. TO

19· ·12:40 P.M., BEFORE KAREN A. GONZALEZ, COMMISSIONED

20· ·NOTARY, IN AND FOR THE STATE OF TEXAS, REPORTED BY

21· ·MACHINE SHORTHAND, FROM DALLAS COUNTY, TEXAS, PURSUANT

22· ·TO THE TEXAS RULES OF CIVIL PROCEDURE, THE TEXAS SUPREME

23· ·COURT EMERGENCY ORDER REGARDING THE COVID-19 STATE OF

24· ·DISASTER AND THE PROVISIONS STATED ON THE RECORD OR

25· ·ATTACHED HERETO.




                        OCA-REPLY-APPX-036
                                                                      YVer1f
Frank Phillips                                                                                                   March 31, 2023
                                                                                                                   Pages 2 to 5
                                                      Page 2                                                                Page 4
·1· · · · · · · · · · ·A P P E A R A N C E S                    ·1· · · · · · · REPORTED FROM DALLAS COUNTY, TEXAS
·2
·3· ·FOR THE PLAINTIFF:                                         ·2· · · · · · · · · · P R O C E E D I N G S
·4· · · MS. JENNIFER YUN                                        ·3
· · · · ATTORNEYS, VOTING SECTION
·5· · · CIVIL RIGHTS DIVISION                                   ·4
· · · · U.S. DEPARTMENT OF JUSTICE                              ·5· · · · · · · ·THE REPORTER:· WE ARE NOW ON THE RECORD.
·6· · · 950 PENNSYLVANIA AVENUE NW
· · · · WASHINGTON, D.C. 20530                                  ·6· ·TODAY IS MARCH 31ST, 2023.· THE TIME IS NOW 9:14 A.M.
·7· · · TELEPHONE:· ·(202) 307-2767                             ·7· ·CENTRAL STANDARD TIME.
· · · · E-MAIL:· · · JENNIFER.YUN@USDOJ.GOV
·8                                                              ·8· · · · · · · ·WE ARE HERE TO TAKE MR. FRANK PHILLIPS'S
· · · · MR. WILLIAM D'ANGELO (VIA ZOOM)
                                                                ·9· ·DEPOSITION IN THE MATTER LA UNIÓN DEL PUEBLO ENTERO, ET
·9· · · ARENTFOX SCHIFF
· · · · 555 WEST FIFTH STREET                                   10· ·AL., PLAINTIFFS, VS. STATE OF TEXAS, ET AL., DEFENDANTS.
10· · · 48TH FLOOR LOS ANGELES
· · · · CALIFORNIA 90013                                        11· · · · · · · ·WE ARE CURRENTLY LOCATED AT 2001 BEACH
11· · · TELEPHONE:· ·(213) 443-7667                             12· ·STREET, SUITE 700, FORT WORTH, TEXAS, 76103.
· · · · E-MAIL:· · · WILLIAM.DANGELO@AFSLAW.COM
12                                                              13· · · · · · · ·AT THIS TIME, WILL COUNSEL STATE YOUR
13· ·FOR THE DEFENDANTS:                                        14· ·APPEARANCE FOR THE RECORD, PLEASE.
14· · · MS. KATHLEEN HUNKER
· · · · OFFICE OF THE ATTORNEY GENERAL FOR THE STATE OF TEXAS   15· · · · · · · ·MS. YUN:· JENNIFER YUN FROM THE DEPARTMENT
15· · · P.O. BOX 12548 (MC-009)                                 16· ·OF JUSTICE.
· · · · AUSTIN, TEXAS 78711,
16· · · TELEPHONE:· ·(512) 463-2100                             17· · · · · · · ·MS. HUNKER:· KATHLEEN HUNKER WITH THE OFFICE
· · · · E-MAIL:· · · KATHLEEN.HUNKER@OAG.TEXAS.GOV              18· ·OF THE TEXAS ATTORNEY GENERAL REPRESENTING STATE
17
18· · · INTERVENOR DEFENDANTS:                                  19· ·DEFENDANTS AND INDIVIDUAL EX-LEADERS.
19· · · MR. STEPHEN J. KENNY (VIA ZOOM)
                                                                20· · · · · · · ·MR. D'ANGELO:· WILLIAM D'ANGELO FROM
· · · · JONES DAY
20· · · 51 LOUISIANA AVENUE N.W.                                21· ·ARENTFOX SCHIFF REPRESENTING -- CO-COUNSEL FOR THE
· · · · WASHINGTON, D.C. 20001
21· · · TELEPHONE:· ·(202) 879-3939                             22· ·PLAINTIFFS.
· · · · E-MAIL:· · · SKENNY@JONESDAY.COM                        23· · · · · · · ·THE REPORTER:· ANYBODY ELSE FROM ZOOM?
22
23                                                              24· · · · · · · ·MR. KENNY:· STEPHEN KENNY, JONES DAY,
24                                                              25· ·REPRESENTING THE INTERVENOR DEFENDANTS.
25

                                                      Page 3                                                                Page 5
·1· · · · · · · · · · · · · ·I N D E X                          ·1· · · · · · · ·THE REPORTER:· THANK YOU.
·2                                                              ·2· · · · · · · ·MR. FRANK PHILLIPS, IF YOU COULD PLEASE
·3· ·APPEARANCES. . . . . . . . . . . . . . . . .· · · ·2
                                                                ·3· ·RAISE YOUR RIGHT HAND.
·4· ·SWORN STATEMENT OF FRANK PHILLIPS
                                                                ·4· · · · · · · ·THE WITNESS:· I DO.
·5· · · EXAMINATION BY MS. YUN. . . . . . . . . .· · · ·5
·6· · · EXAMINATION BY MS. HUNKER . . . . . . . .· · · 96       ·5· · · · · · · · · · · · FRANK PHILLIPS,
·7· · · FURTHER EXAMINATION BY MS. YUN. . . . . .· · · 107      ·6· · · · · HAVING BEEN FIRST DULY SWORN, WAS EXAMINED
·8· · · FURTHER EXAMINATION BY MS. HUNKER . . . .· · · 113      ·7· · · · · · · · · AND TESTIFIED AS FOLLOWS:
· · ·CHANGES AND SIGNATURE. . . . . . . . . . . .· · · 116
                                                                ·8· · · · · · · · · · · · ·EXAMINATION
·9· ·JURAT. . . . . . . . . . . . . . . . . . . .· · · 117
                                                                ·9· ·BY MS. YUN:
· · ·REPORTER'S CERTIFICATE . . . . . . . . . . .· · · 118
12                                                              10· · · Q.· GOOD MORNING, MR. PHILLIPS.
13                                                              11· · · A.· GOOD MORNING.
14· · · · · · · · · · · · E X H I B I T S                       12· · · Q.· WE MET ALREADY, BUT I'M JENNIFER YUN FROM THE
15
                                                                13· ·U.S. DEPARTMENT OF JUSTICE.
16· ·NO.· DESCRIPTION· · · · · · · · · · · · · · · · · PAGE
                                                                14· · · A.· OKAY.
17· ·1· · WFAA ARTICLE . . . . . . . . . . . . . . . .· ·18
· · ·2· · DENTON RECORD-CHRONICLE ARTICLE 5/7/21 . . .· ·26     15· · · Q.· THANK YOU FOR JOINING US THIS MORNING.
18· ·3· · DENTON COUNTY VOTER REGISTRATION FIGURES . .· ·32     16· · · A.· SURE.
· · ·4· · TARRANT COUNTY VOTER REGISTRATION FIGURES. .· ·34     17· · · Q.· COULD YOU PLEASE STATE YOUR NAME FOR THE RECORD?
19· ·5· · WFAA ARTICLE ON MAIL-IN VOTING . . . . . . .· ·36
                                                                18· · · A.· FRANK PHILLIPS.
· · ·6· · SPREADSHEET MARCH 2022 PRIMARY ELECTION MAIL BALLOT
                                                                19· · · Q.· BEFORE WE DO ANYTHING ELSE, I WANT TO MAKE SURE
20· ·REJECTION . . . . . . . . . . . . . . . . . . . .· ·45
· · ·7· · E-MAIL CHAIN DATED 4/1/22. . . . . . . . . .· ·56     20· ·WE HAVE A SMOOTH DEPOSITION.
21· ·8· · ABBM FORM. . . . . . . . . . . . . . . . . .· ·95     21· · · · · ARE YOU -- HAVE YOU EVER BEEN DEPOSED BEFORE?
· · ·9· · CARRIER ENVELOPE . . . . . . . . . . . . . .· ·95     22· · · A.· I HAVE NOT.
22
                                                                23· · · Q.· SO HERE'S SOME GROUND RULES TO HELP US THROUGHOUT
23
                                                                24· ·THE DEPOSITION.· SO FIRST THIS WORKS BEST FOR THE COURT
24
25                                                              25· ·REPORTER IF YOU WAIT TO START YOUR ANSWER UNTIL I




                                          OCA-REPLY-APPX-037
                                                                                                                                     YVer1f
Frank Phillips                                                                                                             March 31, 2023
                                                                                                                             Pages 6 to 9
                                                               Page 6                                                                   Page 8
·1· ·COMPLETELY FINISH MY QUESTION.                                     ·1· · · · · DO YOU HAVE ANY QUESTIONS?
·2· · · · · IS THAT OKAY WITH YOU?                                      ·2· · · A.· NO, MA'AM.
·3· · · A.· SURE.                                                       ·3· · · Q.· I WILL START WITH SOME BASIC BACKGROUND
·4· · · Q.· AND THE COURT REPORTER CANNOT INDICATE ANY HEAD             ·4· ·QUESTIONS.
·5· ·NODS OR OTHER GESTURES OR UMMM, YOU KNOW, SOUNDS, SO --            ·5· · · · · WHERE DO YOU WORK?
·6· ·SO EVERY ANSWER NEEDS TO BE VERBAL.                                ·6· · · A.· I WORK FOR DENTON COUNTY AS THE DENTON COUNTY
·7· · · · · IS THAT OKAY WITH YOU?                                      ·7· ·ELECTIONS ADMINISTRATOR.
·8· · · A.· YES.                                                        ·8· · · Q.· COULD YOU EXPLAIN WHAT YOUR POSITION ENTAILS?
·9· · · Q.· ARE YOU BEING REPRESENTED BY AN ATTORNEY TODAY?             ·9· · · A.· YES.· THE GENERAL OVERSIGHT OF ALL OF THE
10· · · · · · · ·MS. HUNKER:· I'M REPRESENTING THE STATE                10· ·ELECTIONS IN DENTON COUNTY AND VOTER REGISTRATION IN
11· ·DEFENDANTS.· MR. PHILIPS DOES NOT HAVE A SPECIFIC                  11· ·GENERAL.
12· ·ATTORNEY WITH HIM TODAY.                                           12· · · Q.· WHO DO YOU REPORT TO?
13· · · A.· CORRECT.                                                    13· · · A.· THAT'S A LITTLE COMPLICATED IN TEXAS.· I AM HIRED
14· · · Q.· (BY MS. YUN)· OKAY.· MS. HUNKER MAY STILL OBJECT            14· ·BY AN ELECTION COMMISSION.· AND THEN IN MY DAY-TO-DAY
15· ·TO A QUESTION, AND AS WOULD -- AS CAN ANY OTHER                    15· ·ACTIVITY, I REPORT TO THE COUNTY JUDGE OF DENTON COUNTY.
16· ·ATTORNEYS ON THE -- ON ZOOM.· BUT YOU SHOULD STILL                 16· · · Q.· AND IS THE COUNTY COMMISSION -- THE ELECTIONS
17· ·ANSWER THE QUESTION UNLESS THERE'S ANY SPECIFIC                    17· ·COMMISSION, IS THAT A -- WHO MAKES UP THAT COMMISSION?
18· ·INSTRUCTION NOT TO.                                                18· · · A.· THE ELECTION COMMISSION IS MADE UP OF THE COUNTY
19· · · A.· OKAY.                                                       19· ·JUDGE, THE TAX ASSESSOR/COLLECTOR, COUNTY CLERK, THE
20· · · Q.· IF YOU DON'T UNDERSTAND A QUESTION OR NEED ANY              20· ·REPUBLICAN PARTY CHAIR OF DENTON COUNTY, AND THE
21· ·CLARIFICATION, COULD YOU PLEASE SAY SO?                            21· ·DEMOCRATIC PARTY CHAIR OF DENTON COUNTY.
22· · · A.· YES.                                                        22· · · Q.· HOW LONG HAVE YOU BEEN IN YOUR CURRENT POSITION?
23· · · Q.· ON THE OTHER HAND, IF YOU ASK -- ANSWER WITHOUT             23· · · A.· I INITIALLY BECAME THE ELECTION ADMINISTRATOR IN
24· ·ASKING FOR CLARIFICATION, I'LL ASSUME THAT YOU                     24· ·DENTON COUNTY IN 2009.· I LEFT IN 2014 AND BECAME THE
25· ·UNDERSTOOD MY QUESTION.                                            25· ·ELECTION ADMINISTRATOR IN TARRANT COUNTY.· AND THEN IN


                                                               Page 7                                                                   Page 9
·1· · · · · IS THAT FAIR?                                               ·1· ·2016, I LEFT AND CAME BACK TO DENTON COUNTY AND I'VE
·2· · · A.· YES.                                                        ·2· ·BEEN THERE SINCE.
·3· · · Q.· IS THERE ANY REASON YOUR MEMORY OR ABILITY TO               ·3· · · Q.· AND DID YOU HOLD ANY OTHER POSITION WITHIN THE
·4· ·ANSWER QUESTIONS WOULD BE IMPAIRED TODAY?                          ·4· ·DENTON COUNTY ELECTIONS OFFICE PRIOR TO 2009?
·5· · · A.· NO.                                                         ·5· · · A.· NO.
·6· · · Q.· IS THERE ANY REASON YOUR ABILITY TO EFFECTIVELY             ·6· · · Q.· WHAT DID YOU DO BEFORE YOU JOINED THE DENTON
·7· ·COMMUNICATE YOUR ANSWERS WILL BE IMPAIRED TODAY?                   ·7· ·COUNTY ELECTIONS OFFICE IN 2009?
·8· · · A.· NO.                                                         ·8· · · A.· I WAS THE DIRECTOR OF ADMINISTRATION FOR OUR
·9· · · Q.· HAVE YOU CONSUMED ANY PRESCRIPTION MEDICATION,              ·9· ·COUNTY JUDGE, AND I HAD BEEN IN THAT POSITION SINCE
10· ·DRUGS, ALCOHOL, OR SUFFERED ANY CONDITION OR INJURY THAT           10· ·2003.
11· ·MAY PREVENT YOU FROM TESTIFYING TRUTHFULLY AND                     11· · · Q.· AND DID THAT POSITION ENTAIL ANY ELECTION-RELATED
12· ·ACCURATELY TODAY?                                                  12· ·DUTIES?
13· · · A.· NO.                                                         13· · · A.· NOT DIRECTLY.· THE ONLY THING EVEN REMOTELY
14· · · Q.· I WANT TO REMIND YOU THAT YOU'RE UNDER OATH AND             14· ·CONNECTED WAS ANYTHING THAT WENT ON COMMISSIONERS COURT,
15· ·SUBJECT TO PENALTIES FOR GIVING FALSE OR MISLEADING                15· ·EVEN IF IT WAS THEIR AGENDA, EVEN IF IT WAS
16· ·TESTIMONY.· SO THAT -- SO IT'S IMPORTANT THAT YOU ANSWER           16· ·ELECTION-RELATED HAD TO GO THROUGH ME TO GET ON THE
17· ·MY QUESTIONS TRUTHFULLY AND ACCURATELY AND COMPLETELY.             17· ·AGENDA, AN ADMINISTRATIVE FUNCTION, SORRY.
18· · · · · IS THAT FAIR?                                               18· · · Q.· RIGHT.· SO EVERYTHING HAD TO GO THROUGH YOU IN
19· · · A.· YES.                                                        19· ·ORDER TO GET ON THAT AGENDA.
20· · · Q.· AND FINALLY, IF YOU NEED A BREAK, JUST LET ME               20· · · A.· CORRECT.
21· ·KNOW AND WE CAN TAKE ONE.· HOWEVER, I WILL ASK THAT YOU            21· · · Q.· INCLUDING ELECTION-RELATED FUNCTIONS.
22· ·ANSWER ANY PENDING QUESTION BEFORE WE TAKE A BREAK.                22· · · A.· CORRECT.
23· · · · · IS THAT OKAY?                                               23· · · Q.· AND WHAT DID YOU DO BEFORE 2003?
24· · · A.· YES.                                                        24· · · A.· I WAS -- IMMEDIATELY BEFORE THAT, I WAS -- HAD A
25· · · Q.· GREAT.                                                      25· ·CONTRACT POSITION THROUGH THE STATE DEPARTMENT WITH




                                                OCA-REPLY-APPX-038
                                                                                                                                                 YVer1f
Frank Phillips                                                                                                              March 31, 2023
                                                                                                                            Pages 18 to 21
                                                                Page 18                                                                   Page 20
·1· ·YOUR CONVERSATIONS WITH MS. HUNKER.                                  ·1· ·GENERAL'S OFFICE DID WORK ON THIS INVESTIGATION AND
·2· · · · · HAVE YOU SPOKEN TO ANYONE ELSE IN HER OFFICE, THE             ·2· ·PROSECUTION, AND THAT IS STILL ONGOING.· THE TRIAL DATE
·3· ·OFFICE OF THE ATTORNEY GENERAL OF TEXAS, ABOUT THIS                  ·3· ·IS GOING TO BE SET PRETTY SOON.
·4· ·CASE?                                                                ·4· · · · · · · ·AND SO I'M GOING TO ADVISE THE WITNESS TO
·5· · · A.· NO.                                                           ·5· ·ONLY DISCLOSE INFORMATION THAT WAS EITHER PUBLIC OR HE
·6· · · Q.· OKAY.· AND I ASKED YOU EARLIER ABOUT WHETHER YOU              ·6· ·BELIEVES WOULD NOT COMPROMISE ANY OF THE INVESTIGATION
·7· ·SPOKE TO THE SECRETARY OF STATE'S OFFICE ABOUT THIS                  ·7· ·OR PROSECUTION AS IT'S GOING FORWARD.
·8· ·DEPOSITION.                                                          ·8· · · · · · · ·MS. YUN:· YEAH, I WOULD JUST LIKE TO CLARIFY
·9· · · · · HAVE YOU SPOKEN TO ANYONE FROM THE SECRETARY OF ·9· ·OR FOR THE RECORD THAT I'M SEEKING TESTIMONY CONCERNING
10· ·STATE'S OFFICE ABOUT THIS CASE?                                      10· ·YOUR -- THE WITNESS'S FIRSTHAND KNOWLEDGE ABOUT THE
11· · · A.· NO.                                                           11· ·INCIDENT AND NOT THE CONTEXT OF ANY INVESTIGATORY FILE.
12· · · Q.· (BY MS. YUN)· OKAY.· I AM GOING TO HAND YOU WHAT              12· · · Q.· (BY MS. YUN)· SO IT IS ABOUT YOUR KNOWLEDGE ABOUT
13· ·HAS BEEN MARKED AS EXHIBIT 1.                                        13· ·THE CASE AS YOU WERE, FOR EXAMPLE, SPEAKING TO THE
14· · · · · CAN YOU DESCRIBE WHAT IT IS?                                  14· ·REPORTER IN 2020, NOT RELATED TO ANYTHING THAT THE OAG
15· · · · · · · · · ·(EXHIBIT 1 MARKED.)                                  15· ·MAY HAVE DONE IN ITS COURSE OF THE INVESTIGATION.
16· · · A.· LET ME LOOK AT THE WHOLE THING.                               16· · · A.· OKAY.· REPEAT YOUR INITIAL QUESTION.
17· · · Q.· (BY MS. YUN)· SURE.· TAKE YOUR TIME.                          17· · · Q.· SURE.
18· · · · · · · ·(PAUSE IN PROCEEDINGS.)                                  18· · · · · COULD YOU JUST TELL ME MORE ABOUT YOUR -- HOW
19· · · A.· OKAY.· YEAH, THIS APPEARS TO BE AN ARTICLE FROM               19· ·YOUR OFFICE WAS ABLE TO IDENTIFY THIS ISSUE IN 2020?
20· ·-- I BELIEVE IT'S -- I BELIEVE IT'S WFAA, WHICH IS                   20· · · · · · · ·MS. HUNKER:· AND SAME OBJECTION AND ADVICE.
21· ·CHANNEL 8 IN DFW, BUT IT'S A PRINTED ARTICLE.                        21· · · A.· I'M A LITTLE UNCOMFORTABLE TO GET INTO DETAILS,
22· · · Q.· (BY MS. YUN)· RIGHT.                                          22· ·BECAUSE IT IS ONGOING AND HAS NOT BEEN TO TRIAL YET.
23· · · A.· YEAH.· IT'S A WFAA REPORT.· YEAH.                             23· · · · · I'LL GENERICALLY SAY WHAT IT SAID RIGHT HERE IN
24· · · Q.· AND HAVE YOU SEEN IT BEFORE?                                  24· ·PRINT, THAT WE NOTICED THAT THERE WERE A NUMBER OF
25· · · A.· I HAVE, YES.                                                  25· ·APPLICATIONS BEING SENT TO A SPECIFIC ADDRESS THAT


                                                                Page 19                                                                   Page 21
·1· · · Q.· DO YOU RECALL GIVING STATEMENTS TO WFAA FOR THIS              ·1· ·RAISED A RED FLAG FOR US.
·2· ·ARTICLE?                                                             ·2· · · Q.· (BY MS. YUN)· AND WHAT HAPPENED NEXT WHEN THAT
·3· · · A.· I DO.                                                         ·3· ·RED FLAG WAS RAISED?· WHAT HAPPENED?
·4· · · Q.· DO YOU HAVE ANY REASON TO BELIEVE THAT THE                    ·4· · · A.· I WANT TO CLARIFY ONE THING HERE.· YOU ASKED ME
·5· ·ARTICLE DOES NOT ACCURATELY REFLECT THE STATEMENTS YOU               ·5· ·IF MY QUOTES IN HERE, IF THEY WERE ACCURATE, AND I
·6· ·GAVE TO WFAA?                                                        ·6· ·ANSWERED YES.· AND I STILL THINK THAT'S YES.· BUT ONE OF
·7· · · A.· NO, I BELIEVE THEY'RE ACCURATE.                               ·7· ·THE THINGS THAT I SEE HERE THAT'S NOT A QUOTE OF MINE --
·8· · · Q.· OKAY.· I'D LIKE TO DIRECT YOUR ATTENTION TO                   ·8· · · Q.· UH-HUH.
·9· ·PAGE 4 OF THE ARTICLE.· SO IT'S WHERE THE SCREENSHOT OF              ·9· · · A.· -- IS IT SAYS, THEY WERE BEING SENT TO A P.O.
10· ·YOUR --                                                              10· ·BOX.· THAT'S NOT ACCURATE.· THEY WERE BEING SENT TO A --
11· · · A.· OKAY.                                                         11· ·A COMMERCIAL MAILBOX.· A P.O. BOX IS A USPS --
12· · · Q.· -- CONVERSATION, I BELIEVE, WITH THE REPORTER?                12· · · Q.· UH-HUH.
13· · · A.· OKAY.                                                         13· · · A.· -- IT WAS NOT A USPS.
14· · · Q.· SO, IT SAYS TOWARDS THE TOP, "FRANK PHILLIPS, THE             14· · · Q.· I SEE.
15· ·ELECTIONS ADMINISTRATOR FOR DENTON COUNTY, TOLD WFAA                 15· · · A.· IT WAS A COMMERCIAL MAILBOX.
16· ·THAT HE ALERTED AUTHORITIES ABOUT THE REQUESTED ABSENTEE             16· · · Q.· GOT IT.
17· ·BALLOTS WHEN HE NOTICED THEY WERE BEING SENT TO A P.O.               17· · · A.· I THINK THEY PROBABLY USED P.O. BOX GENERICALLY
18· ·BOX.· 'WHEN YOU SEE THAT -- WHEN WE SEE THAT, WE                     18· ·HERE.
19· ·DOUBLE-CHECK THE ADDRESS,' PHILLIPS SAID.· 'IT SENDS UP              19· · · Q.· UNDERSTOOD.
20· ·A RED FLAG WHEN YOU HAVE A LARGE NUMBER OF BALLOTS GOING             20· · · A.· BUT, ANYWAY, SO WE NOTICED THEM GOING TO -- A
21· ·SOMEWHERE LIKE THAT.'"                                               21· ·LARGE NUMBER GOING TO ONE ADDRESS.· WE RESEARCHED THAT
22· · · · · COULD YOU TELL ME MORE ABOUT HOW YOUR OFFICE WAS              22· ·ADDRESS BECAUSE THAT ADDRESS IS NOT A RESIDENTIAL
23· ·ABLE TO IDENTIFY THIS INCIDENT IN 2020?                              23· ·ADDRESS IN OUR VOTER REGISTRATION SYSTEM AND DETERMINED
24· · · · · · · ·MS. HUNKER:· OKAY.· SO I'M GOING TO RAISE AN             24· ·THAT IT WAS A COMMERCIAL MAILBOX FACILITY.
25· ·OBJECTION ON INVESTIGATIVE PRIVILEGE.· THE ATTORNEY                  25· · · Q.· AND THEN WHAT HAPPENED NEXT?




                                                   OCA-REPLY-APPX-039
                                                                                                                                                    YVer1f
Frank Phillips                                                                                                            March 31, 2023
                                                                                                                          Pages 22 to 25
                                                               Page 22                                                                  Page 24
·1· · · A.· WE GATHERED THOSE APPLICATIONS.· AND THEN AT THAT            ·1· · · A.· I DON'T REMEMBER THE EXACT NUMBER, BECAUSE THE 84
·2· ·POINT, I BELIEVED THAT THERE WAS A POSSIBILITY OF SOME              ·2· ·COULD BE CUMULATIVE.· I'M NOT CERTAIN.· BUT I BELIEVE
·3· ·MAIL VOTING FRAUD TAKING PLACE OF -- I DID TWO THINGS.              ·3· ·SOME OF THOSE MAY HAVE BEEN SENT TO DALLAS COUNTY.· SO
·4· ·I HAD PREVIOUSLY WORKED IN TARRANT COUNTY WITH AN                   ·4· ·THAT COULD INCLUDE SOME OF THOSE.· I'M NOT SURE.
·5· ·INVESTIGATOR FROM THE AG'S OFFICE ON SOME SIMILAR THING.            ·5· · · Q.· (BY MS. YUN)· I SEE.
·6· ·SO I TRIED TO FIND HIS PHONE NUMBER.                                ·6· · · · · SO WOULD IT BE FAIR TO SAY THAT ABOUT 110 ILLEGAL
·7· · · Q.· UH-HUH.                                                      ·7· ·VOTES WERE ATTEMPTED IN THIS CASE?
·8· · · A.· I COULDN'T DO IT.· SO I WASN'T SUCCESSFUL THERE.             ·8· · · · · · · ·MS. HUNKER:· OBJECTION; FORM.
·9· · · · · I E-MAILED THE SECRETARY OF STATE'S OFFICE AND --            ·9· · · A.· YEAH, I'M NOT SURE ABOUT THAT.
10· ·ON THEIR GENERIC ELECTIONS E-MAIL ASKING SOMEONE TO                 10· · · Q.· (BY MS. YUN)· OKAY.· HAVE YOU BEEN ASKED TO
11· ·CONTACT ME.· AND THEN I CONTACTED OUR SHERIFF'S                     11· ·TESTIFY IN THE CRIMINAL CASE?
12· ·DEPARTMENT.                                                         12· · · A.· I HAVE NOT, BECAUSE NO COURT DATE HAS BEEN SET.
13· · · Q.· AND OVER -- DO YOU REMEMBER OVER THE -- HOW                  13· · · · · OR LET ME REPHRASE THAT.· I BELIEVE THE INITIAL
14· ·LONG -- STRIKE THAT --                                              14· ·COURT DATE WAS SET AND IT WAS -- HAS BEEN RESET.· SO NO,
15· · · · · ABOUT HOW MANY APPLICATIONS FOR BALLOT BY MAIL               15· ·I HAVEN'T.
16· ·WERE THERE AT THE TIME WHEN YOU LOOKED UP THE ADDRESS?              16· · · Q.· WAS YOUR UNDERSTANDING THAT WHEN THE INITIAL
17· · · A.· I DON'T REMEMBER THE NUMBER AT THE TIME WHEN WE              17· ·COURT DATE WAS SET, THAT YOU WOULD TESTIFY AT TRIAL AT
18· ·FIRST LOOKED IT UP.· I MEAN, ENOUGH TO RAISE ATTENTION.             18· ·THAT TIME?
19· · · Q.· AND WAS IT SOMEONE THAT YOU WERE SUPERVISING WHO             19· · · A.· THAT'S ONLY AN ASSUMPTION ON MY PART, BUT I HAD
20· ·RAISED THAT CONCERN WITH YOU OR DID YOU NOTICE IT                   20· ·NOT ACTUALLY BEEN CONTACTED.· I CONTACTED THE DISTRICT
21· ·YOURSELF?· HOW DID IT COME ABOUT?                                   21· ·ATTORNEY'S OFFICE JUST TO INQUIRE, AND THEY SAID A DATE
22· · · A.· IT WAS SOMEONE I WAS SUPERVISING.                            22· ·HAD BEEN SET.· AND THEN HE INFORMED ME A FEW DAYS LATER
23· · · Q.· AND --                                                       23· ·IT HAD BEEN RESET FOR I DON'T KNOW WHAT REASON.
24· · · · · · · ·MS. HUNKER:· CAN WE GO OFF THE RECORD?                  24· · · Q.· I SEE.
25· · · · · · · ·MS. YUN:· YEAH.                                         25· · · · · WHEN, TO THE BEST OF YOUR RECOLLECTION, DID YOU


                                                               Page 23                                                                  Page 25
·1· · · · · · · ·THE REPORTER:· OFF THE RECORD AT 9:43 A.M.,             ·1· ·CONTACT THE DA'S OFFICE?
·2· ·CENTRAL STANDARD TIME.                                              ·2· · · A.· IT WAS PROBABLY -- I COULD BE A LITTLE OFF HERE,
·3· · · · · · · ·(OFF THE RECORD.)                                       ·3· ·BUT PROBABLY JANUARY, MAYBE FEBRUARY.
·4· · · · · · · ·THE REPORTER:· BACK ON THE RECORD AT                    ·4· · · Q.· OF THIS YEAR --
·5· ·9:43 A.M.                                                           ·5· · · A.· THIS YEAR, YES, MA'AM, 2023.
·6· · · Q.· (BY MS. YUN)· I'M GOING TO DIRECT YOUR ATTENTION             ·6· · · Q.· IS THERE ANY OTHER FACTS THAT YOU KNOW THAT BEAR
·7· ·TO PAGE 2 OF THE EXHIBIT.                                           ·7· ·ON THE CASE THAT YOU HAVEN'T TOLD ME SO FAR?
·8· · · · · SO TOWARDS -- I GUESS THIS IS THE FOURTH                     ·8· · · · · · · ·MS. HUNKER:· OBJECTION; FORM.
·9· ·PARAGRAPH FROM THE TOP.· IT SAYS -- IT SAYS THAT A                  ·9· · · A.· NO.
10· ·SEARCH WARRANT WAS EXECUTED AND THEY FOUND 25 BALLOTS AT            10· · · Q.· (BY MS. YUN)· OKAY.· LET'S LOOK AT PAGE 5.· AND
11· ·THE DEFENDANT'S HOME, AND THEN THE DEFENDANT ALLEGEDLY              11· ·STARTING IN THE SECOND PARAGRAPH, "HOWEVER, PHILIPS SAID
12· ·SENT 84 APPLICATIONS FOR MAIL-IN BALLOTS.                           12· ·SAFEGUARDS IN HIS OFFICE PREVENTED ANY OF THE BALLOTS IN
13· · · · · IS THAT -- DO THOSE NUMBERS SOUND RIGHT TO YOU?              13· ·QUESTION FROM BEING CAST.· 'WE HAVE PROCESSES IN PLACE
14· · · A.· I CAN SPEAK TO THE 84 APPLICATIONS FOR MAIL-IN               14· ·TO HELP IDENTIFY THAT, AND IT WORKED.· WE WERE ABLE TO
15· ·BALLOTS.                                                            15· ·STOP IT,' PHILLIPS SAID."
16· · · Q.· UH-HUH.                                                      16· · · · · WHAT PROCESSES WERE YOU REFERRING TO IN THAT
17· · · A.· THAT SOUNDS CORRECT.· BUT I WAS NOT THERE WHEN               17· ·STATEMENT?
18· ·THE WARRANT WAS EXECUTED, SO I HAVE NO IDEA.                        18· · · A.· GENERALLY, WE DO TRAIN OUR PEOPLE TO LOOK FOR
19· · · Q.· RIGHT.                                                       19· ·APPLICATIONS THAT ARE BEING SENT TO -- OR MULTIPLE
20· · · · · SO WHEN THEY -- WHEN THEY SAY THAT THEY FOUND                20· ·APPLICATIONS BEING SENT TO ONE ADDRESS.
21· ·84 -- OR THAT THE DEFENDANT ALLEGEDLY SENT                          21· · · Q.· WAS THERE ANYTHING ELSE?
22· ·84 APPLICATIONS, THAT WAS BASED ON -- WAS THAT A NUMBER             22· · · A.· NO.
23· ·THAT YOU FOUND -- YOUR OFFICE FOUND, OR IS THAT BASED ON            23· · · Q.· DO YOU STILL AGREE WITH THAT STATEMENT, THAT THE
24· ·THE SHERIFF'S OFFICE'S INVESTIGATION?                               24· ·DENTON COUNTY ELECTIONS OFFICE HAD PROCESSES IN PLACE IN
25· · · · · · · ·MS. HUNKER:· OBJECTION; FORM.                           25· ·2020 TO IDENTIFY MAIL-IN VOTER IMPERSONATION?




                                                    OCA-REPLY-APPX-040
                                                                                                                                                  YVer1f
Frank Phillips                                                                                                               March 31, 2023
                                                                                                                             Pages 26 to 29
                                                                Page 26                                                                  Page 28
·1· · · · · · · ·MS. HUNKER:· OBJECTION; FORM.                            ·1· ·RECORD-CHRONICLE IN OCTOBER THAT THIS WAS THE FIRST
·2· · · A.· I DO.                                                         ·2· ·TIME, TO HIS KNOWLEDGE, HIS OFFICE HAD CONTACTED THE
·3· · · Q.· (BY MS. YUN)· AND DO YOU STILL AGREE THAT THOSE               ·3· ·SHERIFF'S OFFICE REGARDING ANY TYPE OF VOTER FRAUD."
·4· ·PROCESSES WERE TO STOP THE FRAUDULENT VOTES IN                       ·4· · · · · IS THAT WHAT -- IS THAT STILL AN ACCURATE
·5· ·CARROLLTON FROM ACTUALLY COUNTING IN 2020?                           ·5· ·STATEMENT, TO THE BEST OF YOUR KNOWLEDGE?
·6· · · · · · · ·MS. HUNKER:· OBJECTION; FORM.                            ·6· · · A.· YES, IT IS.
·7· · · A.· I DO.                                                         ·7· · · Q.· OKAY.
·8· · · Q.· (BY MS. YUN)· OKAY.· I'M GOING TO -- WE CAN SET               ·8· · · A.· HIS DATES ARE WRONG THERE.· WELL, NOT THAT IT --
·9· ·THAT ONE ASIDE.                                                      ·9· ·BUT IF YOU'RE ASKING FOR ACCURACY, HIS DATES ARE WRONG
10· · · · · I'M NOW HANDING YOU WHAT'S BEEN MARKED AS                     10· ·ON MY --
11· ·EXHIBIT 2.· IF YOU COULD TAKE A LOOK --                              11· · · Q.· RIGHT.
12· · · · · · · ·(EXHIBIT 2 MARKED.)                                      12· · · A.· -- TIME IN DENTON COUNTY.
13· · · · · · · ·MS. HUNKER:· CAN WE GO OFF THE RECORD FOR A              13· · · Q.· RIGHT.· THE FOLLOWING SENTENCE HAS THE WRONG
14· ·MINUTE?                                                              14· ·DATES --
15· · · · · · · ·THE REPORTER:· YES.· WE'RE OFF THE RECORD AT             15· · · A.· YES.
16· ·9:49 A.M., CENTRAL STANDARD TIME.                                    16· · · Q.· -- ABOUT YOUR -- WHEN YOU SERVED AS THE ELECTIONS
17· · · · · · · ·(OFF THE RECORD.)                                        17· ·ADMINISTRATOR IN DENTON.
18· · · · · · · ·THE REPORTER:· THE TIME IS NOW 9:55 A.M.· WE             18· · · A.· CORRECT.
19· ·ARE BACK ON THE RECORD.                                              19· · · Q.· AND YOU SAID YOUR BREAK WAS FROM 2014 TO 2016.
20· · · Q.· (BY MS. YUN)· OKAY.· SO RIGHT BEFORE THE BREAK, I             20· · · A.· EXACTLY.
21· ·HANDED YOU WHAT'S BEEN MARKED AS EXHIBIT 2.                          21· · · Q.· YEAH.· SO THIS HAD -- SO THAT STATEMENT IS
22· · · · · COULD YOU DESCRIBE WHAT IT IS?                                22· ·TALKING ABOUT UP UNTIL OCTOBER 2020.
23· · · A.· THIS IS A MAY 7, 2021, DENTON RECORD-CHRONICLE                23· · · · · DID YOUR OFFICE CONTACT ANY LAW ENFORCEMENT
24· ·ARTICLE ABOUT THE SAME CARROLLTON MAYORAL CANDIDATE 24· ·AGENCY REGARDING A POTENTIAL CASE OF VOTER FRAUD BETWEEN
25· ·INDICTED ON VOTER FRAUD CHARGES.                                     25· ·OCTOBER 2020 AND GOING UP TO THE NOVEMBER GENERAL


                                                                Page 27                                                                  Page 29
·1· · · Q.· AND DO YOU RECALL GIVING STATEMENTS TO THE DENTON             ·1· ·ELECTION IN 2022?
·2· ·RECORD-CHRONICLE FOR THIS ARTICLE?                                   ·2· · · · · · · ·MS. HUNKER:· OBJECTION; FORM.
·3· · · A.· GENERALLY, YES.                                               ·3· · · A.· OTHER THAN THIS ONE?
·4· · · Q.· DO YOU HAVE ANY REASON TO BELIEVE THAT THE                    ·4· · · Q.· (BY MS. YUN)· OTHER THAN THIS ONE.· SINCE THIS
·5· ·ARTICLE DOES NOT ACCURATELY REFLECT THE STATEMENTS YOU               ·5· ·HAPPENED.
·6· ·GAVE TO THE DENTON RECORD-CHRONICLE?                                 ·6· · · A.· NO.
·7· · · A.· I MEAN, IN GENERALITIES I THINK IT'S FINE.· I DID             ·7· · · Q.· SO YOU TESTIFIED EARLIER THAT YOU HAD HELPED WITH
·8· ·NOTICE HE USED THE WORD POST OFFICE BOX AGAIN, BUT...                ·8· ·A SIMILAR CASE IN TARRANT COUNTY.
·9· · · · · · · ·MS. HUNKER:· AND I'M GOING TO OBJECT TO                  ·9· · · · · COULD YOU TELL US ABOUT THAT?
10· ·FORM.· I'M NOT SURE IF YOU MEAN THE FACTS IN THE ARTICLE             10· · · A.· YES.· IT WAS NOT A CASE THAT WE DISCOVERED.· IT
11· ·OR HIS QUOTES.                                                       11· ·WAS A CASE THAT -- I DON'T KNOW HOW THE AG'S OFFICE WAS
12· · · · · · · ·MS. YUN:· HIS STATEMENTS.                                12· ·WORKING IT OR CAME TO WORK IT, BUT THEY BASICALLY ASKED
13· · · A.· WELL, I NOTICE I HAVE NO QUOTES IN HERE.· THESE               13· ·US FOR DOCUMENTS.
14· ·ARE GENERAL COMMENTS MADE BY THE -- I THINK HE'S                     14· · · Q.· AND WHAT KIND OF -- WHAT KIND OF CASE WAS IT?
15· ·PARAPHRASING THE CONVERSATION I HAD.· SO I'M NOT QUOTED              15· ·WHAT KIND OF --
16· ·IN THIS ARTICLE.                                                     16· · · · · · · ·MS. HUNKER:· SO I'M GOING TO RAISE AN
17· · · Q.· (BY MS. YUN)· SURE.· THAT'S FAIR.· SO I WILL JUST             17· ·OBJECTION ON INVESTIGATIVE PRIVILEGE.· TO THE EXTENT
18· ·READ SOME OF THE PARTS --                                            18· ·THIS CASE HAS NOT BEEN RESOLVED, YOU CAN ANSWER THE
19· · · A.· SURE.                                                         19· ·QUESTION.· BUT TO KEEP IT TO PUBLIC INFORMATION, GENERAL
20· · · Q.· -- THAT I'M GOING TO ASK YOU ABOUT, AND THEN YOU              20· ·INFORMATION THAT WOULD NOT COMPROMISE THE INTEGRITY OF
21· ·CAN TELL ME WHETHER YOU BELIEVE THAT -- WHETHER YOU                  21· ·ANY INVESTIGATION OR PROSECUTION THAT'S ONGOING.
22· ·AGREE WITH THOSE STATEMENTS REFLECTED HERE.                          22· · · · · · · ·YES, MA'AM.
23· · · · · SO ON PAGE 2 OF THE ARTICLE AFTER THIS BIG BREAK              23· · · A.· I DO NOT REMEMBER DETAILS OTHER THAN THEY WERE
24· ·IN THE MIDDLE, IT SAYS, "FRANK PHILLIPS, THE DENTON                  24· ·MAIL BALLOT RELATED.
25· ·COUNTY ELECTIONS ADMINISTRATOR, TOLD THE DENTON                      25· · · Q.· (BY MS. YUN)· OKAY.· WAS IT WITNESS-RELATED




                                                    OCA-REPLY-APPX-041
                                                                                                                                                   YVer1f
Frank Phillips                                                                                                             March 31, 2023
                                                                                                                           Pages 38 to 41
                                                               Page 38                                                                  Page 40
·1· · · A.· I BELIEVE SO.                                                ·1· ·OFFICE?
·2· · · Q.· YEAH.                                                        ·2· · · A.· NOTHING.
·3· · · A.· I DON'T REMEMBER THE EXACT DATE.                             ·3· · · Q.· OKAY.
·4· · · Q.· OKAY.· YEAH.                                                 ·4· · · A.· I NEVER GOT A REPLY.
·5· · · A.· I BELIEVE THAT'S CORRECT.                                    ·5· · · Q.· UNDERSTOOD.
·6· · · Q.· I WILL JUST -- I CAN ALSO REFRESH YOUR MEMORY ON             ·6· · · · · OKAY.· SO WHEN I SAY -- I'M GOING TO REFER TO
·7· ·THE FIRST EXHIBIT WE LOOKED AT, WHICH QUOTED YOU ABOUT ·7· ·SB 1'S ID NUMBER REQUIREMENTS FREQUENTLY GOING FORWARD.
·8· ·THE CARROLLTON CASE.                                                ·8· · · A.· OKAY.
·9· · · A.· UH-HUH.                                                      ·9· · · Q.· AND I'M REFERRING TO THE REQUIREMENT THAT EVERY
10· · · Q.· WAS OCTOBER 2020, IS WHEN YOU --                             10· ·VOTER HAS TO PUT AN ID NUMBER, EITHER THEIR LAST FOUR
11· · · A.· OKAY.                                                        11· ·DIGITS OF THEIR SOCIAL OR THEIR TEXAS ID NUMBER OR CHECK
12· · · Q.· -- SPOKE.                                                    12· ·THE BOX THAT THEY DON'T HAVE EITHER --
13· · · A.· YEAH.                                                        13· · · A.· CORRECT.
14· · · Q.· OKAY.· I'M SORRY.· THAT IS --                                14· · · Q.· -- WHEN THEY'RE SENDING IN THEIR APPLICATION FOR
15· · · A.· WELL, THAT WOULD BE ACCURATE.                                15· ·BALLOT BY MAIL OR THEIR MAIL BALLOTS?
16· · · Q.· YEAH.                                                        16· · · · · IS THAT CLEAR?
17· · · A.· I STILL THINK IT'S ACCURATE.                                 17· · · A.· YES.
18· · · Q.· OKAY.                                                        18· · · Q.· OKAY.· AND WHEN I SAY ABBM, I'M REFERRING TO THE
19· · · A.· YEAH.                                                        19· ·APPLICATION.
20· · · Q.· AND SO YOU STILL BELIEVE THAT STATEMENT TO BE                20· · · A.· APPLICATION FOR BALLOT BY MAIL, YES.
21· ·ACCURATE THAT IT'S A VERY SMALL FRACTION?                           21· · · Q.· YES.· YEAH.· JUST SO THAT THE RECORD IS CLEAR.
22· · · A.· ABSOLUTELY.                                                  22· · · · · DO YOU BELIEVE THAT SB 1'S ID NUMBER REQUIREMENTS
23· · · Q.· OKAY.· YOU CAN SET THAT ONE ASIDE.                           23· ·FOR MAIL VOTING ARE NECESSARY TO PREVENT MAIL VOTER
24· · · · · OKAY.· WE'RE GOING TO TURN TO SB 1, SB 1'S MAIL              24· ·IMPERSONATION?
25· ·VOTING REQUIREMENTS TO BE EXACT.                                    25· · · · · · · ·MS. HUNKER:· OBJECTION; FORM.


                                                               Page 39                                                                  Page 41
·1· · · · · SO I THINK YOU ALREADY ANSWERED THIS QUESTION,               ·1· · · A.· TO YOUR EXACT QUESTION, THE ANSWER WILL BE NO.
·2· ·BUT JUST TO MAKE SURE, SINCE SB 1 WAS IMPLEMENTED, SO               ·2· · · Q.· (BY MS. YUN)· AND WHY IS THAT?
·3· ·DECEMBER OF 2021, YOUR OFFICE HAS NEVER REFERRED -- I               ·3· · · A.· WELL, I MEAN, I THINK WE'VE DONE A DECENT JOB IN
·4· ·BELIEVE YOU TESTIFIED -- AND PLEASE CORRECT ME IF I'M               ·4· ·THE PAST WITHOUT THOSE REQUIREMENTS, BUT THAT DOESN'T
·5· ·WRONG -- THAT YOUR OFFICE HAS NEVER REFERRED ANY VOTER              ·5· ·MEAN THESE REQUIREMENTS DON'T ADD ANOTHER LAYER OF
·6· ·AS A POTENTIAL CASE OF MAIL VOTER IMPERSONATION SINCE               ·6· ·SECURITY.· SO WE'VE PROVEN WE CAN DO IT WITHOUT IT,
·7· ·THIS CARROLLTON CASE HAPPENED; IS THAT RIGHT?                       ·7· ·BUT -- SO, I MEAN, THAT'S WHAT I BASE THAT OUT OF.
·8· · · A.· THAT'S CORRECT.                                              ·8· ·WE'VE DONE IT BEFORE WITHOUT IT.
·9· · · Q.· OKAY.· SO IT IS FAIR TO SAY THAT NO ONE WAS EVER             ·9· · · Q.· UH-HUH.· THAT'S FAIR.
10· ·REFERRED TO LAW ENFORCEMENT AS A POTENTIAL CASE OF VOTER            10· · · · · DO YOU BELIEVE THAT SB 1'S ID REQUIREMENTS ARE
11· ·FRAUD BASED ON ANY SB 1 MAIL VOTING REQUIREMENTS.                   11· ·NECESSARY TO PREVENT ANY OTHER TYPES OF ELECTION CRIMES?
12· · · · · · · ·MS. HUNKER:· OBJECTION; FORM.                           12· · · A.· OKAY.· WHEN YOU SAY SB 1 REQUIREMENTS, WHAT SB 1
13· · · A.· THAT'S FAIR TO SAY FOR DENTON COUNTY, YES.                   13· ·REQUIREMENTS ARE YOU SPEAKING OF?
14· · · Q.· (BY MS. YUN)· ARE YOU AWARE OF ANY OTHER COUNTY              14· · · Q.· THE ID NUMBER.
15· ·THAT -- WHERE THAT MAY HAVE HAPPENED?                               15· · · A.· THE ID NUMBERS?
16· · · A.· I AM NOT.                                                    16· · · · · · · ·MS. HUNKER:· SAME OBJECTION.
17· · · Q.· AND WOULD IT -- IS IT FAIR TO SAY THAT IF YOU                17· · · A.· YEAH.· OFF THE TOP OF MY HEAD, I CAN'T THINK OF
18· ·DETECTED ANY MAIL VOTER IMPERSONATION, YOU WOULD REFER              18· ·ANY OTHER ELECTION CRIME THAT IT WOULD PREVENT.
19· ·THAT CASE TO A LAW ENFORCEMENT AGENCY?                              19· · · Q.· (BY MS. YUN)· OKAY.· SO TALKING ABOUT THE --
20· · · A.· YES.                                                         20· ·MOVING AWAY FROM ANY ELECTION CRIMES OR REFERRALS TO LAW
21· · · Q.· JUST GOING BACK, I JUST REMEMBERED THAT YOU SAID             21· ·ENFORCEMENT, I THINK WE'VE -- I SORT OF PARAPHRASED IT
22· ·THAT WITH THE CARROLLTON CASE, YOU E-MAILED THE                     22· ·EARLIER.
23· ·SECRETARY OF STATE'S OFFICE, AS WELL AS CALLED THE                  23· · · · · BUT, IN YOUR OWN WORDS, WHAT IS YOUR
24· ·SHERIFF'S OFFICE.                                                   24· ·UNDERSTANDING OF SB 1'S ID NUMBER REQUIREMENTS FOR MAIL
25· · · · · WHAT HAPPENED WITH THE SECRETARY OF STATE'S                  25· ·VOTING?




                                                  OCA-REPLY-APPX-042
                                                                                                                                                  YVer1f
Frank Phillips                                                                                                    March 31, 2023
                                                                                                                Pages 114 to 117
                                                            Page 114                                                         Page 116
·1· · · A.· I WOULD SAY YES.                                           ·1· · · · · · C H A N G E S· A N D· S I G N A T U R E
·2· · · Q.· DO YOU RECALL EARLY IN THE DEPOSITION MENTIONING           ·2· ·WITNESS NAME:· FRANK PHILLIPS
·3· ·THAT YOU THOUGHT THAT MAIL VOTING WAS VULNERABLE TO               ·3· ·DATE OF DEPOSITION:· MARCH 31, 2023

·4· ·FRAUD?                                                            ·4
                                                                       · · · · PLEASE INDICATE CHANGES ON THIS SHEET OF PAPER,
·5· · · A.· YES.
                                                                       ·5· ·GIVING THE CHANGE, PAGE NUMBER, LINE NUMBER, AND REASON
·6· · · Q.· HOW IS MAIL VOTING VULNERABLE TO FRAUD?
                                                                       · · ·FOR THE CHANGE.· PLEASE SIGN EACH PAGE OF CHANGES.
·7· · · A.· BECAUSE IN ANY OTHER TYPE OF VOTING, THAT BALLOT
                                                                       ·6
·8· ·REMAINS UNDER OUR CONTROL, EITHER OUR CONTROL AT THE
                                                                       ·7· · ·PAGE/LINE· · · ·CORRECTION· · · · REASON FOR CHANGE
·9· ·OFFICE OR THE POLL WORKERS' CONTROL OUT IN THE FIELD.
                                                                       ·8· ·________________________________________________________
10· · · · · THAT DOESN'T HAPPEN WITH MAIL BALLOTS.· ONCE THAT          ·9· ·________________________________________________________
11· ·BALLOT IS MAILED, I DON'T KNOW WHAT HAPPENS TO IT. I              10· ·________________________________________________________
12· ·DON'T KNOW WHO RECEIVES IT, WHO INTERCEPTS IT, WHO GOT            11· ·________________________________________________________
13· ·IT OUT OF A MAILBOX.· AND SO THAT'S WHY I SAY IT'S                12· ·________________________________________________________
14· ·SUSCEPTIBLE.                                                      13· ·________________________________________________________
15· · · · · SO THERE HAS TO BE A WAY OF DETERMINING WHEN IT            14· ·________________________________________________________
16· ·COMES BACK THAT THE PERSON WHO GOT THE BALLOT AND                 15· ·________________________________________________________

17· ·RETURNED IT IS THE PERSON WHO IT WAS MEANT TO GO TO.              16· ·________________________________________________________
                                                                       17· ·________________________________________________________
18· · · · · · · ·MS. YUN:· I WILL JUST NOTE THAT IT'S OUTSIDE
                                                                       18· ·________________________________________________________
19· ·THE SCOPE OF THE REDIRECT, BUT KEEP GOING.
                                                                       19· ·________________________________________________________
20· · · Q.· (BY MS. HUNKER)· IN YOUR OPINION, DOES SB 1
                                                                       20· ·________________________________________________________
21· ·ADDRESS THAT VULNERABILITY OR SUSCEPTIBILITY?
                                                                       21· ·________________________________________________________
22· · · · · · · ·MS. YUN:· SAME OBJECTION.
                                                                       22· ·________________________________________________________
23· · · A.· YES, IT DEFINITELY HELPS.                                  23· ·________________________________________________________
24· · · · · · · ·MS. HUNKER:· NO FURTHER QUESTIONS.                    24· ·________________________________________________________
25· · · · · · · ·MS. YUN:· OKAY.                                       25· ·________________________________________________________


                                                            Page 115                                                         Page 117
·1· · · · · · · ·THE REPORTER:· ARE WE DONE?                           ·1· · · · · · · · · · · · · ·J U R A T
·2· · · · · · · ·MS. YUN:· YES.                                        ·2· · · · · · · ·I,· · · · · · · · , HAVE READ THE FOREGOING
·3· · · · · · · ·THE REPORTER:· IS ANYONE REQUESTING A COPY ·3· ·DEPOSITION AND HEREBY AFFIX MY SIGNATURE THAT SAME IS
·4· ·OF THE TRANSCRIPT?                                                ·4· ·TRUE AND CORRECT, EXCEPT AS NOTED ABOVE;
·5· · · · · · · ·MS. YUN:· YES.                                        ·5
·6· · · · · · · ·AND, COUNSEL, I'LL JUST REQUEST THAT YOU              ·6
·7· ·COPY ME WHEN YOU E-MAIL THE EXHIBIT.                              ·7· · · · · · · · · · · · · · FRANK PHILLIPS
·8· · · · · · · ·THE REPORTER:· NO ONE ONLINE -- OR THROUGH            ·8
·9· ·ZOOM?                                                             ·9· ·THE STATE OF TEXAS· ·)
10· · · · · · · ·MR. KENNY:· THIS IS STEPHEN KENNY.· I'D LIKE          10· ·COUNTY OF DALLAS· · ·)
11· ·TO REQUEST A COPY OF THE TRANSCRIPT, PLEASE.                      11
12· · · · · · · ·MR. D'ANGELO:· THIS IS WILLIAM D'ANGELO ALSO          12· · · · · BEFORE ME, ______________________, ON THIS DAY
13· ·REQUESTING A COPY OF THE TRANSCRIPT.                              13· ·PERSONALLY APPEARED _____· · ·____, KNOWN TO ME OR
14· · · · · · · ·THE REPORTER:· THE TIME IS NOW 12:40.· THIS           14· ·PROVED TO ME UNDER OATH OR THROUGH IDENTITY CARD OR
15· ·CONCLUDES OUR DEPOSITION FOR TODAY.                               15· ·OTHER DOCUMENT TO BE THE PERSON WHOSE NAME IS SUBSCRIBED
16                                                                     16· ·TO THE FOREGOING INSTRUMENT AND ACKNOWLEDGED TO ME THAT
17                                                                     17· ·THEY EXECUTED THE SAME OF THE PURPOSES AND CONSIDERATION
18· · · · · · · ·(DEPOSITION CONCLUDED AT 12:40 P.M.)                  18· ·THEREIN EXPRESSED.
19                                                                     19· · · · · GIVEN UNDER MY HAND AND SEAL OF OFFICE THIS ____
20                                                                     20· ·DAY OF __________________, 2023.
21                                                                     21
22                                                                     22· · · · · · · · · · · · ·_________________________
23                                                                     23· · · · · · · · · · · · ·NOTARY PUBLIC IN AND FOR
24                                                                     24· · · · · · · · · · · · ·THE STATE OF TEXAS
25                                                                     25




                                                 OCA-REPLY-APPX-043
Frank Phillips                                                     March 31, 2023
                                                                 Pages 118 to 119
                                                    Page 118
·1· · · · · · · IN THE UNITED STATES DISTRICT COURT
· · · · · · · · ·FOR THE WESTERN DISTRICT OF TEXAS
·2· · · · · · · · · · ·SAN ANTONIO DIVISION
·3· · LA UNIÓN DEL PUEBLO §
· · · ENTERO, ET AL.,· · · §
·4· · · · · · · · · · · · ·§
· · · · · · PLAINTIFFS,· · §
·5· · · · · · · · · · · · ·§
· · · · · · V.· · · · · · ·§· CIVIL ACTION NO.5:21-CV-844 (XR)
·6· · · · · · · · · · · · ·§· (CONSOLIDATED CASES)
· · · STATE OF TEXAS, ET· ·§
·7· · AL.,· · · · · · · · ·§
· · · · · · · · · · · · · ·§
·8· · · · · DEFENDANTS.· · §
·9
10· · · · · · · · · ·REPORTER'S CERTIFICATION
· · · · · · · · · · · · ORAL DEPOSITION OF
11· · · · · · · · · · · · FRANK PHILLIPS
· · · · · · · · · · · · · MARCH 31, 2023
12
13· · · I, KAREN GONZALEZ, A NOTARY IN AND FOR THE STATE OF
14· ·TEXAS, HEREBY CERTIFY TO THE FOLLOWING:
15· · · THAT THE WITNESS, FRANK PHILLIPS, WAS DULY SWORN BY
16· ·THE OFFICER AND THAT THE TRANSCRIPT OF THE ORAL
17· ·DEPOSITION IS A TRUE RECORD OF THE TESTIMONY GIVEN BY
18· ·THE WITNESS;
19· · · THAT A COPY OF THE CERTIFICATE WAS SERVED ON ALL
20· ·PARTIES AND/OR THE WITNESS SHOWN HEREIN ON
21· ·___________________.
22· · · I FURTHER CERTIFY THAT PURSUANT TO FRCP RULE
23· · 30(F)(1) THAT THE SIGNATURE OF THE DEPONENT:
24· · · ·X· WAS REQUESTED BY THE DEPONENT OR A PARTY BEFORE
25· ·THE COMPLETION OF THE DEPOSITION AND THAT SIGNATURE IS

                                                    Page 119
·1· ·TO BE BEFORE ANY NOTARY PUBLIC AND RETURNED WITHIN 30
·2· ·DAYS FROM DATE OF RECEIPT OF THE TRANSCRIPT.· IF
·3· ·RETURNED, THE ATTACHED CHANGES AND SIGNATURE PAGE
·4· · CONTAINS ANY CHANGES AND THE REASONS THEREFOR;
·5· · · · · WAS NOT REQUESTED BY THE DEPONENT OR A
·6· · PARTY BEFORE THE COMPLETION OF THE DEPOSITION.
·7· · · I FURTHER CERTIFY THAT I AM NEITHER COUNSEL FOR,
·8· ·RELATED TO, NOR EMPLOYED BY ANY OF THE PARTIES OR
·9· ·ATTORNEYS IN THE ACTION IN WHICH THIS PROCEEDING WAS
10· ·TAKEN, AND FURTHER THAT I AM NOT FINANCIALLY OR
11· ·OTHERWISE INTERESTED IN THE OUTCOME OF THE ACTION.
12· · · CERTIFIED TO BY ME THIS 26TH DAY OF APRIL, 2023.
13
14
15· · · · · · · · · · · · _________________________________
· · · · · · · · · · · · · KAREN A. GONZALEZ
16· · · · · · · · · · · · NOTARY IN AND FOR THE
· · · · · · · · · · · · · STATE OF TEXAS
17· · · · · · · · · · · · NOTARY:· 132644762
· · · · · · · · · · · · · MY COMMISSION EXPIRES:
18· · · · · · · · · · · · AUGUST 26, 2024
· · · · · · · · · · · · · MAGNA LEGAL SERVICES
19· · · · · · · · · · · · 866-624-6221
· · · · · · · · · · · · · WWW.MAGNALS.COM
20
21
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24
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                                           OCA-REPLY-APPX-044
Exhibit 4




 OCA-REPLY-APPX-045
     Bob Kafka                                                             April 07, 2022
                                                                                        ·


·1· · · · · · · · ·IN THE UNITED STATES DISTRICT COURT
· · · · · · · · · · · ·WESTERN DISTRICT OF TEXAS
·2· · · · · · · · · · · ·SAN ANTONIO DIVISION

·3· LA UNION DEL PUEBLO ENTERO,· ·)
· · et al,· · · · · · · · · · · · )
·4· · · · Plaintiffs,· · · · · · ·)
· · · · · · · · · · · · · · · · · )
·5· v.· · · · · · · · · · · · · · )· ·Case No. 5:21-cv-844-XR
· · · · · · · · · · · · · · · · · )
·6· GREGORY W. ABBOTT, et al.,· · )
· · · · · Defendants.· · · · · · ·)
·7· ______________________________________________________________
· · OCA-GREATER HOUSTON, et al.,· )
·8· · · · Plaintiffs,· · · · · · ·)
· · · · · · · · · · · · · · · · · )
·9· v.· · · · · · · · · · · · · · )· ·Case No. 1:21-cv-780-XR
· · · · · · · · · · · · · · · · · )
10· JOHN SCOTT, et al.,· · · · · ·)
· · · · · Defendants.· · · · · · ·)
11· ______________________________________________________________
· · HOUSTON JUSTICE, et al.,· · · )
12· · · · Plaintiffs,· · · · · · ·)
· · · · · · · · · · · · · · · · · )
13· v.· · · · · · · · · · · · · · )· ·Case No. 5:21-cv-848-XR
· · · · · · · · · · · · · · · · · )
14· GREGORY WAYNE ABBOTT, et al., )
· · · · · Defendants.· · · · · · ·)
15· ______________________________________________________________
· · LULAC TEXAS, et al.,· · · · · )
16· · · · Plaintiffs,· · · · · · ·)
· · · · · · · · · · · · · · · · · )
17· v.· · · · · · · · · · · · · · )
· · · · · · · · · · · · · · · · · )· ·Case No. 1:21-cv-0786-XR
18· · · · · · · · · · · · · · · · )
· · JOHN SCOTT, et al.,· · · · · ·)
19· · · · Defendants.· · · · · · ·)
· · ______________________________________________________________
20· MI FAMILIA VOTA, et al.,· · · )
· · · · · Plaintiffs,· · · · · · ·)
21· · · · · · · · · · · · · · · · )
· · v.· · · · · · · · · · · · · · )· ·Case No. 5:21-cv-0920-XR
22· · · · · · · · · · · · · · · · )
· · GREG ABBOTT, et al.,· · · · · )
23· · · · Defendants.· · · · · · ·)
· · ______________________________________________________________
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     Kim Tindall and Associates, LLC 16414 San Pedro, Suite 900   San Antonio, Texas 78232
     210-697-3400                                                             210-697-3408
                                OCA-REPLY-APPX-046
                                                                                         YVer1f
     Bob Kafka                                                             April 07, 2022
                                                                                   Page 2


·1· UNITED STATES OF AMERICA,· · ·)
· · · · · Plaintiff,· · · · · · · )
·2· · · · · · · · · · · · · · · · )
· · v.· · · · · · · · · · · · · · )· ·Case No. 5:21-cv-1085-XR
·3· · · · · · · · · · · · · · · · )
· · THE STATE OF TEXAS, ET AL.,· ·)
·4· · · · Defendants· · · · · · · )
· · ______________________________________________________________
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· · · · · · · · · · ·VIDEOTAPED ORAL DEPOSITION OF
10
· · · · · · · · · · · · · · · ·BOB KAFKA
11
· · · · · · · · · · · · · · ·April 7, 2022
12
· · * * * * * * * * * * * * * * * * * * * * * * * * * * * * * * *
13

14

15· · · · · · ·VIDEOTAPED ORAL DEPOSITION OF BOB KAFKA, produced as

16· a witness at the instance of the Office of the Attorney

17· General, and duly sworn, was taken in the above-styled and

18· numbered cause on the 7th day of April, 2022, from 10:12 a.m to

19· 4:25 p.m., before Dottie Norman, Certified Shorthand Reporter

20· in and for the State of Texas, reported by machine shorthand,

21· at the Offices of Disability Rights Texas, 2222 W. Braker Lane,

22· Austin, Texas, pursuant to the Federal Rule of Civil Procedure

23· 30(b)(6) and the provisions stated on the record.

24

25


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     210-697-3400                                                             210-697-3408
                                OCA-REPLY-APPX-047
                                                                                         YVer1f
   Bob Kafka                                                             April 07, 2022
                                                                                 Page 3


·1· · · · · · · · · · · · A P P E A R A N C E S

·2· FOR DISABILITY RIGHTS TEXAS:

·3· · · · By:· LIA SIFUENTES DAVIS
· · · · · · · · · ·-and-
·4· · · · · · ·LUCIA ROMANO
· · · · · 2222 W. Braker Lane
·5· · · · Austin, Texas· 78758
· · · · · 512.454.4816
·6

·7· FOR ACLU FOUNDATION OF TEXAS, INC.:

·8· · · · By:· THOMAS BUSER-CLANCY
· · · · · · · · · · -and-
·9· · · · · · ·SAVANNAH KUMAR (Present from 1:30 p.m. - 4:25 p.m.)
· · · · · 5225 Katy Freeway, Suite 350
10· · · · Houston, Texas· 77007
· · · · · 713.942.8146
11

12· FOR THE OFFICE OF THE ATTORNEY GENERAL:

13· · · · By:· ERIC A. HUDSON, Senior Special Counsel
· · · · · · · · · ·-and-
14· · · · · · ·KATHLEEN HUNKER (Via Zoom)
· · · · · P.O. Box 12548 (MC-009)
15· · · · Austin, Texas· 78711-2548
· · · · · 512.463.2100
16

17· FOR THE BEXAR COUNTY DISTRICT ATTORNEY'S OFFICE:

18· · · · By:· LISA V. CUBRIEL
· · · · · 101 W. Nueva, 7th Floor
19· · · · San Antonio, Texas· 78205
· · · · · 210.335.2311
20· · · · (Via Zoom)

21· ALSO PRESENT:
· · · · · Manuel Martin, Videographer
22· · · · Michael Stewart:· United States of America (via Zoom)
· · · · · Shira Wakschlag:· HAUL Plaintiffs (via Zoom)
23· · · · Anthony Nelson:· ·Travis County Defendants (via Zoom)
· · · · · Courtney Hostetler:· Mi Familia Vota (via Zoom)
24· · · · Leigh Tognetti (via Zoom)
· · · · · Sam Fishman (via Zoom)
25· · · · Nick Adkins (via Zoom)
· · · · · Julia Longoria (via Zoom)


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   210-697-3400                                                             210-697-3408
                              OCA-REPLY-APPX-048
                                                                                       YVer1f
     Bob Kafka                                                             April 07, 2022
                                                                                   Page 4


·1· · · · · · · · · · · · · · ·INDEX

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                                OCA-REPLY-APPX-049
                                                                                         YVer1f
     Bob Kafka                                                             April 07, 2022
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·1· · · · · · · · · · · · · · ·EXHIBITS

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                                OCA-REPLY-APPX-050
                                                                                         YVer1f
   Bob Kafka                                                             April 07, 2022
                                                                                 Page 6


·1· · · · · · · · ·THE VIDEOGRAPHER:· We are now on the record.
·2· This begins Videotape No. 1 in the deposition of Bob Kafka.
·3· Today is April 7th, 2022, and the time is 10:12 a.m.
·4· · · · · · · · ·Will counsel and all parties present state their
·5· appearance and who they represent?
·6· · · · · · · · ·MS. DAVIS:· Lia Sifuentes Davis for Disability
·7· Rights Texas representing REVUP.
·8· · · · · · · · ·MR. BUSER-CLANCY:· Thomas Buser-Clancy with the
·9· ACLU of Texas representing REVUP in the deposition.
10· · · · · · · · ·MS. ROMANO:· Lucia Romano, Disability Rights
11· Texas representing REVUP.
12· · · · · · · · ·MR. HUDSON:· Eric Hudson on behalf of the State
13· defendants by way of the Office of the Attorney General.
14· · · · · · · · ·I'd also note for the record that we have
15· several participants via the Zoom feature which is being used
16· to simulcast this deposition virtually.· It's my understanding
17· that no cross-notices have been filed.· That said, we have
18· asked the videographer to send through the Chat function of
19· Zoom a request for all parties who are appearing at today's
20· deposition via Zoom to submit their names and information so
21· that they can be included as having appeared at the deposition
22· today.
23· · · · · · · · · · · · · · ·BOB KAFKA,
24· having been first duly sworn, testified as follows:
25· · · · · · · · · · · · · · EXAMINATION

   Kim Tindall and Associates, LLC 16414 San Pedro, Suite 900   San Antonio, Texas 78232
   210-697-3400                                                             210-697-3408
                              OCA-REPLY-APPX-051
                                                                                       YVer1f
   Bob Kafka                                                             April 07, 2022
                                                                               Page 125


·1· · · · · · · · ·THE VIDEOGRAPHER:· We are back on the record at
·2· 2:49.
·3· · · · Q.· ·(By Mr. Hudson) I want to finish touching on Counts
·4· 5 and 6 real quick, so that's pages 61 through 65 of
·5· Defendants' 2.· Again, those are the Title II and
·6· Rehabilitation Act claims as pertaining to 6.04 and 6.06,
·7· right?
·8· · · · A.· ·Okay.
·9· · · · Q.· ·And I do want to go back and ask.· We talked about
10· the Title II Count 2 and Rehab Act Count 3, and we talked about
11· Sections 5, right?
12· · · · A.· ·(Nod).
13· · · · Q.· ·Now, I'll represent to you I have got a copy of your
14· amended responses in front of me.· And in addition to the
15· counts that are included in your live complaint, it adds some
16· -- some sections.· And I want to put those on the record, too.
17· We have Sections 5.02, 5.03, 5.06, 5.07, 5.08, 5.10, 5.12, 5.13
18· and 5.14 of Senate Bill 1 which is Defendants' 3.· Do you have
19· any reason to dispute that?
20· · · · A.· ·No.
21· · · · Q.· ·Now, those sections of Section 5 of Senate Bill 1
22· are challenged through Counts 2 and 3, right?
23· · · · A.· ·Right.
24· · · · Q.· ·Counts 6.04 and Section 6.0 --· or Section 6.04 and
25· 6.06 are challenged by Counts 5 and 6 in your complaint, right?

   Kim Tindall and Associates, LLC 16414 San Pedro, Suite 900   San Antonio, Texas 78232
   210-697-3400                                                             210-697-3408
                              OCA-REPLY-APPX-052
                                                                                       YVer1f
   Bob Kafka                                                             April 07, 2022
                                                                               Page 160


·1· · · · · · · · · · · · CHANGES AND SIGNATURE
·2· · · · · · · · · BOB KAFKA· · · April 7, 2022
·3· PAGE· LINE· · ·CHANGE· · · · · · · · · · · · · REASON
·4· _______________________________________________________________
·5· _______________________________________________________________
·6· _______________________________________________________________
·7· _______________________________________________________________
·8· _______________________________________________________________
·9· _______________________________________________________________
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25· _______________________________________________________________

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   210-697-3400                                                             210-697-3408
                              OCA-REPLY-APPX-053
     Bob Kafka                                                             April 07, 2022
                                                                                 Page 161


·1· · · · · · ·I, BOB KAFKA, have read the foregoing deposition and

·2· hereby affix my signature that same is true and correct, except

·3· as noted above.

·4· · · · · · · · · · · · · · ·__________________________________

·5
· · STATE OF TEXAS· · · · )
·6
· · COUNTY OF TRAVIS· · · )
·7

·8· · · · · · · · ·Before me ____________________ on this day

·9· personally appeared BOB KAFKA, known to me or proved to me

10· under oath or through ____________________ (description of

11· identity card or other document) to be the person whose name is

12· subscribed to the foregoing instrument and acknowledged to me

13· that they executed the same for the purposes and consideration

14· therein expressed.

15· · · · · · ·Given under my hand and seal of office this ______

16· day of ____________________, 2022.

17

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20· · · · · · · · · · · · · · ·_________________________________
· · · · · · · · · · · · · · · ·NOTARY PUBLIC IN AND FOR
21· · · · · · · · · · · · · · ·THE STATE OF TEXAS

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                                OCA-REPLY-APPX-054
     Bob Kafka                                                             April 07, 2022
                                                                                 Page 162


·1· · · · · · · · IN THE UNITED STATES DISTRICT COURT
· · · · · · · · · · · ·WESTERN DISTRICT OF TEXAS
·2· · · · · · · · · · · ·SAN ANTONIO DIVISION

·3· LA UNION DEL PUEBLO ENTERO,· ·)
· · et al,· · · · · · · · · · · · )
·4· · · · Plaintiffs,· · · · · · ·)
· · · · · · · · · · · · · · · · · )
·5· v.· · · · · · · · · · · · · · )· ·Case No. 5:21-cv-844-XR
· · · · · · · · · · · · · · · · · )
·6· GREGORY W. ABBOTT, et al.,· · )
· · · · · Defendants.· · · · · · ·)
·7· ______________________________________________________________
· · OCA-GREATER HOUSTON, et al.,· )
·8· · · · Plaintiffs,· · · · · · ·)
· · · · · · · · · · · · · · · · · )
·9· v.· · · · · · · · · · · · · · )· ·Case No. 1:21-cv-780-XR
· · · · · · · · · · · · · · · · · )
10· JOHN SCOTT, et al.,· · · · · ·)
· · · · · Defendants.· · · · · · ·)
11· ______________________________________________________________
· · HOUSTON JUSTICE, et al.,· · · )
12· · · · Plaintiffs,· · · · · · ·)
· · · · · · · · · · · · · · · · · )
13· v.· · · · · · · · · · · · · · )· ·Case No. 5:21-cv-848-XR
· · · · · · · · · · · · · · · · · )
14· GREGORY WAYNE ABBOTT, et al., )
· · · · · Defendants.· · · · · · ·)
15· ______________________________________________________________
· · LULAC TEXAS, et al.,· · · · · )
16· · · · Plaintiffs,· · · · · · ·)
· · · · · · · · · · · · · · · · · )
17· v.· · · · · · · · · · · · · · )
· · · · · · · · · · · · · · · · · )· ·Case No. 1:21-cv-0786-XR
18· · · · · · · · · · · · · · · · )
· · JOHN SCOTT, et al.,· · · · · ·)
19· · · · Defendants.· · · · · · ·)
· · ______________________________________________________________
20· MI FAMILIA VOTA, et al.,· · · )
· · · · · Plaintiffs,· · · · · · ·)
21· · · · · · · · · · · · · · · · )
· · v.· · · · · · · · · · · · · · )· ·Case No. 5:21-cv-0920-XR
22· · · · · · · · · · · · · · · · )
· · GREG ABBOTT, et al.,· · · · · )
23· · · · Defendants.· · · · · · ·)
· · ______________________________________________________________
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     Kim Tindall and Associates, LLC 16414 San Pedro, Suite 900   San Antonio, Texas 78232
     210-697-3400                                                             210-697-3408
                                OCA-REPLY-APPX-055
   Bob Kafka                                                             April 07, 2022
                                                                               Page 163


·1· UNITED STATES OF AMERICA,· · ·)
· · · · · Plaintiff,· · · · · · · )
·2· · · · · · · · · · · · · · · · )
· · v.· · · · · · · · · · · · · · )· ·Case No. 5:21-cv-1085-XR
·3· · · · · · · · · · · · · · · · )
· · THE STATE OF TEXAS, ET AL.,· ·)
·4· · · · Defendants· · · · · · · )
· · ______________________________________________________________
·5
· · · · · · · · · · · · REPORTER'S CERTIFICATION
·6· · · · · · · · · ·VIDEOTAPED ORAL DEPOSITION OF
· · · · · · · · · · · · · · · ·BOB KAFKA
·7· · · · · · · · · · · · · ·April 7, 2022

·8· · · · · · · · ·I, DOTTIE NORMAN, Certified Shorthand Reporter

·9· in and for the State of Texas, hereby certify to the following:

10· · · · · · · · ·That the witness, BOB KAFKA, was duly sworn by

11· the officer and that the transcript of the oral deposition is a

12· true record of the testimony given by the witness;

13· · · · · · · · ·I further certify that pursuant to FRCP Rule

14· 30(f)(1) that the signature of the deponent:

15· · · · · · · · ·X· · · ·was requested by the deponent or a party

16· before completion of the deposition and returned within 30 days

17· from date of receipt of the transcript.· If returned, the

18· attached Changes and Signature Page contains any changes and

19· the reasons therefor;

20· · · · · · · · ·_______ was not requested by the deponent or a

21· party before the completion of the deposition.

22· · · · · · · · ·I further certify that I am neither attorney nor

23· counsel for, related to, nor employed by any of the parties to

24· the action in which this testimony was taken.· Further, I am

25· not a relative or employee of any attorney of record in this


   Kim Tindall and Associates, LLC 16414 San Pedro, Suite 900   San Antonio, Texas 78232
   210-697-3400                                                             210-697-3408
                              OCA-REPLY-APPX-056
     Bob Kafka                                                             April 07, 2022
                                                                                 Page 164


·1· cause, nor am I financially or otherwise interested in the

·2· outcome of the action.

·3· · · · · · · · ·Subscribed and sworn to on this the ________ day

·4· of ______________, 2022.

·5

·6

·7· · · · · · · · · · · · _____________________________
· · · · · · · · · · · · · DOTTIE NORMAN, Texas CSR 2283
·8· · · · · · · · · · · · Expiration Date:· 8/31/2023
· · · · · · · · · · · · · Magna Legal Services
·9· · · · · · · · · · · · Firm Registration No. 633
· · · · · · · · · · · · · 16414 San Pedro, Suite 900
10· · · · · · · · · · · · San Antonio, Texas· 78232
· · · · · · · · · · · · · 866.672.7880
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     Kim Tindall and Associates, LLC 16414 San Pedro, Suite 900   San Antonio, Texas 78232
     210-697-3400                                                             210-697-3408
                                OCA-REPLY-APPX-057
Exhibit 5




 OCA-REPLY-APPX-058
   Deborah Chen                                                          March 28, 2022
                                                                                      ·


·1· · · · · · · · IN THE UNITED STATES DISTRICT COURT
· · · · · · · · · · WESTERN DISTRICT OF TEXAS
·2· · · · · · · · · · SAN ANTONIO DIVISION

·3
· · LA UNIÓN DEL PUEBLO· · · · §· · Case No.
·4· ENTERO, et al.,· · · · · · §· · 5:21-cv-844-XR
· · · · ·Plaintiffs,· · · · · ·§
·5· · · · · · · · · · · · · · ·§
· · v.· · · · · · · · · · · · ·§
·6· · · · · · · · · · · · · · ·§
· · GREGORY W. ABBOTT, et· · · §
·7· al.,· · · · · · · · · · · ·§
· · · · ·Defendants.· · · · · ·§
·8· · · · · · · · · · · · · · ·§
· · · · · · · · · · · · · · · ·§
·9· · · · · · · · · · · · · · ·§
· · OCA-GREATER HOUSTON, et· · §· · Case No.
10· al.,· · · · · · · · · · · ·§· · 1:21-cv-780-XR
· · · · ·Plaintiffs,· · · · · ·§
11· · · · · · · · · · · · · · ·§
· · v.· · · · · · · · · · · · ·§
12· · · · · · · · · · · · · · ·§
· · JOHN SCOTT, et al.,· · · · §
13· · · ·Defendants.· · · · · ·§
· · · · · · · · · · · · · · · ·§
14· · · · · · · · · · · · · · ·§
· · · · · · · · · · · · · · · ·§
15· HOUSTON JUSTICE, et al.,· ·§· · Case No.
· · · · ·Plaintiffs,· · · · · ·§· · 5:21-cv-848-XR
16· · · · · · · · · · · · · · ·§
· · v.· · · · · · · · · · · · ·§
17· · · · · · · · · · · · · · ·§
· · GREGORY WAYNE ABBOTT, et· ·§
18· al.,· · · · · · · · · · · ·§
· · · · ·Defendants.· · · · · ·§
19· · · · · · · · · · · · · · ·§
· · · · · · · · · · · · · · · ·§
20· · · · · · · · · · · · · · ·§
· · LULAC TEXAS, et al.,· · · ·§· · Case No.
21· · · ·Plaintiffs,· · · · · ·§· · 1:21-cv-0786-XR
· · · · · · · · · · · · · · · ·§
22· v.· · · · · · · · · · · · ·§
· · · · · · · · · · · · · · · ·§
23· JOHN SCOTT, et al.,· · · · §
· · · · ·Defendants.· · · · · ·§
24· · · · · · · · · · · · · · ·§
· · · · · · · · · · · · · · · ·§
25· · · · · · · · · · · · · · ·§
· · MI FAMILIA VOTA, et al.,· ·§· · Case No.


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·1· · · ·Plaintiffs,· · · · · ·§· · 5:21-cv-0920-XR
· · · · · · · · · · · · · · · ·§
·2· v.· · · · · · · · · · · · ·§
· · · · · · · · · · · · · · · ·§
·3· GREG ABBOTT, et al.,· · · ·§
· · · · ·Defendants.· · · · · ·§
·4· · · · · · · · · · · · · · ·§
· · · · · · · · · · · · · · · ·§
·5· · · · · · · · · · · · · · ·§
· · UNITED STATES OF AMERICA,· §· · Case No.
·6· · · ·Plaintiff,· · · · · · §· · 5:21-cv-1085-XR
· · · · · · · · · · · · · · · ·§
·7· v.· · · · · · · · · · · · ·§
· · · · · · · · · · · · · · · ·§
·8· THE STATE OF TEXAS, et· · ·§
· · al.,· · · · · · · · · · · ·§
·9· · · ·Defendants.

10

11· · · · · · · ORAL AND VIDEOTAPED DEPOSITION OF
· · · · · · · · · · · · · DEBORAH CHEN
12· · · · · · · · · · · ·MARCH 28, 2022

13

14

15· · · ·ORAL AND VIDEOTAPED DEPOSITION OF DEBORAH CHEN,

16· produced as a witness at the instance of the Defendants

17· and duly sworn, was taken in the above styled and

18· numbered cause on Monday, March 28, 2022, from

19· 10:31 a.m. to 7:24 p.m., before DONNA QUALLS, Notary

20· Public in and for the State of Texas, reported by

21· computerized stenotype machine, at the offices of the

22· Houston Chinese Community Center, 9800 Town Park Drive,

23· Houston, Texas, pursuant to the Federal Rules of Civil

24· Procedure, and any provisions stated on the record or

25· attached hereto.


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                                OCA-REPLY-APPX-060
     Deborah Chen                                                          March 28, 2022
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·1· · · · · · · · · · A P P E A R A N C E S

·2
· · FOR THE PLAINTIFF, OCA-GREATER HOUSTON:
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· · FOR THE PLAINTIFFS, OCA-GREATER HOUSTON:
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· · · · ·OFFICE OF THE ATTORNEY GENERAL
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22· · · ·(512) 463-2100
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23

24

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                                OCA-REPLY-APPX-061
     Deborah Chen                                                          March 28, 2022
                                                                                   Page 4


·1· FOR THE DEFENDANTS, BEXAR COUNTY DISTRICT ATTORNEY'S
· · OFFICE:
·2· · · ·LISA V. CUBRIEL (Remotely)
· · · · ·BEXAR COUNTY DISTRICT ATTORNEY'S OFFICE
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· · · · ·San Antonio, Texas 78205
·4· · · ·(210) 335-2142
· · · · ·lisa.cubriel.bexar.org
·5

·6
· · Also Present (Remotely):
·7· · · ·Georgina Yeomans (LDF)
· · · · ·Jason S. Kanterman
·8· · · ·Jon Bash
· · · · ·Lia Sifuentes Davis
·9· · · ·Leigh Tognetti
· · · · ·Kevin Zhen (FF)
10· · · ·Jennifer Yun (DOJ)
· · · · ·Julia Longoria
11· · · ·Savannah Kumar
· · · · ·Ari Herbert
12· · · ·Wendy Olson
· · · · ·Tiffany Bingham
13· · · ·Jerry Vattamala - AALDEF
· · · · ·Tony Nelson - Travis County
14· · · ·Josephine Ramirez
· · · · ·Ciara Sisco - NAACP LDF
15· · · ·Katelynn Lujan, KTA Videographer
· · · · ·Kamesha Archie, KTA Videographer (In person)
16

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   Deborah Chen                                                          March 28, 2022
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·1· · · · · · · · THE REPORTER:· We are on the record.
·2· Today's date is Monday, March 28, 2022.· The time is
·3· 10:31 a.m.· This is the oral and videotaped deposition
·4· of Deborah Chen, and it is being conducted in person and
·5· remotely by agreement of the parties.
·6· · · · · · · · My name is Donna Qualls with Kim Tindall &
·7· Associates.· I am the court reporter.· I will be
·8· administering the oath and reporting the deposition
·9· remotely by stenographic means.
10· · · · · · · · Would counsels please state their name and
11· appearance for the record.
12· · · · · · · · MS. HUNKER:· Kathleen Hunker from the
13· State.· I am accompanied by my cocounsel, Aristotle
14· Herbert, who is participating remotely.
15· · · · · · · · MS. GIGUERE:· For OCA-GH, this is Susanna
16· Lorenzo-Giguere from the Asian American Legal Defense
17· and Education Fund.
18· · · · · · · · MR. DOLLING:· I'm Zach Dolling for
19· OCA-Greater Houston, and I am with the Texas Civil
20· Rights Project.
21· · · · · · · · MR. MIRZA:· For OCA-Greater Houston, my
22· name is Hani Mirza.· I'm with the Texas Civil Rights
23· Project.
24· · · · · · · · THE REPORTER:· Did anybody else online want
25· to introduce themselves?

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   Deborah Chen                                                          March 28, 2022
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·1· · · · · · · · · · · ·DEBORAH CHEN,
·2· having been duly sworn, testified as follows:
·3· · · · · · · · · · · · ·EXAMINATION
·4· BY MS. HUNKER:
·5· · · ·Q.· Good morning, Ms. Chen.
·6· · · ·A.· Good morning.
·7· · · ·Q.· How are you today?
·8· · · ·A.· Good.
·9· · · ·Q.· As I stated just earlier, my name is Kathleen
10· Hunker.· I'm the attorney representing the state
11· defendants in this matter.
12· · · · · · · · Before we start the deposition, I just want
13· to get one housekeeping matter to the side.· And that
14· is, your counsel, OCA-Greater Houston, has agreed to
15· keep the deposition open for a limited purpose, if
16· OCA-Greater Houston identifies and discloses a member
17· who is harmed after or -- the date of this deposition.
18· If you can just --
19· · · · · · · · MS. HUNKER:· If your cocounsel can just
20· state if that was the -- their understanding of the
21· agreement as well?
22· · · · · · · · MS. GIGUERE:· Yes.· That is the sole
23· purpose for this agreement, just for that reason.
24· · · · · · · · MS. HUNKER:· Yes.
25· · · · · · · · And in exchange, we amended Deposition

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   Deborah Chen                                                          March 28, 2022
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·1· that this does not answer is, if somebody is requesting
·2· a mail-in ballot, that implies that they are a senior or
·3· they're disabled or ill or they're out of state.· And if
·4· this requires them to go in person to correct something,
·5· how -- how would they do that?
·6· · · ·Q.· (BY MS. HUNKER)· We're going to be talking a
·7· little bit later about the online cure.· But we'll get
·8· to that in a bit.
·9· · · · · · · · So you've not done any analysis to
10· determine whether or not the cure mechanism would be
11· sufficient or un- -- or insufficient.· This is just
12· based on your speculation?
13· · · · · · · · MR. DOLLING:· Objection; calls for a legal
14· conclusion.
15· · · ·A.· This is based on the direct words, just the
16· reading of how it's written.
17· · · ·Q.· (BY MS. HUNKER)· Okay.
18· · · ·A.· It's not -- well, it's -- it's just overly
19· broad.· It's not clear.
20· · · ·Q.· So it's based on the text?
21· · · ·A.· Yes.
22· · · ·Q.· Okay.· And let's move to Section 5.08.· And
23· this starts on the next page, page 39, line 11.
24· · · · · · · · And take a few moments to read it and
25· please let me know when you are done.

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                                                                                       YVer1f
   Deborah Chen                                                          March 28, 2022
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·1· · · ·A.· Yes.
·2· · · ·Q.· And so this provision does not regulate
·3· OCA-Greater Houston directly, correct?
·4· · · · · · · · MR. DOLLING:· Objection; calls for a legal
·5· conclusion.
·6· · · ·A.· I don't believe it does.
·7· · · ·Q.· (BY MS. HUNKER)· Okay.· The section instead
·8· talks about the space in the carrier envelope where the
·9· information -- namely, the voter's driver's license,
10· identification certificate, personal identification
11· card, or a social security number or a statement by the
12· applicant they haven't been issued one of these
13· numbers -- would be provided.
14· · · · · · · · Is that an accurate summation of this
15· section?
16· · · ·A.· Yes.
17· · · ·Q.· And what is the specific harm that is suffered
18· by OCA-Greater Houston?· Is it the same as was described
19· above in regards to education?
20· · · · · · · · MR. DOLLING:· Objection; calls for a legal
21· conclusion.
22· · · · · · · · You can answer.
23· · · ·A.· The specific harm is similar to other sections
24· in regards to education and assistance for potential
25· voters.

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   Deborah Chen                                                          March 28, 2022
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·1· · · ·Q.· (BY MS. HUNKER)· And the same -- it would be
·2· the same programs and activities that were curtailed or
·3· unable to be held, is that correct, as a result of
·4· Section 5.08?
·5· · · ·A.· Yes.· And the information that we may need to
·6· create to -- to be able to explain this although I'm --
·7· I'm not sure if we're able to actually explain this to
·8· people.
·9· · · ·Q.· All right.· And you haven't segregated the
10· specific harm in that you don't know the exact amount or
11· allocation of resources that were a result of
12· Section .508 [sic] as compared to other provisions of
13· SB 1?
14· · · ·A.· No, I have not sat to calculate out
15· specifically for this particular section.
16· · · ·Q.· And have you segregated that amount from any
17· of -- other changes in election law that came this past
18· year?
19· · · ·A.· I have not sat down to calculate out the
20· specific, you know, dollar amount by provision.
21· · · ·Q.· Okay.
22· · · ·A.· For each section, no.
23· · · ·Q.· And same with manpower, correct?
24· · · ·A.· Correct.
25· · · ·Q.· And you can't identify a specific individual

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   Deborah Chen                                                          March 28, 2022
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·1· you believe would have as a result of 5.13 be similar to
·2· the harms that you described with the other subsections?
·3· · · ·A.· Similar only in the sense that this potentially
·4· could prevent somebody's vote from counting or being
·5· able to vote.
·6· · · ·Q.· But you're not aware of anybody, as you sit
·7· here, that was denied?
·8· · · ·A.· Correct.
·9· · · ·Q.· Moving on to Subsection -- sorry -- 5 --
10· Section 5.14 which is "Opportunity to correct defect:
11· Early voting ballot board."· It is similar to the one
12· regarding the signature verification committee, however,
13· just focused on the early voting ballot board.
14· · · · · · · · It's a relatively long section.· Let me
15· know when you've got a decent sense of it, and we can
16· continue.
17· · · ·A.· Thank you.
18· · · · · · · · Okay.
19· · · ·Q.· Okay.· So I'm not going to summarize since
20· it's -- would you agree with me that it's similar to the
21· one for the signature verification committee but
22· directed towards the early voting ballot board?
23· · · ·A.· Yes.
24· · · ·Q.· Okay.· This is, again, not regulating
25· OCA-Greater Houston directly, correct?

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   Deborah Chen                                                          March 28, 2022
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·1· · · · · · · · MR. DOLLING:· Objection; calls for a legal
·2· conclusion.
·3· · · · · · · · You can answer.
·4· · · ·A.· I believe so.
·5· · · ·Q.· (BY MS. HUNKER)· And would -- is the harm the
·6· same as it was for Section 5.12, the signature
·7· verification committee, which is the education component
·8· that OCA-Greater Houston would have to incur?
·9· · · ·A.· Education and assistance, yes.
10· · · ·Q.· Education and assistance.
11· · · · · · · · And as with the other sections, you haven't
12· segregated the specific harm that was a result of this
13· section as compared to the other sections, correct?
14· · · ·A.· Correct.
15· · · ·Q.· And that's true of both manpower and monetary
16· resources, correct?
17· · · ·A.· Correct.
18· · · ·Q.· And is the harm suffered -- alleged to be
19· suffered on voters the same with Section 5.14 as it is
20· for Section 5.12?
21· · · · · · · · MR. DOLLING:· Objection; calls for a legal
22· conclusion.
23· · · · · · · · You can answer.
24· · · ·A.· I don't know if it would be the same because
25· it's different bodies.· And, like, Section -- or

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     Deborah Chen                                                          March 28, 2022
                                                                                 Page 281


·1· COUNTY OF HARRIS )

·2· STATE· OF· TEXAS )

·3

·4· · · · · · · · · REPORTER'S CERTIFICATION

·5

·6· · · ·I, Donna Qualls, Notary Public in and for the State

·7· of Texas, hereby certify that this transcript is a true

·8· record of the testimony given and that the witness was

·9· duly sworn by the notary.

10· · · ·I further certify that I am neither attorney nor

11· counsel for, related to, nor employed by any of the

12· parties to the action in which this testimony was taken.

13· · · ·Further, I am not a relative or employee of any

14· attorney of record in this cause, nor do I have a

15· financial interest in the action.

16· · · ·Subscribed and sworn to on this the 11th day of

17· April, 2022.

18

19

20
· · · · · · · · · · · _____________________________________
21· · · · · · · · · · DONNA QUALLS
· · · · · · · · · · · Notary Public in and for
22· · · · · · · · · · The State of Texas
· · · · · · · · · · · My Commission expires 11/02/2022
23
· · · · · · · · · · · Magna Legal Services
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Exhibit 6




 OCA-REPLY-APPX-072
                               IN THE UNITED STATES DISTRICT COURT
                                    WESTERN DISTRICT OF TEXAS
                                       SAN ANTONIO DIVISION

     LA UNIÓN DEL PUEBLO ENTERO, et al.,                     §
           Plaintiffs,                                       §
                                                             §
     v.                                                      §      Case No. 5:21-cv-844-XR
                                                             §      [Lead Case]
     GREGORY W. ABBOTT, et al.,                              §
          Defendants.                                        §
                                                             §
     UNITED STATES OF AMERICA,                               §
           Plaintiff,                                        §
                                                             §
     v.                                                      §      Case No. 5:21-cv-1085-XR
                                                             §      [Consolidated Case]
     THE STATE OF TEXAS, ET AL.,                             §
           Defendants                                        §



           STATE DEFENDANTS’ SUPPLEMENTAL OBJECTIONS AND RESPONSES
              TO THE UNITED STATES’ SECOND SET OF INTERROGATORIES

    TO:      Plaintiff the United States of America, by and through their attorneys of record, Michael E.
             Stewart, Daniel J. Freeman, Richard Alan Dellheim, Dana Paikowsky, and Jennifer Yun,
             United States Department of Justice Civil Rights Division, 950 Pennsylvania Avenue NW,
             Washington, DC 20530

             Jane Nelson, in her official capacity as the Texas Secretary of State, and the State of Texas

    (collectively “State Defendants”1) hereby serve their Supplemental Objections and Responses to

    the United States’ Second Set of Requests for Interrogatories, pursuant to the Federal Rules of

    Civil Procedure. Because present circumstances prevent State Defendants from signing these

    responses, State Defendants’ counsel will serve properly executed interrogatory answers on the

    requesting party not later than 21 days after serving these unexecuted answers. See W.D. Tex.

    Local Rule CV-33(a).



1
    All previous references to “Defendants” have been changed to “State Defendants” for the sake of clarity.
                                                             1

                                              OCA-REPLY-APPX-073
Date: January 19, 2023                      Respectfully submitted.

KEN PAXTON                                  WILLIAM T. THOMPSON
Attorney General of Texas                   Acting Chief, Special Litigation Unit
                                            Tex. State Bar No. 24088531
BRENT WEBSTER
First Assistant Attorney General            /s/ Kathleen T. Hunker
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                                            Tex. State Bar No. 24118415

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                                            kathleen.hunker@oag.texas.gov

                                            Counsel for State Defendants




                               CERTIFICATE OF SERVICE

       I hereby certify that on this 19th day of January, 2023, the attached State Defendants’
Supplemental Objections and Responses to the United States’ Second Request of Interrogatories
was served on opposing counsel via electronic mail.

                                                  /s/ Kathleen T. Hunker
                                                  KATHLEEN T. HUNKER
                                                  Special Counsel




                                              2

                                   OCA-REPLY-APPX-074
                                    GENERAL OBJECTIONS

       Under Rule 26(b)(1), the proper scope of discovery is limited to “any nonprivileged matter

that is relevant to any party’s claim or defense and proportional to the needs of the case.” Fed. R.

Civ. P. 26(b)(1) (2015). Among the considerations that are germane to that inquiry are “the parties’

resources, the importance of the discovery in resolving the issues, and whether the burden or

expense of the proposed discovery outweighs its likely benefit.” Id. The twin demands for

relevancy and proportionality “are related but distinct requirements.” Samsung Electronics Am.,

Inc. v. Chung, 321 F.R.D. 250, 279 (N.D. Tex. 2017). Thus, if the information sought is irrelevant

to the party’s claims or defenses, “it is not necessary to determine whether it would be proportional

if it were relevant.” Walker v. Pioneer Prod. Servs., Inc., No. CV 15-0645, 2016 WL 1244510, at

*3 (E.D. La. Mar. 30, 2016). Conversely, “relevance alone does not translate into automatic

discoverability” because “[a]n assessment of proportionality is essential.” Motorola Sols., Inc. v.

Hytera Commc’ns Corp., 365 F. Supp. 3d 916, 924 (N.D. Ill. 2019). Accordingly, State Defendants

object to these requests to the extent that the information sought is either irrelevant or

disproportionate.

       State Defendants object to the definition of “conviction” or “convicted” as vague,

overbroad, and ambiguous. Specifically, the term “an admission or finding of guilt” is subject to

different interpretations. State Defendants understand the term to include pleas of guilt,

stipulations of guilt, and acknowledgments of the offense. Therefore, State Defendants understand

the terms “conviction” and “convicted” not to pertain to cases in which a defendant or suspect

pleaded nolo contendere or no contest, or to cases in which a defendant otherwise reached an

outcome that—though not a conviction by a judge or jury in a court of law—nonetheless involved

violation of Texas Law.


                                                 3

                                     OCA-REPLY-APPX-075
       State Defendants also object to the definition of “impermissible in-person voter assistance”

as vague and ambiguous. Specifically, it is defined as “the acts of influencing or coercing a voter

in the presence of their ballot”; yet Interrogatory No. 4 seeks instances of “impermissible in-person

voter assistance” that occurred “by influencing or coercing a voter in the presence of their ballot.”

Therefore, this definition is tautological, and its meaning is not discernible. For this reason, State

Defendants interpret the term “impermissible in-person voter assistance” to mean any in-person

voter assistance that is not permissible.

       Finally, State Defendants object to the definition of “voting by impersonation” as vague

and ambiguous. The definition uses the term “vote harvesting,” which is not defined. Therefore,

State Defendants adopt the meaning of “vote harvesting” that State Defendants have otherwise

used in the course of this litigation. Furthermore, the definition of “voting by impersonation”

includes “improperly returning a ballot on behalf of another,” which is a broad, sweeping, and

undefined category of conduct. For this reason, the term “voting by impersonation” is vague and

ambiguous because it is not limited in scope. Hence, State Defendants interpret the term “voting

by impersonation” as those instances in which someone illegally votes as or on behalf of someone

who is eligible to vote that does not constitute vote harvesting.

       These answers and objections are made without waiving any further objections to, or

admitting the relevancy or materiality of, any of the information requested. All answers are given

without prejudice to State Defendants’ right to introduce or object to the discovery of any

documents, facts, or information discovered after the date hereof. Likewise, these answers and

objections are not intended to be, and shall not be construed as, agreement with the United States’

characterization of any facts, circumstances, or legal obligations. State Defendants reserve the right

to contest any such characterization as inaccurate and object to the Requests insofar as they contain

any express or implied assumptions of fact or law concerning matters at issue in this litigation.
                                                  4

                                     OCA-REPLY-APPX-076
         State Defendants will provide their answers based on terms as they are commonly

understood and consistent with the Federal Rules of Civil Procedure. State Defendants object to

and will refrain from extending or modifying any words employed in the Requests to comport with

any expanded definitions or instructions. State Defendants will answer the Requests to the extent

required by the Federal Rules of Civil Procedure and the Local Rules of the Western District of

Texas.




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                                   OCA-REPLY-APPX-077
SPECIFIC OBJECTIONS AND RESPONSES TO THE UNITED STATES’ SECOND SET OF
                          INTERROGATORIES

INTERROGATORY NO. 4: State each instance in which a person has been convicted of violating
Texas law for providing or attempting to provide impermissible in-person voter assistance by
influencing or coercing a voter in the presence of their ballot, including but not limited to relevant
violations of Sections 64.012(a)(4), 64.036, 276.013(a)(1), and 276.013(a)(6) of the Texas Election
Code.

OBJECTIONS AND RESPONSE:

        State Defendants object to this interrogatory to the extent that the information sought is not
proportional to the needs of this case and unduly burdensome, including for the reason that the United
States does not limit its request to particular date ranges or particular statutory provisions. To that end,
State Defendants object to this interrogatory to the extent that it requires State Defendants to search
and examine all case records without limitation to time or statutory provision. See Fed. R. Civ. P.
26(b)(1). The Office of the Attorney General of Texas began tracking, investigating, and prosecuting
election fraud cases in 2004. Therefore, State Defendants read this interrogatory to seek information
dating from 2004 to the present. Furthermore, the Office of the Attorney General of Texas may not be
aware of other prosecutions that may have been filed by criminal district attorneys.

        Additionally, State Defendants object to this Interrogatory to the extent that it calls for
information that is publicly available or otherwise equally accessible to the United States. In that same
vein, the Office of the Attorney General has already produced charts of pending and completed
prosecutions from the Office of the Attorney General, as well as copies of prosecution-diversion
agreement at bates stamped ranges STATE087312–STATE087395. Those materials represent a
summary of business records held by the Office of the Attorney General, and ascertaining the
information requested in this interrogatory will impose substantially the same burden on OAG as it
would Plaintiffs’ counsel. Fed. R. Civ. P. 33(d).

        Finally, State Defendants object to this interrogatory to the extent that it calls for information
subject to investigative privilege, attorney–client privilege, or attorney work-product privilege.
Because the Office of the Attorney General is actively involved in investigations and prosecutions of
election-related crimes, all three privileges likely apply to on-going investigations and prosecutions.

       Subject to and without waiving these objections, State Defendants answer as follows:

        The following table represents convictions for providing impermissible in-person voter
assistance by influencing or coercing a voter in the presence of his or her ballot but does not include
mere instances of such occurrences without convictions:




                                                    6

                                       OCA-REPLY-APPX-078
OCA-REPLY-APPX-079
14-CCR-02978-
C/14-CCR-
02998-C/14-
CCR-03000-                                                  Tex. Elec.
C/14-CCR-                                                   Code§§
03001-C/14-                                                 64.036,
CCR-03002-      Vicenta Verino Cameron         8/19/2015    86.010,    Pleaded Guilty
C/14-CCR-                      County                       86.0051,
03004-C/14-                                                 86.006
CCR-03005-
C/14-CCR-
03006-C/14-
CCR-03007-
C/14-CCR-
03008-C
CR-15-08767- E;
CR-15- 08768-E;
CR-15-08769-E;
CR-15-08770- E;
CR-15- 08771-E;
CR-15-08772-E;
CR-15-08773- E;
CR-15- 08774-E;                                             Tex. Elec.
CR-15-08775-E; Guadalupe       Hidalgo                      Code§
CR-15-08776- E; Rivera, Sr.    County          7/11/2016    64.036     Pleaded Guilty
CR-15- 08777-E;
CR-15-08778-E;
CR-15-08779- E;
CR-15- 08780-E;
CR-15-08781-E




                                                            Tex. Elec.
                Christina     Duval/Live                    Code§§
20080,20081     Lichtenberger Oak County 12/14/2010         64.036,    Pleaded Guilty
                                                            86.006

                                                            Tex. Elec.
                Andrea        Duval/Live                    Code§§     Acknowledgment
20082,20083     Campos        Oak County       12/14/2010   64.036,    of Offense
                Bierstedt                                   86.006




                                           8

                              OCA-REPLY-APPX-080
                                                                      Tex. Elec.
 14-CCR-02979-                                                        Code§§
 A/14-CCR-            Bernice Garcia Cameron           4/8/2015       64.036,    Acknowledgment
 03010-A/14-                         County                           86.006,    of Offense
 CCR-03011-A                                                          86.0051

                      Consuelo                                        Tex. Elec.
 CX3772923814         Barrientos       Frio County     6/15/2018      Code§      Stipulation of Guilt
                      Cantu                                           64.036

                      Maria                                           Tex. Elec.
 CX3772923814         Delcarmen        Frio County     6/15/2018      Code§      Stipulation of Guilt
                      Vela                                            64.036

 20084, 20085,                                                        Tex. Elec.
 20086, 20087,        Alicia Pena      Duval/Live                     Code§§
 20088, 20089,        Perez            Oak County      12/14/2010     64.036,    Pleaded Guilty
 20090,20091                                                          86.006



INTERROGATORY NO. 5: State each instance in which a person has been convicted of violating
Texas law by voting or attempting to vote by impersonation using a mail ballot, including but not
limited to violations of Sections 64.012, 64.036, 276.013(a)(2), 276.013(a)(3), or 276.013(a)(7) of the
Texas Election Code.

OBJECTIONS AND RESPONSE:

         State Defendants object to this interrogatory to the extent that the information sought is not
proportional to the needs of this case, overly broad, irrelevant to any claim or defense, not reasonably
specific, and unduly burdensome, including for the reason that the United States does not limit its
request to particular date ranges or particular statutory provisions. To that end, State Defendants object
to this interrogatory to the extent that it requires State Defendants to search and examine all case records
without limitation to time or statutory provision. See Fed. R. Civ. P. 26(b)(l). The Office of the Attorney
General of Texas began tracking, investigating, and prosecuting election fraud cases in 2004.
Therefore, State Defendants read this interrogatory to seek information dating from 2004 to the present.
Furthermore, the Office of the Attorney General of Texas may not be aware of other prosecutions that
may have been filed by criminal district attorneys.

        Additionally, State Defendants object to this interrogatory to the extent that it calls for
information that is publicly available or otherwise equally accessible to the United States. In that same
vein, the Office of the Attorney General has already produced charts of pending and completed
prosecutions from the Office of the Attorney General, as well as copies of prosecution-diversion
agreement at bates stamped ranges STATE087312-STATE087395. Those materials represent a
summary of business records held by the Office of the Attorney General, and ascertaining the
information requested in this interrogatory will impose substantially the same burden on OAG as
it would Plaintiffs' counsel. Fed. R. Civ. P. 33(d).
                                                   9

                                       OCA-REPLY-APPX-081
OCA-REPLY-APPX-082
State Defendants answer as follows:

        State Defendants do not possess the capability to provide information responsive to this
interrogatory. Aside from the methods specifically excluded in the interrogatory itself, the only “online
portal[]” through which the referenced identifying information could have been updated by a voter is
located on the Texas.gov website. That website is maintained by the Texas Department of Information
Resources, which is not a party to this case. A voter is required to enter his current driver license
number, ID number, voter registration card VUID, and Social Security Number in order to access this
portal for the purpose of updating the voter’s name or address. The identifying information of voters
who submit a change of name or address on Texas.gov is transmitted to the Office of the Texas
Secretary of State (“SOS”) on a nightly basis. If the TEAM database is missing the driver license/ID
number or Social Security number disclosed by the voter in gaining access to Texas.gov, that voter’s
missing information is updated in TEAM.

        There is no individual field or combination of fields in TEAM that would allow State
Defendants to isolate the specific information requested in this interrogatory. The TEAM system
contains an audit log that tracks the history of changes or updates made to a voter’s record, but that
audit log does not differentiate between the types of changes offered through the Texas.gov system.
Because of these limitations that are inherent in the TEAM system, State Defendants are unable to
provide data that is responsive to this interrogatory.

SUPPLEMENTAL RESPONSE:

Subject to State Defendants’ understanding of the meaning and parameters of this interrogatory
as set forth in their original response, State Defendants remain unable to provide data responsive
to this interrogatory.

INTERROGATORY NO. 7: State the number of voters who have cured identification defects in their
Application for a Ballot By Mail using any online portals provided pursuant to SB 1 from December
2, 2021 until the present, disaggregated by portal.

OBJECTIONS AND ORIGINAL RESPONSE:

        State Defendants object to this interrogatory to the extent that the information sought is not
proportional to the needs of this case, overly broad, irrelevant to any claim or defense, not reasonably
specific, or unduly burdensome. Additionally, State Defendants object to this interrogatory to the
extent that it requests information through "the present," which would result in the inclusion of
incomplete and inaccurate information if applied to the May 7, 2022 election, for which early
voting began on April 25, 2022. Subject to and without waiving these objections, State Defendants
answer as follows:

        The only “online portal[]” through which identification defects in a voter’s Application for a
Ballot By Mail (“ABBM”) may be cured is the Ballot by Mail Tracker available at VoteTexas.gov.2 A
voter can use the Tracker to cure an initial failure to provide any of the required personal identification
numbers or if the numbers provided do not match the voter registration record. While SOS can

2
    https://teamrv-mvp.sos.texas.gov/BallotTrackerApp/#/login

                                                     11

                                         OCA-REPLY-APPX-083
determine the number of voters who used the Tracker to correct a defect in their ABBM and
subsequently had their ABBM accepted, this total does not necessarily provide the exact information
requested in this interrogatory. That is because the TEAM system is a living database that captures
only the current or most recent status associated with any information in a voter’s record. Therefore,
State Defendants can only provide ABBM figures for the March 1, 2022 Primary reflecting the final
status of voters in the TEAM system. With those caveats and limitations in mind, State Defendants can
represent that the total number of ABBMs submitted for the March 1, 2022 Primary was 264,647; the
total number of voters who used the Tracker to correct a defect in their ABBM was 364; and the total
number of those voters who used the Tracker to correct a defect in their ABBM and either had their
ABBM accepted or cancelled their application and instead voted in person was 237.

SUPPLEMENTAL RESPONSE: Subject to State Defendants’ understanding of the meaning
and parameters of this interrogatory as set forth in their original response, State Defendants
supplement their response with the following counts as calculated by the Texas Secretary of State:

       May 7, 2022 Constitutional Amendment Election
       Total number of ABBMs submitted: 288,865.
       Total number of voters who used the Ballot by Mail Tracker to correct a defect in their
       ABBM: 48.
       Total number of voters who used the Ballot by Mail Tracker to correct a defect in their
       ABBM and had their ABBM accepted or cancelled their application and voted in person: 16.

       May 24, 2022 Primary Runoff Election
       Total number of ABBMs submitted: 280,277.
       Total number of voters who used the Ballot by Mail Tracker to correct a defect in their
       ABBM: 11.
       Total number of voters who used the Ballot by Mail Tracker to correct a defect in their
       ABBM and had their ABBM accepted or cancelled their application and voted in person: 7.

       November 8, 2022 General Election
       Total number of ABBMs submitted: 431,571.
       Total number of voters who used the Ballot by Mail Tracker to correct a defect in their
       ABBM: 523.
       Total number of voters who used the Ballot by Mail Tracker to correct a defect in their
       ABBM and had their ABBM accepted or cancelled their application and voted in person: 419.

INTERROGATORY NO. 8: State the number of voters who have cured carrier envelope
identification defects using any online portal provided pursuant to SB 1 from February 9, 2022 to
present, disaggregated by portal.

OBJECTIONS AND ORIGINAL RESPONSE:

        State Defendants object to this interrogatory to the extent that the information sought is not
proportional to the needs of this case, overly broad, irrelevant to any claim or defense, not reasonably
specific, or unduly burdensome. Additionally, State Defendants object to this interrogatory to the
extent that it requests information through "the present," which would result in the inclusion of
incomplete and inaccurate information if applied to the May 7, 2022 election, for which early
voting began on April 25, 2022. Subject to and without waiving these objections, State Defendants
                                                  12

                                      OCA-REPLY-APPX-084
answer as follows:

        The only “online portal[]” through which a voter may cure carrier envelope identification
defects is again the Ballot by Mail Tracker available at VoteTexas.gov. Using this portal, a voter can
cure the following three defects:

           1. The carrier envelope did not contain the voter’s Texas Driver’s License Number, Texas
              Personal Identification Number, Texas Election Identification Certificate Number, or
              the Last 4 digits of his Social Security Number;
           2. The identification number provided by the voter did not match the number associated
              with his voter registration record; or
           3. The voter was not issued one of the documents with the required number and did not
              indicate this fact on the carrier envelope.

        SOS can determine the number of voters who used the Tracker to correct a defective carrier
envelope and subsequently had their mail-in ballot accepted, but this total does not necessarily provide
the exact information requested in this interrogatory. That is because the TEAM system is a living
database that captures only the current or most recent status associated with any information in a voter’s
record. Therefore, State Defendants can only provide mail ballot figures for the March 1, 2022 Primary
reflecting the final status of voters in the TEAM system. Considering those limitations, State
Defendants can represent that the total number of mail ballots submitted for the March 1, 2022 Primary
was 198,947; the total number of voters who used the Tracker to correct a defective carrier envelope
was 2,628; and the total number of voters who used the Tracker to correct a defective carrier envelope
and either had their mail ballot accepted or cancelled their mail ballot and instead voted in person was
1,788.

SUPPLEMENTAL RESPONSE: Subject to State Defendants’ understanding of the meaning
and parameters of this interrogatory as set forth in their original response, State Defendants
supplement their response with the following counts as calculated by the Texas Secretary of State:

       May 7, 2022 Constitutional Amendment Election
       Total number of mail ballots submitted: 190,469.
       Total number of voters who used the Ballot by Mail Tracker to correct a defective carrier
       envelope: 1,017.
       Total number of voters who used the Ballot by Mail Tracker to correct a defective carrier
       envelope and had their mail ballot accepted or cancelled their mail ballot and voted in person:
       937.

       May 24, 2022 Primary Runoff Election
       Total number of mail ballots submitted: 183,260.
       Total number of voters who used the Ballot by Mail Tracker to correct a defective carrier
       envelope: 1,071.
       Total number of voters who used the Ballot by Mail Tracker to correct a defective carrier
       envelope and had their mail ballot accepted or cancelled their mail ballot and voted in person:
       1,063.

       November 8, 2022 General Election
       Total number of mail ballots submitted: 345,679.
                                                   13

                                      OCA-REPLY-APPX-085
Total number of voters who used the Ballot by Mail Tracker to correct a defective carrier
envelope: 1,531.
Total number of voters who used the Ballot by Mail Tracker to correct a defective carrier
envelope and had their mail ballot accepted or cancelled their mail ballot and voted in person:
1,496.




                                         14

                             OCA-REPLY-APPX-086
Exhibit 7




 OCA-REPLY-APPX-087
                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION


 LA UNION DEL PUEBLO ENTERO, et §
 al.,                           §
                                §
      Plaintiffs,               §
                                § CIVIL ACTION NO. 5:21-CV-00844-XR
         v.                     § (Consolidated Cases)
                                §
 GREGORY W. ABBOTT, et al.,     §
                                §
       Defendants.              §


          DEFENDANT HARRIS COUNTY DISTRICT ATTORNEY KIM OGG’S
            FIRST AMENDED RESPONSES TO PLAINTIFF OCA-GREATER
                HOUSTON’S SECOND SET OF INTERROGATORIES

 TO:    Plaintiff OCA-Greater Houston, by and through Plaintiff OCA-Greater Houston’s attorney
        of record, Zachary Dolling, TEXAS CIVIL RIGHTS PROJECT, 1405 Montopolis Drive,
        Austin, Texas 78741.


       Defendant Harris County District Attorney Kim Ogg (“District Attorney Ogg”), in

accordance with the Federal Rules of Civil Procedure, services these First Amended responses to

Plaintiff OCA-Greater Houston’s Second Set of Interrogatories. District Attorney Ogg reserves the

right to supplement and/or amend this response as the case progresses and as permitted by the

Federal Rules of Civil Procedure and any orders of the Court.




                                    OCA-REPLY-APPX-088
                                                  Respectfully submitted,

                                                 BUTLER SNOW LLP

                                                 By: /s/ Eric J.R. Nichols
                                                  Eric J.R. Nichols
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                                                  Tel: (737) 802-1800
                                                  Fax: (737) 802-1801

                                                  ATTORNEYS FOR DEFENDANT KIM
                                                  OGG, IN HER OFFICIAL CAPACITY
                                                  AS HARRIS COUNTY DISTRICT
                                                  ATTORNEY



                              CERTIFICATE OF SERVICE


       I hereby certify that on March 21, 2023, a true and correct copy of the foregoing
document was served on counsel of record by electronic mail.

                                                 /s/ Eric J.R. Nichols
                                                 Eric J.R. Nichols




                                            2
                                  OCA-REPLY-APPX-089
    DISTRICT ATTORNEY OGG’S FIRST AMENDED RESPONSES TO PLAINTIFF
        OCA-GREATER HOUSTON’S SECOND SET OF INTERROGATORIES

       These responses are without prejudice to District Attorney’s Ogg position that principles of
sovereign immunity bar the requesting plaintiffs’ claims against her.

INTERROGATORY NO. 1: Identify each investigation initiated or participated in by your office
predicated at least in part on a violation or suspected violation of the above-listed Sections of the
Texas Election Code. Include for each investigation identified the Section(s) of the Texas Election
Code involved or suspected to be involved, the date the investigation was opened, the result of the
investigation (e.g., dismissal because inconclusive), and the date the investigation was closed, where
applicable.

RESPONSE NO. 1: During the time period January 1, 2017 to present, there were reports made to
the Harris County District Attorney’s Office (“HCDAO”) of 165 instances in which individuals
provided the Harris County District Clerk and/or the City of Houston with responses to jury
summonses indicating a lack of U.S. citizenship that may have been inconsistent with representations
of citizenship made on previously filed voter registration applications. During this time period, there
were reports made to the HCDAO of 470 instances in which individuals signed in to vote in a
primary, either Democratic or Republican, after previously signing in to vote in a different party’s
primary in the same election. During this time period, there was a report made to the HCDAO of a
situation in which an individual falsified a voter registration application with the wrong address for
that individual. During this time period, there were reports made to the HCDAO of 20 instances in
which a person was suspected of voting illegally in person in Harris County—three that involved
potential voting by a felon not eligible to vote; two that involved potential voting by non-citizens not
eligible to vote; and 15 that involved the potential situation in which a voter voted more than once.
During this time period, there was one report to the HCDAO of a claim that an individual engaged
in improper ballot harvesting. During this time period, there was one report made to the HCDAO of
multiple instances in which a person may have indicated that he or she witnessed a request for mail-
in ballots when in fact he or she had not. Records maintained by the division of the HCDAO that
processes complaints and referrals of Election Code matters, and engages in investigations of
Election Code matters, do not reflect other instances of the HCDAO receiving complaints, referrals,
and/or participating in investigations during this time period that could have arisen in part or in whole
under any one or more of the following provisions of the Texas Election Code as enacted or amended
by SB1: 13.007, 33.051(g), 33.061(a), 64.012, 86.006(f), 86.010(i), 86.0105, 276.004(a), 276.013,
276.015(b)-(d), 276.016(a), 276.017(a), and 276.018(a).

To the extent that this interrogatory seeks more information than is provided above, the request would
be inconsistent with the Court’s guidance on the scope of discovery during proceedings held on
February 16, 2023. As discussed with the Court during the proceedings on February 16, 2023, these
responses are intended to address a limited scope of inquiry to the HCDAO. Should requesting
plaintiffs persist in seeking broader discovery, District Attorney Ogg maintains and asserts all
objections to discovery on any such broader scope, including that the requested discovery concerns
matters that are not relevant to the claims being made by requesting plaintiffs; is not proportional to
the needs of the case; and seeks to discover information that is privileged from discovery, including




                                                   3
                                      OCA-REPLY-APPX-090
under attorney-client communications privilege, attorney work product, informer’s identity privilege,
and privilege associated with law enforcement investigations.

INTERROGATORY NO. 2: Identify each prosecution initiated or participated in by your office
predicated at least in part on a violation or suspected violation of the above-listed Sections of the
Texas Election Code. Include for each prosecution identified the Section(s) of the Texas Election
Code involved or suspected to be involved, the date the prosecution was initiated, and the result of
the prosecution.

RESPONSE NO. 2: From January 1, 2017 to present, the HCDAO has participated in the
following prosecutions, which are of public record:

       State v. Anthony Rodriguez, Cause No. 1629438 (176th Judicial District Court) (filed 4/26/19)

       State v. Richard Anthony Bonton, Case No. 2337503 (Harris CCCL #15) (filed 12/11/20)

       State v. Natasha Nicole Demming, Case No. 2337506 (Harris CCCL #15) (filed 12/11/20)

Records maintained by the division of the HCDAO that processes complaints and referrals of
Election Code matters, and engages in prosecutions of Election Code matters, do not reflect other
instances of prosecutions that arose in part or in whole under any one or more of the following
provisions of the Texas Election Code as enacted or amended by SB1: 13.007, 33.051(g), 33.061(a),
64.012, 86.006(f), 86.010(i), 86.0105, 276.004(a), 276.013, 276.015(b)-(d), 276.016(a), 276.017(a),
and 276.018(a).

To the extent that this interrogatory seeks more information than is provided above, the request would
be inconsistent with the Court’s guidance on the scope of discovery during proceedings held on
February 16, 2023. As discussed with the Court during the proceedings on February 16, 2023, these
responses are intended to address a limited scope of inquiry to the HCDAO. Should requesting
plaintiffs persist in seeking broader discovery, District Attorney Ogg maintains and asserts all
objections to discovery on any such broader scope, including that the requested discovery concerns
matters that are not relevant to the claims being made by requesting plaintiffs; is not proportional to
the needs of the case; and seeks to discover information that is privileged from discovery, including
under attorney-client communications privilege, attorney work product, informer’s identity privilege,
and privilege associated with law enforcement investigations.

INTERROGATORY NO. 3: Identify and describe with particularity any communications your
office has had with the OAG regarding investigations or prosecutions related to the above-listed
Sections of the Texas Election Code.

RESPONSE NO. 3: At least four of the matters involving a complaint, referral, and/or
investigation as discussed in the response to Interrogatory No. 1 involved communications with the
“OAG” as defined in the request.

To the extent that this interrogatory seeks more information than is provided above, the request would
be inconsistent with the Court’s guidance on the scope of discovery during proceedings held on



                                                  4
                                      OCA-REPLY-APPX-091
February 16, 2023. As discussed with the Court during the proceedings on February 16, 2023, these
responses are intended to address a limited scope of inquiry to the HCDAO. Should requesting
plaintiffs persist in seeking broader discovery, District Attorney Ogg maintains and asserts all
objections to discovery on any such broader scope, including that the requested discovery concerns
matters that are not relevant to the claims being made by requesting plaintiffs; is not proportional to
the needs of the case; and seeks to discover information that is privileged from discovery, including
under attorney-client communications privilege, attorney work product, informer’s identity privilege,
and privilege associated with law enforcement investigations.

INTERROGATORY NO. 4: Identify and describe with particularity any communications your
office has had with the SOS regarding investigations or prosecutions related to the above-listed
Sections of the Texas Election Code.

RESPONSE NO. 4: At least one of the matters involving a complaint, referral, and/or investigation
as discussed in the response to Interrogatory No. 1 involved communications with the “SOS” as
defined in the request.

To the extent that this interrogatory seeks more information than is provided above, the request would
be inconsistent with the Court’s guidance on the scope of discovery during proceedings held on
February 16, 2023. As discussed with the Court during the proceedings on February 16, 2023, these
responses are intended to address a limited scope of inquiry to the HCDAO. Should requesting
plaintiffs persist in seeking broader discovery, District Attorney Ogg maintains and asserts all
objections to discovery on any such broader scope, including that the requested discovery concerns
matters that are not relevant to the claims being made by requesting plaintiffs; is not proportional to
the needs of the case; and seeks to discover information that is privileged from discovery, including
under attorney-client communications privilege, attorney work product, informer’s identity privilege,
and privilege associated with law enforcement investigations.

INTERROGATORY NO. 5: Identify and describe with particularity any communications your
office has had with State officials regarding investigations or prosecutions related to the above-listed
Sections of the Texas Election Code.

RESPONSE NO. 5: See responses to Interrogatories 3 and 4.

To the extent that this interrogatory seeks more information than is provided above, the request would
be inconsistent with the Court’s guidance on the scope of discovery during proceedings held on
February 16, 2023. As discussed with the Court during the proceedings on February 16, 2023, these
responses are intended to address a limited scope of inquiry to the HCDAO. Should requesting
plaintiffs persist in seeking broader discovery, District Attorney Ogg maintains and asserts all
objections to discovery on any such broader scope, including that the requested discovery concerns
matters that are not relevant to the claims being made by requesting plaintiffs; is not proportional to
the needs of the case; and seeks to discover information that is privileged from discovery, including
under attorney-client communications privilege, attorney work product, informer’s identity privilege,
and privilege associated with law enforcement investigations.




                                                  5
                                      OCA-REPLY-APPX-092
INTERROGATORY NO. 6: Identify and describe with particularity any communications your
office has had with local officials, other than you, regarding investigations or prosecutions related to
the above-listed Sections of the Texas Election Code.

RESPONSE NO. 6: See responses to Interrogatories 1, 3, 4, and 5.

To the extent that this interrogatory seeks more information than is provided above, the request would
be inconsistent with the Court’s guidance on the scope of discovery during proceedings held on
February 16, 2023. As discussed with the Court during the proceedings on February 16, 2023, these
responses are intended to address a limited scope of inquiry to the HCDAO. Should requesting
plaintiffs persist in seeking broader discovery, District Attorney Ogg maintains and asserts all
objections to discovery on any such broader scope, including that the requested discovery concerns
matters that are not relevant to the claims being made by requesting plaintiffs; is not proportional to
the needs of the case; and seeks to discover information that is privileged from discovery, including
under attorney-client communications privilege, attorney work product, informer’s identity privilege,
and privilege associated with law enforcement investigations.

INTERROGATORY NO. 7: Identify and describe with particularity any communications your
office has had with the Texas Legislature regarding investigations or prosecutions related to the
above-listed Sections of the Texas Election Code.

RESPONSE NO. 7: Following diligent inquiry, District Attorney Ogg has not located any
communications with the “Texas Legislature” as defined by the request regarding investigations or
prosecutions related to one or more of the following provisions of the Texas Election Code as enacted
or amended by SB1: 33.051(g), 33.061(a), 86.006(f), 86.010(i), 86.0105, 276.004(a), 276.015(b)-
(d), 276.016(a), 276.017(a), and 276.018(a).

To the extent that this interrogatory seeks more information than is provided above, the request would
be inconsistent with the Court’s guidance on the scope of discovery during proceedings held on
February 16, 2023. As discussed with the Court during the proceedings on February 16, 2023, these
responses are intended to address a limited scope of inquiry to the HCDAO. Should requesting
plaintiffs persist in seeking broader discovery, District Attorney Ogg maintains and asserts all
objections to discovery on any such broader scope, including that the requested discovery concerns
matters that are not relevant to the claims being made by requesting plaintiffs; is not proportional to
the needs of the case; and seeks to discover information that is privileged from discovery, including
under attorney-client communications privilege, attorney work product, informer’s identity privilege,
and privilege associated with law enforcement investigations.

INTERROGATORY NO. 8: Identify and describe with particularity any communications your
office has had with members of the public regarding investigations or prosecutions related to the
above-listed Sections of the Texas Election Code.

RESPONSE NO. 8: See responses to Interrogatories 1, 2, 3, 4, and 5.

To the extent that this interrogatory seeks more information than is provided above, the request would
be inconsistent with the Court’s guidance on the scope of discovery during proceedings held on
February 16, 2023. As discussed with the Court during the proceedings on February 16, 2023, these


                                                  6
                                      OCA-REPLY-APPX-093
responses are intended to address a limited scope of inquiry to the HCDAO. Should requesting
plaintiffs persist in seeking broader discovery, District Attorney Ogg maintains and asserts all
objections to discovery on any such broader scope, including that the requested discovery concerns
matters that are not relevant to the claims being made by requesting plaintiffs; is not proportional to
the needs of the case; and seeks to discover information that is privileged from discovery, including
under attorney-client communications privilege, attorney work product, informer’s identity privilege,
and privilege associated with law enforcement investigations.




                                                  7
                                      OCA-REPLY-APPX-094
                                        VERIFICATION

STATE OF TEXAS                §
                              §
COUNTY OF HARRIS              §

        I declare pursuant to 28 U.S.C. § 1746 that I am an Assistant District Attorney/Fraud
Examiner with the Public Corruption Division of the Harris County District Attorney’s Office, and
that the foregoing answers to interrogatories are based on information and records available through
diligent inquiry at the Harris County District Attorney’s Office.


                                                            /s/ George Jordan (with permission)
                                                            GEORGE JORDAN




                                                8
                                     OCA-REPLY-APPX-095
Exhibit 8




 OCA-REPLY-APPX-096
                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF TEXAS
                                    SAN ANTONIO DIVISION

LA UNION DEL PUEBLO ENTERO, et al., §
               Plaintiffs,          §
                                    §
v.                                  §                                 5:21-CV-0844-XR
                                    §                                 (Consolidated Cases)
GREGORY ABBOTT, et al.              §
               Defendants.          §



   DEFENDANT JOSÉ GARZA’S AMENDED OBJECTIONS AND RESPONSES TO
   PLAINTIFF OCA-GREATER HOUSTON’S FIRST SET OF INTERROGATORIES

TO:     Consolidated Plaintiffs, by and through their attorneys of record.

        Comes now Defendant José Garza in his official capacity as Travis County District

Attorney (“Defendant”), and hereby serves his Amended Objections and Responses to Plaintiff

OCA-Greater Houston’s First Set of Interrogatories.1

                              I.       OBJECTIONS TO DEFINITIONS

        1.        Defendant Garza objects to Plaintiff’s definition of “you” as including “Travis

County, including the Office of the Travis County District Attorney, the Travis County District

Attorney, his predecessors and successors...” This definition is overly broad and improperly

includes prior District Attorney administrations not included or the subject of this litigation.

Additionally, said definitions could be construed to require the disclosure of information

concerning matters made exempt from discovery under Federal Rule of Civil Procedure 26(b)(1)

and the Federal Rules of Evidence, including, but not limited to attorney work product, litigation

privilege, deliberative process privilege, grand jury proceedings, and ongoing criminal

investigations.

1
  The objections made herein are asserted on behalf of Travis County District Attorney José Garza, in his official
capacity.
La Unión del Pueblo Entero, et al. v. Greg Abbott, et al.                                      383.141 / 1080255.6
Defendant José Garza’s Amended Objections and Responses to OCA-GH Plaintiffs’ First Interrogatories   Page 1 of 11

                                         OCA-REPLY-APPX-097
   PLAINTIFF OCA-GREATER HOUSTON’S FIRST SET OF INTERROGATORIES
    TO DEFENDANT TRAVIS COUNTY DISTRICT ATTORNEY JOSÉ GARZA, IN
                       HIS OFFICIAL CAPACITY

 All interrogatories are limited in time from January 1, 2016, until present day.

Interrogatory No. 1: Identify and describe with particularity all investigations, criminal
proceedings, or prosecutions initiated or participated in by your office and predicated at least in
part on a violation or suspected violation of criminal election law.

       OBJECTION: Defendant objects to this interrogatory to the extent that it seeks
information or material relating to any ongoing criminal investigation. As a matter of federal
common law, the law enforcement privilege protects government documents relating to an
ongoing criminal investigation. Documents and communications which may be responsive to this
request for production related to open criminal cases currently being prosecuted by Travis
County, if any, would impair any such investigation and prosecution of alleged criminal activity
within Travis County.

Additionally, Defendant further objects to the extent that this interrogatory seeks protected grand
jury proceedings, attorney client communications and/or attorney work product, if any, that exist.

Defendant further objects to the extent that this interrogatory seeks responsive information and
documentation under prior administrations of the Travis County District Attorneys who are not
parties to this lawsuit as being overly broad, and unduly burdensome on Defendant District
Attorney Garza.

       RESPONSE: Subject to, and without waiving the foregoing objections, Defendant Garza
responds as follows:

       On June 7, 2019, the TCDAO received a complaint from Travis County Tax Assessor-
Collector Bruce Elfant, in his capacity as the Travis County Registrar of Voters alleging that the
subject of the investigation in TCDAO File No. 11612-19, who is not a US citizen, illegally
voted in multiple elections, the latest being on October 26, 2016. The case was closed without
presenting it to the grand jury, as the statute of limitations ran in October 2019.

        On February 4, 2019, the TCDAO received a complaint from Travis County Tax
Assessor-Collector Bruce Elfant, in his capacity as the Travis County Registrar of Voters
alleging that the subject of the investigation in TCDAO File No. 11482-19 illegally voted by
voting on election day in addition to voting early. The case was closed without presenting it to
the grand jury as there was insufficient evidence to prove criminal conduct.

        On February 4, 2019, the TCDAO received a complaint from Travis County Tax
Assessor-Collector Bruce Elfant, in his capacity as the Travis County Registrar of Voters
alleging that the subject of the investigation in TCDAO File No. 11483-19 illegally voted by
voting on election day in addition to voting early. The case was closed without presenting it to
the grand jury as there was insufficient evidence to prove criminal conduct.

La Unión del Pueblo Entero, et al. v. Greg Abbott, et al.                                      383.141 / 1080255.6
Defendant José Garza’s Amended Objections and Responses to OCA-GH Plaintiffs’ First Interrogatories   Page 2 of 11

                                         OCA-REPLY-APPX-098
        On February 2, 2017, Travis County Tax Assessor-Collector Bruce Elfant, in his capacity
as the Travis County Registrar of Voters wrote an Affidavit of Fact stating “certain individuals
possibly illegally voted in the November 8, 2016 General Election” in connection with the
investigation in TCDAO File No. 11052-17, 2017 Illegal Voters Investigation. A list of 17
individuals who were the subject of the investigation in TCDAO File No. 11052-17, 2017
Illegal Voters Investigation were believed to have voted twice based upon voter registration
information as well as like signatures on polling signature rosters. The cases were closed
without presenting them to the grand jury as there was insufficient evidence to prove criminal
conduct.

Interrogatory No. 2: For each investigation, criminal proceeding, or prosecution identified in
response to Interrogatory No. 1, identify all local officials or State officials involved, other than
you, and describe with particularity the role each local official or State official played. This
identification may be limited to the political subdivision, political subdivision office, or
statewide office with which the officials are affiliated rather than the names of individual
persons.

        OBJECTION: Defendant objects to this interrogatory to the extent that it seeks material
relating to an ongoing criminal investigation. As a matter of federal common law, the law
enforcement privilege protects government documents relating to an ongoing criminal
investigation. In re US Dept. of Homeland Sec., 459 F.3d 565 (5th Cir. 2006). Documents and
communications which may be responsive to this request for production are related to open
criminal cases which are currently being prosecuted by Travis County and would impair the
investigation and prosecution of alleged criminal activity within Travis County.

       Defendant further objects to this interrogatory to the extent that it requires disclosure of
grand jury proceedings or materials requested or obtained pursuant to a grand jury subpoena.

       Additionally, Defendant further objects to the extent that this request seeks protected
attorney client communications and/or attorney work product, if any, that exist.

        Defendant further objects to the extent that this request seeks responsive information and
documentation under prior administrations of the Travis County District Attorneys who are not
parties to this lawsuit as being overly broad, and unduly burdensome on Defendant District
Attorney Garza.


       RESPONSE: Subject to, and without waiving the foregoing objections, Defendant
Garza responds as follows:

        Travis County Tax Assessor-Collector Bruce Elfant, in his capacity as the Travis County
Registrar of Voters was the Complainant in the TCDAO File No. 11052-17, 2017 Illegal Voters
investigation, and the 2019 TCDAO File No. 11612-19, TCDAO File No. 11482-19, and
TCDAO File No. 11483-19 Investigations, and provided an affidavit of fact in connection with
the TCDAO File No. 11052-17, 2017 Illegal Voters investigation.

        The Travis County Tax Assessor-Collector Office and Travis County Clerk’s Office
La Unión del Pueblo Entero, et al. v. Greg Abbott, et al.                                      383.141 / 1080255.6
Defendant José Garza’s Amended Objections and Responses to OCA-GH Plaintiffs’ First Interrogatories   Page 3 of 11

                                         OCA-REPLY-APPX-099
provided additional documentation in connection with the TCDAO File No. 11052-17, 2017
Illegal Voters Investigation, and the 2019 TCDAO File No. 11612-19, TCDAO File No. 11482-
19, and TCDAO File No. 11483-19 Investigations.

        The Travis County Attorney’s Office received and conducted initial review of the
Complaints in connection with the TCDAO File No. 11052-17, 2017 Illegal Voters investigation,
and the 2019 TCDAO File No. 11482-19, and TCDAO File No. 11483-19 Investigations prior to
referring each of these Complaints to the Travis County District Attorney’s Office.

        The Austin Police Department provided additional documentation to the Travis County
District Attorney’s Office in connection with the 2017 Illegal Voters Investigation.

 Interrogatory No. 3: Identify and describe with particularity any practices or policies of your
 office specific to the investigation or prosecution of violations or suspected violations of
 criminal election law.

    RESPONSE:

         The Travis County District Attorney’s Office does not have “practices or policies . . .
specific to the investigation or prosecution of violations or suspected violations of criminal
election law.” The Travis County District Attorney’s Office investigates and prosecutes
“violations or suspected violations of criminal election law” pursuant to the authority granted to
district attorneys in the State of Texas under Texas state law to represent the State of Texas in
Criminal actions in District Court. More specifically, Texas Election Code Section 273.001
vests the “county or district attorney having jurisdiction in that territory” with investigating an
allegation “by two or more registered voters” alleging “criminal conduct in connection with the
election.”

 Interrogatory No. 4: If you contend that the OAG is responsible for or engages in the
 investigation or prosecution of violations or suspected violations of criminal election law
 within Travis County:

          A. State the facts that support your contention; and

          B. Identify all documents that support your contention.

    RESPONSE:

      The Travis County District Attorney’s Office does not make this contention.
Accordingly, no further response is required.

 Interrogatory No. 5: If you contend that any local official other than you is responsible for or
 engages in the investigation or prosecution of violations or suspected violations of criminal
 election law within Travis County:

          A. Identify the local official(s);

La Unión del Pueblo Entero, et al. v. Greg Abbott, et al.                                      383.141 / 1080255.6
Defendant José Garza’s Amended Objections and Responses to OCA-GH Plaintiffs’ First Interrogatories   Page 4 of 11

                                         OCA-REPLY-APPX-100
          B. State the facts that support your contention(s); and

          C. Identify all documents that support your contention(s).

    RESPONSE:

        Texas Election Code Section 273.001 vests the “county or district attorney having
jurisdiction in that territory” with investigating an allegation “by two or more registered voters”
alleging “criminal conduct in connection with the election.” Thus, the Travis County Attorney’s
office would have jurisdiction over the investigation of any misdemeanor offense connected to
an allegation made by two or more registered voters in connection with an election.

        The prosecution for violations or suspected violations of the Texas Election Code could
fall within the jurisdiction of the Travis County Attorney’s Office or the Travis County District
Attorney’s Office. A misdemeanor involving official misconduct, which is intentional or
knowing conduct by a public servant acting in their official capacity (Texas Penal Code Section
1.07), is within the jurisdiction of the District Courts pursuant to Code of Criminal Procedure
Article 4.05. The Travis County District Attorney’s Office represents the State of Texas in
Criminal actions in District Court. However, a misdemeanor violation of the Texas Election
Code committed by one who is not a public servant would fall within the ordinary jurisdiction of
the County Courts at Law. The Travis County Attorney’s Office represents the State of Texas in
criminal actions in County Courts at Law.


 Interrogatory No. 6: Identify and describe with particularity all investigations, criminal
 proceedings, or prosecutions in Travis County carried out by any local official other than you
 and predicated at least in part on a violation or suspected violation of criminal election law.

        OBJECTION: Defendant objects to this interrogatory to the extent that it seeks material
relating to an ongoing criminal investigation from Defendant’s predecessor or seeks documents
from “local officials,” including other governmental entities, not within the custody and control
of Defendant. As a matter of federal common law, the law enforcement privilege protects
government documents relating to an ongoing criminal investigation. In re US Dept. of
Homeland Sec., 459 F.3d 565 (5th Cir. 2006). Documents and communications which may be
responsive to this request for production are related to open criminal cases which are currently
being prosecuted by Travis County and would impair the investigation and prosecution of
alleged criminal activity within Travis County.

       Additionally, Defendant further objects to the extent that this request seeks protected
attorney client communications and/or attorney work product, if any, that exist.

        Defendant further objects to the extent that this request seeks responsive information and
documentation under prior administrations of the Travis County District Attorneys who are not
parties to this lawsuit as being overly broad, and unduly burdensome on Defendant District
Attorney Garza.

    RESPONSE:
La Unión del Pueblo Entero, et al. v. Greg Abbott, et al.                                      383.141 / 1080255.6
Defendant José Garza’s Amended Objections and Responses to OCA-GH Plaintiffs’ First Interrogatories   Page 5 of 11

                                         OCA-REPLY-APPX-101
       Subject to, and without waiving the foregoing objections, Defendant Garza responds as
follows:

       The Travis County Attorney’s Office received and conducted initial review of the
Complaints in connection with the 2017 Illegal Voters investigation, and the 2019 TCDAO File
No. 11482-19, and TCDAO File No. 11483-19 Investigations prior to referring each of these
Complaints to the Travis County District Attorney’s Office. No other “investigations, criminal
proceedings, or prosecutions” known of by District Attorney Garza’s administration. Defendant
reserves the right to supplement this Response pursuant to the Federal Rules of Civil Procedure.

 Interrogatory No. 7: Identify and describe with particularity any communications your office
 has had with the OAG regarding the investigation or prosecution of violations or suspected
 violations of any criminal election law, including the specific topic of communication, the date
 of the communications, the individuals who participated in the communications, and the
 outcome of the communications.

OBJECTION: Defendant objects to this interrogatory to the extent that it seeks material relating
to an ongoing criminal investigation from Defendant’s predecessor or seeks documents from
“local officials,” including other governmental entities, not within the custody and control of
Defendant. As a matter of federal common law, the law enforcement privilege protects
government documents relating to an ongoing criminal investigation. In re US Dept. of
Homeland Sec., 459 F.3d 565 (5th Cir. 2006). Documents and communications which may be
responsive to this request for production are related to open criminal cases which are currently
being prosecuted by Travis County and would impair the investigation and prosecution of
alleged criminal activity within Travis County.

       Additionally, Defendant further objects to the extent that this request seeks protected
attorney client communications and/or attorney work product, if any, that exist.

        Defendant further objects to the extent that this request seeks responsive information and
documentation under prior administrations of the Travis County District Attorneys who are not
parties to this lawsuit as being overly broad, and unduly burdensome on Defendant District
Attorney Garza.

    RESPONSE: Subject to, and without waiving the foregoing objections, Defendant Garza
    responds as follows:


       None known of by District Attorney Garza’s administration. Defendant reserves the right
to supplement this Response pursuant to the Federal Rules of Civil Procedure.

 Interrogatory No. 8: Identify and describe with particularity any communications your office
 has had with the SOS regarding the investigation or prosecution of violations or suspected
 violations of any criminal election law, including the specific topic of communication, the date
 of the communications, the individuals who participated in the communications, and the
 outcome of the communications.
La Unión del Pueblo Entero, et al. v. Greg Abbott, et al.                                      383.141 / 1080255.6
Defendant José Garza’s Amended Objections and Responses to OCA-GH Plaintiffs’ First Interrogatories   Page 6 of 11

                                         OCA-REPLY-APPX-102
OBJECTION: Defendant objects to this interrogatory to the extent that it seeks material relating
to an ongoing criminal investigation from Defendant’s predecessor or seeks documents from
“local officials,” including other governmental entities, not within the custody and control of
Defendant. As a matter of federal common law, the law enforcement privilege protects
government documents relating to an ongoing criminal investigation. In re US Dept. of
Homeland Sec., 459 F.3d 565 (5th Cir. 2006). Documents and communications which may be
responsive to this request for production are related to open criminal cases which are currently
being prosecuted by Travis County and would impair the investigation and prosecution of
alleged criminal activity within Travis County.

       Additionally, Defendant further objects to the extent that this request seeks protected
attorney client communications and/or attorney work product, if any, that exist.

        Defendant further objects to the extent that this request seeks responsive information and
documentation under prior administrations of the Travis County District Attorneys who are not
parties to this lawsuit as being overly broad, and unduly burdensome on Defendant District
Attorney Garza.

    RESPONSE: Subject to, and without waiving the foregoing objections, Defendant Garza
    responds as follows:

       None known of by District Attorney Garza’s administration. Defendant reserves the right
to supplement this Response pursuant to the Federal Rules of Civil Procedure.

 Interrogatory No. 9: Identify and describe with particularity any communications your office
 has had with State officials, if not identified and described in your responses to Interrogatories
 No. 7 and 8 above, regarding the investigation or prosecution of violations or suspected
 violations of any criminal election law, including the specific topic of communication, the date
 of the communications, the individuals who participated in the communications, and the
 outcome of the communications.

OBJECTION: Defendant objects to this interrogatory to the extent that it seeks material relating
to an ongoing criminal investigation from Defendant’s predecessor or seeks documents from
“local officials,” including other governmental entities, not within the custody and control of
Defendant. As a matter of federal common law, the law enforcement privilege protects
government documents relating to an ongoing criminal investigation. In re US Dept. of
Homeland Sec., 459 F.3d 565 (5th Cir. 2006). Documents and communications which may be
responsive to this request for production are related to open criminal cases which are currently
being prosecuted by Travis County and would impair the investigation and prosecution of
alleged criminal activity within Travis County.

       Additionally, Defendant further objects to the extent that this request seeks protected
attorney client communications and/or attorney work product, if any, that exist.

      Defendant further objects to the extent that this request seeks responsive information and
documentation under prior administrations of the Travis County District Attorneys who are not
La Unión del Pueblo Entero, et al. v. Greg Abbott, et al.                                      383.141 / 1080255.6
Defendant José Garza’s Amended Objections and Responses to OCA-GH Plaintiffs’ First Interrogatories   Page 7 of 11

                                         OCA-REPLY-APPX-103
parties to this lawsuit as being overly broad, and unduly burdensome on Defendant District
Attorney Garza.

    RESPONSE: Subject to, and without waiving the foregoing objections, Defendant Garza
    responds as follows:

       None known of by District Attorney Garza’s administration. Defendant reserves the right
to supplement this Response pursuant to the Federal Rules of Civil Procedure.

 Interrogatory No. 10: Identify and describe with particularity any communications your
 office has had with local officials other than you regarding the investigation or prosecution of
 violations or suspected violations of any criminal election law, including the specific topic of
 communication, the date of the communications, the individuals who participated in the
 communications, and the outcome of the communications.

OBJECTION: Defendant objects to this interrogatory to the extent that it seeks material relating
to an ongoing criminal investigation from Defendant’s predecessor or seeks documents from
“local officials,” including other governmental entities, not within the custody and control of
Defendant. As a matter of federal common law, the law enforcement privilege protects
government documents relating to an ongoing criminal investigation. In re US Dept. of
Homeland Sec., 459 F.3d 565 (5th Cir. 2006). Documents and communications which may be
responsive to this request for production are related to open criminal cases which are currently
being prosecuted by Travis County and would impair the investigation and prosecution of
alleged criminal activity within Travis County.

       Additionally, Defendant further objects to the extent that this request seeks protected
attorney client communications and/or attorney work product, if any, that exist.

        Defendant further objects to the extent that this request seeks responsive information and
documentation under prior administrations of the Travis County District Attorneys who are not
parties to this lawsuit as being overly broad, and unduly burdensome on Defendant District
Attorney Garza.

    RESPONSE: Subject to, and without waiving the foregoing objections, Defendant Garza
    responds as follows:

       See Response to Interrogatory No. 2, above. Travis County Tax Assessor-Collector
Bruce Elfant, in his capacity as the Travis County Registrar of Voters was the Complainant in
the 2017 Illegal Voters investigation, and the 2019 TCDAO File No. 11612-19, TCDAO File
No. 11482-19, and TCDAO File No. 11483-19 Investigations, and provided an affidavit of fact
in connection with the 2017 Illegal Voters Investigation.

       The Travis County Tax Assessor-Collector Office and Travis County Clerk’s Office
provided additional documentation in connection with the 2017 Illegal Voters Investigation, and
the 2019 TCDAO File No. 11612-19, TCDAO File No. 11482-19, and TCDAO File No. 11483-
19 Investigations.

La Unión del Pueblo Entero, et al. v. Greg Abbott, et al.                                      383.141 / 1080255.6
Defendant José Garza’s Amended Objections and Responses to OCA-GH Plaintiffs’ First Interrogatories   Page 8 of 11

                                         OCA-REPLY-APPX-104
      The Travis County Attorney’s Office received and conducted initial review of the
Complaints in connection with the 2017 Illegal Voters investigation, and the 2019 TCDAO File
No. 11482-19, and TCDAO File No. 11483-19 Investigations prior to referring each of these
Complaints to the Travis County District Attorney’s Office.

        The Austin Police Department provided additional documentation to the Travis County
District Attorney’s Office in connection with the 2017 Illegal Voters Investigation.


 Interrogatory No. 11: Identify and describe with particularity any communications your
 office has had with the Texas Legislature regarding the investigation or prosecution of
 violations or suspected violations of any criminal election law, including the specific topic of
 communication, the date of the communications, the individuals who participated in the
 communications, and the outcome of the communications.

OBJECTION: Defendant objects to this interrogatory to the extent that it seeks material relating
to an ongoing criminal investigation from Defendant’s predecessor or seeks documents from
“local officials,” including other governmental entities, not within the custody and control of
Defendant. As a matter of federal common law, the law enforcement privilege protects
government documents relating to an ongoing criminal investigation. In re US Dept. of
Homeland Sec., 459 F.3d 565 (5th Cir. 2006). Documents and communications which may be
responsive to this request for production are related to open criminal cases which are currently
being prosecuted by Travis County and would impair the investigation and prosecution of
alleged criminal activity within Travis County.

       Additionally, Defendant further objects to the extent that this request seeks protected
attorney client communications and/or attorney work product, if any, that exist.

        Defendant further objects to the extent that this request seeks responsive information and
documentation under prior administrations of the Travis County District Attorneys who are not
parties to this lawsuit as being overly broad, and unduly burdensome on Defendant District
Attorney Garza.

    RESPONSE: Subject to, and without waiving the foregoing objections, Defendant Garza
    responds as follows:

       None known of by District Attorney Garza’s administration. Defendant reserves the right
to supplement this Response pursuant to the Federal Rules of Civil Procedure.


 Interrogatory No. 12: Identify and describe with particularity any communications your
 office has had with members of the public regarding the investigation or prosecution of
 violations or suspected violations of any criminal election law, including the specific topic of
 communication, the date of the communications, the individuals who participated in the
 communications, and the outcome of the communications.

OBJECTION: Defendant objects to this interrogatory to the extent that it seeks material relating
La Unión del Pueblo Entero, et al. v. Greg Abbott, et al.                                      383.141 / 1080255.6
Defendant José Garza’s Amended Objections and Responses to OCA-GH Plaintiffs’ First Interrogatories   Page 9 of 11

                                         OCA-REPLY-APPX-105
to an ongoing criminal investigation from Defendant’s predecessor or seeks documents from
“local officials,” including other governmental entities, not within the custody and control of
Defendant. As a matter of federal common law, the law enforcement privilege protects
government documents relating to an ongoing criminal investigation. In re US Dept. of
Homeland Sec., 459 F.3d 565 (5th Cir. 2006). Documents and communications which may be
responsive to this request for production are related to open criminal cases which are currently
being prosecuted by Travis County and would impair the investigation and prosecution of
alleged criminal activity within Travis County.

       Additionally, Defendant further objects to the extent that this request seeks protected
attorney client communications and/or attorney work product, if any, that exist.

        Defendant further objects to the extent that this request seeks responsive information and
documentation under prior administrations of the Travis County District Attorneys who are not
parties to this lawsuit as being overly broad, and unduly burdensome on Defendant District
Attorney Garza.

    RESPONSE: Subject to, and without waiving the foregoing objections, Defendant Garza
    responds as follows:

       None known of by District Attorney Garza’s administration. Defendant reserves the right
to supplement this Response pursuant to the Federal Rules of Civil Procedure.

 Interrogatory No. 13: Identify and describe with particularity any press releases, public
 announcements, or any other communication made by your office to persons, entities, or
 media external to your office relating to the enforcement of criminal election law.

OBJECTION: Defendant objects to this interrogatory to the extent that it seeks material relating
to an ongoing criminal investigation from Defendant’s predecessor or seeks documents from
“local officials,” including other governmental entities, not within the custody and control of
Defendant. As a matter of federal common law, the law enforcement privilege protects
government documents relating to an ongoing criminal investigation. In re US Dept. of
Homeland Sec., 459 F.3d 565 (5th Cir. 2006). Documents and communications which may be
responsive to this request for production are related to open criminal cases which are currently
being prosecuted by Travis County and would impair the investigation and prosecution of
alleged criminal activity within Travis County.

       Additionally, Defendant further objects to the extent that this request seeks protected
attorney client communications and/or attorney work product, if any, that exist.

        Defendant further objects to the extent that this request seeks responsive information and
documentation under prior administrations of the Travis County District Attorneys who are not
parties to this lawsuit as being overly broad, and unduly burdensome on Defendant District
Attorney Garza.

    RESPONSE: Subject to, and without waiving the foregoing objections, Defendant Garza
    responds as follows:
La Unión del Pueblo Entero, et al. v. Greg Abbott, et al.                                      383.141 / 1080255.6
Defendant José Garza’s Amended Objections and Responses to OCA-GH Plaintiffs’ First Interrogatories Page 10 of 11

                                         OCA-REPLY-APPX-106
       None known of by District Attorney Garza’s administration. Defendant reserves the right
to supplement this Response pursuant to the Federal Rules of Civil Procedure.


                                                    Respectfully submitted,

                                                    DELIA GARZA
                                                    County Attorney, Travis County
                                                    P. O. Box 1748
                                                    Austin, Texas 78767
                                                    Telephone: (512) 854-9513
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                                                    ATTORNEYS FOR DEFENDANTS
                                                    REBECCA GUERRERO AND JOSÉ GARZA,
                                                    IN THEIR OFFICIAL CAPACITIES AS
                                                    TRAVIS COUNTY CLERK, AND
                                                    DISTRICT ATTORNEY, RESPECTIVELY.



                                     CERTIFICATE OF SERVICE

       I hereby certify that the foregoing document was served on all parties and counsel of
record via electronic mail, as follows, on the 30th day of September, 2022.

                                                             /s/ Anthony J. Nelson
                                                             ANTHONY J. NELSON
                                                             PATRICK T. POPE
                                                             Assistant County Attorneys


La Unión del Pueblo Entero, et al. v. Greg Abbott, et al.                                      383.141 / 1080255.6
Defendant José Garza’s Amended Objections and Responses to OCA-GH Plaintiffs’ First Interrogatories Page 11 of 11

                                         OCA-REPLY-APPX-107
Exhibit 9




 OCA-REPLY-APPX-108
                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TEXAS
                          SAN ANTONIO DIVISION

LA UNIÓN DEL PUEBLO ENTERO, et al.,§
     Plaintiff,                    §
                                   §
v.                                 §        Case No. 5:21-CV-0844-XR
                                   §
GREGORY W. ABBOTT, et al.,         §
     Defendants.                   §
                                   §
OCA-GREATER HOUSTON, et al.,       §
     Plaintiff,                    §
v.                                 §        Case No. 1:21-CV-0780-XR
                                   §
JOSE A. ESPARZA, et al.,           §
      Defendants.                  §
                                   §
HOUSTON JUSTICE, et al.,           §
    Plaintiff,                     §
v.                                 §        Case No. 5:21-CV-0848-XR
                                   §
GREGORY WAYNE ABBOTT, et al.,      §
    Defendants.                    §
                                   §
LULAC TEXAS, et al.,               §
     Plaintiff,                    §
                                   §
v.                                 §        Case No. 1:21-CV-0786-XR
                                   §
JOSE ESPARZA, et al.,              §
      Defendants.                  §




                                       1

                           OCA-REPLY-APPX-109
MI FAMILIA VOTA, et al.,                    §
     Plaintiff,                             §
                                            §
v.                                          §              Case No. 5:21-CV-0920-XR
                                            §
GREG ABBOTT, et al.,                        §
     Defendants.                            §
                                            §
UNITED STATES OF AMERICA,                   §
     Plaintiff,                             §
                                            §
v.                                          §              Case No. 5:21-CV-01085-XR
                                            §
STATE OF TEXAS, et al.,                     §
     Defendants.                            §



       PLAINTIFF OCA-GREATER HOUSTON’S AMENDED OBJECTIONS AND
      RESPONSES TO STATE DEFENDANTS’ FIRST SET OF INTERROGATORIES

TO:     Defendants Texas Secretary of State John Scott and Texas Attorney General Ken Paxton
        (“State Defendants”) by and through its attorneys of record Patrick K. Sweeten, William
        T. Thompson, Eric A. Hudson, Kathleen T. Hunker, Leif A. Olson, Jeffrey M. White, and
        Jack B. DiSorbo, via e-mail to patrick.sweeten@oag.texas.gov.

        Pursuant to Federal Rules of Civil Procedure 33, 34, and 36, Plaintiff OCA-Greater

Houston (“OCA-GH”) hereby serves the following Amended Objections and Responses to State

Defendants’First Set of Interrogatories.

Dated: March 25, 2022                               Respectfully Submitted,

                                                    /s/ _Zachary Dolling
                                                    Mimi M.D. Marziani
                                                    Texas Bar No. 24091906
                                                    Hani Mirza




                                                2

                                    OCA-REPLY-APPX-110
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OCA-REPLY-APPX-111
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OCA-REPLY-APPX-112
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                                                    COUNSEL FOR PLAINTIFF

                                                    *admitted pro hac vice

                                CERTIFICATE OF SERVICE

       I hereby certify that on the 25th day of March, 2022, a true and correct copy of the

foregoing Plaintiff OCA-Greater Houston Amended Objections and Responses to State

Defendants’ First Set of Interrogatories was served upon counsel of record via email or mail.

                                                           /s/   Zachary Dolling




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                                   OCA-REPLY-APPX-113
                                  RESERVATION OF RIGHTS

       Plaintiff has responded to these interrogatories based on the information currently available

to it. Discovery, however, is not yet complete. Additional discovery and investigation may lead to

additions to, changes in, or modification of these responses. Plaintiff therefore reserves its right to

supplement, amend, revise, correct, modify, or clarify these responses as additional information

becomes available.

       Plaintiff makes its objections and responses in accordance with its interpretation and

understanding of State Defendants’ First Set of Requests for Admission, Requests for Production,

and Interrogatories (“Requests”) and in accordance with its current knowledge, understanding,

and belief as to the facts and information available to it at the time of serving these responses. If

State Defendants subsequently provide an interpretation of any of its Requests that differs from

Plaintiff’s understanding of the same, Plaintiff reserves its right to complete the discovery of facts

in this case and rely at trial or in any other proceeding on documents and information in addition

to the information provided herein, regardless of whether such information is newly discovered or

newly in existence. It also reserves the right to amend, revise, correct, modify, or clarify its

responses to properly respond to any interpretation State Defendants may give these Requests.

       Plaintiff reserves its right to object on any grounds, at any time, to the admission or use of

any response on any ground. Plaintiff is also willing to meet and confer about any of its objections

or responses.




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                                     OCA-REPLY-APPX-114
                                   GENERAL OBJECTIONS

       1.      Plaintiff objects to these Requests, including the definitions and instructions, to the

extent that they seek information or documents: (i) protected by attorney client privilege, the work

product doctrine, or any other applicable privilege or immunity; (ii) not in Plaintiff’s possession,

custody, or control; and (iii) that are publicly available or already within State Defendants’

possession. Any inadvertent disclosure of privileged or protected information is not intended to

constitute a waiver of any privilege, protection, or immunity, or of any other ground for objecting.

Plaintiff reserves the right to request the return or destruction of any documents that contain any

inadvertent disclosures of privileged or protected information.

       2.      Plaintiff objects to these Requests to the extent they are duplicative when

propounded to another plaintiff in this Lawsuit, including Plaintiffs outside of the OCA-Greater

Houston, et al. Plaintiff group. To the extent that Plaintiff agrees to produce a document that is

responsive to multiple Requests duplicated across multiple Plaintiffs, Plaintiff will only produce

such documents once.

       3.      Plaintiff objects to the definitions of “Plaintiff,” “you,” and “your” as overly broad,

unduly burdensome, and disproportionate to the needs of this case, to the extent that they define

each party as including “any representative acting or purporting to act on its behalf, including but

not limited to employees, attorneys, consultants, agents, and any other representative,” which

includes individuals unknown to Plaintiff. Plaintiff further objects to this definition because the




                                                  7

                                    OCA-REPLY-APPX-115
terms “representative” and “agents” are vague and call for legal conclusions. Plaintiff further

objects to this definition to the extent that including “attorneys” calls for the disclosure of

information subject to the attorney-client privilege, work product doctrine, or other applicable

privilege or doctrine.

       4.      Plaintiff objects to the definition of “documents” as overly broad and as expanding

the scope of discovery to include materials that are not within Plaintiff’s possession, custody, and

control, and imposing burdens that are not proportional to the needs of this case.

       5.      Plaintiff objects to the definition of “identify” when referring to:

               a.        A person, to the extent that it expands the scope of discovery to include

                         materials and information that are not within Plaintiff’s possession, custody,

                         and control, and imposes burdens that are not proportional to the needs of

                         this case, such as email addresses and contact information that are not within

                         Plaintiff’s possession.

               b.        An organization, to the extent that it expands the scope of discovery to

                         include materials and information that are not within Plaintiff’s possession,

                         custody and control, and imposes burdens that are not proportional to the

                         needs of this case, such as email addresses and contact information that are

                         not within Plaintiff’s possession.

               c.        A document, to the extent that it expands the scope of discovery to include




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                                      OCA-REPLY-APPX-116
                       materials and information that are not within Plaintiff’s possession, custody,

                       and control and imposes burdens that are not proportional to the needs of

                       this case.

               d.      A statement or communication, to the extent that it expands the scope of

                       discovery to include materials and information that are not within Plaintiff’s

                       possession, custody, and control; imposes burdens that are not proportional

                       to the needs of this case; and is vague, such as knowledge of all persons

                       “present” when the statement or communication was “made.”

               e.      A social media account, to the extent that it expands the scope of discovery

                       to include materials and information that are not within Plaintiff’s

                       possession, custody, and control; imposes burdens that are not proportional

                       to the needs of this case; and is vague, such as knowledge of all persons

                       who “have access to” an account.

       6.      Plaintiff objects to the definition of “regarding,” “relating to,” and “pertaining to”

as overbroad and unduly burdensome to the extent that these definitions expand the scope of

discovery in a manner that is not proportional to the needs of the case.

       7.      Plaintiff objects to State Defendants’ Requests to the extent that they improperly

call for legal conclusions or legal arguments.

       8.      Plaintiff objects to State Defendants’ Requests to the extent that they contain




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                                    OCA-REPLY-APPX-117
incorrect or disputed factual assumptions or legal conclusions and do not by virtue of its response,

objection, or production of documents admit the underlying assumption or conclusion.

       9.      Plaintiff objects to State Defendants’ Requests to the extent that they require the

production of confidential business, proprietary, or trade secret information, or personal

information concerning persons who are not parties to this litigation, to the extent this confidential

information would not be covered by the protective order entered in this case.

       10.     Plaintiff objects to State Defendants’ Requests to the extent that certain ones do not

specify a time period. These are overbroad, burdensome, and vague.

       11.     Plaintiff objects to State Defendants’ Requests, including the Definitions and

Instructions contained therein, to the extent they are inconsistent with or seek to impose duties or

require performance of acts broader in scope than those required by the Federal Rules of Civil

Procedure, the Local Rules of the U.S. District Court for the Western District of Texas, and any

other applicable rules, law or governing orders.

       12.     Plaintiff objects to the Requests to the extent they seek information prohibited from

disclosure by law, rules, or protective orders.

       13.     These General Objections are incorporated into each of the specific responses and

objections set forth below. No specific response or objection herein shall constitute a waiver, in

whole or in part, of any of the foregoing General Objections. Plaintiff reserves the right at any time

to revise, correct, supplement, or clarify the objections or responses set forth herein and any




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                                     OCA-REPLY-APPX-118
production made pursuant thereto.




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                                    OCA-REPLY-APPX-119
       PLAINTIFF’S OBJECTIONS AND RESPONSES TO INTERROGATORIES

INTERROGATORY NO. 1: Identify each Texas Election Code provision that Senate Bill 1
amended and that you are challenging by the relevant section number of each Texas Election Code
provision.

       RESPONSE: Plaintiff is challenging the following provisions in the Texas Election Code
that were amended by Senate Bill 1 (“SB 1”):
       1. SB 1 § 5.02: Amends Tex. Election Code § 84.002
       2. SB 1 § 5.03: Amended Tex. Election Code § 84.011(a)
       3. SB 1 § 5.06: Amended Tex. Election Code § 84.035
       4. SB 1 § 5.07: Amends Tex. Election Code § 86.001
       5. SB 1 § 5.08: Amends Tex. Election Code § 86.002
       6. SB 1 § 5.10: Amends Tex. Election Code § 86.015(c)
       7. SB 1 § 5.12: Adds Tex. Election Code § 87.0271
       8. SB 1 § 5.13: Amends Tex. Election Code § 87.041
       9. SB 1 § 5.14: Adds Tex. Election Code § 87.0411
       10. SB 1 § 6.04: Amends Tex. Election Code § 64.034
       11. SB 1 § 6.06: Amends Tex. Election Code § 86.0105
       9. SB 1 § 7.04: Adds Tex. Election Code §§ 276.015, 276.016, 276.017, 276.018, and
           276.019

INTERROGATORY NO. 2: If you contend that you have been injured by any of the Texas
Election Code provisions identified in Interrogatory No. 1, for each plaintiff:
       A.     State the facts that support your contention; and
       B.     Identify all documents that support your contentions.

        RESPONSE: Plaintiff objects to this blockbuster interrogatory because it seeks to require
Plaintiff to marshal all its evidence at this stage in the litigation. Plaintiff will produce all witnesses
and documents it relies upon to support its claims in this lawsuit according to the Amended
Scheduling Order, the Federal Rules of Civil Procedure, and Federal Rules of Evidence. Plaintiff
interprets this interrogatory as asking only whether Plaintiff as an organization has been injured,
since Interrogatory No. 3 asks about Plaintiff’s members. Further as noted below, Plaintiff lists
specific injuries in its response to Interrogatory No. 4—which Plaintiff hereby incorporates in
response to Interrogatory No. 2. Plaintiff reserves the right to supplement or amend this response
to the extent it discovers additional or conflicting information responsive to this Interrogatory. To
the extent Plaintiff becomes aware of additional information responsive to this Interrogatory,
Plaintiff will supplement its response in accordance with the Rules. Accordingly, subject to and
without waiver of the foregoing specific and general objections, Plaintiff responds as follows:




                                                    12

                                       OCA-REPLY-APPX-120
A. In its Second Amended Complaint (“SAC”) (Dkt. 200), Plaintiff offers detailed facts
   supporting its contention that it will be injured by the challenged Texas Election Code
   provisions. SB 1 takes particular aim at voters with disabilities and voters with limited
   English proficiency—who, in Texas, are also overwhelmingly voters of color—and
   the organizations (including Plaintiff here) that represent, assist, and support these
   voters. Plaintiff promotes civic participation among its constituents and empowers
   them to vote through voter education and other initiatives. Plaintiff has been and will
   be forced to alter its voter education and volunteer training programs in light of the
   changes made to the Texas Election Code by SB 1. Namely, it must divert resources
   toward educating and helping staff, volunteers, and voters navigate those provisions’
   new burdensome restrictions on mail-in voting and voter assistance, and the criminal
   and civil penalties associated with those provisions.

   Before SB 1, to successfully apply to vote by mail, voters were required to fill out a
   robust application that included identifying information such as name, address, and
   date of birth. The voters certified that the information given in the application was
   true and affirmed its understanding that giving false information is a crime. To receive
   a vote-by-mail application, a voter must also have previously registered to vote, which
   again required the voter to provide a robust amount of personal information that
   county voter registrars use to determine the voter’s eligibility. SB 1 needlessly added
   immaterial burdens to the process of voting by mail. Pursuant to Sections 5.02, 5.03,
   5.06, 5.07, 5.10, and 5.12 of SB 1, voters must additionally provide the number on
   either their Texas driver’s license, Texas election identification certificate, or Texas
   personal ID card on their mail-in ballot applications and on the ballot carrier envelopes
   used to return their ballot. SB 1 provides that if the voter has not been issued one of
   these numbers by the State of Texas, the voter may instead provide the last four digits
   of its Social Security number. If the voter has not been issued any of these numbers
   by the State of Texas or the Social Security Administration, the voter may sign a
   statement indicating that they have never been issued one of these numbers. Since the
   SAC was filed, county elections offices across the state have reported high rejection
   rates of mail-in ballot applications for the March 2022 primary due to the difficulty
   for voters to comply with these new immaterial ID number requirements. Plaintiff has
   already been injured and will continue to suffer injury due to these provisions because
   they have diverted and will continue to divert resources toward educating and helping
   staff, volunteers, and voters navigate those provisions’ new burdensome restrictions
   on mail-in voting. Plaintiff will also need to divert staffing to answer questions from
   voters who do not understand the new burdensome requirements. Additionally,
   Plaintiff will need to divert resources to inform individuals who have a driver’s license




                                         13

                             OCA-REPLY-APPX-121
   number or Social Security number but are unable to access it, that unless they can find
   that number they will be unable to vote by mail, and helping individuals to either recall
   or locate identification numbers. The diversion of resources required to guide
   members through complying with and having their mail-in ballot counted pursuant to
   the burdensome new identification requirements will decrease the amount of time and
   resources that Plaintiff can spend conducting educational outreach to and answering
   questions from other voters about participating in the voting process and advancing
   its other organizational goals. This diversion of resources would not be necessary in
   the absence of SB 1. Plaintiff lists additional specific injuries in SAC ¶¶ 116 and its
   response to Interrogatory No. 4.

   Before SB 1, voters had a right to select an assistant of their choice and to have
   assistance in all aspects of the voting process, free of encumbrance by state laws that
   impose restrictions on the selection of those assistants or the specific types of
   assistance that may be provided by them. SB 1 Section 6.04 adds a requirement that
   voter assistants swear under penalty of perjury that “I will confine my assistance to
   reading the ballot to the voter, directing the voter to read the ballot, marking the voter’s
   ballot, or directing the voter to mark the ballot” and no longer allows assistants to
   answer a voter’s questions, help the voter navigate the polling place, or provide any
   other type of assistance that might be necessary for individuals with disabilities or
   with limited English proficiency. Plaintiff lists examples of additional specific types
   of assistance needed in SAC ¶¶ 154–160. In addition, SB 1 Section 6.06 creates a
   strict liability, state jail felony that criminalizes the provision of assistance by anyone
   who “solicits, receives, or accepts compensation” for assisting a voter with its mail-in
   ballot. Plaintiff lists specific injuries in SAC ¶¶ 166 and its response to Interrogatory
   No. 4.

   Before SB 1, the Texas Elections Code already prohibited improper influencing or
   electioneering. Section 7.04 of SB 1 goes much further to criminalize paid ballot
   collection services and paid interactions with voters in the presence of an official
   ballot, which the bill derogatorily labels as “vote harvesting,” creating a third-degree
   felony. Section 7.04 imposes criminal and civil penalties on any person who gives or
   receives some “compensation or other benefit” for “knowingly provid[ing] or
   offer[ing] to provide vote harvesting services,” defined as any “in-person interaction
   with one or more voters, in the physical presence of”” and “directly involving” any
   “official ballot or a ballot voted by mail,” which are “intended” “to deliver votes for
   [or against] a specific candidate or measure.” This provision is substantially overbroad
   and vague, infringing on Plaintiff’s core political speech and subjecting Plaintiff to
   potential arbitrary and/or selective prosecution without prior notice of precisely what
   activities are illegal, as well as possible civil claims by candidates. Plaintiff lists
   specific injuries in SAC ¶¶ 208–210 and its response to Interrogatory No. 4.

B. Subject to the foregoing objections and those indicated in the Response to Requests
   for Production, Plaintiff produced documents responsive to this request on March
   24, 2022—see Plaintiffs’ Response to Request for Production No. 2.



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                             OCA-REPLY-APPX-122
INTERROGATORY NO. 3: If you contend that your members have been injured by any of the
Texas Election Code provisions identified in Interrogatory No. 1, for each plaintiff:
       A. State the facts that support your contention, including the identity of each injured
          member upon whom your standing is based; and
       B. Identify all documents that support your contentions.

        RESPONSE: Plaintiff objects to this blockbuster interrogatory as broad and unduly
burdensome because it demands that Plaintiff marshal all of its evidence with regard to
associational standing at this stage of the litigation. Plaintiff will produce all witnesses and
documents it relies upon to support its claims in this lawsuit according to the Amended Scheduling
Order, the Federal Rules of Civil Procedure, and Federal Rules of Evidence. Plaintiff additionally
objects to this interrogatory as overbroad and imposing burdens not proportional to the needs of
the case by seeking the identities of and documents relating to all members, rather than only
identities and documents relating to members sufficient to support standing. Plaintiff does not
maintain membership records that necessarily include information relating to disability or
language access, nor does it monitor the election-related volunteer activities of members outside
of Plaintiff-organized events. It is also unnecessarily burdensome and invasive to produce the
identities of every injured member and every document related to those members without any time
limitation. Nor is such individualized proof required to support associational standing. Indeed,
requiring Plaintiff to produce proof of every injured member would turn the notion of associational
standing on its head. Plaintiff reserves the right to supplement or amend this response to the extent
it discovers additional or conflicting information responsive to this Interrogatory. Accordingly,
subject to and without waiver of the foregoing specific and general objections, Plaintiff responds
as follows:

   A. OGA-GH has board members and volunteers who work to fundraise and implement OCA-
      GH’s programs to empower the Asian American and Pacific Islander (“AAPI”) community
      through leadership training; education workshops; arts and cultural events; advocacy
      campaigns, including creating and distributing fliers in multiple languages; facilitating
      voting, including by providing rides to the polls and hosting candidate forums; legal clinics;
      internships; scholarships; mentorship and civic engagement; and monitoring of and
      advocacy for national and local public policy. A significant portion of OCA-GH’s members
      and the community it serves lack the ability to read English-language election materials,
      including mail-in ballots, in-person ballots, and other voting instructions and materials.
      These individuals require assistance to vote in person or by mail-in ballot, if eligible to do
      so. OCA-GH serves its members and the AAPI community by facilitating and providing
      assistants who read and speak languages other than English to assist voters with reading
      and understanding election materials, including mail-in and in-person ballots. OCA-GH
      provides some of these assistants with benefits or compensation both as part of its broader
      activities, and to encourage more individuals to serve as assistants for voters in
      need. OCA-GH’s members and the communities they serve will be harmed by the drastic
      illegal restrictions contained within SB1 on the ability to provide assistance to voters with
      mail-in ballots, at the polls, and in the course of the normal voter engagement that OCA-
      GH practices.




                                                 15

                                     OCA-REPLY-APPX-123
       One member in particular named Sam Hwong was deterred from applying to vote by
       mail, despite being over 80 years old and previously successfully voting by mail, due to
       his fear his application or his mail ballot would be rejected. Although he wanted to vote
       by mail in the March 1 primary and would like to vote by mail in the future, he opted to
       bear the significant personal risk of voting in person instead.

   B. Subject to the foregoing objections and those indicated in the Response to Requests for
      Production, Plaintiff produced documents responsive to this request on March 24,
      2022—see Plaintiffs’ Response to Request for Production No. 2.


INTERROGATORY NO. 4: If you contend that you have to divert time, money, and resources
from other activities because of the passage of Senate Bill 1, for each plaintiff:
       A. Identify the time, money, and resources that you have diverted or anticipate diverting
           in response to SB1;
       B. Identify all specific projects that you had or will have to put on hold or otherwise curtail
           in response to SB1;
       C. State the facts that support your contention that you have and will divert time, money,
           and resources in response to Senate Bill 1, including an explanation of how the projects
           and expenditures identified in Interrogatories Nos. 3.A and 3.B differ from your routine
           activities; and
       D. Identify all documents that support your contentions.

         RESPONSE: Plaintiff objects to this blockbuster interrogatory as broad and unduly
burdensome because it demands that Plaintiff marshal all of its evidence with regard to
organizational standing at this stage of the litigation. Plaintiff will produce all witnesses and
documents it relies upon to support its claims in this lawsuit according to the Amended Scheduling
Order, the Federal Rules of Civil Procedure, and Federal Rules of Evidence. Plaintiff objects to
this interrogatory as vague and undefined as to “other activities” and what qualifies as “in response
to SB 1.” Plaintiff further objects to this interrogatory to the extent it seeks to impose injury
requirements not required by law, such as the cancellation of specific projects. Plaintiff reserves
the right to supplement or amend this response to the extent it discovers additional or conflicting
information responsive to this Interrogatory. Plaintiff also objects that Interrogatory 4.C requests
information about projects and expenditures identified in Interrogatories 3.A and 3.B, but
Interrogatories 3.A and 3.B do not ask about projects or expenditures. Plaintiff further objects that
Interrogatory 4.C requests information that is duplicative of Interrogatories 4.A and 4.B.
Accordingly, subject to and without waiver of the foregoing specific and general objections,
Plaintiff responds as follows:

   A. OCA-GH has expended time, money, and resources in combating SB1’s passage. OCA-
      GH made expenditures to send members to Austin to attend rallies protesting the passage
      of SB1 and defending the right to vote.




                                                 16

                                     OCA-REPLY-APPX-124
   Since the passage of SB1 and its going into effect on December 2, 2021 OCA-GH has
   had to devote significant time and resources into reshaping its practices in order to
   navigate SB1’s unlawful provisions. OCA-GH’s Civic Engagement Programs Director
   Debbie Chen and her staff have had to devote hours and hours of limited staff time to
   determining how the organization can continue their operations with SB1 making it more
   difficult and dangerous for OCA-GH’s members and their communities to participate in
   the electoral process. OCA’s work involves voter trainings, advocacy campaigns, voter
   assistance in transportation, education sessions, and ballot assistance, door knocking
   campaigns, appearance at candidate forums, and several other forms of voter assistance
   and education that all have had to be scrutinized, and in many cases modified, by Ms.
   Chen and her staff in order to avoid civil or criminal penalties from SB1’s illegal and
   confusing provisions.

   Given the far-reaching implications into the ability of organizations to offer assistance
   and education to voters contained in SB1, passage of the bill has forced OCA-GH to comb
   through all of the ways its programs could potentially violate the law, assess the new risk
   factors associated with their programs, train staff and then in turn volunteers on how the
   new laws impact their programs, and then conduct trainings on the operation of its newly
   modified programs. All of this scrutiny, training, and modifications to programming cost
   OCA-GH in staff time and in financial expenditures related to operation of its modified
   programming, and will continue to cost the organization as OCA-GH anticipates
   significant diversion of its limited resources as SB1’s implementation is carried out in the
   future.

B. As a result of SB1, OCA-GH has had to significantly scale back its voter education and
   assistance efforts. Due to the possibility of civil and criminal penalties, and the confusing
   nature of the law’s restrictions, OCA-GH has reduced or anticipates reducing its
   participation in voter outreach events, the information it provides to voters, the types of
   programming it pursues, and the scope of voters it seeks to target with its programming.
   Instead of assisting voters at candidate forums with mail-in ballot problems or registration
   issues, which was OCA-GH’s usual practice, staff and volunteers are now merely referring
   voters to the Harris Co. website. This has led to instances such as one where an over 80-
   year old, high COVID-risk voter from the community OCA-GH serves, Sam Hwong,
   decided to vote in person because of a problem obtaining a mail-in ballot, and OCA-
   GH was not able to assist him in obtaining one. For the March 1 primary and
   upcoming elections, OCA-GH’s door knocking volunteers limited and are limiting their
   valuable interactions with voters to just an “early voting alert” instead of engaging with
   the voter about any assistance they may require or directing them to voter education
   sessions, which changes the character of these interactions to one of an entirely different
   kind and reduces their utility both for OCA-GH and the voters. OCA-GH has been and
   will be forced to almost entirely abandon providing language assistance to Limited
   English Proficient (LEP) voters at the polls, due to the threat of penalty associated with
   assistance that does not comply with SB1’s exactingly narrow and highly punitive
   provisions.


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                                OCA-REPLY-APPX-125
        These reductions in efforts do not allow OCA-GH the freedom to pursue other projects
        relevant to their voter outreach goals, as the drain on resources in responding to SB1 and
        designing programming that does not put the organization and its members at significant
        risk of civil or criminal penalties are anticipated to meet or exceed the costs that would be
        anticipated for OCA to conduct its activities without the interference of SB1. Spending
        time and resources on countermeasures to SB1 will force OCA-GH to spend less time and
        money on its normal programming efforts, and will reach fewer voters overall.

    C. Plaintiff’s Response to Interrogatories 4.A and 4.B identify the projects and expenditures
       Plaintiff must undertake in response to SB 1 that differ from its normal activities and those
       responses are incorporated herein.

    D. Subject to the foregoing objections and those indicated in the Response to Requests for
       Production, Plaintiff produced documents responsive to this request on March 24,
       2022—see Plaintiffs’ Response to Request for Production No. 2.


INTERROGATORY NO. 5: If you contend that the passage of SB1 frustrates your mission, for
each plaintiff:
         A. Explain how each provision makes your activities more difficult; and
         B. Identify all documents that support your contentions.

         RESPONSE: Plaintiff objects to this interrogatory as cumulative and duplicative of
 Interrogatory No. 4. Plaintiff reserves the right to supplement or amend this response to the extent
 it discovers additional or conflicting information responsive to this Interrogatory. To the extent
 Plaintiff becomes aware of additional information responsive to this Interrogatory, Plaintiff will
 supplement its response in accordance with the Rules. Accordingly, subject to and without waiver
 of the foregoing specific and general objections, Plaintiff responds as follows:

        A. OCA-GH’s mission: (1) to advocate for social justice, equal opportunity, and fair
           treatment; (2) to promote civic participation, education, and leadership; (3) to advance
           coalitions and community building; and (4) to foster cultural heritage. Plaintiff lists
           ways in which SB 1 has made carrying out its mission more difficult in its responses
           to Interrogatories No. 2, 3, and 4.

        B. Subject to the foregoing objections and those indicated in the Response to Requests
           for Production, Plaintiff produced documents responsive to this request on March
           24, 2022—see Plaintiffs’ Response to Request for Production No. 2.


 INTERROGATORY NO. 6: If you contend that SB1 targets “many of the precise methods that
 local election authorities and community groups used to make voting easier and more accessible
 to traditionally marginalized voters,” as described in ECF 200 ¶ 2, for each plaintiff:
          A. Identify the “precise methods” that “local election authorities” used to make voting
             easier and more accessible;
          B. Identify the “local election authorities” that used these “precise methods;”
          C. Identify how these “precise methods” made “voting easier and more accessible to
                                                 18

                                     OCA-REPLY-APPX-126
          traditionally marginalized voters;” and
       D. Identify all documents that support your contentions.

        RESPONSE: Subject to and without waiver of the foregoing specific and general
objections, Plaintiff responds as follows:

       A. The “precise methods” used by “local election authorities” that make voting easier
          and more accessible that are at issue in this suit are: (1) voting by mail, particularly
          for the elderly and people with disabilities; (2) permitting voters to receive assistance
          at the polls, particularly for voters with a disability or who are not fluent in English;
          and (3) permitting assistance with mail-in ballots.
       B. The referenced sentence refers to county election officials generally, not any specific
          county election official.
       C. Subject to and without waiver of its objections, Plaintiff points to SAC ¶ 4, which
          refers to voters with disabilities, voters with limited English proficiency, and voters
          of color. In Plaintiff’s experience assisting voters and monitoring elections, these
          voters are traditionally marginalized in Texas. Plaintiff believes that voting by mail,
          permitting assistance at the polls, and permitting assistance with mail-in ballots makes
          it easier for voters with disabilities, voters with limited English proficiency, and voters
          of color to vote.
       D. Subject to the foregoing objections and those indicated in the Response to Requests
          for Production, Plaintiff will produce documents responsive to this request—see
          Plaintiffs’ Response to Request for Production No. 2.


INTERROGATORY NO. 7: If you contend that SB1 “adds immaterial burdens to the process of
applying to and actually voting by mail,” as described in ECF 200 ¶ 99, for each plaintiff:
       A. Identify the “immaterial burdens” added;
       B. Explain how these burdens are immaterial; and
       C Identify all documents that support your contentions.

        RESPONSE: Plaintiff objects to this interrogatory on the ground that it calls for a legal
conclusion as to materiality. Subject to and without waiver of the foregoing specific and general
objections, Plaintiff responds by pointing to SAC ¶¶ 99–111, which describe what types of
identification that are acceptable for voting in person yet are not acceptable to meet SB 1’s onerous
new requirements for applying to vote by mail, and the types of cure processes provided for in-
person voting that are not provided for applying to vote by mail.

INTERROGATORY NO. 8: For each plaintiff, identify:
     A. All accommodations that would be necessary for you or your disabled members to vote
        in compliance with SB1;
     B. Any accommodations you or your members requested or intend to request for the
        March 2022 primary in response to SB1;
     C. State the facts that support your contentions; and
     D. Identify all documents that support your contentions.



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                                     OCA-REPLY-APPX-127
        RESPONSE: Plaintiff objects to this interrogatory as vague and undefined as to
“accommodations” and what qualifies as “in response to SB 1.” Plaintiff objects to this
interrogatory as overly broad and premature because it seeks to require Plaintiff to marshal all
of its evidence at this stage of the litigation for a large and diverse group of people with
disabilities with varying modification needs, and Plaintiff—though it has numerous members
with disabilities—does not specifically track the disability status and necessary
accommodations of its members. Plaintiff further objects to the request for information about
all disabled members as overbroad and not proportional to the needs of the case. Moreover, as
described in Plaintiff’ SAC, the SB 1 provisions challenged by Plaintiff inflict systemic harm
on large groups of people with disabilities and impose a chilling effect deterring those who
seek to assist individuals in voting, including Plaintiff and its members. These are not harms
that can be remedied by individual, case by case reasonable modification requests. Plaintiff
reserves the right to supplement or amend this response to the extent it discovers additional or
conflicting information responsive to this Interrogatory. To the extent Plaintiff becomes
aware of additional information responsive to this Interrogatory, Plaintiff will supplement its
response in accordance with the Rules.

INTERROGATORY NO. 9: Please identify and describe with specificity each form of
affirmative relief which you seek from each defendant through this Lawsuit.

       RESPONSE: Plaintiff objects to this Interrogatory to the extent it requires Plaintiff to
describe relief that may be necessary to address or prevent injuries from SB 1 that Plaintiff
may uncover through additional investigation and discovery or may occur as SB 1 is
implemented. Subject to and without waiver of the foregoing objections, Plaintiff responds as
follows:

       Plaintiff seeks:

       1. Declaratory judgment that the State of Texas’s statutory scheme as described with
          specificity in the operative pleading violates the United States Constitution, the
          VotingRights Act, the Civil Rights Act, the ADA and Section 504;
       2. Permanent injunction against the State of Texas, the Texas Secretary of State, the
          Texas Attorney General, the Harris County District Attorney, the Travis County
          District Attorney, and other appropriate county agencies administering elections
          from enforcing the specific provisions of the Texas Election Code as amended by
          SB 1, and from prosecuting any individual pursuant to the criminal offenses
          defined in these provisions, if any;
       3. Attorneys’ fees to Plaintiff in accordance with 42 U.S.C. § 1988, 29 U.S.C. § 794a,
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          U.S.C. §12205, and/or any other applicable provision;
       4. Order that all costs of this action be taxed against Defendants; and
       5. Grant any additional or alternative relief to which the Plaintiff may be entitled.




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                                   OCA-REPLY-APPX-128
INTERROGATORY NO. 10: If you seek mandatory injunctive relief through this Lawsuit,
please identify and describe with specificity, by plaintiff, each omission that you contend
each Defendant should be enjoined to perform to resolve each claim you have alleged against
the Defendant in this Lawsuit.

       RESPONSE: Plaintiff objects to this Interrogatory because it requires Plaintiff to
describe relief that may be necessary to address or prevent injuries from SB 1 that Plaintiff
may uncover through additional investigation and discovery or may occur as SB 1 is
implemented.

INTERROGATORY NO. 11: If you seek prohibitive injunctive relief through this Lawsuit,
please identify and describe with specificity each action that you contend each Defendant
should be enjoined from performing to resolve.

       RESPONSE: Plaintiff objects to this Interrogatory to the extent it requires Plaintiff to
describe relief that may be necessary to address or prevent injuries from SB 1 that Plaintiff
may uncover through additional investigation and discovery or may occur as SB 1 is
implemented. Plaintiff also objects to this Interrogatory as duplicative of Interrogatory No. 9.
Subject to and without waiver of the foregoing objections, Plaintiff responds as follows:

        Plaintiff seeks a permanent injunction against the State of Texas, the Texas Secretary
of State, the Texas Attorney General, the Harris County District Attorney, the Travis County
District Attorney, and other appropriate county agencies administering elections from
enforcing the specific provisions of the Texas Election Code as amended by SB 1, and from
prosecuting any individual pursuant to the criminal offenses defined in these provisions.




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                                   OCA-REPLY-APPX-129
OCA-REPLY-APPX-130
                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TEXAS
                           SAN ANTONIO DIVISION

LA UNIÓN DEL PUEBLO ENTERO, et al.,§
     Plaintiff,                    §
                                   §
v.                                 §         Case No. 5:21-CV-0844-XR
                                   §
GREGORY W. ABBOTT, et al.,         §
     Defendants.                   §


                                   §
OCA-GREATER HOUSTON, et al.,       §
     Plaintiff,                    §
v.                                 §         Case No. 1:21-CV-0780-XR
                                   §
JOSE A. ESPARZA, et al.,           §
      Defendants.                  §


                                   §
HOUSTON JUSTICE, et al.,           §
    Plaintiff,                     §
v.                                 §         Case No. 5:21-CV-0848-XR
                                   §
GREGORY WAYNE ABBOTT, et al.,      §
    Defendants.                    §


                                   §
LULAC TEXAS, et al.,               §
     Plaintiff,                    §
                                   §
v.                                 §         Case No. 1:21-CV-0786-XR
                                   §
JOSE ESPARZA, et al.,              §
      Defendants.                  §




                                       1




                            OCA-REPLY-APPX-131
MI FAMILIA VOTA, et al.,                    §
     Plaintiff,                             §
                                            §
v.                                          §            Case No. 5:21-CV-0920-XR
                                            §
GREG ABBOTT, et al.,                        §
     Defendants.                            §
                                            §
UNITED STATES OF AMERICA,                   §
     Plaintiff,                             §
                                            §
v.                                          §            Case No. 5:21-CV-01085-XR
                                            §
STATE OF TEXAS, et al.,                     §
     Defendants.                            §



     PLAINTIFF OCA-GREATER HOUSTON’S THIRD AMENDED OBJECTIONS AND
      RESPONSES TO STATE DEFENDANTS’ FIRST SET OF INTERROGATORIES

TO: Defendants Texas Secretary of State Jane Nelson and Texas Attorney General Ken Paxton
     (“State Defendants”) by and through their attorneys of record, Kathleen T. Hunker and J.
     Aaron      Barnes     via     e-mail     to     kathleen.hunker@oag.texas.gov       and
     aaron.barnes@oag.texas.gov.

        Pursuant to Federal Rules of Civil Procedure 26 and 33, Plaintiff OCA-Greater Houston

(“OCA-GH”), hereby serves the following Third Amended Objections and Responses to State

Defendants’ First Set of Interrogatories.

Dated: March 31, 2023                                   Respectfully Submitted,

                                                        By: /s/ Zachary Dolling




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                                    OCA-REPLY-APPX-132
Zachary Dolling                AMERICAN CIVIL              (512) 454-3999 (fax)
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TEXAS CIVIL RIGHTS             acepedaderieux@aclu.org     Susana Lorenzo-Giguere*
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                               DISABILITY RIGHTS           GREATER HOUSTON
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Ari Savitzky*                  2222 West Braker Lane       *admitted pro hac vice
Sophia Lin Lakin*              Austin, Texas 78758-1024
Dayton Campbell-Harris         (512) 454-4816 (phone)

                                           3




                               OCA-REPLY-APPX-133
                               CERTIFICATE OF SERVICE

       I hereby certify that on March 31, 2023, a true and correct copy of the foregoing Plaintiff

OCA-GH’s Third Amended Objections and Responses to State Defendants’ First Set of

Interrogatories was served upon counsel of record via email or mail.

                                                              /s/   Zachary Dolling

                               RESERVATION OF RIGHTS

       Plaintiff has responded to these interrogatories based on the information currently

available to it. Discovery, however, is not yet complete. Additional discovery and investigation

may lead to additions to, changes in, or modification of these responses. Plaintiff therefore

reserves its right to supplement, amend, revise, correct, modify, or clarify these responses as

additional information becomes available.

       Plaintiff makes its objections and responses in accordance with its interpretation and

understanding of State Defendants’ First Set of Requests for Admission, Requests for

Production, and Interrogatories (“Requests”) and in accordance with its current knowledge,

understanding, and belief as to the facts and information available to it at the time of serving

these responses. If State Defendants subsequently provide an interpretation of any of its

Requests that differs from Plaintiff’s understanding of the same, Plaintiff reserves its right to

complete the discovery of facts in this case and rely at trial or in any other proceeding on

documents and information in addition to the information provided herein, regardless of

whether such information is newly discovered or newly in existence. It also reserves the right

to amend, revise, correct, modify, or clarify its responses to properly respond to any

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                                   OCA-REPLY-APPX-134
interpretation State Defendants may give these Requests.

       Plaintiff reserves its right to object on any grounds, at any time, to the admission or use

of any response on any ground. Plaintiff is also willing to meet and confer about any of its

objections or responses.

                                  GENERAL OBJECTIONS

       1.      Plaintiff objects to these Requests, including the definitions and instructions, to

the extent that they seek information or documents: (i) protected by attorney client privilege,

the work product doctrine, or any other applicable privilege or immunity; (ii) not in Plaintiff’s

possession, custody, or control; and (iii) that are publicly available or already within State

Defendants’ possession. Any inadvertent disclosure of privileged or protected information is

not intended to constitute a waiver of any privilege, protection, or immunity, or of any other

ground for objecting. Plaintiff reserves the right to request the return or destruction of any

documents that contain any inadvertent disclosures of privileged or protected information.

       2.      Plaintiff objects to these Requests to the extent they are duplicative when

propounded to another plaintiff in this Lawsuit, including Plaintiffs outside of the OCA-

Greater Houston, et al. Plaintiff group. To the extent that Plaintiff agrees to produce a

document that is responsive to multiple Requests duplicated across multiple Plaintiffs,

Plaintiff will only produce such documents once.

       3.      Plaintiff objects to the definitions of “Plaintiff,” “you,” and “your” as overly

broad, unduly burdensome, and disproportionate to the needs of this case, to the extent that

they define each party as including “any representative acting or purporting to act on its behalf,

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                                   OCA-REPLY-APPX-135
including but not limited to employees, attorneys, consultants, agents, and any other

representative,” which includes individuals unknown to Plaintiff. Plaintiff further objects to

this definition because the

terms “representative” and “agents” are vague and call for legal conclusions. Plaintiff further

objects to this definition to the extent that including “attorneys” calls for the disclosure of

information subject to the attorney-client privilege, work product doctrine, or other applicable

privilege or doctrine.

       4.      Plaintiff objects to the definition of “documents” as overly broad and as

expanding the scope of discovery to include materials that are not within Plaintiff’s possession,

custody, and control, and imposing burdens that are not proportional to the needs of this case.

       5.      Plaintiff objects to the definition of “identify” when referring to:

               a.        A person, to the extent that it expands the scope of discovery to include

                         materials and information that are not within Plaintiff’s possession,

                         custody, and control, and imposes burdens that are not proportional to

                         the needs of this case, such as email addresses and contact information

                         that are not within Plaintiff’s possession.

               b.        An organization, to the extent that it expands the scope of discovery to

                         include materials and information that are not within Plaintiff’s

                         possession, custody and control, and imposes burdens that are not

                         proportional to the needs of this case, such as email addresses and

                         contact information that are not within Plaintiff’s possession.


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                                     OCA-REPLY-APPX-136
               c.      A document, to the extent that it expands the scope of discovery to include

                       materials and information that are not within Plaintiff’s possession,

                       custody, and control and imposes burdens that are not proportional to

                       the needs of this case.

               d.      A statement or communication, to the extent that it expands the scope

                       of discovery to include materials and information that are not within

                       Plaintiff’s possession, custody, and control; imposes burdens that are

                       not proportional to the needs of this case; and is vague, such as

                       knowledge of all persons “present” when the statement or

                       communication was “made.”

               e.      A social media account, to the extent that it expands the scope of

                       discovery to include materials and information that are not within

                       Plaintiff’s possession, custody, and control; imposes burdens that are

                       not proportional to the needs of this case; and is vague, such as

                       knowledge of all persons who “have access to” an account.

       6.      Plaintiff objects to the definition of “regarding,” “relating to,” and “pertaining

to” as overbroad and unduly burdensome to the extent that these definitions expand the scope

of discovery in a manner that is not proportional to the needs of the case.

       7.      Plaintiff objects to State Defendants’ Requests to the extent that they

improperly call for legal conclusions or legal arguments.

       8.    Plaintiff objects to State Defendants’ Requests to the extent that they contain


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                                   OCA-REPLY-APPX-137
incorrect or disputed factual assumptions or legal conclusions and do not by virtue of its

response, objection, or production of documents admit the underlying assumption or

conclusion.

       9.      Plaintiff objects to State Defendants’ Requests to the extent that they require

the production of confidential business, proprietary, or trade secret information, or personal

information concerning persons who are not parties to this litigation, to the extent this

confidential information would not be covered by the protective order entered in this case.

       10.     Plaintiff objects to State Defendants’ Requests to the extent that certain ones do

not specify a time period. These are overbroad, burdensome, and vague.

       11.     Plaintiff objects to State Defendants’ Requests, including the Definitions and

Instructions contained therein, to the extent they are inconsistent with or seek to impose duties

or require performance of acts broader in scope than those required by the Federal Rules of

Civil Procedure, the Local Rules of the U.S. District Court for the Western District of Texas,

and any other applicable rules, law or governing orders.

       12.     Plaintiff objects to the Requests to the extent they seek information prohibited

from disclosure by law, rules, or protective orders.

       13.     These General Objections are incorporated into each of the specific responses

and objections set forth below. No specific response or objection herein shall constitute a

waiver, in whole or in part, of any of the foregoing General Objections. Plaintiff reserves the

right at any time to revise, correct, supplement, or clarify the objections or responses set forth

herein and any production made pursuant thereto.


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                                   OCA-REPLY-APPX-138
        PLAINTIFF’S OBJECTIONS AND RESPONSES TO INTERROGATORIES

   INTERROGATORY NO. 1: Identify each Texas Election Code provision that Senate Bill 1
amended and that you are challenging by the relevant section number of each Texas Election Code
provision.

    RESPONSE: Plaintiff is challenging the following provisions in the Texas Election Code
that were amended by Senate Bill 1 (“SB 1”): 1

     1.       SB 1 § 5.02: Amends Tex. Election Code § 84.002
     2.       SB 1 § 5.03: Amended Tex. Election Code § 84.011(a)
     3.       SB 1 § 5.06: Amended Tex. Election Code § 84.035
     4.       SB 1 § 5.07: Amends Tex. Election Code § 86.001
     5.       SB 1 § 5.08: Amends Tex. Election Code § 86.002
     6.       SB 1 § 5.10: Amends Tex. Election Code § 86.015(c)
     7.       SB 1 § 5.12: Adds Tex. Election Code § 87.0271
     8.       SB 1 § 5.13: Amends Tex. Election Code § 87.041
     9.       SB 1 § 5.14: Adds Tex. Election Code § 87.0411
     10.      SB 1 § 6.06: Amends Tex. Election Code § 86.0105
     11.      SB 1 § 7.04: Adds Tex. Election Code §§ 276.015, 276.016, 276.017, 276.018,
              and 276.019

   INTERROGATORY NO. 2: If you contend that you have been injured by any of the
Texas Election Code provisions identified in Interrogatory No. 1, for each plaintiff:

    A. State the facts that support your contention; and
    B. Identify all documents that support your contentions.

    RESPONSE: Plaintiff objects to this blockbuster interrogatory because it seeks to require
Plaintiff to marshal all its evidence at this stage in the litigation. Plaintiff will produce all witnesses
and documents it relies upon to support its claims in this lawsuit according to the Amended
Scheduling Order, the Federal Rules of Civil Procedure, and Federal Rules of Evidence. Plaintiff
interprets this interrogatory as asking only whether Plaintiff as an organization has been injured,
since Interrogatory No. 3 asks about Plaintiff’s members. Further as noted below, Plaintiff lists
specific injuries in its response to Interrogatory No. 4—which Plaintiff hereby incorporates in
response to Interrogatory No. 2. Plaintiff reserves the right to supplement or amend this response

1
  In its Second Amended Complaint Plaintiff challenged SB 1 § 6.04 (amending Tex. Election
Code § 64.034). The district court, in its order largely denying State Defendants’ motion to dismiss
Plaintiff’s claims, held that a modified injunction in a different case, OCA-Greater Houston v.
Texas, 1:15-cv-679-RP, 2022 WL 2019295 (W.D. Tex. June 6, 2022), mooted Plaintiff’s Section
6.04 claims against State Defendants. See Dkt. 448 at 33 & n.18. Plaintiff has amended its
interrogatory answers to reflect this.
                                                    9




                                       OCA-REPLY-APPX-139
to the extent it discovers additional or conflicting information responsive to this Interrogatory. To
the extent Plaintiff becomes aware of additional information responsive to this Interrogatory,
Plaintiff will supplement its response in accordance with the Rules. Accordingly, subject to and
without waiver of the foregoing specific and general objections, Plaintiff responds as follows:

   A. In its Second Amended Complaint (“SAC”) (Dkt. 200), Plaintiff offers detailed facts
      supporting its contention that it will be injured by the challenged Texas Election Code
      provisions. SB 1 takes particular aim at voters with disabilities and voters with limited
      English proficiency—who, in Texas, are also overwhelmingly voters of color—and the
      organizations (including Plaintiff here) that represent, assist, and support these voters.
      Plaintiff promotes civic participation among its constituents and empowers them to vote
      through voter education and other initiatives. Plaintiff has been and will be forced to alter
      its voter education and volunteer training programs in light of the changes made to the
      Texas Election Code by SB 1. Namely, it must divert resources toward educating and
      helping staff, volunteers, and voters navigate those provisions’ new burdensome
      restrictions on mail-in voting and voter assistance, and the criminal and civil penalties
      associated with those provisions.

       Before SB 1, to successfully apply to vote by mail, voters were required to fill out a robust
       application that included identifying information such as name, address, and date of birth.
       The voters certified that the information given in the application was true and affirmed its
       understanding that giving false information is a crime. To receive a vote-by-mail
       application, a voter must also have previously registered to vote, which again required the
       voter to provide a robust amount of personal information that county voter registrars use to
       determine the voter’s eligibility. SB 1 needlessly added immaterial burdens to the process
       of voting by mail. Pursuant to Sections 5.02, 5.03, 5.06, 5.07, 5.08, 5.10, and 5.12 of SB 1,
       voters must additionally provide the number on either their Texas driver’s license, Texas
       election identification certificate, or Texas personal ID card on their mail-in ballot
       applications and on the ballot carrier envelopes used to return their ballot. SB 1 provides
       that if the voter has not been issued one of these numbers by the State of Texas, the voter
       may instead provide the last four digits of its Social Security number. If the voter has not
       been issued any of these numbers by the State of Texas or the Social Security
       Administration, the voter may sign a statement indicating that they have never been issued
       one of these numbers. Since the SAC was filed, county elections offices across the state
       have reported high rejection rates of mail-in ballot applications and ballots for the March
       2022 primary and November 2022 general election due to the difficulty for voters to
       comply with these new immaterial ID number requirements. Plaintiff has already been
       injured and will continue to suffer injury due to these provisions because it has diverted and
       will continue to divert resources toward educating and helping staff, volunteers, and voters
       navigate those provisions’ new burdensome restrictions on mail-in voting. Plaintiff will
       also need to divert staff to answer questions from voters who do not understand the new
       burdensome requirements. Additionally, Plaintiff will need to divert resources to inform
       individuals who have a driver’s license number or Social Security number but are unable to
                                                 10




                                     OCA-REPLY-APPX-140
      access it, that unless they can find that number they will be unable to vote by mail, and helping
      individuals to either recall or locate identification numbers. The diversion of resources
      required to guide members through complying with and having their mail-in application
      accepted and ballot counted pursuant to the burdensome new identification requirements will
      decrease the amount of time and resources that Plaintiff can spend conducting educational
      outreach to and answering questions from other voters about participating in the voting
      process and advancing its other organizational goals. This diversion of resources would not
      be necessary in the absence of SB 1. Plaintiff lists additional specific injuries in SAC ¶ 116
      and its response to Interrogatory No. 4.

      Before SB 1, voters had a right to select an assistant of their choice and to have assistance
      in all aspects of the voting process, free of encumbrance by state laws that impose
      restrictions on the selection of those assistants or the specific types of assistance that may
      be provided by them. SB 1 Section 6.06 creates a strict liability, state jail felony that
      criminalizes the provision of assistance by anyone who “solicits, receives, or accepts
      compensation” for assisting a voter with their mail-in ballot. Plaintiff lists specific injuries
      in SAC ¶ 166 and its response to Interrogatory No. 4.

      Before SB 1, the Texas Elections Code already prohibited improper influencing or
      electioneering. Section 7.04 of SB 1 goes much further to criminalize paid ballot collection
      services and paid interactions with voters in the presence of an official ballot, which the
      bill derogatorily labels as “vote harvesting,” creating a third- degree felony. Section 7.04
      imposes criminal and civil penalties on any person who gives or receives some
      “compensation or other benefit” for “knowingly provid[ing] or offer[ing] to provide vote
      harvesting services,” defined as any “in-person interaction with one or more voters, in the
      physical presence of”” and “directly involving” any “official ballot or a ballot voted by
      mail,” which are “intended” “to deliver votes for [or against] a specific candidate or
      measure.” This provision is substantially overbroad and vague, infringing on Plaintiff’s
      core political speech and subjecting Plaintiff to potential arbitrary and/or selective
      prosecution without prior notice of precisely what activities are illegal, as well as possible
      civil claims by candidates. Plaintiff lists specific injuries in SAC ¶ 210 and its response to
      Interrogatory No. 4.

   B. Subject to the foregoing objections and those indicated in the Response to Requests for
      Production, Plaintiff produced documents responsive to this request on April 14, 2022,
      April 22, 2022, May 13, 2022, September 13, 2022, and February 7, 2023—see Plaintiffs’
      Response to Request for Production No. 2.

    INTERROGATORY NO. 3: If you contend that your members have been injured by any of
the Texas Election Code provisions identified in Interrogatory No. 1, for each plaintiff:

   A. State the facts that support your contention, including the identity of each injured
      member upon whom your standing is based; and
                                          11




                                    OCA-REPLY-APPX-141
   B. Identify all documents that support your contentions.

    RESPONSE: Plaintiff objects to this blockbuster interrogatory as broad and unduly
burdensome because it demands that Plaintiff marshal all of its evidence with regard to
associational standing at this stage of the litigation. Plaintiff will produce all witnesses and
documents it relies upon to support its claims in this lawsuit according to the Amended Scheduling
Order, the Federal Rules of Civil Procedure, and Federal Rules of Evidence. Plaintiff additionally
objects to this interrogatory as overbroad and imposing burdens not proportional to the needs of the
case by seeking the identities of and documents relating to all members, rather than only identities
and documents relating to members sufficient to support standing. Plaintiff does not maintain
membership records that necessarily include information relating to disability or language access,
nor does it monitor the election-related volunteer activities of members outside of Plaintiff-
organized events. It is also unnecessarily burdensome and invasive to produce the identities of
every injured member and every document related to those members without any time limitation.
Nor is such individualized proof required to support associational standing. Indeed, requiring
Plaintiff to produce proof of every injured member would turn the notion of associational standing
on its head. Plaintiff reserves the right to supplement or amend this response to the extent it
discovers additional or conflicting information responsive to this Interrogatory. Accordingly,
subject to and without waiver of the foregoing specific and general objections, Plaintiff responds
as follows:

   A. OGA-GH has board members and volunteers who work to fundraise and implement OCA-
      GH’s programs to empower the Asian American and Pacific Islander (“AAPI”) community
      through leadership training; education workshops; arts and cultural events; advocacy
      campaigns, including creating and distributing fliers in multiple languages; facilitating
      voting, including by providing rides to the polls and hosting candidate forums; legal clinics;
      internships; scholarships; mentorship and civic engagement; and monitoring of and
      advocacy for national and local public policy. A significant portion of OCA-GH’s members
      and the community it serves lack the ability to read English-language election materials,
      including mail-in ballots, in-person ballots, and other voting instructions and materials.
      These individuals require assistance to vote in person or by mail-in ballot, if eligible to do
      so. OCA-GH serves its members and the AAPI community by facilitating and providing
      assistants who read and speak languages other than English to assist voters with reading
      and understanding election materials, including mail-in and in-person ballots. OCA-GH
      provides some of these assistants with benefits or compensation both as part of its broader
      activities, and to encourage more individuals to serve as assistants for voters in
      need. OCA-GH’s members and the communities they serve will be harmed by the drastic
      illegal restrictions contained within SB1 on the ability to provide assistance to voters with
      mail-in ballots and in the course of the normal voter engagement that OCA-GH practices.

       While the following is not an exhaustive list of injured members, OCA-GH contends that
       the following members have been injured by the Texas Election Code provisions identified
       in Interrogatory No. 1:
                                              12




                                    OCA-REPLY-APPX-142
       Elizabeth Hwong and Sam Hwong are married and are both in their 80s. Mrs. Hwong is a
       board member of OCA-Greater Houston and Mr. Hwong is a member of OCA-Greater
       Houston. Prior to passage of SB 1 both had voted by mail numerous times, and both were
       eligible to vote by mail during both the March 2022 primary election and the November
       2022 general election. However, both Mrs. and Mr. Hwong chose to cast their votes in
       person during the March 2022 primary and November 2022 general elections because they
       feared that their mail-balloting materials would be rejected due to complications caused by
       the ID matching provisions of SB 1, despite the significant personal risk of voting in
       person. They would both have voted by mail if not for SB 1.

   B. Subject to the foregoing objections and those indicated in the Response to Requests for
      Production, Plaintiff produced documents responsive to this request on April 14, 2022,
      April 22, 2022, May 13, 2022, September 13, 2022, and February 7, 2023—see Plaintiffs’
      Response to Request for Production No. 2.

    INTERROGATORY NO. 4: If you contend that you have to divert time, money, and
resources from other activities because of the passage of Senate Bill 1, for each plaintiff:

   A. Identify the time, money, and resources that you have diverted or anticipate diverting in
      response to SB1;
   B. Identify all specific projects that you had or will have to put on hold or otherwise curtail in
      response to SB1;
   C. State the facts that support your contention that you have and will divert time, money, and
      resources in response to Senate Bill 1, including an explanation of how the projects and
      expenditures identified in Interrogatories Nos. 3.A and 3.B differ from your routine
      activities; and
   D. Identify all documents that support your contentions.

         RESPONSE: Plaintiff objects to this blockbuster interrogatory as broad and unduly
burdensome because it demands that Plaintiff marshal all of its evidence with regard to
organizational standing at this stage of the litigation. Plaintiff will produce all witnesses and
documents it relies upon to support its claims in this lawsuit according to the Amended Scheduling
Order, the Federal Rules of Civil Procedure, and Federal Rules of Evidence. Plaintiff objects to
this interrogatory as vague and undefined as to “other activities” and what qualifies as “in response
to SB 1.” Plaintiff further objects to this interrogatory to the extent it seeks to impose injury
requirements not required by law, such as the cancellation of specific projects. Plaintiff reserves
the right to supplement or amend this response to the extent it discovers additional or conflicting
information responsive to this Interrogatory. Plaintiff also objects that Interrogatory 4.C requests
information about projects and expenditures identified in Interrogatories 3.A and 3.B, but
Interrogatories 3.A and 3.B do not ask about projects or expenditures. Plaintiff further objects that
Interrogatory 4.C requests information that is duplicative of Interrogatories 4.A and 4.B.
Accordingly, subject to and without waiver of the foregoing specific and general objections,
                                                  13




                                     OCA-REPLY-APPX-143
Plaintiff responds as follows:

   A. OCA-GH has expended time, money, and resources in combating SB1’s passage. OCA-
      GH made expenditures to send members to Austin to attend rallies protesting the passage
      of SB1 and defending the right to vote.

       Since the passage of SB1 and its going into effect on December 2, 2021, OCA-GH has had
       to devote significant time and resources into reshaping its practices in order to navigate
       SB1’s unlawful provisions. OCA-GH’s Civic Engagement Programs Director Deborah
       Chen and her staff have had to devote hours and hours of limited staff time to determining
       how the organization can continue their operations with SB1 making it more difficult and
       dangerous for OCA-GH’s members and their communities to participate in the electoral
       process. OCA’s work involves voter trainings, advocacy campaigns, voter assistance in
       transportation, education sessions, and ballot assistance, door knocking campaigns,
       appearance at candidate forums, and several other forms of voter assistance and education
       that all have had to be scrutinized, and in many cases modified, by Ms. Chen and her staff
       in order to avoid civil or criminal penalties from SB1’s illegal and confusing provisions.

       Given the far-reaching implications into the ability of organizations to offer assistance and
       education to voters contained in SB1, passage of the bill has forced OCA-GH to comb
       through all of the ways its programs could potentially violate the law, assess the new risk
       factors associated with their programs, train staff and then in turn volunteers on how the
       new laws impact their programs, and then conduct trainings on the operation of its newly
       modified programs. All of this scrutiny, training, and modifications to programming cost
       OCA-GH in staff time and in financial expenditures related to operation of its modified
       programming and will continue to cost the organization as OCA-GH anticipates significant
       diversion of its limited resources as SB1’s implementation is carried out in the future.

   B. As a result of SB1, OCA-GH has had to significantly scale back its voter education and
      assistance efforts. Due to the possibility of civil and criminal penalties, and the confusing
      nature of the law’s restrictions, OCA-GH has reduced or anticipates reducing its
      participation in voter outreach events, the information it provides to voters, the types of
      programming it pursues, and the scope of voters it seeks to target with its programming.
      Instead of assisting voters at candidate forums with mail-in ballot problems or registration
      issues, which was OCA-GH’s usual practice, staff and volunteers are now merely referring
      voters to the Harris Co. website. This has led to instances such as one where an over 80-
      year old, high COVID-risk voter from the community OCA-GH serves, Sam Hwong,
      decided to vote in person because he worried that he could have problems obtaining a
      mail-in ballot, and OCA-GH was not able to assist him in obtaining one. For the
      March 2022 primary and the November 2022 general elections, and for upcoming
      elections, OCA-GH’s door knocking volunteers limited and are limiting their valuable
      interactions with voters to just an “early voting alert” instead of engaging with the voter
      about any assistance they may require or directing them to voter education sessions, which
                                                14




                                    OCA-REPLY-APPX-144
       changes the character of these interactions to one of an entirely different kind and reduces
       their utility both for OCA-GH and the voters. These reductions in efforts do not allow
       OCA-GH the freedom to pursue other projects relevant to their voter outreach goals, as the
       drain on resources in responding to SB1 and designing programming that does not put the
       organization and its members at significant risk of civil or criminal penalties are anticipated
       to meet or exceed the costs that would be anticipated for OCA to conduct its activities
       without the interference of SB1. Spending time and resources on countermeasures to SB1
       will force OCA-GH to spend less time and money on its normal programming efforts and
       will reach fewer voters overall.

   C. Plaintiff’s Response to Interrogatories 4.A and 4.B identify the projects and expenditures
      Plaintiff must undertake in response to SB 1 that differ from its normal activities and those
      responses are incorporated herein.

   D. Subject to the foregoing objections and those indicated in the Response to Requests for
      Production, Plaintiff produced documents responsive to this request on April 14, 2022,
      April 22, 2022, May 13, 2022, September 13, 2022, and February 7, 2023—see Plaintiffs’
      Response to Request for Production No. 2.

    INTERROGATORY NO. 5: If you contend that the passage of SB1 frustrates your mission,
for each plaintiff:

   A. Explain how each provision makes your activities more difficult; and
   B. Identify all documents that support your contentions.

    RESPONSE: Plaintiff objects to this interrogatory as cumulative and duplicative of
Interrogatory No. 4. Plaintiff reserves the right to supplement or amend this response to the extent
it discovers additional or conflicting information responsive to this Interrogatory. To the extent
Plaintiff becomes aware of additional information responsive to this Interrogatory, Plaintiff will
supplement its response in accordance with the Rules. Accordingly, subject to and without waiver
of the foregoing specific and general objections, Plaintiff responds as follows:

   A. OCA-GH’s mission: (1) to advocate for social justice, equal opportunity, and fair
      treatment; (2) to promote civic participation, education, and leadership; (3) to advance
      coalitions and community building; and (4) to foster cultural heritage. Plaintiff lists ways
      in which SB 1 has made carrying out its mission more difficult in its responses to
      Interrogatories No. 2, 3, and 4.

   B. Subject to the foregoing objections and those indicated in the Response to Requests for
      Production, Plaintiff produced documents responsive to this request on April 14, 2022,
      April 22, 2022, May 13, 2022, September 13, 2022, and February 7, 2023—see
      Plaintiffs’ Response to Request for Production No. 2.

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                                    OCA-REPLY-APPX-145
    INTERROGATORY NO. 6: If you contend that SB1 targets “many of the precise methods
that local election authorities and community groups used to make voting easier and more
accessible to traditionally marginalized voters,” as described in ECF 200 ¶ 2, for each plaintiff:

   A. Identify the “precise methods” that “local election authorities” used to make voting easier
      and more accessible;
   B. Identify the “local election authorities” that used these “precise methods;”
   C. Identify how these “precise methods” made “voting easier and more accessible to
      traditionally marginalized voters;” and
   D. Identify all documents that support your contentions.

    RESPONSE: Subject to and without waiver of the foregoing specific and general objections,
Plaintiff responds as follows:

   A. The “precise methods” used by “local election authorities” that make voting easier and more
      accessible that are at issue in this suit are: (1) voting by mail, particularly for the elderly
      and people with disabilities; and (2) permitting assistance with mail-in ballots.
   B. The referenced sentence refers to county election officials generally, not any specific
      county election official.
   C. Subject to and without waiver of its objections, Plaintiff points to SAC ¶ 4, which refers to
      voters with disabilities, voters with limited English proficiency, and voters of color. In
      Plaintiff’s experience assisting voters and monitoring elections, these voters are
      traditionally marginalized in Texas. Plaintiff believes that permitting assistance with mail-
      in ballots makes it easier for voters with disabilities, voters with limited English proficiency,
      and voters of color to vote.
   D. Subject to the foregoing objections and those indicated in the Response to Requests for
      Production, Plaintiff produced documents responsive to this request on April 14, 2022,
      April 22, 2022, May 13, 2022, September 13, 2022, and February 7, 2023—see Plaintiffs’
      Response to Request for Production No. 2.

    INTERROGATORY NO. 7: If you contend that SB1 “adds immaterial burdens to the
process of applying to and actually voting by mail,” as described in ECF 200 ¶ 99, for each
plaintiff:

   A. Identify the “immaterial burdens” added;
   B. Explain how these burdens are immaterial; and
   C. Identify all documents that support your contentions.

    RESPONSE: Plaintiff objects to this interrogatory on the ground that it calls for a legal
conclusion as to materiality. Subject to and without waiver of the foregoing specific and general
objections, Plaintiff responds by pointing to SAC ¶¶ 99–111, which describe what types of
identification that are acceptable for voting in person yet are not acceptable to meet SB 1’s onerous
new requirements for applying to vote by mail, and the types of cure processes provided for in-
                                                   16




                                     OCA-REPLY-APPX-146
person voting that are not provided for applying to vote by mail.

    INTERROGATORY NO. 8: For each plaintiff, identify:

    A. All accommodations that would be necessary for you or your disabled members to vote in
       compliance with SB1;
    B. Any accommodations you or your members requested or intend to request for the
       March 2022 primary in response to SB1;
    C. State the facts that support your contentions; and
    D. Identify all documents that support your contentions.

     RESPONSE: Plaintiff objects to this interrogatory as vague and undefined as to
“accommodations” and what qualifies as “in response to SB 1.” Plaintiff objects to this
interrogatory as overly broad and premature because it seeks to require Plaintiff to marshal all of
its evidence at this stage of the litigation for a large and diverse group of people with disabilities
with varying modification needs, and Plaintiff—though it has numerous members with
disabilities—does not specifically track the disability status and necessary accommodations of its
members. Plaintiff further objects to the request for information about all disabled members as
overbroad and not proportional to the needs of the case. Moreover, as described in Plaintiff’ SAC,
the SB 1 provisions challenged by Plaintiff inflict systemic harm on large groups of people with
disabilities and impose a chilling effect deterring those who seek to assist individuals in voting,
including Plaintiff and its members. These are not harms that can be remedied by individual, case
by case reasonable modification requests. Plaintiff reserves the right to supplement or amend this
response to the extent it discovers additional or conflicting information responsive to this
Interrogatory. To the extent Plaintiff becomes aware of additional information responsive to this
Interrogatory, Plaintiff will supplement its response in accordance with the Rules.

    INTERROGATORY NO. 9: Please identify and describe with specificity each form of
affirmative relief which you seek from each defendant through this Lawsuit.

    RESPONSE: Plaintiff objects to this Interrogatory to the extent it requires Plaintiff to describe
relief that may be necessary to address or prevent injuries from SB 1 that Plaintiff may uncover
through additional investigation and discovery or may occur as SB 1 is implemented. Subject to
and without waiver of the foregoing objections, Plaintiff responds as follows:

Plaintiff seeks:

    1. Declaratory judgment that the State of Texas’s statutory scheme as described with
       specificity in the operative pleading violates the United States Constitution, the Voting
       Rights Act, the Civil Rights Act, the ADA and Section 504;
    2. Permanent injunction against the State of Texas, the Texas Secretary of State, the Texas
       Attorney General, the Harris County District Attorney, the Travis County District
       Attorney, and other appropriate county agencies administering elections from enforcing
                                               17




                                     OCA-REPLY-APPX-147
      the specific provisions of the Texas Election Code as amended by SB 1, and from
      prosecuting any individual pursuant to the criminal offenses defined in these provisions, if
      any;
   3. Attorneys’ fees to Plaintiff in accordance with 42 U.S.C. § 1988, 29 U.S.C. § 794a, 42
      U.S.C. §12205, and/or any other applicable provision;
   4. Order that all costs of this action be taxed against Defendants; and
   5. Grant any additional or alternative relief to which the Plaintiff may be entitled.

    INTERROGATORY NO. 10: If you seek mandatory injunctive relief through this Lawsuit,
please identify and describe with specificity, by plaintiff, each omission that you contend each
Defendant should be enjoined to perform to resolve each claim you have alleged against the
Defendant in this Lawsuit.

    RESPONSE: Plaintiff objects to this Interrogatory because it requires Plaintiff to describe
relief that may be necessary to address or prevent injuries from SB 1 that Plaintiff may uncover
through additional investigation and discovery or may occur as SB 1 is implemented. Subject to
and without waiver of the foregoing objection, Plaintiff responds as follows:

         Plaintiff seeks mandatory injunctive relief against the Texas Secretary of State requiring it
to (a) issue guidance that SB 1’s ID provisions for mail-in applications and ballots are no longer
required; (b) issue guidance that lack of an ID number or an ID-number mismatch on an application
to vote by mail or a ballot is not grounds for rejecting the application or ballot; (c) prescribe the
design and content of the forms necessary for elections that no longer contain the mail-in ballot ID
provisions; (d) prescribe the design and content of the application to vote by mail and mail-in
envelope that no longer contain the ID provisions; and/or (e) issue guidance to all county election
administrators or equivalent county officials that waiving the ID requirements is a reasonable
accommodation that may be granted for persons with disabilities. Plaintiff additionally seeks
mandatory injunctive relief requiring the Texas Secretary of State to widely publicize any such
guidance or changes in the operation of the law.

        Plaintiff likewise seeks mandatory injunctive relief against the Travis County Clerk and
the Harris County Elections Administrator requiring them to (a) use forms for mail-in applications
and ballots that do not request ID numbers; (b) follow the Texas Secretary of State’s guidance that
SB 1’s ID provisions for mail-in applications and ballots are no longer required and that lack of
ID number or mismatch of ID number are not grounds to reject an application to vote by mail or
ballot by mail; (d) widely publicize that the ID requirements for mail-in applications and ballots
are no longer valid; and/or (e) grant requests to waive the ID requirements as a reasonable
accommodation for persons with disabilities.

    INTERROGATORY NO. 11: If you seek prohibitive injunctive relief through this Lawsuit,
please identify and describe with specificity each action that you contend each Defendant should
be enjoined from performing to resolve.

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                                     OCA-REPLY-APPX-148
    RESPONSE: Plaintiff objects to this Interrogatory to the extent it requires Plaintiff to describe
relief that may be necessary to address or prevent injuries from SB 1 that Plaintiff may uncover
through additional investigation and discovery or may occur as SB 1 is implemented. Plaintiff also
objects to this Interrogatory as duplicative of Interrogatory No. 9. Subject to and without waiver
of the foregoing objections, Plaintiff responds as follows:

        Plaintiff seeks a permanent injunction against the State of Texas, the Texas Secretary of
State, the Texas Attorney General, the Harris County District Attorney, the Travis County District
Attorney, and other appropriate county agencies administering elections from enforcing the specific
provisions of the Texas Election Code as amended by SB 1, and from prosecuting any individual
pursuant to the criminal offenses defined in these provisions.




                                                 19




                                     OCA-REPLY-APPX-149
OCA-REPLY-APPX-150
Exhibit 10




 OCA-REPLY-APPX-151
                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TEXAS
                          SAN ANTONIO DIVISION

LA UNIÓN DEL PUEBLO ENTERO, et al.,§
     Plaintiff,                    §
                                   §
v.                                 §        Case No. 5:21-CV-0844-XR
                                   §
GREGORY W. ABBOTT, et al.,         §
     Defendants.                   §

                                   §
OCA-GREATER HOUSTON, et al.,       §
     Plaintiff,                    §
v.                                 §        Case No. 1:21-CV-0780-XR
                                   §
JOSE A. ESPARZA, et al.,           §
      Defendants.                  §

                                   §
HOUSTON JUSTICE, et al.,           §
    Plaintiff,                     §
v.                                 §        Case No. 5:21-CV-0848-XR
                                   §
GREGORY WAYNE ABBOTT, et al.,      §
    Defendants.                    §

                                   §
LULAC TEXAS, et al.,               §
     Plaintiff,                    §
                                   §
v.                                 §        Case No. 1:21-CV-0786-XR
                                   §
JOSE ESPARZA, et al.,              §
      Defendants.                  §




                                       1

                           OCA-REPLY-APPX-152
MI FAMILIA VOTA, et al.,                   §
     Plaintiff,                            §
                                           §
v.                                         §              Case No. 5:21-CV-0920-XR
                                           §
GREG ABBOTT, et al.,                       §
     Defendants.                           §
                                           §
UNITED STATES OF AMERICA,                  §
     Plaintiff,                            §
                                           §
v.                                         §              Case No. 5:21-CV-01085-XR
                                           §
STATE OF TEXAS, et al.,                    §
     Defendants.                           §



        PLAINTIFF LEAGUE OF WOMEN VOTERS OF TEXAS’S AMENDED
      OBJECTIONS AND RESPONSES TO STATE DEFENDANTS’ FIRST SET OF
                          INTERROGATORIES

TO:    Defendants Texas Secretary of State John Scott and Texas Attorney General Ken Paxton
       (“State Defendants”) by and through its attorneys of record Patrick K. Sweeten, William
       T. Thompson, Eric A. Hudson, Kathleen T. Hunker, Leif A. Olson, Jeffrey M. White, and
       Jack B. DiSorbo, via e-mail to patrick.sweeten@oag.texas.gov.

       Pursuant to Federal Rule of Civil Procedure 33, Plaintiff League of Women Voters of

Texas (“LWVTX”), hereby serves the following Amended Objections and Responses to State

Defendants’First Set of Interrogatories.

Dated: April 25, 2022                              Respectfully Submitted,

                                                   /s/ _Zachary Dolling
                                                   Mimi M.D. Marziani
                                                   Texas Bar No. 24091906
                                                   Hani Mirza




                                               2

                                    OCA-REPLY-APPX-153
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OCA-REPLY-APPX-154
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OCA-REPLY-APPX-155
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                                                     COUNSEL FOR PLAINTIFF

                                                     *admitted pro hac vice

                                CERTIFICATE OF SERVICE

       I hereby certify that on the 25th day of April, 2022, a true and correct copy of the foregoing

Plaintiff League of Women Voters of Texas’s Amended Objections and Responses to State

Defendants’ First Set of Interrogatories was served upon counsel of record via email or mail.

                                                             /s/   Zachary Dolling




                                                 5

                                    OCA-REPLY-APPX-156
                                  RESERVATION OF RIGHTS

       Plaintiff has responded to these interrogatories based on the information currently available

to it. Discovery, however, is not yet complete. Additional discovery and investigation may lead to

additions to, changes in, or modification of these responses. Plaintiff therefore reserves its right to

supplement, amend, revise, correct, modify, or clarify these responses as additional information

becomes available.

       Plaintiff makes its objections and responses in accordance with its interpretation and

understanding of State Defendants’ First Set of Requests for Admission, Requests for Production,

and Interrogatories (“Requests”) and in accordance with its current knowledge, understanding,

and belief as to the facts and information available to it at the time of serving these responses. If

State Defendants subsequently provide an interpretation of any of its Requests that differs from

Plaintiff’s understanding of the same, Plaintiff reserves its right to complete the discovery of facts

in this case and rely at trial or in any other proceeding on documents and information in addition

to the information provided herein, regardless of whether such information is newly discovered or

newly in existence. It also reserves the right to amend, revise, correct, modify, or clarify its

responses to properly respond to any interpretation State Defendants may give these Requests.

       Plaintiff reserves its right to object on any grounds, at any time, to the admission or use of

any response on any ground. Plaintiff is also willing to meet and confer about any of its objections

or responses.




                                                  6

                                     OCA-REPLY-APPX-157
                                   GENERAL OBJECTIONS

       1.      Plaintiff objects to these Requests, including the definitions and instructions, to the

extent that they seek information or documents: (i) protected by attorney client privilege, the work

product doctrine, or any other applicable privilege or immunity; (ii) not in Plaintiff’s possession,

custody, or control; and (iii) that are publicly available or already within State Defendants’

possession. Any inadvertent disclosure of privileged or protected information is not intended to

constitute a waiver of any privilege, protection, or immunity, or of any other ground for objecting.

Plaintiff reserves the right to request the return or destruction of any documents that contain any

inadvertent disclosures of privileged or protected information.

       2.      Plaintiff objects to these Requests to the extent they are duplicative when

propounded to another plaintiff in this Lawsuit, including Plaintiffs outside of the OCA-Greater

Houston, et al. Plaintiff group. To the extent that Plaintiff agrees to produce a document that is

responsive to multiple Requests duplicated across multiple Plaintiffs, Plaintiff will only produce

such documents once.

       3.      Plaintiff objects to the definitions of “Plaintiff,” “you,” and “your” as overly broad,

unduly burdensome, and disproportionate to the needs of this case, to the extent that they define

each party as including “any representative acting or purporting to act on its behalf, including but

not limited to employees, attorneys, consultants, agents, and any other representative,” which

includes individuals unknown to Plaintiff. Plaintiff further objects to this definition because the




                                                  7

                                    OCA-REPLY-APPX-158
terms “representative” and “agents” are vague and call for legal conclusions. Plaintiff further

objects to this definition to the extent that including “attorneys” calls for the disclosure of

information subject to the attorney-client privilege, work product doctrine, or other applicable

privilege or doctrine.

       4.      Plaintiff objects to the definition of “documents” as overly broad and as expanding

the scope of discovery to include materials that are not within Plaintiff’s possession, custody, and

control, and imposing burdens that are not proportional to the needs of this case.

       5.      Plaintiff objects to the definition of “identify” when referring to:

               a.        A person, to the extent that it expands the scope of discovery to include

                         materials and information that are not within Plaintiff’s possession, custody,

                         and control, and imposes burdens that are not proportional to the needs of

                         this case, such as email addresses and contact information that are not within

                         Plaintiff’s possession.

               b.        An organization, to the extent that it expands the scope of discovery to

                         include materials and information that are not within Plaintiff’s possession,

                         custody and control, and imposes burdens that are not proportional to the

                         needs of this case, such as email addresses and contact information that are

                         not within Plaintiff’s possession.

               c.        A document, to the extent that it expands the scope of discovery to include




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                                      OCA-REPLY-APPX-159
                       materials and information that are not within Plaintiff’s possession, custody,

                       and control and imposes burdens that are not proportional to the needs of

                       this case.

               d.      A statement or communication, to the extent that it expands the scope of

                       discovery to include materials and information that are not within Plaintiff’s

                       possession, custody, and control; imposes burdens that are not proportional

                       to the needs of this case; and is vague, such as knowledge of all persons

                       “present” when the statement or communication was “made.”

               e.      A social media account, to the extent that it expands the scope of discovery

                       to include materials and information that are not within Plaintiff’s

                       possession, custody, and control; imposes burdens that are not proportional

                       to the needs of this case; and is vague, such as knowledge of all persons

                       who “have access to” an account.

       6.      Plaintiff objects to the definition of “regarding,” “relating to,” and “pertaining to”

as overbroad and unduly burdensome to the extent that these definitions expand the scope of

discovery in a manner that is not proportional to the needs of the case.

       7.      Plaintiff objects to State Defendants’ Requests to the extent that they improperly

call for legal conclusions or legal arguments.

       8.      Plaintiff objects to State Defendants’ Requests to the extent that they contain




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                                    OCA-REPLY-APPX-160
incorrect or disputed factual assumptions or legal conclusions and do not by virtue of its response,

objection, or production of documents admit the underlying assumption or conclusion.

       9.      Plaintiff objects to State Defendants’ Requests to the extent that they require the

production of confidential business, proprietary, or trade secret information, or personal

information concerning persons who are not parties to this litigation, to the extent this confidential

information would not be covered by the protective order entered in this case.

       10.     Plaintiff objects to State Defendants’ Requests to the extent that certain ones do not

specify a time period. These are overbroad, burdensome, and vague.

       11.     Plaintiff objects to State Defendants’ Requests, including the Definitions and

Instructions contained therein, to the extent they are inconsistent with or seek to impose duties or

require performance of acts broader in scope than those required by the Federal Rules of Civil

Procedure, the Local Rules of the U.S. District Court for the Western District of Texas, and any

other applicable rules, law or governing orders.

       12.     Plaintiff objects to the Requests to the extent they seek information prohibited from

disclosure by law, rules, or protective orders.

       13.     These General Objections are incorporated into each of the specific responses and

objections set forth below. No specific response or objection herein shall constitute a waiver, in

whole or in part, of any of the foregoing General Objections. Plaintiff reserves the right at any time

to revise, correct, supplement, or clarify the objections or responses set forth herein and any

production made pursuant thereto.




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                                     OCA-REPLY-APPX-161
       PLAINTIFF’S OBJECTIONS AND RESPONSES TO INTERROGATORIES

INTERROGATORY NO. 1: Identify each Texas Election Code provision that Senate Bill 1
amended and that you are challenging by the relevant section number of each Texas Election Code
provision.

       RESPONSE: Plaintiff is challenging the following provisions in the Texas Election Code
that were amended by Senate Bill 1 (“SB 1”):
       1. SB 1 § 5.02: Amends Tex. Election Code § 84.002
       2. SB 1 § 5.03: Amended Tex. Election Code § 84.011(a)
       3. SB 1 § 5.06: Amended Tex. Election Code § 84.035
       4. SB 1 § 5.07: Amends Tex. Election Code § 86.001
       5. SB 1 § 5.08: Amends Tex. Election Code § 86.002
       6. SB 1 § 5.10: Amends Tex. Election Code § 86.015(c)
       7. SB 1 § 5.12: Adds Tex. Election Code § 87.0271
       8. SB 1 § 5.13: Amends Tex. Election Code § 87.041
       9. SB 1 § 5.14: Adds Tex. Election Code § 87.0411
       10. SB 1 § 6.04: Amends Tex. Election Code § 64.034
       11. SB 1 § 6.06: Amends Tex. Election Code § 86.0105
       12. SB 1 § 7.04: Adds Tex. Election Code §§ 276.015, 276.016, 276.017, 276.018, and
           276.019

INTERROGATORY NO. 2: If you contend that you have been injured by any of the Texas
Election Code provisions identified in Interrogatory No. 1, for each plaintiff:
       A.     State the facts that support your contention; and
       B.     Identify all documents that support your contentions.

        RESPONSE: Plaintiff objects to this blockbuster interrogatory because it seeks to require
Plaintiff to marshal all its evidence at this stage in the litigation. Plaintiff will produce all witnesses
and documents it relies upon to support its claims in this lawsuit according to the Amended
Scheduling Order, the Federal Rules of Civil Procedure, and Federal Rules of Evidence. Plaintiff
interprets this interrogatory as asking only whether Plaintiff as an organization has been injured,
since Interrogatory No. 3 asks about Plaintiff’s members. Further as noted below, Plaintiff lists
specific injuries in its response to Interrogatory No. 4—which Plaintiff hereby incorporates in
response to Interrogatory No. 2. Plaintiff reserves the right to supplement or amend this response
to the extent it discovers additional or conflicting information responsive to this Interrogatory. To
the extent Plaintiff becomes aware of additional information responsive to this Interrogatory,
Plaintiff will supplement its response in accordance with the Rules. Accordingly, subject to and
without waiver of the foregoing specific and general objections, Plaintiff responds as follows:




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                                       OCA-REPLY-APPX-162
A. In its Second Amended Complaint (“SAC”) (Dkt. 200), Plaintiff offers detailed facts
   supporting its contention that it will be injured by the challenged Texas Election Code
   provisions. SB 1 takes particular aim at voters with disabilities and voters with limited
   English proficiency—who, in Texas, are also overwhelmingly voters of color—and
   the organizations (including Plaintiff here) that represent, assist, and support these
   voters. Plaintiff promotes civic participation among its constituents and empowers
   them to vote through voter education and other initiatives. Plaintiff has been and will
   be forced to alter its voter education and volunteer training programs in light of the
   changes made to the Texas Election Code by SB 1. Namely, it must divert resources
   toward educating and helping staff, volunteers, and voters navigate those provisions’
   new burdensome restrictions on mail-in voting and voter assistance, and the criminal
   and civil penalties associated with those provisions.

   Before SB 1, to successfully apply to vote by mail, voters were required to fill out a
   robust application that included identifying information such as name, address, and
   date of birth. The voters certified that the information given in the application was
   true and affirmed its understanding that giving false information is a crime. To receive
   a vote-by-mail application, a voter must also have previously registered to vote, which
   again required the voter to provide a robust amount of personal information that
   county voter registrars use to determine the voter’s eligibility. SB 1 needlessly added
   immaterial burdens to the process of voting by mail. Pursuant to Sections 5.02, 5.03,
   5.06, 5.07, 5.10, and 5.12 of SB 1, voters must additionally provide the number on
   either their Texas driver’s license, Texas election identification certificate, or Texas
   personal ID card on their mail-in ballot applications and on the ballot carrier envelopes
   used to return their ballot. SB 1 provides that if the voter has not been issued one of
   these numbers by the State of Texas, the voter may instead provide the last four digits
   of its Social Security number. If the voter has not been issued any of these numbers
   by the State of Texas or the Social Security Administration, the voter may sign a
   statement indicating that they have never been issued one of these numbers. Since the
   SAC was filed, county elections offices across the state have reported high rejection
   rates of mail-in ballot applications for the March 2022 primary due to the difficulty
   for voters to comply with these new immaterial ID number requirements. Plaintiff has
   already been injured and will continue to suffer injury due to these provisions because
   they have diverted and will continue to divert resources toward educating and helping
   staff, volunteers, and voters navigate those provisions’ new burdensome restrictions
   on mail-in voting. Plaintiff will also need to divert staffing to answer questions from
   voters who do not understand the new burdensome requirements. Additionally,
   Plaintiff will need to divert resources to inform individuals who have a driver’s license




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                             OCA-REPLY-APPX-163
   number or Social Security number but are unable to access it, that unless they can
   findthat number they will be unable to vote by mail, and helping individuals to either
   recallor locate identification numbers. The diversion of resources required to guide
   members through complying with and having their mail-in ballot counted pursuant
   tothe burdensome new identification requirements will decrease the amount of time
   and resources that Plaintiff can spend conducting educational outreach to and
   answering questions from other voters about participating in the voting process and
   advancing its other organizational goals. This diversion of resources would not be
   necessary in the absence of SB 1. Plaintiff lists additional specific injuries in SAC
   ¶¶ 117–118 and its response to Interrogatory No. 4.

   Before SB 1, voters had a right to select an assistant of their choice and to have
   assistance in all aspects of the voting process, free of encumbrance by state laws
   thatimpose restrictions on the selection of those assistants or the specific types of
   assistance that may be provided by them. SB 1 Section 6.04 adds a requirement
   that voter assistants swear under penalty of perjury that “I will confine my
   assistance to reading the ballot to the voter, directing the voter to read the ballot,
   marking the voter’sballot, or directing the voter to mark the ballot” and no longer
   allows assistants to answer a voter’s questions, help the voter navigate the polling
   place, or provide any other type of assistance that might be necessary for
   individuals with disabilities or with limited English proficiency. Plaintiff lists
   examples of additional specific types of assistance needed in SAC ¶¶ 154–160. In
   addition, SB 1 Section 6.06 creates a strict liability, state jail felony that
   criminalizes the provision of assistance by anyone who “solicits, receives, or
   accepts compensation” for assisting a voter with its mail-in ballot. Plaintiff lists
   specific injuries in SAC ¶¶ 167–168 and its response to InterrogatoryNo. 4.

   Before SB 1, the Texas Elections Code already prohibited improper influencing or
   electioneering. Section 7.04 of SB 1 goes much further to criminalize paid ballot
   collection services and paid interactions with voters in the presence of an official
   ballot, which the bill derogatorily labels as “vote harvesting,” creating a third-
   degreefelony. Section 7.04 imposes criminal and civil penalties on any person who
   gives orreceives some “compensation or other benefit” for “knowingly provid[ing]
   or offer[ing] to provide vote harvesting services,” defined as any “in-person
   interaction with one or more voters, in the physical presence of”” and “directly
   involving” any “official ballot or a ballot voted by mail,” which are “intended” “to
   deliver votes for [or against] a specific candidate or measure.” This provision is
   substantially overbroadand vague, infringing on Plaintiff’s core political speech
   and subjecting Plaintiff to potential arbitrary and/or selective prosecution without
   prior notice of precisely whatactivities are illegal, as well as possible civil claims
   by candidates. Plaintiff lists specific injuries in SAC ¶¶ 208 and its response to
   Interrogatory No. 4.

B. Subject to the foregoing objections and those indicated in the Response to Requests
   for Production, Plaintiff produced documents responsive to this request on April
   22, 2022—see Plaintiffs’ Response to Request for Production No. 2.

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                            OCA-REPLY-APPX-164
INTERROGATORY NO. 3: If you contend that your members have been injured by any of
theTexas Election Code provisions identified in Interrogatory No. 1, for each plaintiff:
      A. State the facts that support your contention, including the identity of each
          injuredmember upon whom your standing is based; and
      B. Identify all documents that support your contentions.

        RESPONSE: Plaintiff objects to this blockbuster interrogatory as broad and unduly
burdensome because it demands that Plaintiff marshal all of its evidence with regard to
associational standing at this stage of the litigation. Plaintiff will produce all witnesses and
documents it relies upon to support its claims in this lawsuit according to the Amended
SchedulingOrder, the Federal Rules of Civil Procedure, and Federal Rules of Evidence. Plaintiff
additionallyobjects to this interrogatory as overbroad and imposing burdens not proportional to
the needs of the case by seeking the identities of and documents relating to all members, rather
than only identities and documents relating to members sufficient to support standing. Plaintiff
does not maintain membership records that necessarily include information relating to
disability or language access, nor does it monitor the election-related volunteer activities of
members outside of Plaintiff-organized events. It is also unnecessarily burdensome and
invasive to produce the identities of every injured member and every document related to those
members without any time limitation. Nor is such individualized proof required to support
associational standing. Indeed, requiring Plaintiff to produce proof of every injured member
would turn the notion of associational standing on its head. Plaintiff reserves the right to
supplement or amend this response to the extent it discovers additional or conflicting
information responsive to this Interrogatory. Accordingly, subject to and without waiver of the
foregoing specific and general objections, Plaintiff responds as follows:

       A. LWVTX has approximately 3,050 members across Texas. A large number of these
          members participate in LWVTX’s election-related programs, such as registering
          people to vote, participating in get out the vote (“GOTV”) events, canvassing or
          “doorknocking,” serving as election workers, assisting individual voters, and hosting
          nonpartisan issue or candidate forums.

           In 2020, LWVTX surveyed its members and determined that hundreds of its members
           chose to vote by mail due to age or disability. LWVTX has members who have been
           or will be harmed by SB1’s provisions requiring an application for ballot by mail or
           mail-in ballot to be automatically rejected when a voter omits their ID number or
           makes a mistake in entering their ID number. Some of these members are disabled.

           LWVTX also has members who will be harmed by SB 1’s drastic illegal restrictions
           on the right to select an assistant of their choice and have assistance in all aspects of
           the voting process. LWVTX has members who need assistance either due to disability
           or limited English proficiency and who have used assistants when voting in the past.
           In every election, the League encourages all of their members, including members
           with disabilities and limited English proficiency to vote.

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                                    OCA-REPLY-APPX-165
          LWVTX members who have been harmed by SB 1 include:

          Pam Gaskin is a League member. She is 74 years old and lives in Missouri City. In
          the March 2022 primary election, she filled out her vote by mail application with her
          driver’s license number. Her application was rejected because her voter registration
          file included only her social security number. She had to submit a new application
          with her social security number.
          Madeleine Appel is a League member. She is 85 years old and lives in Travis County.
          In the March 2022 primary election, her ballot to vote by mail was rejected, despite
          listing both her driver’s license number and her social security number. She was told
          the identification number she listed did not match the number she used to register to
          vote. She submitted a second mail in ballot, but was unable to verify whether the
          ballot was received and counted.
          Janet Eickmeyer is a League member. She is 75 years old and lives in Richardson. In
          the March 2022 primary election, her application to vote by mail was rejected twice.
          She used her social security number on her first application to vote by mail, but it was
          rejected because it did not match the number in her voter file. She applied again with
          both her driver’s license and social security number. This was also rejected. She had
          to call the Dallas County Clerk’s office, who confirmed the rejection, but then
          approved the application without any explanation. The Dallas County Clerk’s office
          stated that her ballot had been counted, but the Secretary of State’s website states that
          no voter can be found when she tries to input her information.
          Jeannie Lewis is a League member. She is 80 years old, lives in San Marcos, and has
          a disability. Her application to vote by mail was rejected. When she applied for a mail
          in ballot before the 2022 primary election, she used her driver’s license number. The
          application was rejected because the identification number did not match the number
          on file. In order to correct this, Ms. Lewis had to re-register to vote with her driver’s
          license number. Subsequently, her mail in ballot was rejected because she did not
          write her identification number on the envelope flap. Because it was rejected close to
          the election, she had to go in person to correct the ballot.
          Julie Espinoza is a League member who has a disability. She is a juvenile rheumatoid
          arthritis wheelchair user. She needs an assistant to vote in person but is concerned that
          anyone who assists her could be accused of violating SB 1, so she no longer wants to
          vote in person. Although she attempted to begin the process to apply to vote by mail,
          she ultimately did not vote in the March 2022 primary election.

       A. Subject to the foregoing objections and those indicated in the Response to Requests
          for Production, Plaintiff produced documents responsive to this request on April
          22, 2022—see Plaintiffs’ Response to Request for Production No. 2.


INTERROGATORY NO. 4: If you contend that you have to divert time, money, and resources
from other activities because of the passage of Senate Bill 1, for each plaintiff:
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                                   OCA-REPLY-APPX-166
       A. Identify the time, money, and resources that you have diverted or anticipate diverting
          in response to SB1;
       B. Identify all specific projects that you had or will have to put on hold or otherwise
          curtailin response to SB1;
       C. State the facts that support your contention that you have and will divert time,
          money,and resources in response to Senate Bill 1, including an explanation of how
          the projects and expenditures identified in Interrogatories Nos. 3.A and 3.B differ
          from your routineactivities; and
       D. Identify all documents that support your contentions.

        RESPONSE: Plaintiff objects to this blockbuster interrogatory as broad and unduly
burdensome because it demands that Plaintiff marshal all of its evidence with regard to
organizational standing at this stage of the litigation. Plaintiff will produce all witnesses and
documents it relies upon to support its claims in this lawsuit according to the Amended
Scheduling Order, the Federal Rules of Civil Procedure, and Federal Rules of Evidence.
Plaintiff objects to this interrogatory as vague and undefined as to “other activities” and what
qualifies as “in responseto SB 1.” Plaintiff further objects to this interrogatory to the extent it
seeks to impose injury requirements not required by law, such as the cancellation of specific
projects. Plaintiff reserves the right to supplement or amend this response to the extent it
discovers additional or conflicting information responsive to this Interrogatory. Plaintiff also
objects that Interrogatory 4.C requests information about projects and expenditures identified
in Interrogatories 3.A and 3.B, but Interrogatories 3.A and 3.B do not ask about projects or
expenditures. Plaintiff further objects that Interrogatory 4.C requests information that is
duplicative of Interrogatories 4.A and 4.B. Accordingly, subject to and without waiver of the
foregoing specific and general objections, Plaintiff responds as follows:

       A. LWVTX has expended time, money, and resources in combating SB 1’s passage, as
          well as combatting the passage of SB 1’s predecessor bills from the regular session—
          SB 7 and HB 6. LWV members attended public testimony trainings, recruited other
          testifiers, testified at public hearings of the Texas House and Senate, wrote letters and
          op-eds against SB 1 and its predecessors, organized email writing campaigns, and
          organized a rally defending the right to vote.

           Since SB 1 went into effect on December 2, 2021, LWVTX has had to devote
           significant personnel time and resources into helping members and the public
           navigate SB 1’s new provisions. Starting on approximately November 1, 2021,

           LWVTX’s President, Grace Chimene, has had to devote the vast majority of her time
           to SB 1. Two other LWVTX Board members and the LWVTX Voting Rights Issue
           Chair have also spent the majority of their time addressing the challenges that SB 1
           presents to voters and elections, and other paid staff have also devoted time to SB 1.
           In particular, Ms. Chimene and other LWVTX volunteers have had to spend their
           dedicated time on educating LWVTX members and the public about SB 1’s new
           requirements and restrictions. For example, Ms. Chimene has had to: create social
           media posts and YouTube about mail-in ballot applications and voting by mail
           processes affected by SB 1; put together PowerPoint presentations regarding the ways
                                                16



                                    OCA-REPLY-APPX-167
   the vote by mail process has changed as a result of SB 1; host webinars about voting
   by mail in light of SB 1 and SB 1’s provisions as a whole; review county websites to
   ensure that the voter information is updated as required by SB 1; answer members’
   questions about SB 1’s driver’s license/ social security number requirements for
   applying to vote by mail; brief local leagues on the effects of SB 1; and host webinars
   with other organizations about voting by mail and SB 1 as a whole. Doing all of this
   took significant time and often multiple attempts. For example, the initial educational
   video that the LWVTX assembled in light of SB 1 just reflected what SB 1 itself
   contained. However, after receiving belated guidance from the Secretary of State
   instructing that it would be more prudent to include both a driver’s license number
   and a social security number on the application to vote by mail, the LWVTX had to
   make changes to the educational materials, website information, tips for voters
   materials, and graphics.

   As part of her commitment to educating the public, Ms. Chimene has also devoted
   significant time to speaking to the media about the confusion caused by the new
   voting restrictions and requirements imposed by SB 1. Coordinating these interviews,
   preparing for them, and participating in them has taken a significant amount of
   personnel time. Overall, answering the public’s questions about SB 1 consumes the
   vast majority of Ms. Chimene’s time.

   Beyond personnel time, LWVTX’s response to SB 1 has also caused it to expend
   financial resources. As a result of all of the turmoil caused by SB 1’s passage and the
   amount of the President’s time it has consumed, the LWVTX’s board of directors
   approved $46,000 to hire a brand new communications staff member and $10,000 to
   pay for recruitment and orientation. This communications staff member would not
   have been needed if the President had not had to respond to SB 1, since the President
   has historically handled LWVTX’s communications efforts. Additionally, LWVTX
   has had to expend financial resources on producing materials reflecting changes in
   the law related to SB 1, including the voters’ guide.

B. As a result of SB 1, LWVTX has had to significantly scale back its Get Out the Vote
   (GOTV) efforts. Rather than focusing on designing and disseminating materials on
   topics such as encouraging friends and family to vote, supporting college students in
   voting, finding one’s polling place, and voting dates, LWVTX has had to focus on
   designing and disseminating materials regarding challenges with the vote-by-mail
   process as a result of SB 1 and other restrictions related to SB 1. Additionally,
   LWVTX has been forced to reduce its outreach to young voters, including
   encouraging voter registration at high schools, because they have had to focus on
   voters more likely to be affected by the challenged provisions of SB 1. LWVTX
   volunteers now spend significant portions of their time explaining to members and
   the public how to navigate the new vote by mail application process and teaching
   them how to use the Track My Ballot page in addition to answering questions about
   other provisions of SB 1, including the new rules surrounding assistants.

   Further, the time expended to challenge and educate the public about SB 1 caused
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                           OCA-REPLY-APPX-168
            LWVTX to table a planned study to assess the impact of election administration and
            technology, including voting by mail and cybersecurity measures. Given the intensity
            of discourse during the extended 2021 legislative season around SB 1, and the final
            massive changes to the Texas Election Code, the resources for the study were diverted
            to responding to widespread requests for detailed information during the legislative
            sessions and addressing the impact of SB 1 once it went into effect.

        C. Plaintiff’s Response to Interrogatories 4.A and 4.B identify the projects and
           expenditures Plaintiff must undertake in response to SB 1 that differ from its normal
           activities and those responses are incorporated herein.

        D. Subject to the foregoing objections and those indicated in the Response to Requests
           for Production, Plaintiff produced documents responsive to this request on April 22,
           2022—see Plaintiffs’ Response to Request for Production No. 2.


INTERROGATORY NO. 5: If you contend that the passage of SB1 frustrates your mission,
for each plaintiff:
         A. Explain how each provision makes your activities more difficult; and
         B. Identify all documents that support your contentions.

         RESPONSE: Plaintiff objects to this interrogatory as cumulative and duplicative of
 Interrogatory No. 4. Plaintiff reserves the right to supplement or amend this response to the
 extentit discovers additional or conflicting information responsive to this Interrogatory. To the
 extent Plaintiff becomes aware of additional information responsive to this Interrogatory,
 Plaintiff will supplement its response in accordance with the Rules. Accordingly, subject to and
 without waiverof the foregoing specific and general objections, Plaintiff responds as follows:

         A. LWVTX is a nonpartisan, grassroots civic organization that encourages informed
            and active participation in government, works to increase understanding of major
            public policy issues, and influences public policy through education and advocacy,
            including by empowering voters and defending democracy by expanding voter
            registration, increasing voter turnout, and providing voter education. Plaintiff lists
            ways in which SB 1 has made carrying out its mission more difficult in its responses
            to Interrogatories No. 2, 3, and 4.

         B. Subject to the foregoing objections and those indicated in the Response to Requests
            for Production, Plaintiff produced documents responsive to this request on April
            22, 2022—see Plaintiffs’ Response to Request for Production No. 2.


 INTERROGATORY NO. 6: If you contend that SB1 targets “many of the precise methods
 that local election authorities and community groups used to make voting easier and more
 accessible to traditionally marginalized voters,” as described in ECF 200 ¶ 2, for each plaintiff:
         A. Identify the “precise methods” that “local election authorities” used to make voting
             easier and more accessible;
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                                     OCA-REPLY-APPX-169
       B. Identify the “local election authorities” that used these “precise methods;”
       C. Identify how these “precise methods” made “voting easier and more accessible to
          traditionally marginalized voters;” and
       D. Identify all documents that support your contentions.

        RESPONSE: Subject to and without waiver of the foregoing specific and general
objections, Plaintiff responds as follows:

       A. The “precise methods” used by “local election authorities” that make voting easier
          and more accessible that are at issue in this suit are: (1) voting by mail,
          particularly for the elderly and people with disabilities; (2) permitting voters to
          receive assistanceat the polls, particularly for voters with a disability or who are
          not fluent in English; and (3) permitting assistance with mail-in ballots.
       B. The referenced sentence refers to county election officials generally, not any
          specificcounty election official.
       C. Subject to and without waiver of its objections, Plaintiff points to SAC ¶ 4, which
          refers to voters with disabilities, voters with limited English proficiency, and
          voters of color. In Plaintiff’s experience assisting voters and monitoring
          elections, thesevoters are traditionally marginalized in Texas. Plaintiff believes
          that voting by mail, permitting assistance at the polls, and permitting assistance with
          mail-in ballots makesit easier for voters with disabilities, voters with limited English
          proficiency, and votersof color to vote.
       D. Subject to the foregoing objections and those indicated in the Response to Requests
          for Production, Plaintiff produced documents responsive to this request on April
          22, 2022—see Plaintiffs’ Response to Request for Production No. 2.


INTERROGATORY NO. 7: If you contend that SB1 “adds immaterial burdens to the process
ofapplying to and actually voting by mail,” as described in ECF 200 ¶ 99, for each plaintiff:
       A. Identify the “immaterial burdens” added;
       B. Explain how these burdens are immaterial; and
       C Identify all documents that support your contentions.

        RESPONSE: Plaintiff objects to this interrogatory on the ground that it calls for a legal
conclusion as to materiality. Subject to and without waiver of the foregoing specific and general
objections, Plaintiff responds by pointing to SAC ¶¶ 99–111, which describe what types of
identification that are acceptable for voting in person yet are not acceptable to meet SB 1’s
onerousnew requirements for applying to vote by mail, and the types of cure processes provided
for in- person voting that are not provided for applying to vote by mail.

INTERROGATORY NO. 8: For each plaintiff, identify:
     A. All accommodations that would be necessary for you or your disabled members to
        votein compliance with SB1;
     B. Any accommodations you or your members requested or intend to request for
        theMarch 2022 primary in response to SB1;
     C. State the facts that support your contentions; and
                                               19



                                    OCA-REPLY-APPX-170
        D. Identify all documents that support your contentions.

RESPONSE: Plaintiff objects to this interrogatory as vague and undefined as to
“accommodations” and what qualifies as “in response to SB 1.” Plaintiff objects to this
interrogatory as overly broad and premature because it seeks to require Plaintiff to marshal all
of its evidence at this stage of the litigation for a large and diverse group of people with
disabilities with varying modification needs, and Plaintiff—though it has numerous members
with disabilities—does not specifically track the disability status and necessary accommodations
of itsmembers. Plaintiff further objects to the request for information about all disabled members
as overbroad and not proportional to the needs of the case. Moreover, as described in Plaintiff’
SAC,the SB 1 provisions challenged by Plaintiff inflict systemic harm on large groups of people
with disabilities and impose a chilling effect deterring those who seek to assist individuals in
voting, including Plaintiff and its members. These are not harms that can be remedied by
individual, case by case reasonable modification requests. Plaintiff reserves the right to
supplement or amend thisresponse to the extent it discovers additional or conflicting information
responsive to this Interrogatory. To the extent Plaintiff becomes aware of additional information
responsive to this Interrogatory, Plaintiff will supplement its response in accordance with the
Rules.

 INTERROGATORY NO. 9: Please identify and describe with specificity each form of
 affirmative relief which you seek from each defendant through this Lawsuit.

        RESPONSE: Plaintiff objects to this Interrogatory to the extent it requires Plaintiff to
 describe relief that may be necessary to address or prevent injuries from SB 1 that Plaintiff may
 uncover through additional investigation and discovery or may occur as SB 1 is implemented.
 Subject to and without waiver of the foregoing objections, Plaintiff responds as follows:

        Plaintiff seeks:

        1. Declaratory judgment that the State of Texas’s statutory scheme as described with
           specificity in the operative pleading violates the United States Constitution, the
           VotingRights Act, the Civil Rights Act, the ADA and Section 504;
        2. Permanent injunction against the State of Texas, the Texas Secretary of State, the
           Texas Attorney General, the Harris County District Attorney, the Travis County
           District Attorney, and other appropriate county agencies administering elections
           from enforcing the specific provisions of the Texas Election Code as amended by
           SB 1, andfrom prosecuting any individual pursuant to the criminal offenses defined
           in these provisions, if any;
        3. Attorneys’ fees to Plaintiff in accordance with 42 U.S.C. § 1988, 29 U.S.C. § 794a,
           42
           U.S.C. §12205, and/or any other applicable provision;
        4. Order that all costs of this action be taxed against Defendants; and
        5. Grant any additional or alternative relief to which the Plaintiff may be entitled.

 INTERROGATORY NO. 10: If you seek mandatory injunctive relief through this Lawsuit,
 please identify and describe with specificity, by plaintiff, each omission that you contend each
                                                20



                                     OCA-REPLY-APPX-171
Defendant should be enjoined to perform to resolve each claim you have alleged against the
Defendant in this Lawsuit.

       RESPONSE: Plaintiff objects to this Interrogatory because it requires Plaintiff to
describerelief that may be necessary to address or prevent injuries from SB 1 that Plaintiff may
uncover through additional investigation and discovery or may occur as SB 1 is implemented.

INTERROGATORY NO. 11: If you seek prohibitive injunctive relief through this Lawsuit,
please identify and describe with specificity each action that you contend each Defendant
should be enjoined from performing to resolve.

        RESPONSE: Plaintiff objects to this Interrogatory to the extent it requires Plaintiff to
describe relief that may be necessary to address or prevent injuries from SB 1 that Plaintiff may
uncover through additional investigation and discovery or may occur as SB 1 is implemented.
Plaintiff also objects to this Interrogatory as duplicative of Interrogatory No. 9. Subject to and
without waiver of the foregoing objections, Plaintiff responds as follows:

        Plaintiff seeks a permanent injunction against the State of Texas, the Texas Secretary
of State, the Texas Attorney General, the Harris County District Attorney, the Travis County
DistrictAttorney, and other appropriate county agencies administering elections from enforcing
the specific provisions of the Texas Election Code as amended by SB 1, and from prosecuting
any individual pursuant to the criminal offenses defined in these provisions.




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                                    OCA-REPLY-APPX-172
OCA-REPLY-APPX-173
                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TEXAS
                           SAN ANTONIO DIVISION

LA UNIÓN DEL PUEBLO ENTERO, et al.,§
     Plaintiff,                    §
                                   §
v.                                 §         Case No. 5:21-CV-0844-XR
                                   §
GREGORY W. ABBOTT, et al.,         §
     Defendants.                   §


                                   §
OCA-GREATER HOUSTON, et al.,       §
     Plaintiff,                    §
v.                                 §         Case No. 1:21-CV-0780-XR
                                   §
JOSE A. ESPARZA, et al.,           §
      Defendants.                  §


                                   §
HOUSTON JUSTICE, et al.,           §
    Plaintiff,                     §
v.                                 §         Case No. 5:21-CV-0848-XR
                                   §
GREGORY WAYNE ABBOTT, et al.,      §
    Defendants.                    §


                                   §
LULAC TEXAS, et al.,               §
     Plaintiff,                    §
                                   §
v.                                 §         Case No. 1:21-CV-0786-XR
                                   §
JOSE ESPARZA, et al.,              §
      Defendants.                  §




                                       1




                            OCA-REPLY-APPX-174
MI FAMILIA VOTA, et al.,                      §
     Plaintiff,                               §
                                              §
v.                                            §               Case No. 5:21-CV-0920-XR
                                              §
GREG ABBOTT, et al.,                          §
     Defendants.                              §
                                              §
UNITED STATES OF AMERICA,                     §
     Plaintiff,                               §
                                              §
v.                                            §               Case No. 5:21-CV-01085-XR
                                              §
STATE OF TEXAS, et al.,                       §
     Defendants.                              §



          PLAINTIFF LEAGUE OF WOMEN VOTERS OF TEXAS’S THIRD
        AMENDED OBJECTIONS AND RESPONSES TO STATE DEFENDANTS’
                     FIRST SET OF INTERROGATORIES

TO: Defendants Texas Secretary of State Jane Nelson and Texas Attorney General Ken Paxton
     (“State Defendants”) by and through their attorneys of record, Kathleen T. Hunker and J.
     Aaron      Barnes     via     e-mail     to     kathleen.hunker@oag.texas.gov       and
     aaron.barnes@oag.texas.gov.

       Pursuant to Federal Rule of Civil Procedure 26 and 33, Plaintiff League of Women Voters

of Texas (“LWVTX”), hereby serves the following Third Amended Objections and Responses to

State Defendants’ First Set of Interrogatories.

Dated: March 31, 2023                                  Respectfully Submitted,

                                                      By: /s/ Zachary Dolling




                                                  2




                                     OCA-REPLY-APPX-175
Zachary Dolling                AMERICAN CIVIL              (512) 454-3999 (fax)
Texas Bar No. 24105809         LIBERTIES UNION             lromano@drtx.org
Hani Mirza                     FOUNDATION                  lsnead@drtx.org
Texas Bar No. 24083512         125 Broad St., 18th Floor   phofer@drtx.org
Sarah Chen*                    New York, NY 10004
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TEXAS CIVIL RIGHTS             acepedaderieux@aclu.org     Susana Lorenzo-Giguere*
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Austin, TX 78741               dcampbell-harris@aclu.org   LEGAL DEFENSE AND
512-474-5073 (Telephone)                                   EDUCATION FUND
512-474-0726 (Facsimile)       Susan Mizner*               99 Hudson Street, 12th
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                               DISABILITY RIGHTS           GREATER HOUSTON
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Ari Savitzky*                  2222 West Braker Lane       *admitted pro hac vice
Sophia Lin Lakin*              Austin, Texas 78758-1024
Dayton Campbell-Harris         (512) 454-4816 (phone)

                                           3




                               OCA-REPLY-APPX-176
                                  CERTIFICATE OF SERVICE

       I hereby certify that on March 31, 2023, a true and correct copy of the foregoing Plaintiff

League of Women Voters of Texas’s Third Amended Objections and Responses to State

Defendants’ First Set of Interrogatories was served upon counsel of record via email or mail.

                                                               /s/   Zachary Dolling

                                  RESERVATION OF RIGHTS

       Plaintiff has responded to these interrogatories based on the information currently available

to it. Discovery, however, is not yet complete. Additional discovery and investigation may lead to

additions to, changes in, or modification of these responses. Plaintiff therefore reserves its right to

supplement, amend, revise, correct, modify, or clarify these responses as additional information

becomes available.

       Plaintiff makes its objections and responses in accordance with its interpretation and

understanding of State Defendants’ First Set of Requests for Admission, Requests for Production,

and Interrogatories (“Requests”) and in accordance with its current knowledge, understanding,

and belief as to the facts and information available to it at the time of serving these responses. If

State Defendants subsequently provide an interpretation of any of its Requests that differs from

Plaintiff’s understanding of the same, Plaintiff reserves its right to complete the discovery of facts

in this case and rely at trial or in any other proceeding on documents and information in addition

to the information provided herein, regardless of whether such information is newly discovered or

newly in existence. It also reserves the right to amend, revise, correct, modify, or clarify its

responses to properly respond to any interpretation State Defendants may give these Requests.


                                                   4




                                     OCA-REPLY-APPX-177
       Plaintiff reserves its right to object on any grounds, at any time, to the admission or use of

any response on any ground. Plaintiff is also willing to meet and confer about any of its objections

or responses.

                                    GENERAL OBJECTIONS

       1.       Plaintiff objects to these Requests, including the definitions and instructions, to the

extent that they seek information or documents: (i) protected by attorney client privilege, the work

product doctrine, or any other applicable privilege or immunity; (ii) not in Plaintiff’s possession,

custody, or control; and (iii) that are publicly available or already within State Defendants’

possession. Any inadvertent disclosure of privileged or protected information is not intended to

constitute a waiver of any privilege, protection, or immunity, or of any other ground for objecting.

Plaintiff reserves the right to request the return or destruction of any documents that contain any

inadvertent disclosures of privileged or protected information.

       2.       Plaintiff objects to these Requests to the extent they are duplicative when

propounded to another plaintiff in this Lawsuit, including Plaintiffs outside of the OCA-Greater

Houston, et al. Plaintiff group. To the extent that Plaintiff agrees to produce a document that is

responsive to multiple Requests duplicated across multiple Plaintiffs, Plaintiff will only produce

such documents once.

       3.       Plaintiff objects to the definitions of “Plaintiff,” “you,” and “your” as overly broad,

unduly burdensome, and disproportionate to the needs of this case, to the extent that they define

each party as including “any representative acting or purporting to act on its behalf, including but

not limited to employees, attorneys, consultants, agents, and any other representative,” which

includes individuals unknown to Plaintiff. Plaintiff further objects to this definition because the
                                                 5




                                     OCA-REPLY-APPX-178
terms “representative” and “agents” are vague and call for legal conclusions. Plaintiff further

objects to this definition to the extent that including “attorneys” calls for the disclosure of

information subject to the attorney-client privilege, work product doctrine, or other applicable

privilege or doctrine.

       4.      Plaintiff objects to the definition of “documents” as overly broad and as expanding

the scope of discovery to include materials that are not within Plaintiff’s possession, custody, and

control, and imposing burdens that are not proportional to the needs of this case.

       5.      Plaintiff objects to the definition of “identify” when referring to:

               a.        A person, to the extent that it expands the scope of discovery to include

                         materials and information that are not within Plaintiff’s possession, custody,

                         and control, and imposes burdens that are not proportional to the needs of

                         this case, such as email addresses and contact information that are not within

                         Plaintiff’s possession.

               b.        An organization, to the extent that it expands the scope of discovery to

                         include materials and information that are not within Plaintiff’s possession,

                         custody and control, and imposes burdens that are not proportional to the

                         needs of this case, such as email addresses and contact information that are

                         not within Plaintiff’s possession.

               c.        A document, to the extent that it expands the scope of discovery to include

                         materials and information that are not within Plaintiff’s possession, custody,

                         and control and imposes burdens that are not proportional to the needs of

                         this case.
                                                    6




                                      OCA-REPLY-APPX-179
               d.      A statement or communication, to the extent that it expands the scope of

                       discovery to include materials and information that are not within Plaintiff’s

                       possession, custody, and control; imposes burdens that are not proportional

                       to the needs of this case; and is vague, such as knowledge of all persons

                       “present” when the statement or communication was “made.”

               e.      A social media account, to the extent that it expands the scope of discovery

                       to include materials and information that are not within Plaintiff’s

                       possession, custody, and control; imposes burdens that are not proportional

                       to the needs of this case; and is vague, such as knowledge of all persons who

                       “have access to” an account.

       6.      Plaintiff objects to the definition of “regarding,” “relating to,” and “pertaining to”

as overbroad and unduly burdensome to the extent that these definitions expand the scope of

discovery in a manner that is not proportional to the needs of the case.

       7.      Plaintiff objects to State Defendants’ Requests to the extent that they improperly

call for legal conclusions or legal arguments.

       8.      Plaintiff objects to State Defendants’ Requests to the extent that they contain

incorrect or disputed factual assumptions or legal conclusions and do not by virtue of its response,

objection, or production of documents admit the underlying assumption or conclusion.

       9.      Plaintiff objects to State Defendants’ Requests to the extent that they require the

production of confidential business, proprietary, or trade secret information, or personal

information concerning persons who are not parties to this litigation, to the extent this confidential

information would not be covered by the protective order entered in this case.
                                                  7




                                     OCA-REPLY-APPX-180
           10.     Plaintiff objects to State Defendants’ Requests to the extent that certain ones do not

    specify a time period. These are overbroad, burdensome, and vague.

           11.     Plaintiff objects to State Defendants’ Requests, including the Definitions and

    Instructions contained therein, to the extent they are inconsistent with or seek to impose duties or

    require performance of acts broader in scope than those required by the Federal Rules of Civil

    Procedure, the Local Rules of the U.S. District Court for the Western District of Texas, and any

    other applicable rules, law or governing orders.

           12.     Plaintiff objects to the Requests to the extent they seek information prohibited from

    disclosure by law, rules, or protective orders.

           13.     These General Objections are incorporated into each of the specific responses and

    objections set forth below. No specific response or objection herein shall constitute a waiver, in

    whole or in part, of any of the foregoing General Objections. Plaintiff reserves the right at any time

    to revise, correct, supplement, or clarify the objections or responses set forth herein and any

    production made pursuant thereto.

           PLAINTIFF’S OBJECTIONS AND RESPONSES TO INTERROGATORIES

    INTERROGATORY NO. 1: Identify each Texas Election Code provision that Senate Bill 1
    amended and that you are challenging by the relevant section number of each Texas Election Code
    provision.

           RESPONSE: Plaintiff is challenging the following provisions in the Texas Election Code
    that were amended by Senate Bill 1 (“SB 1”): 1

1
  In its Second Amended Complaint Plaintiff challenged SB 1 § 6.04 (amending Tex. Election Code §
64.034). The district court, in its order largely denying State Defendants’ motion to dismiss Plaintiff’s
claims, held that a modified injunction in a different case, OCA-Greater Houston v. Texas, 1:15-cv-
679-RP, 2022 WL 2019295 (W.D. Tex. June 6, 2022), mooted Plaintiff’s Section 6.04 claims against
State Defendants. See Dkt. 448 at 33 & n.18. Plaintiff has amended its interrogatory answers to reflect
this.
                                                     8




                                         OCA-REPLY-APPX-181
        1. SB 1 § 5.02: Amends Tex. Election Code § 84.002
        2. SB 1 § 5.03: Amended Tex. Election Code § 84.011(a)
        3. SB 1 § 5.06: Amended Tex. Election Code § 84.035
        4. SB 1 § 5.07: Amends Tex. Election Code § 86.001
        5. SB 1 § 5.08: Amends Tex. Election Code § 86.002
        6. SB 1 § 5.10: Amends Tex. Election Code § 86.015(c)
        7. SB 1 § 5.12: Adds Tex. Election Code § 87.0271
        8. SB 1 § 5.13: Amends Tex. Election Code § 87.041
        9. SB 1 § 5.14: Adds Tex. Election Code § 87.0411
        10. SB 1 § 6.06: Amends Tex. Election Code § 86.0105
        11. SB 1 § 7.04: Adds Tex. Election Code §§ 276.015, 276.016, 276.017, 276.018, and
            276.019

INTERROGATORY NO. 2: If you contend that you have been injured by any of the Texas
Election Code provisions identified in Interrogatory No. 1, for each plaintiff:

        A.      State the facts that support your contention; and
        B.      Identify all documents that support your contentions.

        RESPONSE: Plaintiff objects to this blockbuster interrogatory because it seeks to require
Plaintiff to marshal all its evidence at this stage in the litigation. Plaintiff will produce all witnesses
and documents it relies upon to support its claims in this lawsuit according to the Amended
Scheduling Order, the Federal Rules of Civil Procedure, and Federal Rules of Evidence. Plaintiff
interprets this interrogatory as asking only whether Plaintiff as an organization has been injured,
since Interrogatory No. 3 asks about Plaintiff’s members. Further as noted below, Plaintiff lists
specific injuries in its response to Interrogatory No. 4—which Plaintiff hereby incorporates in
response to Interrogatory No. 2. Plaintiff reserves the right to supplement or amend this response
to the extent it discovers additional or conflicting information responsive to this Interrogatory. To
the extent Plaintiff becomes aware of additional information responsive to this Interrogatory,
Plaintiff will supplement its response in accordance with the Rules. Accordingly, subject to and
without waiver of the foregoing specific and general objections, Plaintiff responds as follows:
        A. In its Second Amended Complaint (“SAC”) (Dkt. 200), Plaintiff offers detailed facts
             supporting its contention that it will be injured by the challenged Texas Election Code
             provisions. SB 1 takes particular aim at voters with disabilities and voters with limited
             English proficiency—who, in Texas, are also overwhelmingly voters of color—and
             the organizations (including Plaintiff here) that represent, assist, and support these
             voters. Plaintiff promotes civic participation among its constituents and empowers
             them to vote through voter education and other initiatives. Plaintiff has been and will
             be forced to alter its voter education and volunteer training programs in light of the
             changes made to the Texas Election Code by SB 1. Namely, it must divert resources
             toward educating and helping staff, volunteers, and voters navigate those provisions’
             new burdensome restrictions on mail-in voting and voter assistance, and the criminal
                                                     9




                                       OCA-REPLY-APPX-182
and civil penalties associated with those provisions.

Before SB 1, to successfully apply to vote by mail, voters were required to fill out a
robust application that included identifying information such as name, address, and
date of birth. The voters certified that the information given in the application was true
and affirmed its understanding that giving false information is a crime. To receive a
vote-by-mail application, a voter must also have previously registered to vote, which
again required the voter to provide a robust amount of personal information that
county voter registrars use to determine the voter’s eligibility. SB 1 needlessly added
immaterial burdens to the process of voting by mail. Pursuant to Sections 5.02, 5.03,
5.06, 5.07, 5.08, 5.10, and 5.12 of SB 1, voters must additionally provide the number
on either their Texas driver’s license, Texas election identification certificate, or Texas
personal ID card on their mail-in ballot applications and on the ballot carrier envelopes
used to return their ballot. SB 1 provides that if the voter has not been issued one of
these numbers by the State of Texas, the voter may instead provide the last four digits
of its Social Security number. If the voter has not been issued any of these numbers
by the State of Texas or the Social Security Administration, the voter may sign a
statement indicating that they have never been issued one of these numbers. Since the
SAC was filed, county elections offices across the state have reported high rejection
rates of mail-in ballot applications and ballots for the March 2022 primary and
November 2022 general election due to the difficulty for voters to comply with these
new immaterial ID number requirements. Plaintiff has already been injured and will
continue to suffer injury due to these provisions because it has diverted and will
continue to divert resources toward educating and helping staff, volunteers, and voters
navigate those provisions’ new burdensome restrictions on mail-in voting. Plaintiff
will also need to divert staff to answer questions from voters who do not understand
the new burdensome requirements. Additionally, Plaintiff will need to divert resources
to inform individuals who have a driver’s license number or Social Security number
but are unable to access it, that unless they can find that number they will be unable to
vote by mail, and helping individuals to either recall or locate identification numbers.
The diversion of resources required to guide members through complying with and
having their mail-in application accepted and ballot counted pursuant to the burdensome
new identification requirements will decrease the amount of time and resources that
Plaintiff can spend conducting educational outreach to and answering questions from
other voters about participating in the voting process and advancing its other
organizational goals. This diversion of resources would not be necessary in the absence
of SB 1. Plaintiff lists additional specific injuries in SAC ¶¶ 117–118 and its response
to Interrogatory No. 4.

Before SB 1, voters had a right to select an assistant of their choice and to have
assistance in all aspects of the voting process, free of encumbrance by state laws
that impose restrictions on the selection of those assistants or the specific types of
assistance that may be provided by them. SB 1 Section 6.06 creates a strict liability,

                                       10




                          OCA-REPLY-APPX-183
           state jail felony that criminalizes the provision of assistance by anyone who
           “solicits, receives, or accepts compensation” for assisting a voter with their mail-
           in ballot. Plaintiff lists specific injuries in SAC ¶¶ 167–168 and its response to
           Interrogatory No. 4.

           Before SB 1, the Texas Elections Code already prohibited improper influencing or
           electioneering. Section 7.04 of SB 1 goes much further to criminalize paid ballot
           collection services and paid interactions with voters in the presence of an official
           ballot, which the bill derogatorily labels as “vote harvesting,” creating a third-
           degree felony. Section 7.04 imposes criminal and civil penalties on any person who
           gives or receives some “compensation or other benefit” for “knowingly provid[ing]
           or offer[ing] to provide vote harvesting services,” defined as any “in-person
           interaction with one or more voters, in the physical presence of”” and “directly
           involving” any “official ballot or a ballot voted by mail,” which are “intended” “to
           deliver votes for [or against] a specific candidate or measure.” This provision is
           substantially overbroad and vague, infringing on Plaintiff’s core political speech
           and subjecting Plaintiff to potential arbitrary and/or selective prosecution without
           prior notice of precisely what activities are illegal, as well as possible civil claims
           by candidates. Plaintiff lists specific injuries in SAC ¶¶ 208 and its response to
           Interrogatory No. 4.

       B. Subject to the foregoing objections and those indicated in the Response to Requests
          for Production, Plaintiff produced documents responsive to this request on April
          14, 2022, April 22, 2022, May 13, 2022, September 13, 2022, and February 7,
          2023—see Plaintiffs’ Response to Request for Production No. 2.

INTERROGATORY NO. 3: If you contend that your members have been injured by any of the
Texas Election Code provisions identified in Interrogatory No. 1, for each plaintiff:

       A. State the facts that support your contention, including the identity of each
          injured member upon whom your standing is based; and
       B. Identify all documents that support your contentions.

       RESPONSE: Plaintiff objects to this blockbuster interrogatory as broad and unduly
burdensome because it demands that Plaintiff marshal all of its evidence with regard to
associational standing at this stage of the litigation. Plaintiff will produce all witnesses and
documents it relies upon to support its claims in this lawsuit according to the Amended
Scheduling Order, the Federal Rules of Civil Procedure, and Federal Rules of Evidence. Plaintiff
additionally objects to this interrogatory as overbroad and imposing burdens not proportional to
the needs of the case by seeking the identities of and documents relating to all members, rather
than only identities and documents relating to members sufficient to support standing. Plaintiff
does not maintain membership records that necessarily include information relating to disability
or language access, nor does it monitor the election-related volunteer activities of members
                                                 11




                                    OCA-REPLY-APPX-184
outside of Plaintiff-organized events. It is also unnecessarily burdensome and invasive to
produce the identities of every injured member and every document related to those members
without any time limitation. Nor is such individualized proof required to support associational
standing. Indeed, requiring Plaintiff to produce proof of every injured member would turn the
notion of associational standing on its head. Plaintiff reserves the right to supplement or amend
this response to the extent it discovers additional or conflicting information responsive to this
Interrogatory. Accordingly, subject to and without waiver of the foregoing specific and general
objections, Plaintiff responds as follows:

       A. LWVTX has approximately 3,050 members across Texas. A large number of these
          members participate in LWVTX’s election-related programs, such as registering
          people to vote, participating in get out the vote (“GOTV”) events, canvassing or
          “doorknocking,” serving as election workers, assisting individual voters, and hosting
          nonpartisan issue or candidate forums.

           In 2020, LWVTX surveyed its members and determined that hundreds of its members
           chose to vote by mail due to age or disability. LWVTX has members who have been
           or will be harmed by SB1’s provisions requiring an application for ballot by mail or
           mail-in ballot to be automatically rejected when a voter omits their ID number or
           makes a mistake in entering their ID number. Some of these members are disabled.

           LWVTX also has members who will be harmed by SB 1’s drastic illegal restrictions
           on the right to select an assistant of their choice and have assistance when voting by
           mail. LWVTX has members who need assistance either due to disability or limited
           English proficiency and who have used assistants when voting in the past. In every
           election, the League encourages all of their members, including members with
           disabilities and limited English proficiency to vote.

           While the following is not an exhaustive list of injured members, LWVTX contends the
           following members have been injured by the Texas Election Code provisions identified in
           Interrogatory No. 1:

           Pam Gaskin: Ms. Gaskin is a League member. She is approximately 74 years old and
           lives in Missouri City. In the March 2022 primary election, she filled out her vote by
           mail application with her driver’s license number. Her application was rejected
           because her voter registration file included only her social security number. She had
           to submit a new application with her social security number.
           Madeleine Appel: Ms. Appel is a League member. She is approximately 85 years old
           and lives in Travis County. In the March 2022 primary election, her ballot to vote by
           mail was rejected, despite listing both her driver’s license number and her social
           security number. She was told the identification number she listed did not match the
           number she used to register to vote. She submitted a second mail in ballot, but was
           unable to verify whether the ballot was received and counted.
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                                    OCA-REPLY-APPX-185
Janet Eickmeyer: Ms. Eickmeyer is a League member. She is approximately 75 years
old and lives in Richardson. In the March 2022 primary election, her application to
vote by mail was rejected twice. She used her social security number on her first
application to vote by mail, but it was rejected because it did not match the number in
her voter file. She applied again with both her driver’s license and social security
number. This was also rejected. She had to call the Dallas County Clerk’s office, who
confirmed the rejection, but then approved the application without any explanation.
The Dallas County Clerk’s office stated that her ballot had been counted, but the
Secretary of State’s website stated that no voter could be found when she tried to input
her information.
Jeannie Lewis: Ms. Lewis is a League member. She is approximately 80 years old,
lives in San Marcos, and has a disability. Her application to vote by mail was rejected.
When she applied for a mail in ballot before the 2022 primary election, she used her
driver’s license number. The application was rejected because the identification
number did not match the number on file. In order to correct this, Ms. Lewis had to
re-register to vote with her driver’s license number. Subsequently, her mail in ballot
was rejected because she did not write her identification number on the envelope flap.
Because it was rejected close to the election, she had to go in person to correct the
ballot.
Julie Espinoza: Ms. Espinoza is a League member who has a disability. She is a
juvenile rheumatoid arthritis wheelchair user. She needs an assistant to vote in person
but is concerned that anyone who assists her could be accused of violating SB 1, so
she no longer wants to vote in person. Although she attempted to begin the process to
apply to vote by mail, she ultimately did not vote in the March 2022 primary election.
Lorena Maher: Ms. Maher is a member of the League of Women Voters of Texas and
is a person with a disability. She resides in Pasadena, Texas, and votes by mail. Her
disability makes it difficult for her to read and write her identification numbers when
voting by mail due to limited vision and decreased motor function. She was eligible
to, and did, vote by mail during the November 2022 general election.
Patricia Buck: Ms. Buck is a member of the League of Women Voters of Texas and
is a person with diabetes. She is 70 years old and resides in Harris County. In 2022,
she wanted to start voting by mail because she and her husband have difficulty
standing for a long time, including at polling locations. However, she was deterred
from voting by mail because of concerns about rejection rates and privacy concerns
related to the new identification requirements. As a result, she voted in person during
the 2022 March primary and November general elections.
Milan Suarez: Ms. Suarez is a member of the League of Women Voters of Texas. She
is a college student attending school in the State of Washington; she maintains her
residency in Harris County and accordingly votes by mail in Texas elections. In the
November 2022 general election, the Harris County Elections Administrator mailed

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            a notice to her Washington mailing address that her application to vote by mail was
            rejected because there was no acceptable identification number associated with her
            voter registration file. Subsequently, and after some delay, the Harris County
            Elections Administrator mailed her ballot to her Harris County residence address,
            which her family then forwarded to her. She is unsure whether her ballot was
            ultimately received on time or counted.

        A. Subject to the foregoing objections and those indicated in the Response to Requests
           for Production, Plaintiff produced documents responsive to this request on April
           14, 2022, April 22, 2022, May 13, 2022, September 13, 2022, and February 7,
           2023—see Plaintiffs’ Response to Request for Production No. 2.

INTERROGATORY NO. 4: If you contend that you have to divert time, money, and resources
from other activities because of the passage of Senate Bill 1, for each plaintiff:
        A. Identify the time, money, and resources that you have diverted or anticipate diverting
            in response to SB1;
        B. Identify all specific projects that you had or will have to put on hold or otherwise
            curtail in response to SB1;
        C. State the facts that support your contention that you have and will divert time,
            money, and resources in response to Senate Bill 1, including an explanation of how
            the projects and expenditures identified in Interrogatories Nos. 3.A and 3.B differ
            from your routine activities; and
        D. Identify all documents that support your contentions.

         RESPONSE: Plaintiff objects to this blockbuster interrogatory as broad and unduly
 burdensome because it demands that Plaintiff marshal all of its evidence with regard to
 organizational standing at this stage of the litigation. Plaintiff will produce all witnesses and
 documents it relies upon to support its claims in this lawsuit according to the Amended
 Scheduling Order, the Federal Rules of Civil Procedure, and Federal Rules of Evidence.
 Plaintiff objects to this interrogatory as vague and undefined as to “other activities” and what
 qualifies as “in response to SB 1.” Plaintiff further objects to this interrogatory to the extent it
 seeks to impose injury requirements not required by law, such as the cancellation of specific
 projects. Plaintiff reserves the right to supplement or amend this response to the extent it
 discovers additional or conflicting information responsive to this Interrogatory. Plaintiff also
 objects that Interrogatory 4.C requests information about projects and expenditures identified
 in Interrogatories 3.A and 3.B, but Interrogatories 3.A and 3.B do not ask about projects or
 expenditures. Plaintiff further objects that Interrogatory 4.C requests information that is
 duplicative of Interrogatories 4.A and 4.B. Accordingly, subject to and without waiver of the
 foregoing specific and general objections, Plaintiff responds as follows:

        A. LWVTX has expended time, money, and resources in combating SB 1’s passage, as
           well as combatting the passage of SB 1’s predecessor bills from the regular session—
           SB 7 and HB 6. LWV members attended public testimony trainings, recruited other
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                                      OCA-REPLY-APPX-187
testifiers, testified at public hearings of the Texas House and Senate, wrote letters and
op-eds against SB 1 and its predecessors, organized email writing campaigns, and
organized a rally defending the right to vote.

Since SB 1 went into effect on December 2, 2021, LWVTX has had to devote
significant personnel time and resources into helping members and the public
navigate SB 1’s new provisions. Starting on approximately November 1, 2021,
LWVTX’s President, Grace Chimene, had to devote significant time to SB 1. Grace
Chimene’s term as LWVTX President ended in 2022. The subsequent LWVTX
President, Joyce LeBombard, has also had to devote significant time to addressing
the effects of SB1. Two other LWVTX Board members and the LWVTX Voting
Rights Issue Chair have also spent the majority of their time addressing the challenges
that SB 1 presents to voters and elections, and other paid staff have also devoted time
to SB 1. In particular, the LWVTX President and other LWVTX volunteers have had
to spend their dedicated time on educating LWVTX members and the public about
SB 1’s new requirements and restrictions. For example, the LWVTX President has
had to: create social media posts and YouTube about mail-in ballot applications and
voting by mail processes affected by SB 1; put together PowerPoint presentations
regarding the ways the vote by mail process has changed as a result of SB 1; host
webinars about voting by mail in light of SB 1 and SB 1’s provisions as a whole;
review county websites to ensure that the voter information is updated as required by
SB 1; answer members’ questions about SB 1’s driver’s license/ social security
number requirements for applying to vote by mail; brief local leagues on the effects of
SB 1; host webinars with other organizations about voting by mail and SB 1 as a
whole; and advocate for the Texas Legislature to repeal SB1. Doing all of this has
taken significant time and often multiple attempts. For example, the initial educational
video that the LWVTX assembled in light of SB 1 just reflected what SB 1 itself
contained. However, after receiving belated guidance from the Secretary of State
instructing that it would be more prudent to include both a driver’s license number
and a social security number on the application to vote by mail, the LWVTX had to
make changes to the educational materials, website information, tips for voters
materials, and graphics.

As part of her commitment to educating the public, the LWVTX President has also
devoted significant time to speaking to the media about the confusion caused by the
new voting restrictions and requirements imposed by SB 1. Coordinating these
interviews, preparing for them, and participating in them has taken a significant
amount of personnel time.

Beyond personnel time, LWVTX’s response to SB 1 has also caused it to expend
financial resources. As a result of all of the turmoil caused by SB 1’s passage and the
amount of the President’s time it has consumed, the LWVTX’s board of directors
approved $46,000 to hire a brand new communications staff member and $10,000 to

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                         OCA-REPLY-APPX-188
           pay for recruitment and orientation. This communications staff member would not
           have been needed if the President had not had to respond to SB 1, since the President
           has historically handled LWVTX’s communications efforts. Additionally, LWVTX
           has had to expend financial resources on producing materials reflecting changes in
           the law related to SB 1, including the voters’ guide.

       B. As a result of SB 1, LWVTX has had to significantly scale back its Get Out the Vote
          (GOTV) efforts. Rather than focusing on designing and disseminating materials on
          topics such as encouraging friends and family to vote, supporting college students in
          voting, finding one’s polling place, and voting dates, LWVTX has had to focus on
          designing and disseminating materials regarding challenges with the vote-by-mail
          process as a result of SB 1 and other restrictions related to SB 1. Additionally,
          LWVTX has been forced to reduce its outreach to young voters, including
          encouraging voter registration at high schools, because they have had to focus on
          voters more likely to be affected by the challenged provisions of SB 1. LWVTX
          volunteers now spend significant portions of their time explaining to members and
          the public how to navigate the new vote by mail application process and teaching
          them how to use the Track My Ballot page in addition to answering questions about
          other provisions of SB 1, including the new rules surrounding assistants.

           Further, the time expended to challenge and educate the public about SB 1 caused
           LWVTX to table a planned study to assess the impact of election administration and
           technology, including voting by mail and cybersecurity measures. Given the intensity
           of discourse during the extended 2021 legislative season around SB 1, and the final
           massive changes to the Texas Election Code, the resources for the study were diverted
           to responding to widespread requests for detailed information during the legislative
           sessions and addressing the impact of SB 1 once it went into effect.

       C. Plaintiff’s Response to Interrogatories 4.A and 4.B identify the projects and
          expenditures Plaintiff must undertake in response to SB 1 that differ from its normal
          activities and those responses are incorporated herein.

       D. Subject to the foregoing objections and those indicated in the Response to Requests
          for Production, Plaintiff produced documents responsive to this request on April 14,
          2022, April 22, 2022, May 13, 2022, September 13, 2022, and February 7, 2023—
          see Plaintiffs’ Response to Request for Production No. 2.

INTERROGATORY NO. 5: If you contend that the passage of SB1 frustrates your mission,
for each plaintiff:
          A. Explain how each provision makes your activities more difficult; and
          B. Identify all documents that support your contentions.

       RESPONSE: Plaintiff objects to this interrogatory as cumulative and duplicative of
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                                   OCA-REPLY-APPX-189
Interrogatory No. 4. Plaintiff reserves the right to supplement or amend this response to the
extent it discovers additional or conflicting information responsive to this Interrogatory. To the
extent Plaintiff becomes aware of additional information responsive to this Interrogatory,
Plaintiff will supplement its response in accordance with the Rules. Accordingly, subject to and
without waiver of the foregoing specific and general objections, Plaintiff responds as follows:

        A. LWVTX is a nonpartisan, grassroots civic organization that encourages informed
           and active participation in government, works to increase understanding of major
           public policy issues, and influences public policy through education and advocacy,
           including by empowering voters and defending democracy by expanding voter
           registration, increasing voter turnout, and providing voter education. Plaintiff lists
           ways in which SB 1 has made carrying out its mission more difficult in its responses
           to Interrogatories No. 2, 3, and 4.

        B. Subject to the foregoing objections and those indicated in the Response to Requests
           for Production, Plaintiff produced documents responsive to this request on April
           14, 2022, April 22, 2022, May 13, 2022, September 13, 2022, and February 7,
           2023—see Plaintiffs’ Response to Request for Production No. 2.

INTERROGATORY NO. 6: If you contend that SB1 targets “many of the precise methods
that local election authorities and community groups used to make voting easier and more
accessible to traditionally marginalized voters,” as described in ECF 200 ¶ 2, for each plaintiff:

       A. Identify the “precise methods” that “local election authorities” used to make voting
          easier and more accessible;
       B. Identify the “local election authorities” that used these “precise methods;”
       C. Identify how these “precise methods” made “voting easier and more accessible to
          traditionally marginalized voters;” and
       D. Identify all documents that support your contentions.

        RESPONSE: Subject to and without waiver of the foregoing specific and general
objections, Plaintiff responds as follows:

       A. The “precise methods” used by “local election authorities” that make voting easier
          and more accessible that are at issue in this suit are: (1) voting by mail, particularly
          for the elderly and people with disabilities; and (2) permitting assistance with mail-
          in ballots.
       B. The referenced sentence refers to county election officials generally, not any
          specific county election official.
       C. Subject to and without waiver of its objections, Plaintiff points to SAC ¶ 4, which
          refers to voters with disabilities, voters with limited English proficiency, and voters
          of color. In Plaintiff’s experience assisting voters and monitoring elections,
          these voters are traditionally marginalized in Texas. Plaintiff believes that
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                                    OCA-REPLY-APPX-190
           permitting assistance with mail-in ballots makes it easier for voters with disabilities,
           voters with limited English proficiency, and voters of color to vote.
        D. Subject to the foregoing objections and those indicated in the Response to Requests
           for Production, Plaintiff produced documents responsive to this request on April
           14, 2022, April 22, 2022, May 13, 2022, September 13, 2022, and February 7,
           2023—see Plaintiffs’ Response to Request for Production No. 2.

 INTERROGATORY NO. 7: If you contend that SB1 “adds immaterial burdens to the process of
 applying to and actually voting by mail,” as described in ECF 200 ¶ 99, for each plaintiff:

         A. Identify the “immaterial burdens” added;
         B. Explain how these burdens are immaterial; and
         C. Identify all documents that support your contentions.

         RESPONSE: Plaintiff objects to this interrogatory on the ground that it calls for a legal
 conclusion as to materiality. Subject to and without waiver of the foregoing specific and general
 objections, Plaintiff responds by pointing to SAC ¶¶ 99–111, which describe what types of
 identification that are acceptable for voting in person yet are not acceptable to meet SB 1’s
 onerous new requirements for applying to vote by mail, and the types of cure processes provided
 for in- person voting that are not provided for applying to vote by mail.

 INTERROGATORY NO. 8: For each plaintiff, identify:
      A. All accommodations that would be necessary for you or your disabled members to
         vote in compliance with SB1;
      B. Any accommodations you or your members requested or intend to request for
         the March 2022 primary in response to SB1;
      C. State the facts that support your contentions; and
      D. Identify all documents that support your contentions.

RESPONSE: Plaintiff objects to this interrogatory as vague and undefined as to
“accommodations” and what qualifies as “in response to SB 1.” Plaintiff objects to this
interrogatory as overly broad and premature because it seeks to require Plaintiff to marshal all
of its evidence at this stage of the litigation for a large and diverse group of people with
disabilities with varying modification needs, and Plaintiff—though it has numerous members
with disabilities—does not specifically track the disability status and necessary accommodations
of its members. Plaintiff further objects to the request for information about all disabled members
as overbroad and not proportional to the needs of the case. Moreover, as described in Plaintiff’
SAC, the SB 1 provisions challenged by Plaintiff inflict systemic harm on large groups of people
with disabilities and impose a chilling effect deterring those who seek to assist individuals in
voting, including Plaintiff and its members. These are not harms that can be remedied by
individual, case by case reasonable modification requests. Plaintiff reserves the right to
supplement or amend this response to the extent it discovers additional or conflicting information
responsive to this Interrogatory. To the extent Plaintiff becomes aware of additional information
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                                     OCA-REPLY-APPX-191
responsive to this Interrogatory, Plaintiff will supplement its response in accordance with the
Rules.

 INTERROGATORY NO. 9: Please identify and describe with specificity each form of
 affirmative relief which you seek from each defendant through this Lawsuit.

        RESPONSE: Plaintiff objects to this Interrogatory to the extent it requires Plaintiff to
 describe relief that may be necessary to address or prevent injuries from SB 1 that Plaintiff may
 uncover through additional investigation and discovery or may occur as SB 1 is implemented.
 Subject to and without waiver of the foregoing objections, Plaintiff responds as follows:

        Plaintiff seeks:

        1. Declaratory judgment that the State of Texas’s statutory scheme as described with
           specificity in the operative pleading violates the United States Constitution, the
           Voting Rights Act, the Civil Rights Act, the ADA and Section 504;
        2. Permanent injunction against the State of Texas, the Texas Secretary of State, the
           Texas Attorney General, the Harris County District Attorney, the Travis County
           District Attorney, and other appropriate county agencies administering elections
           from enforcing the specific provisions of the Texas Election Code as amended by
           SB 1, and from prosecuting any individual pursuant to the criminal offenses defined
           in these provisions, if any;
        3. Attorneys’ fees to Plaintiff in accordance with 42 U.S.C. § 1988, 29 U.S.C. § 794a,
           42 U.S.C. §12205, and/or any other applicable provision;
        4. Order that all costs of this action be taxed against Defendants; and
        5. Grant any additional or alternative relief to which the Plaintiff may be entitled.

       INTERROGATORY NO. 10: If you seek mandatory injunctive relief through this Lawsuit,
please identify and describe with specificity, by plaintiff, each omission that you contend each
Defendant should be enjoined to perform to resolve each claim you have alleged against the
Defendant in this Lawsuit.

         RESPONSE: Plaintiff objects to this Interrogatory because it requires Plaintiff to describe
relief that may be necessary to address or prevent injuries from SB 1 that Plaintiff may uncover
through additional investigation and discovery or may occur as SB 1 is implemented. Subject to and
without waiver of the foregoing objection, Plaintiff responds as follows:

        Plaintiff seeks mandatory injunctive relief against the Texas Secretary of State requiring it
to (a) issue guidance that SB 1’s ID provisions for mail-in applications and ballots are no longer
required; (b) issue guidance that lack of an ID number or an ID-number mismatch on an application
to vote by mail or a ballot is not grounds for rejecting the application or ballot; (c) prescribe the
design and content of the forms necessary for elections that no longer contain the mail-in ballot ID
provisions; (d) prescribe the design and content of the application to vote by mail and mail-in

                                                 19




                                     OCA-REPLY-APPX-192
envelope that no longer contain the ID provisions; and/or (e) issue guidance to all county election
administrators or equivalent county officials that waiving the ID requirements is a reasonable
accommodation that may be granted for persons with disabilities. Plaintiff additionally seeks
mandatory injunctive relief requiring the Texas Secretary of State to widely publicize any such
guidance or changes in the operation of the law.

        Plaintiff likewise seeks mandatory injunctive relief against the Travis County Clerk and the
Harris County Elections Administrator requiring them to (a) use forms for mail-in applications and
ballots that do not request ID numbers; (b) follow the Texas Secretary of State’s guidance that SB
1’s ID provisions for mail-in applications and ballots are no longer required and that lack of ID
number or mismatch of ID number are not grounds to reject an application to vote by mail or ballot
by mail; (d) widely publicize that the ID requirements for mail-in applications and ballots are no
longer valid; and/or (e) grant requests to waive the ID requirements as a reasonable accommodation
for persons with disabilities.

 INTERROGATORY NO. 11: If you seek prohibitive injunctive relief through this Lawsuit,
 please identify and describe with specificity each action that you contend each Defendant
 should be enjoined from performing to resolve.

         RESPONSE: Plaintiff objects to this Interrogatory to the extent it requires Plaintiff to
 describe relief that may be necessary to address or prevent injuries from SB 1 that Plaintiff may
 uncover through additional investigation and discovery or may occur as SB 1 is implemented.
 Plaintiff also objects to this Interrogatory as duplicative of Interrogatory No. 9. Subject to and
 without waiver of the foregoing objections, Plaintiff responds as follows:

         Plaintiff seeks a permanent injunction against the State of Texas, the Texas Secretary
 of State, the Texas Attorney General, the Harris County District Attorney, the Travis County
 District Attorney, and other appropriate county agencies administering elections from enforcing
 the specific provisions of the Texas Election Code as amended by SB 1, and from prosecuting
 any individual pursuant to the criminal offenses defined in these provisions.




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                                     OCA-REPLY-APPX-193
OCA-REPLY-APPX-194
Exhibit 11




 OCA-REPLY-APPX-195
                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TEXAS
                          SAN ANTONIO DIVISION

LA UNIÓN DEL PUEBLO ENTERO, et al.,§
     Plaintiff,                    §
                                   §
v.                                 §        Case No. 5:21-CV-0844-XR
                                   §
GREGORY W. ABBOTT, et al.,         §
     Defendants.                   §
                                   §
OCA-GREATER HOUSTON, et al.,       §
     Plaintiff,                    §
v.                                 §        Case No. 1:21-CV-0780-XR
                                   §
JOSE A. ESPARZA, et al.,           §
      Defendants.                  §
                                   §
HOUSTON JUSTICE, et al.,           §
    Plaintiff,                     §
v.                                 §        Case No. 5:21-CV-0848-XR
                                   §
GREGORY WAYNE ABBOTT, et al.,      §
    Defendants.                    §
                                   §
LULAC TEXAS, et al.,               §
     Plaintiff,                    §
                                   §
v.                                 §        Case No. 1:21-CV-0786-XR
                                   §
JOSE ESPARZA, et al.,              §
      Defendants.                  §




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                           OCA-REPLY-APPX-196
MI FAMILIA VOTA, et al.,                    §
     Plaintiff,                             §
                                            §
v.                                          §              Case No. 5:21-CV-0920-XR
                                            §
GREG ABBOTT, et al.,                        §
     Defendants.                            §
                                            §
UNITED STATES OF AMERICA,                   §
     Plaintiff,                             §
                                            §
v.                                          §              Case No. 5:21-CV-01085-XR
                                            §
STATE OF TEXAS, et al.,                     §
     Defendants.                            §



      PLAINTIFF REVUP TEXAS’ AMENDED OBJECTIONS AND RESPONSES TO
            STATE DEFENDANTS’ FIRST SET Of INTERROGATORIES

TO:     Defendants Texas Secretary of State John Scott and Texas Attorney General Ken Paxton
        (“State Defendants”) by and through its attorneys of record Patrick K. Sweeten, William
        T. Thompson, Eric A. Hudson, Kathleen T. Hunker, Leif A. Olson, Jeffrey M. White, and
        Jack B. DiSorbo, via e-mail to patrick.sweeten@oag.texas.gov.

        Pursuant to Federal Rules of Civil Procedure 33, 34, and 36, Plaintiff REVUP-Texas

(“REVUP”) hereby serves the following Amended Objections and Responses to State Defendants’

First Set of Interrogatories.

Dated: April 5, 2022                                Respectfully Submitted,

                                                    /s/ _Sarah Chen
                                                    Mimi M.D. Marziani
                                                    Texas Bar No. 24091906
                                                    Hani Mirza




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                                   OCA-REPLY-APPX-197
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            Texas Bar No. 24105809
            Sarah Chen*
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OCA-REPLY-APPX-198
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OCA-REPLY-APPX-199
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                                                     Urja Mittal*
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                                                     COUNSEL FOR PLAINTIFF

                                                     *admitted pro hac vice

                                CERTIFICATE OF SERVICE

       I hereby certify that on the 5th day of April, 2022, a true and correct copy of the foregoing

Plaintiff REVUP-Texas’ Amended Objections and Responses to State Defendants’ First Set of

Interrogatories was served upon counsel of record via email or mail.

                                                             /s/   Sarah Chen




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                                    OCA-REPLY-APPX-200
                                  RESERVATION OF RIGHTS

       Plaintiff has responded to these interrogatories based on the information currently available

to it. Discovery, however, is not yet complete. Additional discovery and investigation may lead to

additions to, changes in, or modification of these responses. Plaintiff therefore reserves its right to

supplement, amend, revise, correct, modify, or clarify these responses as additional information

becomes available.

       Plaintiff makes its objections and responses in accordance with its interpretation and

understanding of State Defendants’ First Set of Requests for Admission, Requests for Production,

and Interrogatories (“Requests”) and in accordance with its current knowledge, understanding,

and belief as to the facts and information available to it at the time of serving these responses. If

State Defendants subsequently provide an interpretation of any of its Requests that differs from

Plaintiff’s understanding of the same, Plaintiff reserves its right to complete the discovery of facts

in this case and rely at trial or in any other proceeding on documents and information in addition

to the information provided herein, regardless of whether such information is newly discovered or

newly in existence. It also reserves the right to amend, revise, correct, modify, or clarify its

responses to properly respond to any interpretation State Defendants may give these Requests.

       Plaintiff reserves its right to object on any grounds, at any time, to the admission or use of

any response on any ground. Plaintiff is also willing to meet and confer about any of its objections

or responses.




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                                     OCA-REPLY-APPX-201
                                   GENERAL OBJECTIONS

       1.      Plaintiff objects to these Requests, including the definitions and instructions, to the

extent that they seek information or documents: (i) protected by attorney client privilege, the work

product doctrine, or any other applicable privilege or immunity; (ii) not in Plaintiff’s possession,

custody, or control; and (iii) that are publicly available or already within State Defendants’

possession. Any inadvertent disclosure of privileged or protected information is not intended to

constitute a waiver of any privilege, protection, or immunity, or of any other ground for objecting.

Plaintiff reserves the right to request the return or destruction of any documents that contain any

inadvertent disclosures of privileged or protected information.

       2.      Plaintiff objects to these Requests to the extent they are duplicative when

propounded to another plaintiff in this Lawsuit, including Plaintiffs outside of the OCA-Greater

Houston, et al. Plaintiff group. To the extent that Plaintiff agrees to produce a document that is

responsive to multiple Requests duplicated across multiple Plaintiffs, Plaintiff will only produce

such documents once.

       3.      Plaintiff objects to the definitions of “Plaintiff,” “you,” and “your” as overly broad,

unduly burdensome, and disproportionate to the needs of this case, to the extent that they define

each party as including “any representative acting or purporting to act on its behalf, including but

not limited to employees, attorneys, consultants, agents, and any other representative,” which

includes individuals unknown to Plaintiff. Plaintiff further objects to this definition because the




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                                    OCA-REPLY-APPX-202
terms “representative” and “agents” are vague and call for legal conclusions. Plaintiff further

objects to this definition to the extent that including “attorneys” calls for the disclosure of

information subject to the attorney-client privilege, work product doctrine, or other applicable

privilege or doctrine.

       4.      Plaintiff objects to the definition of “documents” as overly broad and as expanding

the scope of discovery to include materials that are not within Plaintiff’s possession, custody, and

control, and imposing burdens that are not proportional to the needs of this case.

       5.      Plaintiff objects to the definition of “identify” when referring to:

               a.        A person, to the extent that it expands the scope of discovery to include

                         materials and information that are not within Plaintiff’s possession, custody,

                         and control, and imposes burdens that are not proportional to the needs of

                         this case, such as email addresses and contact information that are not within

                         Plaintiff’s possession.

               b.        An organization, to the extent that it expands the scope of discovery to

                         include materials and information that are not within Plaintiff’s possession,

                         custody and control, and imposes burdens that are not proportional to the

                         needs of this case, such as email addresses and contact information that are

                         not within Plaintiff’s possession.

               c.        A document, to the extent that it expands the scope of discovery to include




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                                      OCA-REPLY-APPX-203
                       materials and information that are not within Plaintiff’s possession, custody,

                       and control and imposes burdens that are not proportional to the needs of

                       this case.

               d.      A statement or communication, to the extent that it expands the scope of

                       discovery to include materials and information that are not within Plaintiff’s

                       possession, custody, and control; imposes burdens that are not proportional

                       to the needs of this case; and is vague, such as knowledge of all persons

                       “present” when the statement or communication was “made.”

               e.      A social media account, to the extent that it expands the scope of discovery

                       to include materials and information that are not within Plaintiff’s

                       possession, custody, and control; imposes burdens that are not proportional

                       to the needs of this case; and is vague, such as knowledge of all persons

                       who “have access to” an account.

       6.      Plaintiff objects to the definition of “regarding,” “relating to,” and “pertaining to”

as overbroad and unduly burdensome to the extent that these definitions expand the scope of

discovery in a manner that is not proportional to the needs of the case.

       7.      Plaintiff objects to State Defendants’ Requests to the extent that they improperly

call for legal conclusions or legal arguments.

       8.      Plaintiff objects to State Defendants’ Requests to the extent that they contain




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                                    OCA-REPLY-APPX-204
incorrect or disputed factual assumptions or legal conclusions and do not by virtue of its response,

objection, or production of documents admit the underlying assumption or conclusion.

       9.      Plaintiff objects to State Defendants’ Requests to the extent that they require the

production of confidential business, proprietary, or trade secret information, or personal

information concerning persons who are not parties to this litigation, to the extent this confidential

information would not be covered by the protective order entered in this case.

       10.     Plaintiff objects to State Defendants’ Requests to the extent that certain ones do not

specify a time period. These are overbroad, burdensome, and vague.

       11.     Plaintiff objects to State Defendants’ Requests, including the Definitions and

Instructions contained therein, to the extent they are inconsistent with or seek to impose duties or

require performance of acts broader in scope than those required by the Federal Rules of Civil

Procedure, the Local Rules of the U.S. District Court for the Western District of Texas, and any

other applicable rules, law or governing orders.

       12.     Plaintiff objects to the Requests to the extent they seek information prohibited from

disclosure by law, rules, or protective orders.

       13.     These General Objections are incorporated into each of the specific responses and

objections set forth below. No specific response or objection herein shall constitute a waiver, in

whole or in part, of any of the foregoing General Objections. Plaintiff reserves the right at any time

to revise, correct, supplement, or clarify the objections or responses set forth herein and any

production made pursuant thereto.




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                                     OCA-REPLY-APPX-205
       PLAINTIFF’S OBJECTIONS AND RESPONSES TO INTERROGATORIES

INTERROGATORY NO. 1: Identify each Texas Election Code provision that Senate Bill 1
amended and that you are challenging by the relevant section number of each Texas Election Code
provision.

       RESPONSE: Plaintiff is challenging the following provisions in the Texas Election Code
that were amended by Senate Bill 1 (“SB 1”):
       1. SB 1 § 5.02: Amends Tex. Election Code § 84.002
       2. SB 1 § 5.03: Amended Tex. Election Code § 84.011(a)
       3. SB 1 § 5.06: Amended Tex. Election Code § 84.035
       4. SB 1 § 5.07: Amends Tex. Election Code § 86.001
       5. SB 1 § 5.08: Amends Tex. Election Code § 86.002
       6. SB 1 § 5.10: Amends Tex. Election Code § 86.015(c)
       7. SB 1 § 5.12: Adds Tex. Election Code § 87.0271
       8. SB 1 § 5.13: Amends Tex. Election Code § 87.041
       9. SB 1 § 5.14: Adds Tex. Election Code § 87.0411
       10. SB 1 § 6.04: Amends Tex. Election Code § 64.034
       11. SB 1 § 6.06: Amends Tex. Election Code § 86.0105

INTERROGATORY NO. 2: If you contend that you have been injured by any of the Texas
Election Code provisions identified in Interrogatory No. 1, for each plaintiff:
       A.     State the facts that support your contention; and
       B.     Identify all documents that support your contentions.

        RESPONSE: Plaintiff objects to this blockbuster interrogatory because it seeks to require
Plaintiff to marshal all its evidence at this stage in the litigation. Plaintiff will produce all witnesses
and documents it relies upon to support its claims in this lawsuit according to the Amended
Scheduling Order, the Federal Rules of Civil Procedure, and Federal Rules of Evidence. Plaintiff
interprets this interrogatory as asking only whether Plaintiff as an organization has been injured,
since Interrogatory No. 3 asks about Plaintiff’s members. Further as noted below, Plaintiff lists
specific injuries in its response to Interrogatory No. 4—which Plaintiff hereby incorporates in
response to Interrogatory No. 2. Plaintiff reserves the right to supplement or amend this response
to the extent it discovers additional or conflicting information responsive to this Interrogatory. To
the extent Plaintiff becomes aware of additional information responsive to this Interrogatory,
Plaintiff will supplement its response in accordance with the Rules. Accordingly, subject to and
without waiver of the foregoing specific and general objections, Plaintiff responds as follows:




                                                    11

                                       OCA-REPLY-APPX-206
A. In its Second Amended Complaint (“SAC”) (Dkt. 200), Plaintiff offers detailed facts
   supporting its contention that it will be injured by the challenged Texas Election Code
   provisions. SB 1 takes particular aim at voters with disabilities and voters with limited
   English proficiency—who, in Texas, are also overwhelmingly voters of color—and
   the organizations (including Plaintiff here) that represent, assist, and support these
   voters. Plaintiff promotes civic participation among its constituents and empowers
   them to vote through voter education and other initiatives. Plaintiff has been and will
   be forced to alter its voter education and volunteer training programs in light of the
   changes made to the Texas Election Code by SB 1. Namely, it must divert resources
   toward educating and helping staff, volunteers, and voters navigate those provisions’
   new burdensome restrictions on mail-in voting and voter assistance, and the criminal
   and civil penalties associated with those provisions.

   Before SB 1, to successfully apply to vote by mail, voters were required to fill out a
   robust application that included identifying information such as name, address, and
   date of birth. The voters certified that the information given in the application was
   true and affirmed its understanding that giving false information is a crime. To receive
   a vote-by-mail application, a voter must also have previously registered to vote, which
   again required the voter to provide a robust amount of personal information that
   county voter registrars use to determine the voter’s eligibility. SB 1 needlessly added
   immaterial burdens to the process of voting by mail. Pursuant to Sections 5.02, 5.03,
   5.06, 5.07, 5.10, and 5.12 of SB 1, voters must additionally provide the number on
   either their Texas driver’s license, Texas election identification certificate, or Texas
   personal ID card on their mail-in ballot applications and on the ballot carrier envelopes
   used to return their ballot. SB 1 provides that if the voter has not been issued one of
   these numbers by the State of Texas, the voter may instead provide the last four digits
   of its Social Security number. If the voter has not been issued any of these numbers
   by the State of Texas or the Social Security Administration, the voter may sign a
   statement indicating that they have never been issued one of these numbers. Since the
   SAC was filed, county elections offices across the state have reported high rejection
   rates of mail-in ballot applications for the March 2022 primary due to the difficulty
   for voters to comply with these new immaterial ID number requirements. Plaintiff has
   already been injured and will continue to suffer injury due to these provisions because
   they have diverted and will continue to divert resources toward educating and helping
   staff, volunteers, and voters navigate those provisions’ new burdensome restrictions
   on mail-in voting. Plaintiff will also need to divert staffing to answer questions from
   voters who do not understand the new burdensome requirements. Additionally,
   Plaintiff will need to divert resources to inform individuals who have a driver’s license




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                             OCA-REPLY-APPX-207
   number or Social Security number but are unable to access it, that unless they can find
   that number they will be unable to vote by mail, and helping individuals to either recall
   or locate identification numbers. The diversion of resources required to guide
   members through complying with and having their mail-in ballot counted pursuant to
   the burdensome new identification requirements will decrease the amount of time and
   resources that Plaintiff can spend conducting educational outreach to and answering
   questions from other voters about participating in the voting process and advancing
   its other organizational goals. This diversion of resources would not be necessary in
   the absence of SB 1. Plaintiff lists additional specific injuries in SAC ¶¶ 119 and its
   response to Interrogatory No. 4.

   Before SB 1, voters had a right to select an assistant of their choice and to have
   assistance in all aspects of the voting process, free of encumbrance by state laws that
   impose restrictions on the selection of those assistants or the specific types of
   assistance that may be provided by them. SB 1 Section 6.04 adds a requirement that
   voter assistants swear under penalty of perjury that “I will confine my assistance to
   reading the ballot to the voter, directing the voter to read the ballot, marking the voter’s
   ballot, or directing the voter to mark the ballot” and no longer allows assistants to
   answer a voter’s questions, help the voter navigate the polling place, or provide any
   other type of assistance that might be necessary for individuals with disabilities or
   with limited English proficiency. Plaintiff lists examples of additional specific types
   of assistance needed in SAC ¶¶ 154–160. In addition, SB 1 Section 6.06 creates a
   strict liability, state jail felony that criminalizes the provision of assistance by anyone
   who “solicits, receives, or accepts compensation” for assisting a voter with its mail-in
   ballot. Plaintiff lists specific injuries in SAC ¶¶ 166 and its response to Interrogatory
   No. 4.

   Before SB 1, the Texas Elections Code already prohibited improper influencing or
   electioneering. Section 7.04 of SB 1 goes much further to criminalize paid ballot
   collection services and paid interactions with voters in the presence of an official
   ballot, which the bill derogatorily labels as “vote harvesting,” creating a third-degree
   felony. Section 7.04 imposes criminal and civil penalties on any person who gives or
   receives some “compensation or other benefit” for “knowingly provid[ing] or
   offer[ing] to provide vote harvesting services,” defined as any “in-person interaction
   with one or more voters, in the physical presence of”” and “directly involving” any
   “official ballot or a ballot voted by mail,” which are “intended” “to deliver votes for
   [or against] a specific candidate or measure.” This provision is substantially overbroad
   and vague, infringing on Plaintiff’s core political speech and subjecting Plaintiff to
   potential arbitrary and/or selective prosecution without prior notice of precisely what
   activities are illegal, as well as possible civil claims by candidates. Plaintiff lists
   specific injuries in SAC ¶¶ 208–210 and its response to Interrogatory No. 4.

B. Subject to the foregoing objections and those indicated in the Response to Requests
   for Production, Plaintiff produced documents responsive to this request on April 4,
   2022—see Plaintiffs’ Response to Request for Production No. 2.



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                             OCA-REPLY-APPX-208
INTERROGATORY NO. 3: If you contend that your members have been injured by any of the
Texas Election Code provisions identified in Interrogatory No. 1, for each plaintiff:
       A. State the facts that support your contention, including the identity of each injured
          member upon whom your standing is based; and
       B. Identify all documents that support your contentions.

        RESPONSE: Plaintiff objects to this blockbuster interrogatory as broad and unduly
burdensome because it demands that Plaintiff marshal all of its evidence with regard to
associational standing at this stage of the litigation. Plaintiff will produce all witnesses and
documents it relies upon to support its claims in this lawsuit according to the Amended Scheduling
Order, the Federal Rules of Civil Procedure, and Federal Rules of Evidence. Plaintiff additionally
objects to this interrogatory as overbroad and imposing burdens not proportional to the needs of
the case by seeking the identities of and documents relating to all members, rather than only
identities and documents relating to members sufficient to support standing. Plaintiff does not
maintain membership records that necessarily include information relating to disability or
language access, nor does it monitor the election-related volunteer activities of members outside
of Plaintiff-organized events. It is also unnecessarily burdensome and invasive to produce the
identities of every injured member and every document related to those members without any time
limitation. Nor is such individualized proof required to support associational standing. Indeed,
requiring Plaintiff to produce proof of every injured member would turn the notion of associational
standing on its head. Plaintiff reserves the right to supplement or amend this response to the extent
it discovers additional or conflicting information responsive to this Interrogatory. Accordingly,
subject to and without waiver of the foregoing specific and general objections, Plaintiff responds
as follows:

   A. REVUP has at approximately 500 members, who are primarily individuals with disabilities
      and are eligible to vote by mail and eligible to receive assistance while voting. Some of
      REVUP's members also serve as assistants to persons needing assistance to vote due to a
      disability. REVUP members with disabilities participate in and help guide the direction of
      the organization's efforts. These members have been or will be injured by the Texas
      Election Code provisions identified in Interrogatory No 1 because these provisions burden
      and limit people who provide necessary assistance to voters, which in turn will unduly
      burden REVUP members who cannot vote without such assistance. In addition, REVUP
      members have been or will be injured by the Texas Election Code provisions identified in
      Interrogatory No 1 because these provisions burden and limit the ability to vote by mail by
      requiring identification information that members either do not have access to or cannot
      correctly provide thereby eliminating the option to vote by mail for these members. For
      some REVUP members, voting by mail is the only way they are able to vote. Plaintiffs'
      Second Amended Complaint details three examples of REVUP members who have been
      or will be injured by the Texas Election Code provisions identified in Interrogatory No 1.
      SAC ¶¶ 169–173.

   B. Subject to the foregoing objections and those indicated in the Response to Requests for
      Production, Plaintiff produced documents responsive to this request on April 5, 2022—
      see Plaintiffs’ Response to Request for Production No. 2.



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                                     OCA-REPLY-APPX-209
INTERROGATORY NO. 4: If you contend that you have to divert time, money, and resources
from other activities because of the passage of Senate Bill 1, for each plaintiff:
       A. Identify the time, money, and resources that you have diverted or anticipate diverting
           in response to SB1;
       B. Identify all specific projects that you had or will have to put on hold or otherwise curtail
           in response to SB1;
       C. State the facts that support your contention that you have and will divert time, money,
           and resources in response to Senate Bill 1, including an explanation of how the projects
           and expenditures identified in Interrogatories Nos. 3.A and 3.B differ from your routine
           activities; and
       D. Identify all documents that support your contentions.

         RESPONSE: Plaintiff objects to this blockbuster interrogatory as broad and unduly
burdensome because it demands that Plaintiff marshal all of its evidence with regard to
organizational standing at this stage of the litigation. Plaintiff will produce all witnesses and
documents it relies upon to support its claims in this lawsuit according to the Amended Scheduling
Order, the Federal Rules of Civil Procedure, and Federal Rules of Evidence. Plaintiff objects to
this interrogatory as vague and undefined as to “other activities” and what qualifies as “in response
to SB 1.” Plaintiff further objects to this interrogatory to the extent it seeks to impose injury
requirements not required by law, such as the cancellation of specific projects. Plaintiff reserves
the right to supplement or amend this response to the extent it discovers additional or conflicting
information responsive to this Interrogatory. Plaintiff also objects that Interrogatory 4.C requests
information about projects and expenditures identified in Interrogatories 3.A and 3.B, but
Interrogatories 3.A and 3.B do not ask about projects or expenditures. Plaintiff further objects that
Interrogatory 4.C requests information that is duplicative of Interrogatories 4.A and 4.B.
Accordingly, subject to and without waiver of the foregoing specific and general objections,
Plaintiff responds as follows:

   A. REVUP has expended time, money, and resources in combating SB 1's passage. REVUP's
      members attended public testimony trainings, recruited other testifiers, testified at public
      hearings of the Texas House and Senate, wrote letters against SB 1, organized email writing
      campaigns, and attended a rally defending the right to vote.

       Since SB 1 went into effect on December 2, 2021, REVUP has had to devote significant
       time and resources to educate members and the public to navigate SB 1's new provisions.
       Starting on approximately November 1, 2021, Bob Kafka, REVUP’s coordinator, has had to
       devote the vast majority of his time to SB 1. In particular, Mr. Kafka and at least five other
       REVUP volunteers have had to work a significant amount of time on educating REVUP
       members and the public about SB 1's new requirements and restrictions. For example,
       REVUP volunteers have had to spend time: creating a podcast regarding changes and
       barriers in SB 1, updating the REVUP website to reflect the changes of SB 1, creating social
       media posts about SB 1, answering media inquiries about the impact of SB 1 on voters with
       disabilities, answering questions from members and the public about the mail-in ballot
       identification requirements and the restrictions on assistance, referring members to
       additional legal resources regarding their SB 1 questions, drafting and sending out
       information about the identification issues and application to vote by mail and ballot
       rejection, and doing media outreach and PSAs to get out the vote (“GOTV”) to combat the

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                                     OCA-REPLY-APPX-210
        barriers created by SB 1. Doing all of this took significant time and took away from the time
        Mr. Kafka could devote to the organization's mission.

        Because of REVUP's reputation as a disability advocacy organization, Mr. Kafka has also
        devoted significant time to receiving media requests and speaking to the media about the
        confusion caused by the restrictions and requirements imposed by SB 1. Coordinating these
        interviews, preparing for them, and participating in them has taken a significant amount of
        time.

        Beyond volunteer time, REVUP's response to SB 1 has also caused it expend financial
        resources. REVUP has had to expend financial resources on paying its webmaster to update
        its website and paying for American Sign Language interpreters for its SB 1 podcast and
        trainings.

    B. As a result of SB 1, REVUP has had to significantly scale back its voter registration and
       GOTV efforts. Rather than focusing on designing and disseminating materials on topics
       impacting people with disabilities, REVUP has had to focus on designing and disseminating
       materials regarding challenges with the vote-by-mail process as a result of SB 1 and the
       assistance provision. REVUP is a nonpartisan organization whose mission it is to register
       voters with disabilities, to encourage them to get educated on the issues, and to vote. REVUP
       has had to scale back on these efforts in order to focus on SB 1. Further, the time required
       to challenge and educate the public about SB 1 has also caused Rev Up to slow down and
       shrink the planning for a previously planned project called the Texas Disability Issues
       Forum.

    C. Plaintiff’s Response to Interrogatories 4.A and 4.B identify the projects and expenditures
       Plaintiff must undertake in response to SB 1 that differ from its normal activities and those
       responses are incorporated herein.

    D. Subject to the foregoing objections and those indicated in the Response to Requests for
       Production, Plaintiff produced documents responsive to this request on April 5, 2022—
       see Plaintiffs’ Response to Request for Production No. 2.


INTERROGATORY NO. 5: If you contend that the passage of SB1 frustrates your mission, for
each plaintiff:
         A. Explain how each provision makes your activities more difficult; and
         B. Identify all documents that support your contentions.

         RESPONSE: Plaintiff objects to this interrogatory as cumulative and duplicative of
 Interrogatory No. 4. Plaintiff reserves the right to supplement or amend this response to the extent
 it discovers additional or conflicting information responsive to this Interrogatory. To the extent
 Plaintiff becomes aware of additional information responsive to this Interrogatory, Plaintiff will
 supplement its response in accordance with the Rules. Accordingly, subject to and without waiver
 of the foregoing specific and general objections, Plaintiff responds as follows:

        A. The mission of REVUP is to conduct outreach, educate, and disseminate information to
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                                     OCA-REPLY-APPX-211
           people with disabilities, family members, supporters, professionals, the general public,
           and policymakers on issues affecting the integration of people with disabilities of all
           ages into every aspect of community living, including by increasing voter turnout in the
           disability community and advancing political change. Plaintiff lists ways in which SB 1
           has made carrying out its mission more difficult in its responses to Interrogatories No.
           2, 3, and 4.

       B. Subject to the foregoing objections and those indicated in the Response to Requests
          for Production, Plaintiff produced documents responsive to this request on April 5,
          2022—see Plaintiffs’ Response to Request for Production No. 2.


INTERROGATORY NO. 6: If you contend that SB1 targets “many of the precise methods that
local election authorities and community groups used to make voting easier and more accessible
to traditionally marginalized voters,” as described in ECF 200 ¶ 2, for each plaintiff:
         A. Identify the “precise methods” that “local election authorities” used to make voting
            easier and more accessible;
         B. Identify the “local election authorities” that used these “precise methods;”
         C. Identify how these “precise methods” made “voting easier and more accessible to
            traditionally marginalized voters;” and
         D. Identify all documents that support your contentions.

        RESPONSE: Subject to and without waiver of the foregoing specific and general
objections, Plaintiff responds as follows:

       A. The “precise methods” used by “local election authorities” that make voting easier
          and more accessible that are at issue in this suit are: (1) voting by mail, particularly
          for the elderly and people with disabilities; (2) permitting voters to receive assistance
          at the polls, particularly for voters with a disability or who are not fluent in English;
          and (3) permitting assistance with mail-in ballots.
       B. The referenced sentence refers to county election officials generally, not any specific
          county election official.
       C. Subject to and without waiver of its objections, Plaintiff points to SAC ¶ 4, which
          refers to voters with disabilities, voters with limited English proficiency, and voters
          of color. In Plaintiff’s experience assisting voters and monitoring elections, these
          voters are traditionally marginalized in Texas. Plaintiff believes that voting by mail,
          permitting assistance at the polls, and permitting assistance with mail-in ballots makesit
          easier for voters with disabilities, voters with limited English proficiency, and votersof
          color to vote.
       D. Subject to the foregoing objections and those indicated in the Response to Requests
          for Production, Plaintiff produced documents responsive to this request on April 5,
          2022—see Plaintiffs’ Response to Request for Production No. 2.


INTERROGATORY NO. 7: If you contend that SB1 “adds immaterial burdens to the process of
applying to and actually voting by mail,” as described in ECF 200 ¶ 99, for each plaintiff:
       A. Identify the “immaterial burdens” added;

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                                    OCA-REPLY-APPX-212
       B. Explain how these burdens are immaterial; and
       C Identify all documents that support your contentions.

        RESPONSE: Plaintiff objects to this interrogatory on the ground that it calls for a legal
conclusion as to materiality. Subject to and without waiver of the foregoing specific and general
objections, Plaintiff responds by pointing to SAC ¶¶ 99–111, which describe what types of
identification that are acceptable for voting in person yet are not acceptable to meet SB 1’s onerous
new requirements for applying to vote by mail, and the types of cure processes provided for in-
person voting that are not provided for applying to vote by mail.

INTERROGATORY NO. 8: For each plaintiff, identify:
     A. All accommodations that would be necessary for you or your disabled members to vote
        in compliance with SB1;
     B. Any accommodations you or your members requested or intend to request for the
        March 2022 primary in response to SB1;
     C. State the facts that support your contentions; and
     D. Identify all documents that support your contentions.




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                                     OCA-REPLY-APPX-213
        RESPONSE: Plaintiff objects to this interrogatory as vague and undefined as to
“accommodations” and what qualifies as “in response to SB 1.” Plaintiff objects to this
interrogatory as overly broad and premature because it seeks to require Plaintiff to marshal all
of its evidence at this stage of the litigation for a large and diverse group of people with
disabilities with varying modification needs, and Plaintiff—though it has numerous members
with disabilities—does not specifically track the disability status and necessary
accommodations of itsmembers. Plaintiff further objects to the request for information about
all disabled members as overbroad and not proportional to the needs of the case. Moreover, as
described in Plaintiff’ SAC,the SB 1 provisions challenged by Plaintiff inflict systemic harm
on large groups of people with disabilities and impose a chilling effect deterring those who seek
to assist individuals in voting, including Plaintiff and its members. These are not harms that can
be remedied by individual, caseby case reasonable modification requests. Plaintiff reserves the
right to supplement or amend thisresponse to the extent it discovers additional or conflicting
information responsive to this Interrogatory. To the extent Plaintiff becomes aware of
additional information responsive to this Interrogatory, Plaintiff will supplement its response
in accordance with the Rules.

INTERROGATORY NO. 9: Please identify and describe with specificity each form of
affirmative relief which you seek from each defendant through this Lawsuit.

       RESPONSE: Plaintiff objects to this Interrogatory to the extent it requires Plaintiff to
describe relief that may be necessary to address or prevent injuries from SB 1 that Plaintiff may
uncover through additional investigation and discovery or may occur as SB 1 is implemented.
Subject to and without waiver of the foregoing objections, Plaintiff responds as follows:

       Plaintiff seeks:

       1. Declaratory judgment that the State of Texas’s statutory scheme as described with
          specificity in the operative pleading violates the United States Constitution, the
          VotingRights Act, the Civil Rights Act, the ADA and Section 504;
       2. Permanent injunction against the State of Texas, the Texas Secretary of State, the
          Texas Attorney General, the Harris County District Attorney, the Travis County
          District Attorney, and other appropriate county agencies administering elections
          from enforcing the specific provisions of the Texas Election Code as amended by
          SB 1, andfrom prosecuting any individual pursuant to the criminal offenses defined
          in these provisions, if any;
       3. Attorneys’ fees to Plaintiff in accordance with 42 U.S.C. § 1988, 29 U.S.C. § 794a,
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          U.S.C. §12205, and/or any other applicable provision;
       4. Order that all costs of this action be taxed against Defendants; and
       5. Grant any additional or alternative relief to which the Plaintiff may be entitled.




INTERROGATORY NO. 10: If you seek mandatory injunctive relief through this Lawsuit,
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                                    OCA-REPLY-APPX-214
please identify and describe with specificity, by plaintiff, each omission that you contend each
Defendant should be enjoined to perform to resolve each claim you have alleged against the
Defendant in this Lawsuit.

       RESPONSE: Plaintiff objects to this Interrogatory because it requires Plaintiff to
describerelief that may be necessary to address or prevent injuries from SB 1 that Plaintiff may
uncover through additional investigation and discovery or may occur as SB 1 is implemented.

INTERROGATORY NO. 11: If you seek prohibitive injunctive relief through this Lawsuit,
please identify and describe with specificity each action that you contend each Defendant
should be enjoined from performing to resolve.

        RESPONSE: Plaintiff objects to this Interrogatory to the extent it requires Plaintiff to
describe relief that may be necessary to address or prevent injuries from SB 1 that Plaintiff may
uncover through additional investigation and discovery or may occur as SB 1 is implemented.
Plaintiff also objects to this Interrogatory as duplicative of Interrogatory No. 9. Subject to and
without waiver of the foregoing objections, Plaintiff responds as follows:

        Plaintiff seeks a permanent injunction against the State of Texas, the Texas Secretary
of State, the Texas Attorney General, the Harris County District Attorney, the Travis County
DistrictAttorney, and other appropriate county agencies administering elections from enforcing
the specific provisions of the Texas Election Code as amended by SB 1, and from prosecuting
any individual pursuant to the criminal offenses defined in these provisions.




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                                    OCA-REPLY-APPX-215
OCA-REPLY-APPX-216
                            IN THE UNITED STATES DISTRICT
                           COURT FOR THE WESTERN DISTRICT
                            OF TEXAS SAN ANTONIO DIVISION

LA UNIÓN DEL PUEBLO ENTERO, et al.,     §
Plaintiff,                              §
                                        §
v.                                      §           Case No. 5:21-CV-0844-XR
                                        §
GREGORY W. ABBOTT, et al.,              §
Defendants.                             §


                                        §
OCA-GREATER HOUSTON, et al.,            §
Plaintiff,                              §
                                        §
v.                                      §   Case No. 1:21-CV-0780-XR
                                        §
JOSE A. ESPARZA, et al.,                §
Defendants.                             §


                                        §
HOUSTON JUSTICE, et al.,                §
Plaintiff,                              §
                                        §
v.                                      §           Case No. 5:21-CV-0848-XR
                                        §
GREGORY WAYNE ABBOTT, et al.,           §
Defendants.                             §


                                        §
LULAC TEXAS, et al.,                    §
Plaintiff,                              §
                                        §
v.                                      §   Case No. 1:21-CV-0786-XR
                                        §
JOSE ESPARZA, et al.,                   §
Defendants.                             §


                                        §
MI FAMILIA VOTA, et al.,                §
Plaintiff,                              §
                                        §



                              OCA-REPLY-APPX-217
v.                                                §   Case No. 5:21-CV-0920-XR
                                                  §
GREG ABBOTT, et al.,                              §
Defendants.                                       §


UNITED STATES OF AMERICA,                         §
Plaintiff,                                        §
                                                  §
v.                                                §   Case No. 5:21-CV-01085-XR
                                                  §
STATE OF TEXAS, et al.,                           §
Defendants.                                       §

PLAINTIFF REVUP TEXAS’ THIRD AMENDED OBJECTIONS AND RESPONSES TO
         STATE DEFENDANTS’ FIRST SET OF INTERROGATORIES

 TO: Defendants Texas Secretary of State Jane Nelson and Texas Attorney General Ken
       Paxton (“State Defendants”) by and through their attorneys of record, Kathleen
       T. Hunker and J. Aaron Barnes via e-mail to kathleen.hunker@oag.texas.gov and
       aaron.barnes@oag.texas.gov.

       Pursuant to Federal Rules of Civil Procedure 26 and 33, Plaintiff REVUP-Texas

(“REVUP”) hereby serves the following Second Amended Objections and Responses to

State Defendants’ First Set of Interrogatories.


Dated: March 31, 2023

                                                      Respectfully Submitted,

                                                      /s/ _Zachary Dolling




                                          2
                                  OCA-REPLY-APPX-218
Zachary Dolling                     New York, NY 10004        lsnead@drtx.org
Texas Bar No. 24105809              (212) 284-7334            phofer@drtx.org
Hani Mirza                          acepedaderieux@aclu.org
Texas Bar No. 24083512              asavitzky@aclu.org        Jerry Vattamala*
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TEXAS CIVIL RIGHTS PROJECT                                    ASIAN AMERICAN
1405 Montopolis Drive               Susan Mizner*             LEGAL DEFENSE AND
Austin, TX 78741                    AMERICAN CIVIL            EDUCATION FUND
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schen@texascivilrightsproject.org   (415) 343-0781 (phone)    (212) 966 4303 (fax)
                                    smizner@aclu.org          jvattamala@aaldef.org
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Savannah Kumar                      FOUNDATION                Jessica Ring Amunson*
                                           th
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Ashley Harris                       Washington, DC 20005      JENNER & BLOCK LLP
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                                    09777275                  gwashington@jenner.com
Adriel I. Cepeda Derieux*           DISABILITY RIGHTS
Ari Savitzky*                       TEXAS                     COUNSEL FOR OCA-
Sophia Lin Lakin*                   2222 West Braker Lane     GREATER HOUSTON
Dayton Campbell-Harris              Austin, Texas 78758-1024 PLAINTIFFS.
AMERICAN CIVIL LIBERTIES            (512) 454-4816 (phone)    *admitted pro hac vice
UNION FOUNDATION                    (512) 454-3999 (fax)
125 Broad St., 18th Floor           lromano@drtx.org




                                        3
                                OCA-REPLY-APPX-219
                                CERTIFICATE OF SERVICE

       I hereby certify that on March 31, 2023, a true and correct copy of the foregoing Plaintiff

REVUP-Texas’ Third Amended Objections and Responses to State Defendants’ First Set of

Interrogatories was served upon counsel of record via email or mail.


                                                              /s/ Zachary Dolling


                                RESERVATION OF RIGHTS

       Plaintiff has responded to these interrogatories based on the information currently

available to it. Discovery, however, is not yet complete. Additional discovery and investigation

may lead to additions to, changes in, or modification of these responses. Plaintiff, therefore,

reserves its right to supplement, amend, revise, correct, modify, or clarify these responses as

additional information becomes available.

       Plaintiff makes its objections and responses in accordance with its interpretation and

understanding of State Defendants’ First Set of Requests for Admission, Requests for Production,

and Interrogatories (“Requests”) and in accordance with its current knowledge, understanding,

and belief as to the facts and information available to it at the time of serving these responses.

If State Defendants subsequently provide an interpretation of any of its Requests that differs

from Plaintiff’s understanding of the same, Plaintiff reserves its right to complete the discovery

of facts in this case and rely at trial or in any other proceeding on documents and information

in addition to the information provided herein, regardless of whether such information is newly

discovered or newly in existence. It also reserves the right to amend, revise, correct, modify,

or clarify its responses to properly respond to any interpretation State Defendants may give

these Requests.




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                                   OCA-REPLY-APPX-220
       Plaintiff reserves its right to object on any grounds, at any time, to the admission or use

of any response on any ground. Plaintiff is also willing to meet and confer about any of its

objections or responses.


                                  GENERAL OBJECTIONS

       1.      Plaintiff objects to these Requests, including the definitions and instructions, to the

extent that they seek information or documents: (i) protected by attorney-client privilege, the work

product doctrine, or any other applicable privilege or immunity; (ii) not in Plaintiff’s possession,

custody, or control; and (iii) that are publicly available or already within State Defendants’

possession. Any inadvertent disclosure of privileged or protected information is not intended

to constitute a waiver of any privilege, protection, or immunity, or of any other ground for

objecting. Plaintiff reserves the right to request the return or destruction of any documents that

contain any inadvertent disclosures of privileged or protected information.

       2.      Plaintiff objects to these Requests to the extent they are duplicative when

propounded to another plaintiff in this Lawsuit, including Plaintiffs outside of the OCA-Greater

Houston, et al. Plaintiff group. To the extent that Plaintiff agrees to produce a document that

is responsive to multiple Requests duplicated across multiple Plaintiffs, Plaintiff will only

produce such documents once.

       3.      Plaintiff objects to the definitions of “Plaintiff,” “you,” and “your” as overly broad,

unduly burdensome, and disproportionate to the needs of this case, to the extent that they define

each party as including “any representative acting or purporting to act on its behalf, including but

not limited to employees, attorneys, consultants, agents, and any other representative,” which

includes individuals unknown to Plaintiff. Plaintiff further objects to this definition because the

terms “representative” and “agents” are vague and call for legal conclusions. Plaintiff further



                                            5
                                    OCA-REPLY-APPX-221
objects to this definition to the extent that including “attorneys” calls for the disclosure

of information subject to the attorney-client privilege, work product doctrine, or other

applicable privilege or doctrine.

       4.      Plaintiff objects to the definition of “documents” as overly broad and as expanding

the scope of discovery to include materials that are not within Plaintiff’s possession, custody, and

control, and imposing burdens that are not proportional to the needs of this case.

       5.      Plaintiff objects to the definition of “identify” when referring to:

                   a. A person, to the extent that it expands the scope of discovery to include

                       materials and information that are not within Plaintiff’s possession,

                       custody, and control, and imposes burdens that are not proportional to

                       the needs of this case, such as email addresses and contact information that

                       are not within Plaintiff’s possession.

                   b. An organization, to the extent that it expands the scope of discovery

                       to include materials and information that are not within Plaintiff’s

                       possession, custody and control, and imposes burdens that are not

                       proportional to the needs of this case, such as email addresses and contact

                       information that are not within Plaintiff’s possession.

                   c. A document, to the extent that it expands the scope of discovery to include

                       materials and information that are not within Plaintiff’s possession,

                       custody, and control and imposes burdens that are not proportional to

                       the needs of this case.

                   d. A statement or communication, to the extent that it expands the scope

                       of discovery to include materials and information that are not within



                                            6
                                    OCA-REPLY-APPX-222
                        Plaintiff’s possession, custody, and control; imposes burdens that are not

                        proportional to the needs of this case; and is vague, such as knowledge

                        of all persons “present” when the statement or communication was

                        “made.”

                    e. A social media account, to the extent that it expands the scope of discovery

                        to include materials and information that are not within Plaintiff’s

                        possession, custody, and control; imposes burdens that are not

                        proportional to the needs of this case; and is vague, such as knowledge

                        of all persons who “have access to” an account.

        6.      Plaintiff objects to the definition of “regarding,” “relating to,” and “pertaining to”

as overbroad and unduly burdensome to the extent that these definitions expand the scope

of discovery in a manner that is not proportional to the needs of the case.

        7.      Plaintiff objects to State Defendants’ Requests to the extent that they improperly

call for legal conclusions or legal arguments.

        8.      Plaintiff objects to State Defendants’ Requests to the extent that they contain

incorrect or disputed factual assumptions or legal conclusions and do not by virtue of its response,

objection, or production of documents admit the underlying assumption or conclusion.

        9.      Plaintiff objects to State Defendants’ Requests to the extent that they require the

production of confidential business, proprietary, or trade secret information, or personal

information concerning persons who are not parties to this litigation, to the extent this confidential

information would not be covered by the protective order entered in this case.

        10.     Plaintiff objects to State Defendants’ Requests to the extent that certain ones do not

specify a time period. These are overbroad, burdensome, and vague.




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                                     OCA-REPLY-APPX-223
           11.      Plaintiff objects to State Defendants’ Requests, including the Definitions and

    Instructions contained therein, to the extent they are inconsistent with or seek to impose duties

    or require performance of acts broader in scope than those required by the Federal Rules of

    Civil Procedure, the Local Rules of the U.S. District Court for the Western District of Texas,

    and any other applicable rules, law or governing orders.

           12.      Plaintiff objects to the Requests to the extent they seek information prohibited from

    disclosure by law, rules, or protective orders.

           13.      These General Objections are incorporated into each of the specific responses and

    objections set forth below. No specific response or objection herein shall constitute a waiver,

    in whole or in part, of any of the foregoing General Objections. Plaintiff reserves the right at any

    time to revise, correct, supplement, or clarify the objections or responses set forth herein

    and any production made pursuant thereto.

           PLAINTIFF’S OBJECTIONS AND RESPONSES TO INTERROGATORIES

            INTERROGATORY NO. 1: Identify each Texas Election Code provision that Senate
    Bill 1 amended and that you are challenging by the relevant section number of each Texas Election
    Code provision.

          RESPONSE: Plaintiff is challenging the following provisions in the Texas Election
    Code that were amended by Senate Bill 1 (“SB 1”): 1

           1.    SB 1 § 5.02: Amends Tex. Election Code § 84.002
           2.    SB 1 § 5.03: Amended Tex. Election Code § 84.011(a)
           3.    SB 1 § 5.06: Amended Tex. Election Code § 84.035
           4.    SB 1 § 5.07: Amends Tex. Election Code § 86.001
           5.    SB 1 § 5.08: Amends Tex. Election Code § 86.002
           6.    SB 1 § 5.10: Amends Tex. Election Code § 86.015(c)

1
  In its Second Amended Complaint Plaintiff challenged SB 1 § 6.04 (amending Tex. Election Code
§ 64.034). The district court, in its order largely denying State Defendants’ motion to dismiss
Plaintiff’s claims, held that a modified injunction in a different case, OCA-Greater Houston v.
Texas, 1:15-cv-679-RP, 2022 WL 2019295 (W.D. Tex. June 6, 2022), mooted Plaintiff’s Section
6.04 claims against State Defendants. See Dkt. 448 at 33 & n.18. Plaintiff has amended its
interrogatory answers to reflect this.


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                                        OCA-REPLY-APPX-224
        7. SB 1 § 5.12: Adds Tex. Election Code § 87.0271
        8. SB 1 § 5.13: Amends Tex. Election Code § 87.041
        9. SB 1 § 5.14: Adds Tex. Election Code § 87.0411
        10. SB 1 § 6.06: Amends Tex. Election Code § 86.0105

       INTERROGATORY NO. 2: If you contend that you have been injured by any of
the Texas Election Code provisions identified in Interrogatory No. 1, for each plaintiff:

            A. State the facts that support your contention; and
            B. Identify all documents that support your contentions.

        RESPONSE: Plaintiff objects to this blockbuster interrogatory because it seeks to require
Plaintiff to marshal all its evidence at this stage in the litigation. Plaintiff will produce all witnesses
and documents it relies upon to support its claims in this lawsuit according to the Amended
Scheduling Order, the Federal Rules of Civil Procedure, and Federal Rules of Evidence. Plaintiff
interprets this interrogatory as asking only whether Plaintiff as an organization has been injured,
since Interrogatory No. 3 asks about Plaintiff’s members. Further as noted below, Plaintiff lists
specific injuries in its response to Interrogatory No. 4—which Plaintiff hereby incorporates
in response to Interrogatory No. 2. Plaintiff reserves the right to supplement or amend this
response to the extent it discovers additional or conflicting information responsive to this
Interrogatory. To the extent Plaintiff becomes aware of additional information responsive to
this Interrogatory, Plaintiff will supplement its response in accordance with the Rules.
Accordingly, subject to and without waiver of the foregoing specific and general objections,
Plaintiff responds as follows:

A. In its Second Amended Complaint (“SAC”) (Dkt. 200), Plaintiff offers detailed facts
   supporting its contention that it will be injured by the challenged Texas Election Code
   provisions. SB 1 takes particular aim at voters with disabilities and voters with limited
   English proficiency—who, in Texas, are also overwhelmingly voters of color—and the
   organizations (including Plaintiff here) that represent, assist, and support these voters.
   Plaintiff promotes civic participation among its constituents and empowers them to vote
   through voter education and other initiatives. Plaintiff has been and will be forced to alter its
   voter education and volunteer training programs in light of the changes made to the Texas
   Election Code by SB 1. Namely, it must divert resources toward educating and helping
   staff, volunteers, and voters navigate those provisions’ new burdensome restrictions on
   mail-in voting and voter assistance, and the criminal and civil penalties associated with
   those provisions

   Before SB 1, to successfully apply to vote by mail, voters were required to fill out a robust
   application that included identifying information such as name, address, and date of birth.
   The voters certified that the information given in the application was true and affirmed its
   understanding that giving false information is a crime. To receive a vote-by-mail
   application, a voter must also have previously registered to vote, which again required the
   voter to provide a robust amount of personal information that county voter registrars use to
   determine the voter’s eligibility. SB 1 needlessly added immaterial burdens to the process of
   voting by mail. Pursuant to Sections 5.02, 5.03, 5.06, 5.07, 5.08, 5.10, and 5.12 of SB 1, voters
   must additionally provide the number on either their Texas driver’s license, Texas election


                                              9
                                      OCA-REPLY-APPX-225
   identification certificate, or Texas personal ID card on their mail-in ballot applications
   and on the ballot carrier envelopes used to return their ballot. SB 1 provides that if the voter
   has not been issued one of these numbers by the State of Texas, the voter may instead provide
   the last four digits of its Social Security number. If the voter has not been issued any of
   these numbers by the State of Texas or the Social Security Administration, the voter may
   sign a statement indicating that they have never been issued one of these numbers. Since the
   SAC was filed, county elections offices across the state have reported high rejection rates
   of mail-in ballot applications and ballots for the March 2022 primary and November 2022
   general election due to the difficulty for voters to comply with these new immaterial ID
   number requirements. Plaintiff has already been injured and will continue to suffer
   injury due to these provisions because it has diverted and will continue to divert resources
   toward educating and helping staff, volunteers, and voters navigate those provisions’ new
   burdensome restrictions on mail-in voting. Plaintiff will also need to divert staff to answer
   questions from voters who do not understand the new burdensome requirements.
   Additionally, Plaintiff will need to divert resources to inform individuals who have a driver’s
   license number or Social Security number but are unable to access it, that unless they can
   find that number they will be unable to vote by mail, and helping individuals to either
   recall or locate identification numbers. The diversion of resources required to guide
   members through complying with and having their mail-in application accepted and ballot
   counted pursuant to the burdensome new identification requirements will decrease the
   amount of time and resources that Plaintiff can spend conducting educational outreach to and
   answering questions from other voters about participating in the voting process and
   advancing its other organizational goals. This diversion of resources would not be necessary
   in the absence of SB 1. Plaintiff lists additional specific injuries in SAC ¶¶ 119 and its
   response to Interrogatory No. 4.

   Before SB 1, voters had a right to select an assistant of their choice and to have assistance in
   all aspects of the voting process, free of encumbrance by state laws that impose
   restrictions on the selection of those assistants or the specific types of assistance that may be
   provided by them. SB 1 Section 6.06 creates a strict liability, state jail felony that
   criminalizes the provision of assistance by anyone who “solicits, receives, or accepts
   compensation” for assisting a voter with its mail-in ballot. Plaintiff lists specific injuries in
   SAC ¶¶ 169 and its response to Interrogatory No. 4.

B. Subject to the foregoing objections and those indicated in the Response to Requests for
   Production, Plaintiff produced documents responsive to this request on April 5, 2022, and
   February 7, 2023—see Plaintiffs’ Response to Request for Production No. 2.

       INTERROGATORY NO. 3: If you contend that your members have been injured by
any of the Texas Election Code provisions identified in Interrogatory No. 1, for each plaintiff:

           A. State the facts that support your contention, including the identity of each injured
              member upon whom your standing is based; and
           B. Identify all documents that support your contentions.

       RESPONSE: Plaintiff objects to this blockbuster interrogatory as broad and unduly
burdensome because it demands that Plaintiff marshal all of its evidence with regard to


                                           10
                                   OCA-REPLY-APPX-226
associational standing at this stage of the litigation. Plaintiff will produce all witnesses and
documents it relies upon to support its claims in this lawsuit according to the Amended Scheduling
Order, the Federal Rules of Civil Procedure, and Federal Rules of Evidence. Plaintiff additionally
objects to this interrogatory as overbroad and imposing burdens not proportional to the needs
of the case by seeking the identities of and documents relating to all members, rather than
only identities and documents relating to members sufficient to support standing. Plaintiff
does not maintain membership records that necessarily include information relating to
disability or language access, nor does it monitor the election-related volunteer activities of
members outside of Plaintiff-organized events. It is also unnecessarily burdensome and
invasive to produce the identities of every injured member and every document related to those
members without any time limitation. Nor is such individualized proof required to support
associational standing. Indeed, requiring Plaintiff to produce proof of every injured member
would turn the notion of associational standing on its head. Plaintiff reserves the right to
supplement or amend this response to the extent it discovers additional or conflicting
information responsive to this Interrogatory. Accordingly, subject to and without waiver of the
foregoing specific and general objections, Plaintiff responds as follows:

A. REVUP has approximately 500 members, who are primarily individuals with disabilities
   and are eligible to vote by mail and eligible to receive assistance while voting by mail. Some
   of REVUP's members also serve as assistants to persons needing assistance to vote due to
   a disability. REVUP members with disabilities participate in and help guide the direction of
   the organization's efforts. These members have been or will be injured by the Texas
   Election Code provisions identified in Interrogatory No 1 because these provisions burden
   and limit people who provide necessary assistance to voters, which in turn will unduly
   burden REVUP members who cannot vote without such assistance. In addition, REVUP
   members have been or will be injured by the Texas Election Code provisions identified in
   Interrogatory No 1 because these provisions burden and limit the ability to vote by mail
   by requiring identification information that members either do not have access to or cannot
   correctly provide, thereby eliminating the option to vote by mail for these members. For
   some REVUP members, voting by mail is the only way they are able to vote. Plaintiffs’
   Second Amended Complaint details three examples of REVUP members who have been or
   will be injured by the Texas Election Code provisions identified in Interrogatory No 1. SAC
   ¶¶ 169–173

   While the following is not an exhaustive list of injured members, REV-UP contends the
   following members have been injured by the Texas Election Code provisions identified in
   Interrogatory No. 1:

   Laura Halvorson: Ms. Halvorson voted by mail in March 2022 but was unable to confirm
   whether her mail-in ballot was accepted using the ballot tracker system until well after the
   close of voting in March, making it impossible to have cured her ballot if there were an
   error in her identification number. Ms. Halvorson’s disabilities affect her motor control,
   making it extremely difficult for her to write legibly, raising the possibility her
   identification number will be entered incorrectly or illegibly. Because Ms. Halvorson’s
   March 2022 ballot was not counted with enough time for her to cure if there had been an
   error and because Ms. Halvorson was concerned her November 2022 ballot would be rejected
   due to a discrepancy with her ID number, Ms. Halvorson was left with no option other


                                           11
                                   OCA-REPLY-APPX-227
than voting in person to ensure her ballot was counted in the November 2022 election. Ms.
Halvorson’s respiratory and mobility disabilities make voting in public dangerous,
difficult, and time-consuming for her, yet this is the only way she can confirm her ballot was
counted in November and will be counted in the future in light of the changes made by SB1
to mail-in voting. Ms. Halvorson remains afraid that her disabilities will again require her to
vote by mail in the future and that her ballot will not be counted as a result of an ID-related
rejection that Ms. Halvorson will not have the opportunity to cure.

Teri Saltzman: Ms. Saltzman is legally blind. In March 2022, she was notified by the Travis
County Clerk that her ballot was rejected. She attempted to identify the error and cure her
ballot, but was unable to complete the cure process online as this process was inaccessible
to her even with her assistive devices. She still does not know whether her March 2022 ballot
was counted. In November 2022, her ballot was even less accessible to her than the March
ballot, with font so small that it was unreadable with her optic device that magnifies text for
her. After filling in and submitting her ballot the best she could, she was again notified that
her ballot was rejected in November 2022 and was again unable to cure her ballot using the
online process as it was inaccessible to her. Ms. Saltzman prefers to vote by mail as she
does not drive and arranging transportation to a polling place can be difficult if not
impossible. Casting her ballot in private when she votes in person is essentially impossible
as the various accommodations available to her either make her choice so large on the screen
that it can be seen by anyone standing behind her or requires her to say her choice aloud for
an assistor to mark. Ms. Saltzman had regularly voted by mail in Texas without issue before
the changes instituted by SB1.

Ann and Taylor Scott: Taylor Scott is a person with Cerebral Palsy (CP) who is blind in one
eye and uses a power wheelchair to ambulate. Miss Scott’s disabilities also impact her
communication such that people unfamiliar with her speech may not understand her. Her
mother, Ann, is her assistor. In November 2022, Miss Scott applied to vote by mail, with
her mother completing her application at her direction. Miss Scott’s state-issued
identification had expired during the Covid-19 pandemic and she was unable to renew it;
however, she and Mrs. Scott believe the last four numbers of her social security number
were entered on her application. Miss Scott never received a letter notifying her whether her
application to vote by mail was rejected and therefore never had the opportunity to cure her
application. On information and belief, Miss Scott’s application to vote by mail was rejected
for an ID-related reason. When a ballot did not arrive for Miss Scott, Mrs. Scott took Miss
Scott to vote in person, a process requiring significant time and difficulty. Miss Scott
successfully voted by mail in the November 2020 Presidential Election. As a result of the
changes brought by SB1 and Miss Scott’s mail-in ballot application rejection in November
2022, Miss Scott and Mrs. Scott must plan for Miss Scott to vote in person now, though
doing so is substantially more difficult than voting by mail was for her before SB1.

Yvonne Iglesias: Ms. Iglesias is person who is paralyzed, experiences consistent muscle
spasms, and is blind in one eye. She has voted by mail in most elections since 2006. Ms.
Iglesias completed her application to vote by mail and then called the election office well
before the election to confirm her application was received. She was informed for the first
time when she called that her application had been rejected for an ID-related reason. The
election official directed her which number to write on her application, which Ms. Iglesias


                                        12
                                OCA-REPLY-APPX-228
   resubmitted. After submitting her application, she again reached out to the elections office
   several days before the election to confirm her second application was received and
   accepted. She was again informed that it was rejected for an ID-related reason and also
   because it had arrived too late. Ms. Iglesias is not able to travel on short-notice, as her
   disabilities require significant coordination to arrange appropriate, accessible transportation,
   thus she was not able to vote in the November 2022 election. Because of her disabilities,
   voting by mail remains the only form of voting that is physically accessible to her, though
   she no longer has confidence she will be able to vote in the future as a result of the changes
   brought about by SB1.

B. Subject to the foregoing objections and those indicated in the Response to Requests for
   Production, Plaintiff produced documents responsive to this request on April 5, 2022, and
   February 7, 2023— see Plaintiffs’ Response to Request for Production No. 2.

        INTERROGATORY NO. 4: If you contend that you have to divert time, money,
and resources from other activities because of the passage of Senate Bill 1, for each
plaintiff:

           A. Identify the time, money, and resources that you have diverted or anticipate
              diverting in response to SB1;
           B. Identify all specific projects that you had or will have to put on hold or otherwise
              curtail in response to SB1;
           C. State the facts that support your contention that you have and will divert time,
              money, and resources in response to Senate Bill 1, including an explanation of how
              the projects and expenditures identified in Interrogatories Nos. 3.A and 3.B differ
              from your routine activities; and
           D. Identify all documents that support your contentions.

        RESPONSE: Plaintiff objects to this blockbuster interrogatory as broad and unduly
burdensome because it demands that Plaintiff marshal all of its evidence with regard to
organizational standing at this stage of the litigation. Plaintiff will produce all witnesses and
documents it relies upon to support its claims in this lawsuit according to the Amended Scheduling
Order, the Federal Rules of Civil Procedure, and Federal Rules of Evidence. Plaintiff objects
to this interrogatory as vague and undefined as to “other activities” and what qualifies as “in
response to SB 1.” Plaintiff further objects to this interrogatory to the extent it seeks to
impose injury requirements not required by law, such as the cancellation of specific projects.
Plaintiff reserves the right to supplement or amend this response to the extent it discovers
additional or conflicting information responsive to this Interrogatory. Plaintiff also objects that
Interrogatory 4.C requests information about projects and expenditures identified in
Interrogatories 3.A and 3.B, but Interrogatories 3.A and 3.B do not ask about projects or
expenditures. Plaintiff further objects that Interrogatory 4.C requests information that is
duplicative of Interrogatories 4.A and 4.B. Accordingly, subject to and without waiver of
the foregoing specific and general objections, Plaintiff responds as follows:

A. REVUP has expended time, money, and resources in combating SB 1's passage. REVUP’s
   members attended public testimony trainings, recruited other testifiers, testified at public
   hearings of the Texas House and Senate, wrote letters against SB 1, organized email writing


                                            13
                                    OCA-REPLY-APPX-229
   campaigns, and attended a rally defending the right to vote.

   Since SB 1 went into effect on December 2, 2021, REVUP has had to devote significant
   time and resources to educate members and the public to navigate SB 1's new provisions.
   Starting on approximately November 1, 2021 and extending through the March 2022
   primaries, Bob Kafka, REVUP’s coordinator, had to devote the vast majority of his time
   to SB 1. Since March 2022, though Mr. Kafka has been able to devote time to other projects,
   SB1 has continued to require his time. In particular, Mr. Kafka and at least five other REVUP
   volunteers have had to work a significant amount of time on educating REVUP members and
   the public about SB 1's new requirements and restrictions. For example, REVUP volunteers
   have had to spend time: creating a podcast regarding changes and barriers in SB 1, updating
   the REVUP website to reflect the changes of SB 1, creating social media posts about SB 1,
   answering media inquiries about the impact of SB 1 on voters with disabilities, answering
   questions from members and the public about the mail-in ballot identification requirements
   and the restrictions on assistance, referring members to additional legal resources regarding
   their SB 1 questions, drafting and sending out information about the identification issues
   and application to vote by mail and ballot rejection, and doing media outreach and PSAs
   to get out the vote (“GOTV”) to combat the barriers created by SB 1. Doing all of this took
   significant time and took away from the time Mr. Kafka could devote to the organization's
   mission.

   Because of REVUP’s reputation as a disability advocacy organization, Mr. Kafka has also
   devoted significant time to receiving media requests and speaking to the media about the
   confusion caused by the restrictions and requirements imposed by SB 1. Coordinating these
   interviews, preparing for them, and participating in them has taken a significant amount of
   time.

   Beyond volunteer time, REVUP's response to SB 1 has also caused it to expend financial
   resources. REVUP has had to expend financial resources on paying its webmaster to
   update its website and paying for American Sign Language interpreters for its SB 1 podcast
   and trainings.

   REV-UP continues to receive calls from voters with questions about ballot by mail ID
   requirements and devotes its limited time and resources to answering these calls, particularly
   Mr. Kafka’s time. REV-UP also continues to devote time during meetings and trainings
   to provide education and answer questions regarding vote by mail ID-requirements. Because
   these meetings and trainings are limited in time, these discussions necessarily take time
   away from discussing other topics central to REV-UP’s mission.

B. As a result of SB 1, REVUP has had to significantly scale back its voter registration and
   GOTV efforts. Rather than focusing on designing and disseminating materials on topics
   impacting people with disabilities, REVUP has had to focus on designing and disseminating
   materials regarding challenges with the vote-by-mail process as a result of SB 1 and the
   assistance provision. REVUP is a nonpartisan organization whose mission it is to register
   voters with disabilities, to encourage them to get educated on the issues, and to vote.
   REVUP has had to scale back on these efforts in order to focus on SB 1. Further, the time
   required to challenge and educate the public about SB 1 also caused REVUP to slow down


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    and shrink the planning for a previously planned project called the Texas Disability Issues
    Forum.

           In advance of the 2023 local elections REV-UP is ramping back up voter
           registrations and GOTV efforts; however, these registration and GOTV efforts
           include significant time spent providing information and discussions about vote by
           mail ID requirements that REV-UP members previously did not have to spend. SB 1
           has thus continued to hamper the scale of REV-UP’s voter registration and GOTV
           efforts.

C. Plaintiff’s Response to Interrogatories 4.A and 4.B identify the projects and expenditures
   Plaintiff must undertake in response to SB 1 that differ from its normal activities and those
   responses are incorporated herein.

D. Subject to the foregoing objections and those indicated in the Response to Requests for
   Production, Plaintiff produced documents responsive to this request on April 5, 2022, and
   February 7, 2023— see Plaintiffs’ Response to Request for Production No. 2.

       INTERROGATORY NO. 5: If you contend that the passage of SB1 frustrates your
mission, for each plaintiff:
           A. Explain how each provision makes your activities more difficult; and
           B. Identify all documents that support your contentions.

        RESPONSE: Plaintiff objects to this interrogatory as cumulative and duplicative
of Interrogatory No. 4. Plaintiff reserves the right to supplement or amend this response to the
extent it discovers additional or conflicting information responsive to this Interrogatory. To
the extent Plaintiff becomes aware of additional information responsive to this Interrogatory,
Plaintiff will supplement its response in accordance with the Rules. Accordingly, subject to and
without waiver of the foregoing specific and general objections, Plaintiff responds as follows:

A. The mission of REVUP is to conduct outreach, educate, and disseminate information to
   people with disabilities, family members, supporters, professionals, the general public, and
   policymakers on issues affecting the integration of people with disabilities of all ages into
   every aspect of community living, including by increasing voter turnout in the disability
   community and advancing political change. Plaintiff lists ways in which SB 1 has made
   carrying out its mission more difficult in its responses to Interrogatories No. 2, 3, and 4.

B. Subject to the foregoing objections and those indicated in the Response to Requests for
   Production, Plaintiff produced documents responsive to this request on April 5, 2022, and
   February 7, 2023—see Plaintiffs’ Response to Request for Production No. 2.

        INTERROGATORY NO. 6: If you contend that SB1 targets “many of the precise
methods that local election authorities and community groups used to make voting easier and
more accessible to traditionally marginalized voters,” as described in ECF 200 ¶ 2, for each
plaintiff:
           A. Identify the “precise methods” that “local election authorities” used to make voting
               easier and more accessible;



                                           15
                                   OCA-REPLY-APPX-231
           B. Identify the “local election authorities” that used these “precise methods;”
           C. Identify how these “precise methods” made “voting easier and more accessible
              to traditionally marginalized voters;” and
           D. Identify all documents that support your contentions.

        RESPONSE: Subject to and without waiver of the foregoing specific and general
objections, Plaintiff responds as follows:

           A. The “precise methods” used by “local election authorities” that make voting easier
              and more accessible that are at issue in this suit are: (1) voting by mail, particularly
              for the elderly and people with disabilities; and (2) permitting assistance with mail-
              in ballots.

           B. The referenced sentence refers to county election officials generally, not any
              specific county election official.

           C. Subject to and without waiver of its objections, Plaintiff points to SAC ¶ 4, which
              refers to voters with disabilities, voters with limited English proficiency, and voters
              of color. In Plaintiff’s experience assisting voters and monitoring elections, these
              voters are traditionally marginalized in Texas. Plaintiff believes that voting by mail
              and permitting assistance with mail-in ballots makes it easier for voters with
              disabilities, voters with limited English proficiency, and voters of color to vote.

           D. Subject to the foregoing objections and those indicated in the Response to Requests
              for Production, Plaintiff produced documents responsive to this request on April
              5, 2022, and February 7, 2023—see Plaintiffs’ Response to Request for
              Production No. 2.

        INTERROGATORY NO. 7: If you contend that SB1 “adds immaterial burdens to the
process of applying to and actually voting by mail,” as described in ECF 200 ¶ 99, for each
plaintiff:
           A. Identify the “immaterial burdens” added;
           B. Explain how these burdens are immaterial; and
           C. Identify all documents that support your contentions.

        RESPONSE: Plaintiff objects to this interrogatory on the ground that it calls for a legal
conclusion as to materiality. Subject to and without waiver of the foregoing specific and general
objections, Plaintiff responds by pointing to SAC ¶¶ 99–111, which describe what types
of identification that are acceptable for voting in person yet are not acceptable to meet SB 1’s
onerous
new requirements for applying to vote by mail, and the types of cure processes provided for
in- person voting that are not provided for applying to vote by mail.

       INTERROGATORY NO. 8: For each plaintiff, identify:
          A. All accommodations that would be necessary for you or your disabled members
             to vote in compliance with SB1;
          B. Any accommodations you or your members requested or intend to request



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              for the March 2022 primary in response to SB1;
           C. State the facts that support your contentions; and
           D. Identify all documents that support your contentions.

         RESPONSE: Plaintiff objects to this interrogatory as vague and undefined as to
“accommodations” and what qualifies as “in response to SB 1.” Plaintiff objects to this
interrogatory as overly broad and premature because it seeks to require Plaintiff to marshal all
of its evidence at this stage of the litigation for a large and diverse group of people with
disabilities with varying modification needs, and Plaintiff—though it has numerous members
with disabilities—does not specifically track the disability status and necessary accommodations
of its members. Plaintiff further objects to the request for information about all disabled
members as overbroad and not proportional to the needs of the case. Moreover, as described in
Plaintiff’s SAC, the SB 1 provisions challenged by Plaintiff inflict systemic harm on large
groups of people with disabilities and impose a chilling effect deterring those who seek to
assist individuals in voting, including Plaintiff and its members. These are not harms that can be
remedied by individual, case- by-case reasonable modification requests. Plaintiff reserves the
right to supplement or amend this response to the extent it discovers additional or conflicting
information responsive to this Interrogatory. To the extent Plaintiff becomes aware of additional
information responsive to this Interrogatory, Plaintiff will supplement its response in accordance
with the Rules.

        INTERROGATORY NO. 9: Please identify and describe with specificity each form
of affirmative relief which you seek from each defendant through this Lawsuit.

       RESPONSE: Plaintiff objects to this Interrogatory to the extent it requires Plaintiff
to describe relief that may be necessary to address or prevent injuries from SB 1 that Plaintiff
may uncover through additional investigation and discovery or may occur as SB 1 is
implemented. Subject to and without waiver of the foregoing objections, Plaintiff responds as
follows:

       Plaintiff seeks:
           1. Declaratory judgment that the State of Texas’s statutory scheme as described with
               specificity in the operative pleading violates the United States Constitution, the
               Voting Rights Act, the Civil Rights Act, the ADA, and Section 504;
           2. Permanent injunction against the State of Texas, the Texas Secretary of State,
               the Texas Attorney General, the Harris County District Attorney, the Travis
               County District Attorney, and other appropriate county agencies administering
               elections from enforcing the specific provisions of the Texas Election Code as
               amended by SB 1, and from prosecuting any individual pursuant to the criminal
               offenses defined in these provisions, if any;
           3. Attorneys’ fees to Plaintiff in accordance with 42 U.S.C. § 1988, 29 U.S.C. § 794a,
               42 U.S.C. § 12205, and/or any other applicable provision;
           4. Order that all costs of this action be taxed against Defendants; and
           5. Grant any additional or alternative relief to which Plaintiff may be entitled.

      INTERROGATORY NO. 10: If you seek mandatory injunctive relief through this
Lawsuit, please identify and describe with specificity, by plaintiff, each omission that you contend



                                    OCA-REPLY-APPX-233
each Defendant should be enjoined to perform to resolve each claim you have alleged against the
Defendant in this Lawsuit.

         RESPONSE: Plaintiff objects to this Interrogatory because it requires Plaintiff to describe
relief that may be necessary to address or prevent injuries from SB 1 that Plaintiff may uncover
through additional investigation and discovery or may occur as SB 1 is implemented. Subject to
and without waiver of the foregoing objection, Plaintiff responds as follows:

         Plaintiff seeks mandatory injunctive relief against the Texas Secretary of State requiring
it to (a) issue guidance that SB 1’s ID provisions for mail-in applications and ballots are no
longer required; (b) issue guidance that lack of an ID number or an ID-number mismatch on an
application to vote by mail or a ballot is not grounds for rejecting the application or ballot; (c)
prescribe the design and content of the forms necessary for elections that no longer contain the
mail-in ballot ID provisions; (d) prescribe the design and content of the application to vote by
mail and mail-in envelope that no longer contain the ID provisions; and/or (e) issue guidance to
all county election administrators or equivalent county officials that waiving the ID
requirements is a reasonable accommodation that may be granted for persons with disabilities.
Plaintiff additionally seeks mandatory injunctive relief requiring the Texas Secretary of State to
widely publicize any such guidance or changes in the operation of the law.

       Plaintiff likewise seeks mandatory injunctive relief against the Travis County Clerk and
the Harris County Elections Administrator requiring them to (a) use forms for mail-in
applications and ballots that do not request ID numbers; (b) follow the Texas Secretary of State’s
guidance that SB 1’s ID provisions for mail-in applications and ballots are no longer required
and that lack of ID number or mismatch of ID number are not grounds to reject an application
to vote by mail or ballot by mail; (d) widely publicize that the ID requirements for mail-in
applications and ballots are no longer valid; and/or (e) grant requests to waive the ID
requirements as a reasonable accommodation for persons with disabilities.

       INTERROGATORY NO. 11: If you seek prohibitive injunctive relief through this
Lawsuit, please identify and describe with specificity each action that you contend each Defendant
should be enjoined from performing to resolve.

       RESPONSE: Plaintiff objects to this Interrogatory to the extent it requires Plaintiff
to describe relief that may be necessary to address or prevent injuries from SB 1 that Plaintiff
may uncover through additional investigation and discovery or may occur as SB 1 is
implemented. Plaintiff also objects to this Interrogatory as duplicative of Interrogatory No.
9. Subject to and without waiver of the foregoing objections, Plaintiff responds as follows:

        Plaintiff seeks a permanent injunction against the State of Texas, the Texas Secretary
of State, the Texas Attorney General, the Harris County District Attorney, the Travis County
District Attorney, and other appropriate county agencies administering elections from enforcing
the specific provisions of the Texas Election Code as amended by SB 1, and from prosecuting
any individual pursuant to the criminal offenses defined in these provisions.




                                    OCA-REPLY-APPX-234
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                                     VERIFICATION FOR RESPONSES TO INTERROGATORIES
                     I, Bob Kafka, verify under penalty of perjury under the laws of the United States of America that
                     the foregoing third amended responses to State Defendants’ First Set of Interrogatories are true
                     and correct, to the best of my knowledge.



                                                                     Bob Kafka
                                                                     Name

                                                                     Coordinator
                                                                     Title


                                                                     Signature
                                                                                

                                                                     Date

                                                                     On behalf of REV-UP Texas




                                                     OCA-REPLY-APPX-235
Exhibit 12




 OCA-REPLY-APPX-236
OCA-REPLY-APPX-237
OCA-REPLY-APPX-238
Exhibit 13




 OCA-REPLY-APPX-239
          Transcript of the Testimony of
                 Pamiel Gaskin


                      Date:
                  June 29, 2022



                      Case:
LA UNION DEL PUEBLO ENTERO vs GREGORY W. ABBOTT




                 OCA-REPLY-APPX-240
     Pamiel Gaskin                                                          June 29, 2022
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·1· · · · · · ·IN THE UNITED STATES DISTRICT COURT
· · · · · · · · · · WESTERN DISTRICT OF TEXAS
·2· · · · · · · · · · SAN ANTONIO DIVISION

·3

·4· · · · LA UNIÓN DEL PUEBLO· · )
· · · · · ENTERO, et al.,· · · · )
·5· · · · · · · · · · · · · · · ·)· ·Case No.
· · · · · · ·Plaintiffs,· · · · ·)· 5:21-cv-844-XR
·6· · · · · · · · · · · · · · · ·)
· · · · · VS.· · · · · · · · · · )· (Consolidated for
·7· · · · · · · · · · · · · · · ·)· space)
· · · · · GREGORY W. ABBOTT,· · ·)
·8· · · · et al.,· · · · · · · · )
· · · · · · ·Defendants.· · · · ·)
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13· · · · · · · ·DEPOSITION OF PAMIEL J. GASKIN
· · · · · · · · · · ·June 29, 2022, 9:25 a.m.
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· · · · · · · Location:· U.S. Department of Justice
15· · · · · · · 1000 Louisiana Street, Suite 2300
· · · · · · · · · · · · ·Houston, Texas
16
· · · · · · · · · Volume 1 of 1 - Pages 1 - 127
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23· ·Stenographic Reporter:
· · ·DENYCE M. SANDERS, TX CSR, RDR, CRR, CCR (LA)
24· ·dsanderscsr@gmail.com

25· ·JOB NO. 845774


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                                OCA-REPLY-APPX-241
     Pamiel Gaskin                                                          June 29, 2022
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·1· · · · · · · · ·A P P E A R A N C E S

·2

·3· ·ON BEHALF OF OCA-GREATER HOUSTON:

·4· · ACLU TEXAS
· · · P.O. Box 8306
·5· · Houston, Texas· 77288
· · · 512.983.0775
·6· · aharris@aclutx.org

·7· · Represented by: Ms. Ashley Harris

·8· ·***
· · ·ON BEHALF OF TEXAS CIVIL RIGHTS PROJECT ON BEHALF OF
·9· ·PAMIEL GASKIN:

10· · TEXAS CIVIL RIGHTS PROJECT
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18· · jack.disorbo@oag.state.tx.us

19· · Represented by: Mr. Jack DiSorbo
· · · · · · · · · · · Mr. Zachary Berg
20
· · ·***
21· ·ON BEHALF OF YSABEL RAMON:

22· · HIDALGO COUNTY DISTRICT ATTORNEY'S OFFICE
· · · 100 E. Cano, Courthouse Annex III, 1st Floor
23· · Edinburg, Texas· 78359
· · · 956.292.7609
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                                OCA-REPLY-APPX-242
     Pamiel Gaskin                                                          June 29, 2022
                                                                                   Page 3


·1· ·ON BEHALF OF UNITED STATES OF AMERICA:

·2· · DEPARTMENT OF JUSTICE
· · · Civil Rights Division, Voting Section
·3· · Washington, DC· 20530
· · · 202.353.5373
·4· · dana.paikowsky@usdoj.gov

·5· · Represented by: Ms. Dana Paikowsky

·6· ·***

·7· ·ON BEHALF OF HARRIS COUNTY DISTRICT ATTORNEY'S OFFICE:

·8· · BUTLER SNOW LLP
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· · ·ON BEHALF OR INTERVENOR DEFENDANTS:
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· · · JONES DAY
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· · · Washington, DC· 20001
15· · 202.879.3667
· · · skenny@jonesday.com
16
· · · Represented by:· Stephen Kenny - via Zoom
17

18· ·ALSO PRESENT VIA ZOOM:

19· ·Kenny Buser-Clancy

20· ·Tiffany Bingham - Harris County

21· ·Savannah Kumar

22· ·Barbara Nicholas - Scarpello & Creuzot

23

24

25


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     Pamiel Gaskin                                                          June 29, 2022
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     Pamiel Gaskin                                                          June 29, 2022
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·1· · · · · · · · · · · · EXHIBIT INDEX

·2· · · · · · · · · · · ·ORAL DEPOSITION OF

·3· · · · · · · · PAMIEL J. GASKIN, JUNE 29, 2022

·4· · · · · · · · · · · · ·Description· · · · · · · · ·Page

·5· ·***Introduced ONLY
· · · Exhibit C· · · · · How Texas officials and ...... 105
·6· · · · · · · · · · · ·voting groups are trying to
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                                OCA-REPLY-APPX-245
                                                                                         YVer1f
   Pamiel Gaskin                                                          June 29, 2022
                                                                                Page 20


·1· ·school.· He called me.· He said, "For your birthday,
·2· ·I'm going to come get you.· Give me your schedule,
·3· ·your class schedule, and I'm going to come get you
·4· ·and get you registered to vote."
·5· · · · · · · · · ·So I told him what my class schedule
·6· ·was.· He showed up on a Thursday afternoon, about 1
·7· ·o'clock.· Drove me back to Galveston County.
·8· · · · · · · · · ·That morning -- next morning took me
·9· ·to register to vote, and drove me back to Austin
10· ·that afternoon so I could go to my 1 o'clock class.
11· · · · Q.· · ·That's great.
12· · · · · · · · · ·Do you remember what class it was?
13· · · · A.· · ·No.· No.· No.· I'm 75.· That was -- I
14· ·was 21 then.
15· · · · Q.· · ·Sometimes when you've got great stories
16· ·like that, you remember random details, that sort of
17· ·thing.
18· · · · A.· · ·That's not a detail I remember.
19· · · · Q.· · ·Well, that's a long drive from Austin to
20· ·Galveston.
21· · · · A.· · ·Yeah.
22· · · · Q.· · ·Now, you said that you voted in the
23· ·March 2022 primary; correct?
24· · · · A.· · ·I did.
25· · · · Q.· · ·Okay.· Now, I understand you had some

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                                                                                       YVer1f
   Pamiel Gaskin                                                          June 29, 2022
                                                                                Page 77


·1· ·wanted to see if the system for surrendering would
·2· ·work; is that right?
·3· · · · A.· · ·Yes.
·4· · · · Q.· · ·Okay.· So when you voted absentee in the
·5· ·2022 primaries, was that your first time voting by
·6· ·that method?
·7· · · · A.· · ·No.
·8· · · · Q.· · ·When had you done that before?
·9· · · · A.· · ·I started voting absentee when I turned
10· ·65.
11· · · · Q.· · ·Okay.· And you've done that since then?
12· · · · A.· · ·Yes.
13· · · · Q.· · ·Okay.
14· · · · A.· · ·Mostly.
15· · · · Q.· · ·Mostly.· Maybe some voting in person
16· ·here and there?
17· · · · A.· · ·Yeah.
18· · · · Q.· · ·Before you turned 65, how did you
19· ·typically vote?
20· · · · A.· · ·In person.
21· · · · Q.· · ·In person.
22· · · · · · · · · ·Typically early voting --
23· · · · A.· · ·Early --
24· · · · Q.· · ·-- or election day?
25· · · · A.· · ·-- early voting.

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                              OCA-REPLY-APPX-247
                                                                                       YVer1f
     Pamiel Gaskin                                                          June 29, 2022
                                                                                 Page 127


·1· · · · · · · · · REPORTER CERTIFICATION

·2· ·THE STATE OF TEXAS :
· · ·COUNTY· OF· HARRIS :
·3
· · · · · · · I, DENYCE SANDERS, a Certified Shorthand
·4· ·Reporter and Notary Public in and for the State of
· · ·Texas, do hereby certify that the facts as stated by
·5· ·me in the caption hereto are true; that the above and
· · ·foregoing answers of the witness, PAMIEL J. GASKIN, to
·6· ·the interrogatories as indicated were made before me
· · ·by the said witness after being first duly sworn to
·7· ·testify the truth, and same were reduced to
· · ·typewriting under my direction; that the above and
·8· ·foregoing deposition as set forth in typewriting is a
· · ·full, true, and correct transcript of the proceedings
·9· ·had at the time of taking of said deposition.

10· · · · · · I further certify that I am not, in any
· · ·capacity, a regular employee of the party in whose
11· ·behalf this deposition is taken, nor in the regular
· · ·employ of his attorney; and I certify that I am not
12· ·interested in the cause, nor of kin or counsel to
· · ·either of the parties;
13
· · · · · · · That the amount of time used by each party at
14· ·the deposition is as follows:

15
· · · · · · · MR. DiSORBO - 02:45:34
16
· · · · · · · GIVEN UNDER MY HAND AND SEAL OF OFFICE, on
17· · · this, the 1st day of July, 2022.

18

19· · · · · · · · ·________________________________________
· · · · · · · · · ·DENYCE SANDERS, CSR, RDR, CRR, TCRR
20· · · · · · · · ·Notary Public in and for
· · · · · · · · · ·Harris County, T E X A S
21
· · · · My Commission Expires:· 4-14-25
22· · · Certification No.:· 4038
· · · · Expiration Date:· 4-30-24
23· · · Magna Legal Services
· · · · 1635 Market Street, 8th Floor
24· · · Philadelphia, PA 19103
· · · · 215.207.9460
25· · · JOB NO. 845774


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